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                           EXHIBIT A
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                                                     Case Summary
Case Number: CAM L-000695-18
Case Caption: Camden County Vs Purdue Pharma, L.P.
Court: Civil Part                               Venue: Camden                 Case Initiation Date: 02/21/2018
Case Type: Complex Commercial                   Case Status: Active           Jury Demand: 6 Jurors
Case Track: 4                                   Judge: Michael J Kassel       Team: 202
Original Discovery End Date:                    Current Discovery End Date:   # of DED Extensions: 0
Original Arbitration Date:                      Current Arbitration Date:     # of Arb Adjourments: 0
Original Trial Date:                            Current Trial Date:           # of Trial Date Adjourments: 0
Disposition Date:                               Case Disposition: Open        Statewide Lien: No

Plaintiffs
Camden County

Party Description: County                                                     Attorney Name: Christopher John
                                                                              Buggy
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City:                           State: NJ                  Zip: 00000         Phone:

Attorney Email: CBUGGY@CARELLABYRNE.COM

Defendants
Cvs Health Corporation
Party Description: Corp                                                       Attorney Name:
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City:                           State: RI                  Zip: 00000         Phone:
Attorney Email:
Rite Aid Corporation
Party Description: Corp                                                       Attorney Name:
Address Line 1:                                            Address Line 2:    Attorney Bar ID:
City:                           State: PA                  Zip: 00000         Phone:
Attorney Email:
Cardinal Health
Party Description: Corp                                                       Attorney Name:
Address Line 1:                                            Address Line 2:    Attorney Bar ID:
City:                           State: OH                  Zip: 00000         Phone:
Attorney Email:
Amerisourcebergen
Party Description: Corp                                                       Attorney Name:
Address Line 1:                                            Address Line 2:    Attorney Bar ID:
City:                           State: PA                  Zip: 00000         Phone:
Attorney Email:
John Doe 1-100
Party Description: Fictitious                                                 Attorney Name:
Address Line 1:                                            Address Line 2:    Attorney Bar ID:
City:                           State:                     Zip: 00000         Phone:
Attorney Email:
Mckesson
Party Description: Corp                                                       Attorney Name:
Address Line 1:                                            Address Line 2:    Attorney Bar ID:
City:                           State: CA                  Zip: 00000         Phone:
Attorney Email:
00 Abc Corporations 1-1
            Case 1:18-cv-11983-JHR-AMD Document 1-1 Filed 07/23/18 Page 3 of 396 PageID: 29

Party Description: Fictitious                                            Attorney Name:
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City:                           State:          Zip: 00000               Phone:
Attorney Email:
Jane Doe 1-100
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City:                           State:          Zip: 00000               Phone:
Attorney Email:
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Party Description: Corp                                                  Attorney Name:
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City:                           State: AZ       Zip: 00000               Phone:
Attorney Email:
Mallinckrodt Plc
Party Description: Corp                                                  Attorney Name:
Address Line 1:                                 Address Line 2:          Attorney Bar ID:
City:                        State:             Zip: 00000               Phone:
Attorney Email:
Costco Wholesale Corporation
Party Description: Corp                                                  Attorney Name:
Address Line 1:                                 Address Line 2:          Attorney Bar ID:
City:                           State: WA       Zip: 00000               Phone:
Attorney Email:
Sacklerrichard
Party Description: Medical Doctor                                        Attorney Name:
Address Line 1:                                 Address Line 2:          Attorney Bar ID:
City:                          State:           Zip: 00000               Phone:
Attorney Email:
Walgreens Boots Alliance, Inc.
Party Description: Corp                                                  Attorney Name:
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Attorney Email:
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Party Description: Prtnrship                                             Attorney Name:
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Party Description: Corp                                                  Attorney Name:
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Attorney Email:
Cephalon, Inc.
Party Description: Corp                                                  Attorney Name:
Address Line 1:                                 Address Line 2:          Attorney Bar ID:
City:                           State: PA       Zip: 00000               Phone:
Attorney Email:
Abbott Laboratories
Party Description: Corp                                                  Attorney Name:
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Address Line 1:                                                  Address Line 2:                    Attorney Bar ID:
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Attorney Email:
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Party Description: Estate                                                                           Attorney Name:
Address Line 1:                                                  Address Line 2:                    Attorney Bar ID:
City:                            State:                          Zip: 00000                         Phone:
Attorney Email:
Mortimer Sackler
Party Description: Estate                                                                           Attorney Name:
Address Line 1:                                                  Address Line 2:                    Attorney Bar ID:
City:                            State:                          Zip: 00000                         Phone:
Attorney Email:
Endo International Plc
Party Description: Corp                                                                             Attorney Name:
Address Line 1:                                                  Address Line 2:                    Attorney Bar ID:
City:                         State:                             Zip: 00000                         Phone:
Attorney Email:
Teva Pharmaceuticalindus. Inc
Party Description: Corp                                                                             Attorney Name:
Address Line 1:                                                  Address Line 2:                    Attorney Bar ID:
City:                            State: PA                       Zip: 00000                         Phone:
Attorney Email:
Case Actions
Filed Date        Docket Text                                                                 Transaction ID           Entry Date
                  Complaint with Jury Demand for CAM-L-000695-18 submitted by BUGGY,
                  CHRISTOPHER JOHN, CARELLA BYRNE CECCHI OLSTEIN BRODY & AGNELLO PC
2/21/2018                                                                                     LCV2018321495            2/21/2018
                  on behalf of CAMDEN COUNTY against PURDUE PHARMA, L.P., RICHARD SACKLER,
                  MORTIMER SACKLER, RAYMOND SACKLER, ABBOTT LABORATORIES ET AL.
2/22/2018         TRACK ASSIGNMENT submitted by Case Management                               LCV2018328782            2/22/2018
                  NOTICE OF APPEARANCE (NOT THE FIRST PAPER) submitted by ECKLUND,
                  DONALD, ANDREW of CARELLA BYRNE CECCHI OLSTEIN BRODY & AGNELLO PC
2/22/2018         on behalf of CAMDEN COUNTY against RITE AID CORPORATION, INSYS              LCV2018332410            2/22/2018
                  THERAPEUTICS, INC., MALLINCKRODT PLC, 00 ABC CORPORATIONS 1-1, JANE
                  DOE 1-100 ET AL.
                  NOTICE OF APPEARANCE (NOT THE FIRST PAPER) submitted by CECCHI, JAMES,
                  EDWARD of CARELLA BYRNE CECCHI OLSTEIN BRODY & AGNELLO PC on behalf of
2/22/2018                                                                                     LCV2018333936            2/22/2018
                  CAMDEN COUNTY against RITE AID CORPORATION, INSYS THERAPEUTICS, INC.,
                  MALLINCKRODT PLC, 00 ABC CORPORATIONS 1-1, JANE DOE 1-100 ET AL.
                  NOTICE OF APPEARANCE (NOT THE FIRST PAPER) submitted by INNES, MICHAEL of
                  CARELLA BYRNE CECCHI OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN
2/23/2018                                                                                     LCV2018339660            2/23/2018
                  COUNTY against RITE AID CORPORATION, INSYS THERAPEUTICS, INC.,
                  MALLINCKRODT PLC, 00 ABC CORPORATIONS 1-1, JANE DOE 1-100 ET AL.
                  AMENDED COMPLAINT submitted by CECCHI, JAMES, EDWARD of CARELLA BYRNE
                  CECCHI OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against
4/17/2018                                                                                     LCV2018670356            4/17/2018
                  CVS HEALTH CORPORATION, RITE AID CORPORATION, CARDINAL HEALTH,
                  AMERISOURCEBERGEN, JOHN DOE 1-100 ET AL.
                  STIPULATION TO EXTEND TIME FOR ANSWER submitted by MC CLURE, SHANNON,
6/22/2018         ELISE of REED SMITH LLP on behalf of CARDINAL HEALTH, AMERISOURCEBERGEN,    LCV20181098385           6/22/2018
                  MCKESSON against CAMDEN COUNTY
                  STIPULATION TO EXTEND TIME FOR ANSWER submitted by KORN, PETER, L of MC
6/26/2018         ELROY DEUTSCH MULVANEY & CARPENTER, LLP on behalf of CVS HEALTH             LCV20181118760           6/26/2018
                  CORPORATION against CAMDEN COUNTY
                  STIPULATION TO EXTEND TIME FOR ANSWER submitted by KORN, PETER, L of MC
6/27/2018         ELROY DEUTSCH MULVANEY & CARPENTER, LLP on behalf of CVS HEALTH             LCV20181122697           6/27/2018
                  CORPORATION against CAMDEN COUNTY
                  LACK OF PROSECUTION DISMISSAL WARNING Notice submitted by Case
7/7/2018                                                                                      LCV20181182302           7/7/2018
                  Management
                  AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018         OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against TEVA          LCV20181204211           7/11/2018
                  PHARMACEUTICAL INDUS. INC
                  AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018         OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against RITE AID      LCV20181204486           7/11/2018
                  CORPORATION
                  AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018         OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against JANSSEN       LCV20181204510           7/11/2018
                  PHARMACEUTICALS, INC.
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              AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018     OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against CEPHALON,    LCV20181204528   7/11/2018
              INC.
              AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018     OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against COSTCO       LCV20181204545   7/11/2018
              WHOLESALE CORPORATION
              AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018     OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against ENDO         LCV20181204561   7/11/2018
              INTERNATIONAL PLC
              AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018     OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against PURDUE       LCV20181204577   7/11/2018
              PHARMA LP
              AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018     OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against ABBOTT       LCV20181204587   7/11/2018
              LABORATORIES
              AFFIDAVIT OF SERVICE submitted by INNES, MICHAEL of CARELLA BYRNE CECCHI
7/11/2018     OLSTEIN BRODY & AGNELLO PC on behalf of CAMDEN COUNTY against              LCV20181204602   7/11/2018
              MALLINCKRODT PLC
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 Attorneys for Plaintiff

                                             SUPERIOR COURT OF NEW JERSEY
 CAMDEN COUNTY, NEW JERSEY,                  LAW DIVISION:
                                             Docket No.
                Plaintiff,

 v.

 PURDUE PHARMA L.P., DR. RICHARD
                                                      COMPLAINT and
 SACKLER, ESTATE OF MORTIMER
                                                   DEMAND FOR JURY TRIAL
 SACKLER, ESTATE OF RAYMOND
 SACKLER, ABBOTT LABORATORIES,
 CEPHALON, INC., TEVA
 PHARMACEUTICAL INDUSTRIES INC.,
 ENDO INTERNATIONAL PLC, JANSSEN
 PHARMACEUTICALS, INC., INSYS
 THERAPEUTICS, INC., MALLINCKRODT
 PLC, ABC CORPORATIONS 1-100
 ENGAGED IN THE MANUFACTURING OF
 OPIOIDS, AMERISOURCEBERGEN,
 MCKESSON, CARDINAL HEALTH, ABC
 CORPORATIONS 1-100 ENGAGED IN THE
 DISTRIBUTION OF OPIOIDS, CVS HEALTH
 CORPORATION, WALGREENS BOOTS
 ALLIANCE, INC., COSTCO WHOLESALE
 CORPORATION, RITE AID
 CORPORATION, AND ABC
 CORPORATIONS 1-100,

                Defendants.
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 I.     INTRODUCTION

        1.      America is in the midst of an ever-expanding epidemic of addiction to opioids –

 both in the form of prescription pain killers and heroin.

        2.      In the next hour, five Americans will fatally overdose from opioids1; two opioid

 dependent babies will be born2; and a significant number of former opioid addicts will turn to

 heroin.3 During that same time, opioid manufacturers will earn approximately $2.7 million from

 opioids.4

        3.      The opioid addiction epidemic was ignited in the 1990s by Purdue Pharma, at the

 instance and direction of Richard, Mortimer, and Raymond Sackler.

        4.      Purdue Pharma, manufacturer and marketer of OxyContin, executed an epic

 scheme to deceive doctors (and the public at large) into believing that opioids can be prescribed

 for long-periods of time with little to no risk of addiction—a blatantly false premise.

        5.      Purdue’s fraudulent and deceptive marketing scheme worked, and sales for

 OxyContin skyrocketed, resulting in billions of dollars for Purdue and its top executives—

 including, Richard, Mortimer, and Raymond Sackler.


 1
     Center for Disease Control and Prevention, Drug Overdose Death                         Data,
 https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited February 20, 2018).
 2
  Jean Y. Ko, PhD, et al., Public Health Burden of Neonatal Abstinence Syndrome (March 10,
 2017), https://www.cdc.gov/mmwr/volumes/66/wr/mm6609a2.htm (last visited February 20,
 2018).
 3
   Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 23, 2017),
 https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
 (hereinafter “Keefe, Empire of Pain”).
 4
   Dina Gusovsky, “American Consume Vast Majority of World’s Opioids, CNBC (April 27,
 2016), https://www.cnbc.com/2016/04/27/americans-consume-almost-all-of-the-global-opioid-
 supply.html.


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         6.       As detailed below, Purdue’s fraudulent and deceptive marketing scheme was

 joined and/or adopted by each of the Defendants, as well as those who acted in concert with

 them.

         7.       The record profits achieved by Purdue Pharma and others were earned at the

 expense of millions of Americans who predictably became addicted to the tsunami of opioids

 that Purdue and others unleashed, and the communities left to address the consequence of the

 crisis created by Defendants.

         8.       Since the plan’s inception, deaths from opioids have been rising sharply.

         9.       Today, drug overdoses kill more Americans under age 50 than anything else.

         10.      More than 42,000 opioid-related deaths occurred in 2016.5 Experts predict that

 opioids could kill 500,000 Americans over the next decade, and that the annual death toll will

 increase by at least 35 percent between 2015 and 2027—that means more than 93,000 deaths a

 year by 2027.6

         11.      There are now more than 100 deaths a day from opioids, and the devastation

 blankets the United States—from bucolic New England suburbs to the farms in California, from

 beaches in the Florida Keys to the White Mountains of New Hampshire.7




 5
     Center for Disease Control and Prevention, Drug Overdose Death                            Data,
 https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited February 20, 2018)
 6
     Max Blau, STAT Forecast: Opioids could kill nearly 500,000 Americans in the next decade
 (June 27, 2017), https://www.statnews.com/2017/06/27/opioid-deaths-forecast/ (last visited
 February 20, 2018)
 7
     Center for Disease Control and Prevention, Drug Overdose Death                            Data,
 https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited February 20, 2018)


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              12.   The epidemic touches all demographics: new born children and the elderly, men

 and women, veterans and civilians, farmers and musicians, lawyers and construction workers,

 stay-at-home moms and the homeless.8

              13.   All the while, the communities where the newly addicted live struggle to contain

 the epidemic and ameliorate its consequences. For example, in 2016 and 2017, the Camden

 County Police Department (“CCPD”) expended at least 1,740 man hours responding to 941

 opioid overdoses—131 of which resulted in death.

              14.   Since 2014, the Camden County Police Department has saved 312 lives by

 administering Narcan to those who have overdosed on opioids. But, even so, opioid related

 deaths are on the rise.

              15.   Addiction is on the rise as well. It is estimated that approximately 2.6 million

 Americans over the age of 12 were addicted to prescription pain relievers and heroin in 2015.

 That number is likely even higher today.9

              16.   In 2012, only 241,000 privately insured patients were diagnosed with opioid

 dependence.

              17.   By 2016, that number was 1.4 million. And that does not even account for the

 hundreds of thousands more battling addictions while on Medicaid or Medicare, or while

 uninsured.10

              18.   And, increasingly, those who have an opioid dependency, but cannot obtain a

 prescription (either because they cannot afford it, or cannot find a doctor to fill it), turn from

 8
     https://www.statnews.com/2017/06/27/opioid-deaths-forecast/ (last visited February 20, 2018)
 9
     https://www.statnews.com/2017/06/27/opioid-deaths-forecast/ (last visited February 20, 2018)
 10
      Id.


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 prescription pills to heroin or fentanyl – which is less expensive, often more accessible, and can

 be even more potent11

              19.   Indeed, 75 percent of patients in heroin treatment centers started their opioid use

 with prescription medications, not heroin.12

              20.   Based on these statistics, most Americans know someone that either is struggling

 with, has been impacted by, or has died from an opioid addiction.

              21.   In 1991, doctors wrote 76 million opioid prescriptions.13 Less than a decade later

 (by 2000), that number had almost doubled, jumping to 131,000,000.14 By the next decade

 (2012), the number had almost doubled again, to an alarming 259,000,000 prescriptions 15--

 enough for every man, woman, and child to get at least one bottle of prescription opioid pills that

 year.

              22.   By 2015, the amount of opioids prescribed was enough for every American to be

 medicated around the clock for three weeks.




 11
      Id.
 12
        Maia   Szalavitz,   “Five    Myths     About     Heroin”     (March    4,    2016),
 https://www.washingtonpost.com/opinions/five-myths-about-heroin/2016/03/04/c5609b0e-d500-
 11e5-b195-2e29a4e13425_story.html?utm_term=.40eeb3df6d96 (last visited February 20, 2018).
 13
      Id.
 14
    Christopher M. Jones, “Prescription Drug Abuse & Overdose in the United States”
 https://secure.in.gov/attorneygeneral/files/Jones_Indiana_RX_Meeting_-_CJONES(5).pdf (last
 visited February 20, 2018).
 15
    Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs (July
 2014), https://www.cdc.gov/vitalsigns/opioid-prescribing/


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        23.     The increased sales of prescription opioids is not accompanied by an overall

 change in the amount of pain reported.16

        24.     This meteoric rise in prescriptions (and the attendant rise in addiction to and

 abuse of prescription opioids and heroin) is not due to a medical breakthrough.

        25.     Rather, is has been Defendants’ quest for greater profits by way of a fraudulent

 and deceptive marketing scheme—all at the expense of American lives and their communities—

 that has caused increases in prescriptions and addictions.

        26.     The cost of the opioid epidemic is estimated to have exceeded $1 trillion from

 2001 to 2017, and is projected to cost an additional $500 billion by 2020.17

        27.     Accordingly, in addition to injunctive relief and damages for past costs incurred

 by the County, the County seeks monetary damages for the costs needed to prospectively contain

 and minimize the impact of the Epidemic on the County and its residents, including funding for:

 (i) treatment programs, including expanded educational programs, medication assisted treatment,

 and social services; (ii) programs to reduce demand, strengthen education in the community, and

 provide associated family support and child services; (iii) harm reduction programs, including

 improved access and training regarding naloxone and other overdose antidotes; and (iv)




 16
    Overdoses of Prescription Opioid Pain Relievers United States, 1999—2008, Centers for
 Disease     Control     and    Prevention:     Vital   Signs     (November  4,    2011),
 https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6043a4.htm; see also, Chang H, Daubresse
 M, Kruszewski S, et al. Prevalence and treatment of pain in emergency departments in the
 United States, 2000 – 2010. Amer. J. of Emergency Med. 2014; 32(5): 421-31.
 17
       Economic Toll of Opioid Crisis In U.S. Exceeded $1 Trillion Since 2001,
 https://altarum.org/about/news-and-events/economic-toll-of-opioid-crisis-in-u-s-exceeded-1-
 trillion-since-2001 (last visited February 20, 2018)


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 increased police and task force activity to reduce diversion of prescription opioids and the supply

 of illicit opioids, such as heroin and fentanyl.

 II.     PARTIES

         A.     Plaintiff

         28.    Plaintiff Camden County, New Jersey (“County” or “Plaintiff”) is located in New

 Jersey. The County’s population is roughly 510,000.

         29.    To increase awareness among County residents of heroin and prescription drug

 abuse and the devastating effects it has on its community, the County created an Addiction

 Awareness Task Force (“AATF”). The goals of AATF are to help to reduce the demand for and

 availability of prescription opioids and heroin, create awareness programs to educate residents

 about programs and resources available to prevent and treat addiction, and to support the creation

 of additional resources to treat and prevent addiction to heroin and prescription drugs.

         30.    The County also created the Office of Mental Health and Addiction to combat the

 opioid epidemic.

         31.    The County has incurred significant costs and a loss of resources attempting to

 curb the epidemic, impacting virtually every branch of the County—from emergency services, to

 the courts, to care facilities and clinics, to prisons, and to the police department.

         32.    The County has been required to spend increasing amounts of money and

 resources to combat the increasing opioid epidemic, including but not limited to:

                (a)     Medication costs for employees and retirees;

                (b)     Health insurance premiums paid on behalf of employees and retirees;

                (c)     Addiction treatment for employees and retirees;

                (d)     Costs related to absenteeism due to addiction in the workforce;


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               (e)    Overdose- and addiction-related medical and hospital costs for employees

                      and retirees;

               (f)    Overdose-related emergency room services for indigent members of the

                      community and jail inmates;

               (g)    Detoxification, substance abuse treatment, and certain related medical care

                      for jail inmates;

               (h)    Incarceration costs for opioid-related crimes;

               (i)    Police services associated with opioid arrests and overdose calls;

               (j)    Drug court and related judicial expenditures;

               (k)    Medical examiner and burial costs associated with overdoses and related

                      medical conditions; and

               (l)    Homelessness services and mental health services related to opioid

                      addiction.

        33.    The County has expended taxpayers’ resources to address these harms caused by

 the opioid epidemic, as well as many others. In many cases, law enforcement has, by default,

 become the first responders to deal with the crisis. This is not only counter-productive to law

 enforcement’s intended mission, but it is also not an effective way to stem of the epidemic of

 addiction.

        34.    Defendants can, and must, be held accountable.

        B.     Manufacturer Defendants

        35.    Defendant Purdue Pharma L.P. is a Delaware limited partnership formed in 1991

 with headquarters located in Stamford, Connecticut and offices for Research and Development in

 Cranbury, New Jersey and Ewing, New Jersey, as well as facilities in Totowa, New Jersey that


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 manufacture and distribute OxyContin.        The company maintains four operational branches:

 Purdue Pharma L.P., the Purdue Frederick Company, Purdue Pharmaceutical Products L.P. and

 Purdue Products L.P. (referred to collectively herein as “Purdue”).

        36.     Defendant Dr. Richard Sackler (“Dr. Sackler”) is a board member and the former

 President and Co-Chairman of Purdue Pharma L.P. Dr. Sackler is the named inventor on

 multiple patents directed toward the opioids at issue in the opioid addiction epidemic.

        37.     Defendant the Estate of Mortimer Sackler (“Estate of M. Sackler”) was co-CEO

 of Purdue Pharma during the crucial period of OxyContin’s development and promotion.

        38.     Defendant the Estate of Raymond Sackler (“Estate of R. Sackler”) was co-CEO of

 Purdue Pharma during the crucial period of OxyContin’s development and promotion.

        39.     Defendant Abbott Laboratories (“Abbott”) is an Illinois corporation with its

 principal place of business in Abbott Park, Illinois.

        40.     Defendant Cephalon, Inc. is a Delaware corporation with its headquarters and

 principal place of business located in Frazer, Pennsylvania.

        41.     Defendant Teva Pharmaceutical Industries Inc. (“Teva USA”) is a wholly-owned

 subsidiary of Teva Pharmaceutical Industries, Ltd. (Teva Ltd.”), an Israeli corporation. Teva

 USA is a Delaware corporation with its principal place of business in Pennsylvania.

        42.     Teva USA and Cephalon, Inc. work together closely to market and sell Cephalon

 products in the United States. Teva USA conducts Teva Ltd.’s sales and marketing activities for

 Cephalon in the United States and has done so since Teva Ltd.’s October 2011 acquisition of

 Cephalon. Teva USA holds out Actiq and Fentora as Teva products to the public. Teva USA

 sells all former Cephalon branded products through its “specialty medicines” division. The FDA

 approved prescribing information and medication guide, which is distributed with Cephalon


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 opioids marketed and sold in Chicago, discloses that the guide was submitted by Teva USA, and

 directs physicians to contact Teva USA to report adverse events. (Teva USA and Cephalon, Inc.

 collectively are referred to herein as “Cephalon.”)

           43.   Defendant Endo International plc is an Irish public limited company with its

 headquarters in Dublin, Ireland. Endo Pharmaceuticals Inc. (together with Endo International

 plc, “Endo”) is a Delaware corporation with its headquarters and principal place of business in

 Malvern, Pennsylvania. Endo Pharmaceuticals Inc. is an indirectly wholly-owned subsidiary of

 Endo International plc.

           44.   Defendant Janssen Pharmaceuticals, Inc. (“Janssen”) (formerly known as Ortho-

 McNeil-Janssen Pharmaceuticals, Inc. and Janssen Pharmaceutica) is headquartered in Titusville,

 New Jersey and Raritan, New Jersey. Janssen is a wholly-owned subsidiary of Johnson &

 Johnson, a New Jersey corporation with its principal place of business in New Brunswick, New

 Jersey.

           45.   Defendant Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its

 principal place of business in Chandler, Arizona.

           46.   Defendant Mallinckrodt plc is an Irish public limited company with its

 headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt Pharmaceuticals

 (together with Mallinckrodt plc, “Mallinckrodt”) is a Delaware corporation with its headquarters

 in Hazelwood, Missouri.

           47.   ABC Corporations 1-100 engaged in the manufacturing of opioids.

           C.    Distributor Defendants

           48.   Defendant AmerisourceBergen is a Delaware corporation with its headquarters

 and principal place of business located in Chesterbrook, Pennsylvania.


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        49.     Defendant McKesson is a Delaware corporation with its headquarters and

 principal place of business located in San Francisco, California.

        50.     Defendant Cardinal Health is a Delaware corporation with its headquarters and

 principal place of business located in Dublin, Ohio.

        51.     ABC Corporations 1-100 engaged in the distribution of opioids.

        D.      Retailer Defendants

        52.     Defendant CVS Health Corporation is a Delaware corporation with its

 headquarters and principal placed of business located in Woonsocket, Rhode Island.

        53.     Defendant Walgreens Boots Alliance, Inc. is a Delaware corporation with its

 headquarters in Deerfield, Illinois.

        54.     Defendant Costco Wholesale Corporation is a Washington corporation with its

 headquarters in Issaquah, Washington.

        55.     Defendant Rite Aid Corporation is a Delaware Corporation with its headquarters

 in Camp Hill, Pennsylvania.

        56.     ABC Corporations 1-100 engaged in the filling of prescriptions for opioids.

        E.      Defendants’ Agents

        57.     All of the actions described in this Complaint are part of, and in furtherance of,

 the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants or

 their officers, agents, employees, or other representatives while actively engaged in the

 management of Defendant’s affairs within the course and scope of their duties and employment,

 and/or with Defendant’s actual, apparent, and/or ostensible authority.




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          58.    Jane and John Does 1-100, and ABC Corporations 1-100 actively engaged in the

 management of Defendants’ affairs within the course and scope of their duties and employment,

 and/or with Defendant’s actual, apparent, and/or ostensible authority.

 III.     JURISDICTION AND VENUE

          59.    This Court has personal jurisdiction over Defendants because they transact and/or

 during the relevant period, have transacted business in the State of New Jersey and Camden

 County.

          60.    Venue is proper in Camden County pursuant to R. 4:3-2, because Defendants

 transact and/or during the relevant period, transacted business in Camden County.

 IV.      FACTUAL BACKGROUND

          61.    The opioid epidemic plaguing this country today has its roots in the development,

 marketing, manufacture, sale, and distribution of opioids in the 1990’s, and continues to the

 present day.

          62.    As Senator McCaskill declared:

                  The opioid epidemic is the direct result of a calculated marketing and sales
          strategy developed in the 90’s, which delivered three simple messages to
          physicians. First, that chronic pain was severely undertreated in the United
          States. Second, that opioids were the best tool to address that pain. And third,
          that opioids could treat pain without risk of serious addiction. As it turns out,
          these messages were exaggerations at best and outright lies at worst.

                                               *            *   *

                   Our national opioid epidemic is complex, but one explanation for this
          crisis is simple, pure greed.




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                 A.      Defendants’ Quest for Profits, Not A Medical Breakthrough,
                         Expanded the Market for Prescription Opioids to Long Term
                         Use for “Every Day Pain”

         63.     By the late 1980s, the patent on its main source of revenue, a morphine pill for

 cancer patients called MS Contin, was running out for Purdue. Executives—including Richard,

 Raymond, and Mortimer Sackler—anticipated a massive loss of revenue as generic versions

 drove down the price of MS Contin.

         64.     In a 1990 memo, Robert F. Kaiko (“Kaiko”), vice president for clinical research,

 explained that “MS Contin may eventually face such serious generic competition that other

 controlled-release opioids must be considered.”

         65.     Purdue already had developed a mechanism to extend a drug’s release over time.

 In MS Contin, that mechanism made morphine last 8 to 12 hours. Purdue decided to use it on an

 old, cheap narcotic, oxycodone.

         66.     Sold under several names and formulations, including Percocet and Roxicodone,

 oxycodone controls pain for up to six hours.

         67.     With the delayed-release mechanism, executives, chief among them Richard

 Sackler, theorized that the drug would last 12 hours — at least twice as long as generics and the

 high end of MS Contin’s range.

         68.     The first patients to use OxyContin were women recuperating from abdominal

 and gynecological surgery at two hospitals in Puerto Rico in 1989. In the clinical study,

 designed and overseen by Purdue scientists and paid for by the company, 90 women were given

 a single dose of the drug while other patients were given short-acting painkillers or placebos.

 None of the women were regular users of painkillers, so they were more susceptible to the

 effects of narcotics.


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        69.     Even so, more than a third of the women given OxyContin started complaining

 about pain in the first eight hours and about half required more medication before the 12-hour

 mark, according to an FDA analysis of the study.

        70.     Despite the results of the clinical trials calling into question the 12-hour

 effectiveness, Purdue continued developing OxyContin as a 12-hour drug. It did not test

 OxyContin at more frequent intervals (i.e., intervals of less than 12-hours).

        71.     In statements to the patent office—contrary to the results of its clinical testing—

 Purdue claimed that OxyContin “provides pain relief [to] patient[s] for at least 12 hours after

 administration.”

        72.     Purdue launched OxyContin in 1996, touting in advertisements in medical

 journals that it would last 12-hours. For example, in one advertisement, a spotlight illuminated

 two dosage cups, one marked 8 AM and the other 8 PM. “REMEMBER, EFFECTIVE RELIEF

 JUST TAKES TWO,” and another read “One dose relieves pain for 12 hours, more than twice

 as long as generic medications.”18

        73.     Before OxyContin, doctors had viewed narcotic painkillers as dangerously

 addictive and primarily reserved their long-term use for cancer patients and the terminally ill.

 Purdue, led by the Sacklers, wanted a bigger market, and set out to create it through a campaign

 of false and deceptive marketing.

        74.     “We do not want to niche OxyContin just for cancer pain,” a marketing executive

 explained to employees planning the drug’s debut, according to minutes of the 1995 meeting.



 18
    Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem,
 L.A. Times (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/ (hereinafter
 “Ryan, Description of Hell”).


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        75.     Accordingly, under the direction of the Sacklers, Purdue spent $207 million on

 the launch of OxyContin, doubling its sales force to 600. Sales representatives were trained to

 pitch the drug to family doctors and general practitioners to treat common conditions such as

 back aches and knee pain.

        76.     With Percocet and other short-acting drugs, patients have to remember to take a

 pill up to six times a day, Purdue told doctors. OxyContin “spares patients from anxious ‘clock-

 watching.’”

        77.     Purdue’s marketing effort was brazen. Sales representatives showered prescribers

 with clocks and fishing hats embossed with “Q12h.” The company invited doctors to dinner

 seminars and flew them to weekend junkets at resort hotels, where they were encouraged to

 prescribe OxyContin and promote it to colleagues back home.

        78.     Purdue sales representatives, who spent their days visiting doctors to talk up

 OxyContin, heard repeatedly that the drug did not last. In reports to Purdue headquarters, they

 wrote that many physicians were prescribing it for three or even four doses a day.

        79.     By 2000, data analyzed by company employees showed that one in five

 OxyContin prescriptions was for use every eight hours, or even more frequently.

        80.     But, managed care companies began denying these shorter prescriptions, and

 pharmacies refused to fill prescriptions for anything other than every twelve hours. This created

 a sales problem for Purdue and the Sacklers.

        81.     To solve this problem, Purdue (incredibly without any scientific basis) instructed

 its sales team to recommend to physicians that they increase the strength of the dose of the

 prescriptions rather than the frequency and to remind physicians that there is no ceiling on the

 amount of OxyContin a patient can be prescribed.


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         82.        While increasing the dosage could extend the duration, it did not guarantee 12

 hours of relief.

         83.        But, higher doses did guarantee more money for Purdue and its sales

 representatives, while exposing patients to greater risks.

         84.        Purdue charged wholesalers on average about $97 for a bottle of the 10-milligram

 pills, the smallest dosage, while the maximum strength, 80 milligrams, cost more than $630,

 according to 2001 sales. On information and belief, commissions and performance evaluations

 for the sales force were based in part on the proportion of sales from high-dose pills.

         85.        Purdue was aware that those on higher doses of opioids are more likely to

 overdose.

         86.        Indeed, an analysis of the medical records of more than 32,000 patients on

 OxyContin and other painkillers in Ontario, Canada, found that one in 32 patients on high doses

 fatally overdosed.

         87.        Purdue and the Sacklers knew that the potential for abuse was a barrier to

 expanding opioid sales. For example, prior to launching OxyContin, Purdue conducted focus

 groups with doctors and “learned that the ‘biggest negative’ that might prevent widespread use of

 the drug was ingrained concern regarding the ‘abuse potential’ of opioids.”19

         88.        In its initial press release launching the drug, Purdue told doctors that one

 OxyContin tablet would provide “smooth and sustained pain control all day and all night.”

 Based in large part on that promise, and Purdue’s repeated assurances that opioids were both




 19
      Keefe, Empire of Pain, supra n.3.


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 effective and non-addictive, OxyContin became America’s bestselling painkiller.20 But, Purdue

 had no evidentiary basis for these claims.

         89.     In truth, and as alleged above, Purdue’s nationwide marketing claims were false

 and highly deceptive. OxyContin was not superior to immediate-release opioids. And not only

 does OxyContin wear off well in advance of 12 hours, as Purdue’s own early studies showed, it

 is (contrary to Purdue’s central thesis) highly addictive.

         90.     “Brain abnormalities resulting from chronic use of heroin, oxycodone, and other

 morphine-derived drugs are underlying causes of opioid dependence (the need to keep taking

 drugs to avoid a withdrawal syndrome) and addiction (intense drug craving and compulsive

 use).”21

         91.     Furthermore, contrary to what Purdue was telling Doctors, experts characterized

 the 12-hour dosing regimen was “‘an addiction producing machine.’”22 Purdue had reportedly

 known for decades that it falsely promised 12-hour relief and nevertheless mobilized hundreds of

 sales representatives to “refocus” physicians on 12-hour dosing:

               . . . Even before OxyContin went on the market, clinical trials showed
                 many patients weren’t getting 12 hours of relief. Since the drug’s debut
                 in 1996, the company has been confronted with additional evidence,
                 including complaints from doctors, reports from its own sales
                 respresentatives and independent research.



 20
     Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering from
 Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996);
 see also, http://documents.latimes.com/oxycontin-press-release-1996/ (last visited February 20,
 2018).
 21
      Kosten, et al., The Neurobiology of Opioid Dependence: Implications for Treatment,
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2851054/
 22
      Ryan, Description of Hell, supra n. 16.


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               The company has held fast to the claim of 12-hour relief, in part to protect
                 its revenue. OxyContin’s market dominance and its high price – up to
                 hundreds of dollars per bottle – hinge on its 12-hour duration. Without
                 that, it offers little advantage over less expensive painkillers.

               When many doctors began prescribing OxyContin at shorter intervals in
                 the late 1990s, Purdue executives mobilized hundreds of sales
                 respresentatives to “refocus” physicians on 12-hour dosing. Anything
                 shorter “needs to be nipped in the bud. NOW!!” one manager wrote to her
                 staff.

               Purdue tells doctors to prescribe stronger doses, not more frequent ones,
                 when patients complain that OxyContin doesn’t last 12 hours. That
                 approach creates risks of its own. Research shows that the more potent the
                 dose of an opioid such as OxyContin, the greater the possibility of
                 overdose and death.

               More than half of long-term OxyContin users are on doses that public
                 health officials consider dangerously high, according to an analysis of
                 nationwide prescription data conducted for The Times.23

         92.     As reported by The New York Times, “internal Purdue Pharma documents show

 that company officials recognized even before the drug was marketed that they would face stiff

 resistance from doctors who were concerned about the potential of a high-powered narcotic like

 OxyContin to be abused by patients or cause addiction.” To combat this resistance, Purdue

 falsely promised the long-acting, extended-release formulation was safer and “less prone to such

 problems.”24




 23
      Ryan, Description of Hell, supra n. 16.
 24
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10,
 2007), http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier,
 Guilty Plea”).


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                B.      Purdue & Abbott Laboratories Co-Promotion of OxyContin

        93.     Purdue and Abbott entered into a co-promotion agreement to market and sell

 OxyContin from 1996 through 2002—a critical period directly following the approval of the

 drug by the U.S. Food and Drug Administration.

        94.     With Abbott’s help, sales of OxyContin went from a mere $49 million in its first

 full year on the market to $1.6 billion in 2002. Over the life of the partnership, Purdue paid

 Abbott at least $374 million.

        95.     The sales teams of Purdue and Abbott worked together -- holding regular strategy

 sessions, alternating meeting locations between Purdue’s Stamford, Conn., headquarters and

 Abbott’s corporate offices in Illinois.

        96.     Indeed, an Abbott executive wrote to Purdue’s vice president of marketing

 pledging to take the relationship between the companies to “new heights with our positioning of

 OxyContin as a key component of Abbott Pain Management.”

        97.     Abbott heavily incentivized its sales staff to push OxyContin, offering $20,000

 cash prizes and luxury vacations to top performers.

        98.     While marketing a highly dangerous and addictive drug, the sales team cavalierly

 used terminology from the Middle Ages Crusades: Sales representatives were called “royal

 crusaders” and “knights” in internal documents, and they were supervised by the “Royal Court of

 OxyContin” — executives referred to in memos as the “Wizard of OxyContin,” “Supreme

 Sovereign of Pain Management,” and the “Empress of Analgesia.” The head of pain care sales,

 Jerry Eichhorn, was the “King of Pain” and signed memos simply as “King.”




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        99.     Abbott sales staff was instructed that if a doctor was concerned about the euphoria

 a patient was experiencing on the shorter-acting painkiller Vicodin, they should tell the

 physician, “OxyContin has fewer such effects.”

        100.    Abbott also instructed sales representatives to highlight the “less abuse/addiction

 potential” of the drug, which could be taken just twice a day because of its time-release

 formulation.

        101.    Abbott sales representatives were also given a graphic to show doctors that

 depicted levels of its pain-killing ingredient in the bloodstream holding steady, but, on

 information and belief, the graphic mislead physicians to believe that the levels were “steadier”

 or “flatter” than they actually were.

        102.    And a “coaching sheet” prepared for Abbott sales personnel advised discussing

 the potential abuse of OxyContin only if a doctor brought it up, and to tell physicians that it was

 “street users” who were misusing the drug, rather than “true pain patients.”

        103.    On information and belief, under the agreement with Purdue, Abbott received 25

 percent of all net sales, up to $10 million, for prescriptions written by doctors its sales

 representatives called on, and 30 percent of sales above $10 million, according to court records.

        104.    On information and belief, prescriptions written by “Abbott MD’s” comprised 25

 percent of all OxyContin prescriptions, and between 1996 and 2002, Abbott was paid more than

 $374 million in commissions.

        105.    Even after Abbott stopped selling OxyContin, it received a residual payment of 6

 percent of net sales of OxyContin by Purdue.




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                C.      Purdue Used Big Data to Optimize Overprescribing.

         106.   On information and belief, for years Purdue has compiled profiles of doctors and

 their prescribing habits into databases.

         107.   These databases then organized the information based on location to indicate the

 spectrum of prescribing patterns in a given state or county.

         108.   Armed with this sensitive data, Purdue’s sales representatives could determine

 which doctors they would target to sell OxyContin to and which populations were susceptible to

 its product.

         109.   Indeed, Purdue’s databases contained information of hundreds of doctors

 suspected of recklessly prescribing OxyContin to addicts and drug dealers, but Purdue did not

 timely alert law enforcement or medical authorities.

         110.   In other words, Purdue, through its use of big data had a window to see where

 OxyContin was being prescribed and recklessly overprescribed. And, rather than putting a stop

 to it, simply pushed more pills in that direction.

                D.      OxyContin Opens a New Product Category for Big Pharma.

         111.   Purdue’s marketing of OxyContin transformed the practice of medicine. Other

 drug companies began peddling their own narcotic painkillers for routine injuries all based on the

 twin falsities that these powerful narcotics were not addictive and were safe and effective

 treatments for routine pain.

         112.   By 2010, one out of every five doctor’s visits in the U.S. for pain resulted in a

 prescription for narcotic painkillers, according to a Johns Hopkins University study.




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        A.      The Manufacturing Defendants Misled the Public Regarding the
                Dangers of Opioid Addiction and the Efficacy of Opioids for Long-
                Term Use, Causing Sales and Rates of Overdose and Addiction to
                Soar

        113.    From the mid-90s to the present, the Manufacturing Defendants aggressively

 marketed and falsely promoted opioids as presenting little to no risk of addiction, even when

 used long term for chronic pain. They infiltrated medical academia faculty and literature as well

 as regulatory agencies to convince doctors that treating chronic pain with long-term opioids was

 evidence-based medicine when, in fact, it was not. Huge prescribing and profits resulted from

 these efforts, leading to the present addiction and overdose epidemic.

                A.     Background on Opioid Overprescribing

        114.    The Manufacturing Defendants’ scheme to drive their rapid and dramatic

 expansion of prescription opioids relied on the misuse of two reports. The first was a 100-word

 letter to the editor published in 1980 in the New England Journal of Medicine (“1980 Letter to

 the Editor”).25 A 2017 study in the New England Journal of Medicine concluded:

        that a five-sentence letter published in the Journal in 1980 was heavily and
        uncritically cited as evidence that addiction was rare with long-term opioid

 25
     The 1980 Letter to the Editor, by Jane Porter (“Porter”) and Dr. Herschel Jick (“Jick”),
 reported that less than 1% of patients at Boston University Medical Center who received
 narcotics while hospitalized became addicted. Jane Porter & Hershel Jick, Addiction rate in
 patients treated with narcotics, 302(2) New Eng. J. Med. 123 (Jan. 10, 1980). The letter did not
 support the conclusion for which it was often cited by the industry. Harrison Jacobs, This one-
 paragraph letter may have launched the opioid epidemic, Bus. Insider (May 26,
 2016), http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-016-
 5 (hereinafter “Jacobs, One-paragraph letter”). As discussed in a 2009 article in the American
 Journal of Public Health, the 1980 Letter to the Editor “shed[] some light on the risk of addiction
 for acute pain, [but did] not help establish the risk of iatrogenic addiction when opioids are used
 daily for a prolonged time in treating chronic pain. [Indeed, t]here are a number of studies . . .
 that demonstrate that in the treatment of chronic non-cancer-related pain with opioids, there is a
 high incidence of prescription drug abuse.” Art Van Zee, The Promotion and Marketing of
 OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am. J. Pub. Health 221-27
 (Feb. 2009).


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         therapy. We believe that this citation pattern contributed to the North American
         opioid crisis by helping to shape a narrative that allayed prescribers’ concerns
         about the risk of addiction associated with long-term opioid therapy.26

         115.   Second was a single retrospective study published by Drs. Russell Portenoy

 (“Portenoy”) and Kathleen Foley (“Foley”) (“Portenoy Publication”).27 Portenoy, one of the

 industry’s most vocal advocates for long-term opioid use, made it his life’s work to campaign for

 the movement to increase use of prescription opioids. He was one of Opioid manufacturer’s paid

 “thought leaders” and was paid to travel the country to promote more liberal opioid prescribing

 for many types of pain.      His talks were sponsored by the Manufacturing Defendants and

 organizations paid by them as continuing medical education (“CME”) programs for doctors. He

 had financial relationships with at least a dozen pharmaceutical companies, most of which

 produced prescription opioids.28




 26
      http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
 27
     In 1986, the medical journal Pain, which would eventually become the official journal of the
 American Pain Society (“APS”), published an article by Portenoy and Foley summarizing the
 results of a “study” of 38 chronic non-cancer pain patients who had been treated with opioid
 painkillers. Portenoy and Foley concluded that, for non-cancer pain, opioids “can be safely and
 effectively prescribed to selected patients with relatively little risk of producing the maladaptive
 behaviors which define opioid abuse.” However, their study was neither scientific nor did it
 meet the rigorous standards commonly used to evaluate the validity and strength of such studies
 in the medical community. For instance, the study was not a prospective, and had no placebo
 control group—essentially, the authors queried a few dozen patients about their prior experiences
 with opioid treatment. The authors themselves advised caution, stating that the drugs should be
 used as an “alternative therapy” and recognizing that longer-term studies of patients on opioids
 would have to be performed. None were. See Russell K. Portenoy & Kathleen M. Foley,
 Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
 (May 1986).
 28
     Anna Lembke (2016), Drug Dealer, MD – How Doctors Were Duped, Patients Got Hooked,
 and Why It’s So Hard to Stop, at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail
 of Addiction and Death (St. Martin’s Press, 1st ed. 2003)).


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           116.   Portenoy has now admitted that he minimized the risks of opioids. In a 2011

 interview released by Physicians for Responsible Opioid Prescribing, Portenoy stated that his

 earlier work purposefully relied on evidence that was not “real” and, in fact, left real evidence

 behind:

           I gave so many lectures to primary care audiences in which the Porter and Jick
           article was just one piece of data that I would then cite, and I would cite six,
           seven, maybe ten different avenues of thought or avenues of evidence, none of
           which represented real evidence, and yet what I was trying to do was to create a
           narrative so that the primary care audience would look at this information in toto
           and feel more comfortable about opioids in a way they hadn’t before. In essence
           this was education to destigmatize [opioids], and because the primary goal was
           to destigmatize, we often left evidence behind.29

           117.   The damage, however, was already done.            Remarkably, the Manufacturing

 Defendants used these two publications, the 1980 Letter to the Editor and the Portenoy

 Publication, as the foundation for a massive, far-reaching campaign to dramatically shift the

 thinking of healthcare providers, patients, policymakers and the public on the risk of addiction

 presented by opioids.

           118.   In 1997, the APS and the American Academy of Pain Medicine (“AAPM”) (both

 funded by the Manufacturing Defendants) issued a “landmark consensus,” co-authored by

 Portenoy, stating there is little risk of addiction or overdose in pain patients.30

           119.   Despite the prescription opioids’ highly addictive qualities, the Manufacturing

 Defendants aggressive pro-opioid marketing efforts effected a dramatic shift in the public’s and

 prescribers’ perception of the safety and efficacy of opioids for chronic long-term pain and

 everyday use. Contrary to what doctors had previously understood about opioid risks and

 29
    Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30,
 2011), https://www.youtube.com/watch?v=DgyuBWN9D4w.
 30
      Jacobs, One-paragraph letter, supra n.23.


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 benefits, they were encouraged for the last two decades by the Manufacturing Defendants to

 prescribe opioids aggressively and were assured, based on false evidence provided directly by

 the Manufacturing Defendants and numerous medical entities funded by or related to the

 Manufacturing Defendants (and others with financial interests in generating more opioid

 prescriptions), that: (i) the risk of becoming addicted to prescription opioids among patients

 being treated for pain was low, even as low as less than 1%; and (ii) great harm was caused by

 “under-treated pain.” These two foundational falsehoods led directly to the current opioid crisis.

           120.    As described in more detail below, the essence of the scheme was to redefine

 back pain, neck pain, headaches, arthritis, and other common conditions suffered by most of the

 population at some point in their lives as a distinct malady – chronic pain – that doctors and

 patients should take seriously and for which opioids were an appropriate, successful, and low-

 risk treatment.

           121.    The scheme was tragically successful. Indeed, studies now show more than 85%

 of patients taking OxyContin at common doses are doing so for chronic non-cancer related

 pain.31

           122.    This false and misleading marketing strategy continued despite studies revealing

 that up to 56% of patients receiving long-term prescription opioid painkillers for chronic back

 pain progress to addictive opioid use, including patients with no prior history of addiction.32



 31
    Harriet Ryan, et al., “OxyContin goes global – ‘We’re only just getting started’”, L.A. Times
 (December 18, 2016), http://www.latimes.com/projects/la-me-oxycontin-part3/ (hereinafter
 “Ryan, OxyContin goes global”).
 32
     Lembke (2016), supra n.26, at 22 (citing Martell, et al., Systematic review: opioid treatment
 for chronic back pain: prevalence, efficacy and association with addiction, 146(2) Ann. Intern.
 Med. 116-27 (2007).


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         123.    Thus, based on false and incomplete evidence, the Manufacturing Defendants

 expanded their market exponentially from patients with end-stage cancer and acute pain, an

 obviously limited customer base, to anyone suffering from “chronic pain,” which by some

 accounts includes approximately 100 million Americans – nearly one-third of the country’s

 population.33 The treatment of chronic pain includes patients whose general health is good

 enough to refill prescriptions month after month, year after year.

         124.    The promotion, distribution (without reporting suspicious sales) and rampant sale

 of opioids for such treatment has made defendants billions of dollars. It has also led to the

 opioid addiction and overdose crisis in the County and throughout the Country.

                 B.      The Fraudulent Sales Practices

         125.    As set forth below, the Manufacturing Defendants employed a variety of

 strategies both normalize the use of opioids for chronic long-term pain and by misrepresenting

 the very significant risk of addiction, overdose, and death.

                         a.      The Manufacturing Defendants Funded Front
                                 Organizations that Published and Disseminated False
                                 and Misleading Marketing Materials

         126.    Defendants sponsored purportedly neutral medical boards and foundations that

 educated doctors and set guidelines for the use of opioids in medical treatment in order to

 promote the liberal prescribing of opioids for chronic pain. The following organizations, funded

 by the Manufacturing Defendants, advised doctors that liberal prescribing of opioids was both

 safe and effective. In truth, it was neither safe, nor effective.




 33
     AAPM Facts and Figures on Pain, The American Academy of Pain Medicine,
 http://www.painmed.org/patientcenter/facts_on_pain.aspx#refer (last visited February 20, 2018).


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        127.    Federation of State Medical Boards: The Federation of State Medical Boards

 (“FSMB”) is a trade group representing the 70 medical and osteopathic boards in the United

 States. The FSMB develops guidelines that serve as the basis for model policies with the stated

 goal of improving medical practice. Defendants Purdue, Cephalon and Endo have provided

 substantial funding to the FSMB.

        128.    In 2007, the FSMB printed and distributed a physician’s guide on the use of

 opioids to treat chronic pain titled “Responsible Opioid Prescribing” by Dr. Scott M. Fishman

 (“Fishman”). After the guide was adopted as a model policy, the FSMB reportedly asked Purdue

 for $100,000 to help pay for printing and distribution. FSMB disseminated the guide to 700,000

 practicing doctors.

        129.    The guide’s clear purpose is to deceive prescribers regarding the purported under-

 treatment of pain and falsely assure them that opioid therapy is an appropriate treatment for

 chronic, non-cancer pain:

               Pain management is integral to good medical practice and for all patients;

               Opioid therapy to relieve pain and improve function is a legitimate
                medical practice for acute and chronic pain of both cancer and non-
                cancer origins;

               Patients should not be denied opioid medications except in light of clear
                evidence that such medications are harmful to the patient.

                                         *       *      *

                Four key factors contribute to the ongoing problem of under-treated
        pain:

                1.      Lack of knowledge of medical standards, current research, and
                clinical guidelines for appropriate pain treatment;

                2.       The perception that prescribing adequate amounts of opioids will
                result in unnecessary scrutiny by regulatory authorities;



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                3.      Misunderstanding of addiction and dependence; and

                4.      Lack of understanding of regulatory policies and processes.

        130.    The guide also purports to offer “professional guidelines” that will “easily and

 efficiently” allow physicians to manage that risk and “minimize the potential for abuse.” Indeed,

 it states that even for those patients assessed to have risk of substance abuse, “it does not mean

 that opioid use will become problematic or that opioids are contraindicated,” just that physicians

 should use additional care in prescribing.

        131.    The guide further warns physicians to “[b]e aware of the distinction between

 pseudoaddiction and addiction” and teaches that behaviors such as “[r]equesting [drugs] by

 name,” “[d]emanding or manipulative behavior,” “[o]btaining opioid drugs from more than one

 physician” and “[h]oarding opioids,” these are just signs of “pseudoaddiction.”

        132.    It defines “Physical Dependence” as an acceptable result of opioid therapy not to

 be equated with addiction and states that while “[i]t may be tempting to assume that patients with

 chronic pain and a history of recreational drug use who are not adherent to a treatment regimen

 are abusing medications,” there could be other acceptable reasons for non-adherence.

        133.    The guide, which became the seminal authority on opioid prescribing for the

 medical profession, dramatically overstated the safety and efficacy of opioids and understated

 the risk of opioid addiction.

        134.    This heightened focus on the under-treatment of pain was a concept designed by

 the Manufacturing Defendants to sell opioids. The FSMB actually issued a report calling on




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 medical boards to punish doctors for inadequately treating pain.34 Among the drafters of this

 policy was Dr. J. David Haddox (“Haddox”).

         135.     Haddox coined the term “pseudoaddiction,” which wholly lacked scientific

 evidence but quickly became a common way for the Manufacturing Defendants and their allies

 to promote the use of opioids even to patients displaying addiction symptoms.

         136.     Haddox later became a Purdue Vice President.35        At a 2003 conference at

 Columbia University he said: “If I gave you a stalk of celery and you ate that, it would be

 healthy. But if you put it in a blender and tried to shoot it into your veins, it would not be

 good.”36

         137.     In 2012 and again in 2017, the guides and the sources of their funding became the

 subject of a Senate investigation.

         138.     On June 8, 2012, the FSMB submitted a letter to the U.S. Senate Committee on

 Finance (“Senate Finance Committee”) concerning its investigation into the abuse and misuse of

 opioids.37     While the letter acknowledged the escalation of drug abuse and related deaths

 resulting from prescription painkillers, the FSMB continued to focus on the “serious and related

 problem” that “[m]illions of Americans suffer from debilitating pain – a condition that, for some,

 can be relieved through the use of opioids.” Among other things, the letter stated, “Studies have


 34
    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J.,
 Dec. 17, 2012, at A1.
 35
     Gounder, Who is Responsible for the Pail-Pill Epidemic?, The New Yorker (Nov. 8, 2013)
 (hereinafter, Who is Responsible).
 36
      Keefe, Empire of Pain, supra n.3.
 37
    June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus
 and Charles Grassley.


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 concluded that both acute pain and chronic pain are often under-treated in the United States,

 creating serious repercussions that include the loss of productivity and quality of life.” The letter

 cited no such studies.     The letter also confirmed that the FSMB’s “Responsible Opioid

 Prescribing: A Physician’s Guide” has been distributed in each of the 50 states and the District of

 Columbia.

        139.    In addition, the FSMB letter disclosed payments the FSMB received from

 organizations that develop, manufacture, produce, market or promote the use of opioid-based

 drugs from 1997 through the present, including in the payments received are the following

 payments from Defendants:

                     Company                 Fiscal Year               Amount
                    Purdue       2001                                $38,324.56
                                 2002                                $10,000.00
                                 2003                                $85,180.50
                                 2004                                $87,895.00
                                 2005                                $244,000.00
                                 2006                                $207,000.00
                                 2007                                $50,000.00
                                 2008                                $100,000.00
                                 Total Purdue Payments               $822,400.06
                    Endo         2007                                $40,000.00
                                 2008                                $100,000.00
                                 2009                                $100,000.00
                                 2011                                $125,000.00
                                 2012                                $46,620.00
                                 Total Endo Payments                 $371,620.00
                    Cephalon     2007                                $30,000.00
                                 2008                                $100,000.00
                                 2011                                $50,000.00
                                 Total Cephalon Payments             $180,000.00
                    Mallinckrodt 2011                                $100,000.00
                                 Total Mallinckrodt Payments         $100,000.00

        140.    The letter also disclosed payments of $40,000 by Endo and $50,000 by Purdue to

 directly fund the production of “Responsible Opioid Prescribing.”


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         141.   The Joint Commission: The Joint Commission is an organization that establishes

 standards for treatment and accredits healthcare organizations in the United States.         The

 Manufacturing Defendants, including Purdue, contributed misleading and groundless teaching

 materials and videos to the Joint Commission, which emphasized what Big Pharma coined the

 “under-treatment of pain,” referenced pain as the “fifth vital sign” (the first and only

 unmeasurable/subjective vital sign) that must be monitored and treated, and encouraged the use

 of prescription opioids for chronic pain while minimizing the danger of addiction. It also called

 doctors’ concerns about addiction “inaccurate and exaggerated.”

         142.   In 2000, the Joint Commission printed a book for purchase by doctors as part of

 required continuing education seminars that cited studies claiming “there is no evidence that

 addiction is a significant issue when persons are given opioids for pain control.” The book

 was sponsored by Purdue.

         143.   In 2001, the Joint Commission and the National Pharmaceutical Council (founded

 in 1953 and supported by the nation’s major pharmaceutical companies38) collaborated to issue a

 101-page monograph titled “Pain: Current understanding of assessment, management, and

 treatments.”   The monograph states falsely that beliefs about opioids being addictive are

 “erroneous”:

         Societal issues that contribute to the undertreatment of pain include drug abuse
         programs and erroneous beliefs about tolerance, physical dependence, and
         addiction (see I.E.5). For example, some clinicians incorrectly assume that
         exposure to an addictive drug usually results in addiction.

                                             *            *   *

         b.     Etiology, issues, and concerns


 38
      Currently funded by Johnson & Johnson, Purdue and Teva, among others.


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                 Many medications produce tolerance and physical dependence, and some
         (e.g., opioids, sedatives, stimulants, anxiolytics, some muscle relaxants) may
         cause addiction in vulnerable individuals. Most experts agree that patients who
         undergo prolonged opioid therapy usually develop physical dependence but do
         not develop addictive disorders. In general, patients in pain do not become
         addicted to opioids. Although the actual risk of addiction is unknown, it is
         thought to be quite low. A recent study of opioid analgesic use revealed “low and
         stable” abuse of opioids between 1990 and 1996 despite significant increases in
         opioids prescribed. . . .

                 Fear of causing addiction (i.e., iatrogenic addiction), particularly with
         opioid use, is a major barrier to appropriate pain management. This fear
         sometimes reflects a lack of understanding of the risk of addiction with
         therapeutic drug use. Although studies suggest that the risk of iatrogenic
         addiction is quite low (e.g., Perry and Heidrich, Zenz et al.), surveys indicate that
         clinicians often overestimate this risk.39

         144.    Additionally, the monograph recommends that “[p]ain . . . is assessed in all

 patients” and suggests that long-acting (i.e., extended release) pain medications are superior and

 should be used whenever possible:

         Long-acting and sustained-release opioids are useful for patients with
         continuous pain, as they lessen the severity of end-of-dose pain and often allow
         the patient to sleep through the night.

                                               *            *   *

               Administer opioids primarily via oral or transdermal routes, using long-
                 acting medications when possible.40

         145.    As alleged above, however, such medications do not last as long as promised,

 and, contrary to the monograph’s claims, addiction risk is very high.




 39
    Pain: Current Understanding of Assessment, Management, and Treatments 16-17 (Dec.
 2001), http://www.npcnow.org/system/files/research/download/Pain-Current-Understanding-of-
 Assessment-Management-and-Treatments.pdf (footnotes and citations omitted).
 40
      Id. at 38, 68 (Table 38).


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          146.     The Manufacturing Defendants’ infiltration and influence over the Joint

 Commission’s standards and literature provided doctors with misleading information under the

 guise of objectivity.

          147.     Further, as more and more doctors migrated from private practice to integrated

 healthcare systems in the 2000s, treatment options were dictated by, among other things, the

 Joint Commission’s guidelines.41 Consistent with the guidelines, doctors who left pain untreated

 were viewed as demonstrating poor clinical skills and/or being morally compromised.42

          148.     The U.S. General Accounting Office’s December 2003 Report to Congressional

 Requesters confirms that Purdue funded the “pain management educational courses” that taught

 the new standard of care for treating pain.        It further revealed that Purdue disseminated

 educational materials on pain management, which “‘facilitated [Purdue’s] access to hospitals to

 promote OxyContin.’”43

          149.     American Pain Foundation: The American Pain Foundation (“APF”),

 headquartered in Baltimore, Maryland, describes itself as the nation’s largest organization for

 pain patients.44 While APF holds itself out as an independent patient advocacy organization, in

 reality it received 90% of its funding in 2010 from the drug and medical-device industry,

 including from defendants Purdue, Endo, Janssen and Cephalon.


 41
      Lembke (2016), supra n.26, at 119.
 42
      Id. at 42.
 43
    Supra, Who Is Responsible, supra n.35; U.S. General Accounting Office, GAO-04-110,
 Prescription Drugs, OxyContin Abuse and Diversion and Efforts to Address the Problem (Dec.
 2003), http://www.gao.gov/new.items/d04110.pdf).
 44
     The APF was the focus of a December investigation by ProPublica in the Washington Post
 that detailed its close ties to drugmakers.


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            150.   In fact, it received more than $10 million in funding from opioid manufacturers

 from 2007 to 2012, when it shut down days after the Senate Finance Committee launched an

 investigation of APF’s promotion of prescription opioids.

            151.   The APF’s guides for patients, journalists, and policymakers downplayed the risk

 of addiction and greatly exaggerated the benefits associated with opioid painkillers. 45

            152.   For example, in 2001, APF published “Treatment Options: A Guide for People

 Living with Pain.”46 The guide, which was produced due to support from companies including

 defendants Cephalon and Purdue, misrepresented the risks associated with opioid use. Among

 other things, the guide:

                  lamented that opioids were sometimes called narcotics because “[c]alling opioid
                   analgesics ‘narcotics’ reinforces myths and misunderstandings as it places
                   emphasis on their potential abuse rather than on the importance of their use as
                   pain medicines”;47

                  stated that “[o]pioids are an essential option for treating moderate to severe pain
                   associated with surgery or trauma”;48 and

                  opined that “[r]estricting access to the most effective medications for treating pain
                   [opioids] is not the solution to drug abuse or addiction.”49




 45
     Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators
 Launch Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
 https://www.propublica.org/article/senate-panel-investigates-drug-company-ties-to-pain-groups
 (hereinafter “Ornstein, American Pain Foundation”).
 46
     Treatment Options: A Guide for People Living with Pain, American Pain Foundation,
 https://assets.documentcloud.org/documents/277605/apf-treatment options.pdf.
 47
      Id. at 11.
 48
      Id.
 49
      Id. at 15.


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          153.     Portenoy is quoted in the guide as saying “[t]his is a very good resource for the

 pain patient,” and Fishman, who is quoted as saying, “[w]hat a great job!            Finally, a pill

 consumer resource created for patients with pain. A ‘must have’ for every physician’s waiting

 room.”50

          154.     In 2003, APF published a newsletter titled “Best of . . . The Pain Community

 News” that purported to clarify any confusion over addiction and opioids and emphasized the

 “tragic consequence of leaving many people with severe pain under-treated because they – or

 their doctors – fear that opioids will cause addiction.”

          155.     In 2009, Endo sponsored APF’s publication and distribution of “Exit Wounds: A

 Survival Guide to Pain Management for Returning Veterans & Their Families” (“Exit Wounds”),

 a book described as “the inspirational story of how one courageous veteran, with the aid of his

 family, recovered and thrived despite near death, traumatic brain injury, and the loss of a limb.”

 It also purported to “offer[] veterans and their families comprehensive and authoritative

 information on . . . treatment options, and strategies for self-advocating for optimal pain care and

 medical resources inside and outside the VA system.”51

          156.     Among other false statements, Exit Wounds reported: “Long experience with

 opioids shows that people who are not predisposed to addiction are very unlikely to become

 addicted to opioid pain medications.”




 50
      Id. at 76.
 51
      Presss       Rehttp://www.vmwusa.org/index.php/component/content/article/62-vmwnow/504-
 exitwounds


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        157.    Endo, through APF, thus knowingly distributed false information to veterans with

 the intention that they would “self-advocat[e]” for opioids.        This publication also omits a

 discussion of the risks associated with opioid use.

        158.    In 2009, APF played a central role in a first-of-its-kind web-based series called

 “Let’s Talk Pain,” hosted by veteran TV journalist Carol Martin. The series brought together

 healthcare providers and “people with pain to discuss a host of issues from managing health care

 for pain to exploring integrative treatment approaches to addressing the psychological aspects

 associated with pain.” The “Let’s Talk Pain” talk show is still available online. In the very first

 episode of this talk show, the following exchange took place:

                [Teresa Shaffer (APF Action Network Leader):] As a person who has
        been living with pain for over 20 years, opioids are a big part of my pain
        treatment. And I have been hearing such negative things about opioids and the
        risk factors of opioids. Could you talk with me a little bit about that?

                [Dr. Al Anderson (AAPM Board of Directors):] The general belief
        system in the public is that the opioids are a bad thing to be giving a patient.
        Unfortunately, it’s also prevalent in the medical profession, so patients have
        difficulty finding a doctor when they are suffering from pain for a long period of
        time, especially moderate to severe pain. And that’s the patients that we really
        need to use the opioids methods of treatment, because they are the ones who need
        to have some help with the function and they’re the ones that need to be
        controlled enough so that they can increase their quality of life.52

        159.    In reality, there is little scientific evidence to support the contention that opioids

 taken long-term improve function or quality of life for chronic pain patients. 53 To the contrary,

 there is ample evidence that opioids impose significant risks and adverse outcomes on long-term

 52
     Episode 1: Safe Use of Opioids (PainSAFE), Let’s Talk Pain (Sept. 28, 2010),
 https://www.youtube.com/watch?v=zeAIvAMRgsk.
 53
     Lembke (2016), supra n.26, at 59 (citing Agency for Healthcare Research and Quality (US):
 The Effectiveness and Risks of Long-Term Opioid Treatment of Chronic Pain, Evid. Rep./Tech.
 Assess., No. 218 (2014), https://ahrq-ehc-application.s3.amazonaws.com/media/pdf/chronic-
 pain-opioid-treatment-research.pdf).


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 users and may actually reduce function. 54 As a recent article in the New England Journal of

 Medicine concluded: “Although opioid analgesics rapidly relieve many types of acute pain and

 improve function, the benefits of opioids when prescribed for chronic pain are much more

 questionable.”

        160.      The APF also developed the National Initiative on Pain Control (“NIPC”), which

 ran a facially unaffiliated website called www.painknowledge.org. NIPC promoted itself as an

 education initiative and promoted its expert leadership team, including purported experts in the

 pain management field. The website painknowledge.org promised that, on opioids, “your level

 of function should improve; you may find you are now able to participate in activities of daily

 living, such as work and hobbies, that you were not able to enjoy when your pain was worse.”

 Elsewhere, the website touted improved quality of life (as well as “improved function”) as

 benefits of opioid therapy. In a brochure available on painknowledge.org titled “Pain: Opioid

 Facts,” the NIPC misled that “people who have no history of drug abuse, including tobacco, and




 54
    Discussing the “March 2016 Guideline for Prescribing Opioids for Chronic Pain” by the
 Centers for Disease Control (“CDC”), doctors wrote:

        Most placebo-controlled, randomized trials of opioids have lasted 6 weeks or less,
        and we are aware of no study that has compared opioid therapy with other
        treatments in terms of long-term (more than 1 year) outcomes related to pain,
        function, or quality of life. The few randomized trials to evaluate opioid efficacy
        for longer than 6 weeks had consistently poor results. In fact, several studies have
        showed that use of opioids for chronic pain may actually worsen pain and
        functioning, possibly by potentiating pain perception.

 Thomas Frieden & Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing
 Guideline,    374     New        Eng.    J.  Med.     1501-04     (Apr.   21,      2016),
 http://www.nejm.org/doi/full/10.1056/ NEJMp1515917?af=R&rss=currentIssue&#t= article.


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 use their opioid medication as directed will probably not become addicted” and even refused to

 rule out the use of opioid pain relievers for patients who have a history of addiction to opioids.55

          161.     In or around 2011, the APF published the “Policymaker’s Guide,” sponsored by

 Purdue, which dispelled the notion that “strong pain medication leads to addiction” by

 characterizing it as a “common misconception[]”:

          Many people living with pain, and even some health care practitioners, falsely
          believe that opioid pain medicines are universally addictive. As with any
          medication, there are risks, but these risks can be managed when these medicines
          are properly prescribed and taken as directed. For more information about safety
          issues related to opioids and other pain therapies, visit http://www.painsafe.org.56

          162.     The guide describes “pain in America” as “an evolving public health crisis” and

 characterizes concerns about opioid addiction as misconceptions: “Unfortunately, too many

 Americans are not getting the pain care they need and deserve. Some common reasons for

 difficulty in obtaining adequate care include: . . . Misconceptions about opioid addiction.”57 It

 even characterizes as a “myth” that “[c]hildren can easily become addicted to pain

 medications.”58      The guide further asserts that “multiple clinical studies” have shown that




 55
     Pain: Opioid Facts, Pain Knowledge, https://www.peacehealthlabs.org/lab-
 services/Laboratory%20Services%20Documents/PtProtect/Opioid%20Facts.pdf (last visited
 February 20, 2018).
 56
     A Policymaker’s Guide to Understanding Pain & Its Management, American Pain
 Foundation at 5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf
 (last visited February 20, 2018).
 57
      Id. at 6.
 58
      Id. at 40.


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 opioids are effective in improving daily function, psychological health and health-related quality

 of life for chronic pain patients, which was not the case.59

        163.    In December 2011, the Washington Post reported on ProPublica’s investigation of

 the APF, which detailed APF’s close ties to drugmakers:

        [T]he pills continue to have an influential champion in the American Pain
        Foundation, which describes itself as the nation’s largest advocacy group for pain
        patients. Its message: The risk of addiction is overblown, and the drugs are
        underused.

               What the nonprofit organization doesn’t highlight is the money behind
        that message.

                The foundation collected nearly 90 percent of its $5 million in funding
        last year from the drug and medical-device industry – and closely mirrors its
        positions, an examination by ProPublica found.60

        164.    American Academy of Pain Medicine and American Pain Society: The

 Manufacturing Defendants, including at least Endo, Janssen and Purdue, have contributed

 funding to the AAPM and the APS for decades.

        165.    In 1997, the AAPM issued a “consensus” statement that endorsed opioids to treat

 chronic pain and claimed that the risk that patients would become addicted to opioids was low.

 59
    The “Policymaker’s Guide” cites for support “Opioids for chronic noncancer pain: a meta-
 analysis of effectiveness and side effects,” a review published in 2006 in the Canadian Medical
 Association Journal. Id. at 34. However, the review concludes: “For functional outcomes, the
 other analgesics were significantly more effective than were opioids.” Andrea D. Furlan, et al.,
 Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects, 174(11)
 Canadian Med. Assoc. J. 1589-94 (May 23, 2006), https://www.ncbi.nlm.nih.gov/
 pmc/articles/PMC1459894/. The Purdue-sponsored guide failed to disclose both this conclusion
 and the fact that the review analyzed studies that lasted, on average, five weeks and therefore
 could not support the long-term use of opioids.
 60
     Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller
 drugs,        probe         finds,      Wash.        Post       (Dec.       23,      2011),
 https://www.washingtonpost.com/national/health-science/patient-advocacy-group-funded-by-
 success-of-painkiller-drugs-probe-finds/2011/12/20/gIQAgvczDP_story.html?utm_term=.
 22049984c606.


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 The chairman of the committee that issued the statement, Haddox, was, at the time, a paid

 speaker for Purdue. Haddox was later hired as Purdue’s vice president for health policy. The

 consensus statement, which also formed the foundation of the 1998 guidelines, was published on

 the AAPM’s website. AAPM’s corporate council includes Purdue, Depomed, Teva and other

 pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Fishman (2005),

 Dr. Perry G. Fine (“Fine”) (2011) and Lynn R. Webster (“Webster”) (2013), all of whose

 connections to the opioid manufacturers are well-documented.

        166.    At or about the same time, the APS introduced the “pain as the 5th vital sign”

 campaign.

        167.    AAPM and APS issued guidelines in 2009 (“2009 Guidelines”) that continued to

 recommend the use of opioids to treat chronic pain. Fourteen of the 21 panel members who

 drafted the 2009 Guidelines received funding from defendants Janssen, Cephalon, Endo, or

 Purdue.

        168.    The 2009 Guidelines falsely promoted opioids as safe and effective for treating

 chronic pain and concluded that the risk of addiction was manageable for patients regardless of

 past abuse histories.61   The 2009 Guidelines have been a particularly effective channel of

 deception and have influenced not only treating physicians but also the body of scientific

 evidence on opioids; they were reprinted in the journal Pain, have been cited hundreds of times

 in academic literature and remain available online. The Manufacturing Defendants widely cited

 and promoted the 2009 Guidelines without disclosing the lack of evidence to support their

 conclusions.
 61
    Roger Chou, et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic
 Non- Cancer Pain, 10(2) J. Pain 113 (Feb. 2009), http://www.jpain.org/article/S1526-
 5900(08)00831-6/pdf (hereinafter “Chou, Clinical Guidelines”).


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        169.    Alliance for Patient Access (“APA”): Founded in 2006, APA is a self-described

 patient advocacy and health professional organization that styles itself as “a national network of

 physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

 care.”62 It is run by Woodberry Associates, a lobbying firm that was also established in 2006.63

 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The list

 includes defendants Endo, Johnson & Johnson, Mallinckrodt, Purdue, and Cephalon.

        170.    APA’s board members have also directly received substantial funding from

 pharmaceutical companies.64 For instance, board vice president Srinivas Nalamachu, M.D., who

 practices in Kansas, received more than $800,000 from 2013 through 2015 from pharmaceutical

 companies—nearly all of it from manufacturers of opioids or drugs that treat opioids’ side-

 effects, including from defendants Endo, Insys, Purdue, and Cephalon. Dr. Nalamachu’s clinic

 was raided by FBI agents in connection with an investigation of Insys and its payment of

 kickbacks to physicians who prescribed Subsys.65 Other board members include Dr. Robert A.

 Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

 pharmaceutical companies, including payments by defendants Cephalon and Mallinckrodt; Dr.

 62
     THE ALLIANCE FOR PATIENT ACCESS, About AfPA, http://allianceforpatientaccess.org/about-
 afpa/#membership (last visited February 20, 2018). References herein to APA include two
 affiliated groups: the Global Alliance for Patient Access and the Institute for Patient Access.
 63
     Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and politicians
 to push Big Pharma’s agenda, Health News Review (Oct. 2, 2017),
 https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
 politicians-push-big-pharmas-agenda/.
 64
     All information concerning pharmaceutical company payments to doctors in this paragraph is
 from        ProPublica’s       Dollars       for  Docs     database,        available       at
 https://projects.propublica.org/docdollars/.
 65
     Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, Kansas City Star
 (July 20, 2017), http://www.kansascity.com/news/business/health-care/article162569383.html.


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 Jack D. Schim from California, who received more than $240,000 between 2013 and 2015 from

 pharmaceutical companies including defendants Endo, Mallinckrodt, and Cephalon; Dr. Howard

 Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from pharmaceutical

 companies including defendants Endo, Purdue, Insys, Mallinckrodt, and Cephalon; and Dr.

 Robin K. Dore from California, who received $700,000 between 2013 and 2015 from

 pharmaceutical companies.

        171.   Among its activities, APA issued a white paper titled “Prescription Pain

 Medication: Preserving Patient Access While Curbing Abuse.”66 Among other things, the white

 paper criticizes prescription monitoring programs, purporting to express concern that they are

 burdensome, not user friendly, and of questionable efficacy:

        Prescription monitoring programs that are difficult to use and cumbersome can
        place substantial burdens on physicians and their staff, ultimately leading many to
        stop prescribing pain medications altogether. This forces patients to seek pain
        relief elsewhere, which may be much less convenient and familiar and may even
        be dangerous or illegal.

                                         *       *      *

        In some states, physicians who fail to consult prescription monitoring databases
        before prescribing pain medications for their patients are subject to fines; those
        who repeatedly fail to consult the databases face loss of their professional
        licensure. Such penalties seem excessive and may inadvertently target older
        physicians in rural areas who may not be facile with computers and may not have
        the requisite office staff. Moreover, threatening and fining physicians in an
        attempt to induce compliance with prescription monitoring programs represents a
        system based on punishment as opposed to incentives.

                                         *       *      *

        . . . . We cannot merely assume that these programs will reduce prescription pain
        medication use and abuse.

 66
     Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for
 Patient Access (Oct. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-
 content/uploads/2013/12/PT_White-Paper_Finala.pdf.


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        172.    The white paper also purports to express concern about policies that have been

 enacted in response to the prevalence of pill mills:

        Although well intentioned, many of the policies designed to address this problem
        have made it difficult for legitimate pain management centers to operate. For
        instance, in some states, [pain management centers] must be owned by physicians
        or professional corporations, must have a Board certified medical director, may
        need to pay for annual inspections, and are subject to increased record keeping
        and reporting requirements. . . . [I]t is not even certain that the regulations are
        helping prevent abuses.

        173.    In addition, in an echo of earlier industry efforts to push back against what they

 termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

 pain medication:

        Both pain patients and physicians can face negative perceptions and outright
        stigma. When patients with chronic pain can’t get their prescriptions for pain
        medication filled at a pharmacy, they may feel like they are doing something
        wrong – or even criminal. . . . Physicians can face similar stigma from peers.
        Physicians in non-pain specialty areas often look down on those who specialize in
        pain management – a situation fueled by the numerous regulations and fines that
        surround prescription pain medications.

        174.    In conclusion, the white paper states that “Prescription pain medications, and

 specifically the opioids, can provide substantial relief for people who are recovering from

 surgery, afflicted by chronic painful diseases, or experiencing pain associated with other

 conditions that does not adequately respond to over-the-counter drugs.”

                        b.      The Manufacturing Defendants Paid Doctors and Key
                                Opinion Leaders, and Sponsored Speakers’ Bureaus to
                                Disseminate False and Misleading Messaging

        175.    The Manufacturing Defendants have paid millions of dollars to physicians to

 promote aggressive prescribing of opioids for chronic pain. Recently released federal data shows

 that the Manufacturing Defendants increased such payments to physicians who treat chronic pain

 even while the opioid crisis accelerated and overdose deaths from prescription opioids and


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 related illicit drugs, such as heroin, soared to record rates.67 These payments come in the form of

 consulting and speaking fees, free food and beverages, discount coupons for drugs and other

 gifts. The total payments from the Manufacturing Defendants to doctors related to opioids

 doubled from 2014 to 2015.

            176.   According to experts, research shows even small amounts of money can have

 large effects on doctors’ prescribing practices.68 Physicians who are high prescribers are more

 likely to be invited to participate in defendants’ speakers’ bureaus.       According to a study

 published by the U.S. National Institutes of Health, “[i]n the speakers’ bureau system, physicians

 are recruited and trained by pharmaceutical, biotechnology, and medical device companies to

 deliver information about products to other physicians, in exchange for a fee.”69

            177.   The use of speakers’ bureaus has led to substantial ethical concerns within the

 medical field. According to a 2013 publication by the Institute on Medicine as a Profession,

 speakers’ bureaus are ethically compromised because they often present information as objective

 when it is heavily biased toward the interests of the industry sponsor and, in fact, may lead to the

 dissemination of false or biased information. These findings are substantiated by citations to

 research in the Journal of the American Medical Association, The Journal of Law, Medicine &

 Ethics and Academic Psychiatry.




 67
    Joe Lawlor, Even amid crisis, opioid makers plied doctors with perks, Portland Press Herald
 (Dec. 25, 2016), http://www.pressherald.com/2016/12/25/even-amid-crisis-opioid-makers-plied-
 doctors-with-perks/.
 68
      Id.
 69
    Lynette Reid & Matthew Herder, The Speakers’ bureau system: a form of peer selling, 7(2)
 Open Med. e31-e39 (Apr. 2, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3863750/.


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        The Problem:

               Pharmaceutical companies often recruit physicians to perform speeches
        or presentations for the purpose of marketing a specific drug. In 2010, 8.6% of
        physicians reported having received payments for participating in speakers’
        bureaus. These speakers’ bureaus leverage the credibility of physicians in order
        to promote the use of pharmaceutical products. The physicians are generally
        trained to present a certain message, or are provided with pre-produced slides.
        The audience may assume that these presentations are objective, when in fact
        they are heavily biased towards the interests of the industry sponsor.

                Speakers’ bureaus may lead to the dissemination of false or biased
        information. Exposure to industry-sponsored speaking events is associated with
        decreased quality of prescribing. Additionally, the compensation provided for
        these engagements may influence the attitudes or judgment of the presenter.70

        178.    For example, Fishman is a physician whose ties to the opioid drug industry are

 legion. He has served as an APF board member and as president of the AAPM, and has

 participated yearly in numerous CME activities for which he received “market rate honoraria.”

 As discussed above, he has authored publications, including the seminal guides on opioid

 prescribing, which were funded by the Manufacturing Defendants. He has also worked to

 oppose legislation requiring doctors and others to consult pain specialists before prescribing high

 doses of opioids to non-cancer patients. He has himself acknowledged his failure to disclose all

 potential conflicts of interest in a letter in the Journal of the American Medical Association titled

 “Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion.”71



 70
     Speakers’ Bureaus: Best Practices for Academic Medical Centers, IMAP (Oct. 10, 2013),
 http://imapny.org/wp-content/themes/imapny/File%20Library/            Best%20Practice%20
 toolkits/Best-Practices_Speakers--bureaus.pdf.
 71
     Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse
 and Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in
 Pain Treatment Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 2:14 PM),
 https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry
 (hereinafter “Weber, Two Leaders in Pain”).


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            179.   Similarly, Fine’s ties to the Manufacturing Defendants have been well

 documented.72 He has authored articles and testified in court cases and before state and federal

 committees, and he, too, has served as president of the AAPM and argued against legislation

 restricting high-dose opioid prescription for non-cancer patients. Multiple videos feature Fine

 delivering educational talks about prescription opioids. He has also acknowledged having failed

 to disclose numerous conflicts of interest.

            180.   Fishman and Fine are only two of the many physicians whom the Manufacturing

 Defendants paid to present false or biased information on the use of opioids for chronic pain.

                         c.     Senate Investigations of the Manufacturing Defendants

            181.   In May 2012, the Chair and Ranking Member of the Senate Finance Committee,

 Max Baucus (D-MT) and Chuck E. Grassley (R-IA), launched an investigation into makers of

 narcotic painkillers and groups that champion them. The investigation was triggered by “an

 epidemic of accidental deaths and addiction resulting from the increased sale and use of powerful

 narcotic painkillers,” including popular brand names like OxyContin, Vicodin and Opana.

            182.   The Senate Finance Committee sent letters to Purdue, Endo and Johnson &

 Johnson, as well as five groups that support pain patients, physicians or research, including the

 APF, AAPM, APS, University of Wisconsin Pain & Policy Studies Group and the Center for

 Practical Bioethics. Letters also went to the FSMB and the Joint Commission.

            183.   The Senators’ letter to APF, the Senators addressed the magnitude of the

 epidemic and asserted that mounting evidence supports that the pharmaceutical companies may

 be responsible:



 72
      Id.


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               It is clear that the United States is suffering from an epidemic of
       accidental deaths and addiction resulting from the increased sale and use of
       powerful narcotic painkillers such as Oxycontin (oxycodone), Vicodin
       (hydrocodone), Opana (oxymorphone). According to CDC data, “more than
       40% (14,800)” of the “36,500 drug poisoning deaths in 2008” were related to
       opioid-based prescription painkillers. Deaths from these drugs rose more rapidly,
       “from about 4,000 to 14,800” between 1999 and 2008, than any other class of
       drugs, [killing] more people than heroin and cocaine combined. More people in
       the United States now die from drugs than car accidents as a result of this new
       epidemic. Additionally, the CDC reports that improper “use of prescription
       painkillers costs health insurers up to $72.5 billion annually in direct health
       care costs.”

                                           *            *   *

               Concurrent with the growing epidemic, the New York Times reports that,
       based on federal data, “over the last decade, the number of prescriptions for the
       strongest opioids has increased nearly fourfold, with only limited evidence of
       their long-term effectiveness or risks” while “[d]ata suggest that hundreds of
       thousands of patients nationwide may be on potentially dangerous doses.”

              There is growing evidence pharmaceutical companies that manufacture
       and market opioids may be responsible, at least in part, for this epidemic by
       promoting misleading information about the drugs’ safety and effectiveness.
       Recent investigative reporting from the Milwaukee Journal Sentinel/MedPage
       Today and ProPublica revealed extensive ties between companies that
       manufacture and market opioids and non-profit organizations such as the
       American Pain Foundation, the American Academy of Pain Medicine, the
       Federation of State Medical Boards, and University of Wisconsin Pain and Policy
       Study Group, and the Joint Commission.

               In a ProPublica story published in the Washington Post, the watchdog
       organization examined the American Pain Foundation, a “health advocacy”
       organization that received “nearly 90 percent of its $5 million funding from the
       drug and medical device industry.” ProPublica wrote that its review of the
       American Pain Foundation’s “guides for patients, journalists, and policymakers
       play down the risks associated with opioids and exaggerate their benefits. Some
       of the foundation’s materials on the drugs include statements that are misleading
       or based on scant or disputed research.”

               According to the Milwaukee Journal Sentinel/MedPage Today, a
       “network of national organizations and researchers with financial connections
       to the makers of narcotic painkillers . . . helped create a body of dubious
       information” favoring opioids “that can be found in prescribing guidelines,
       patient literature, position statements, books and doctor education courses.”



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                Although it is critical that patients continue to have access to opioids to
        treat serious pain, pharmaceutical companies and health care organizations
        must distribute accurate and unbiased information about these drugs in order
        to prevent improper use and diversion to drug abusers.

        184.    The Senators demanded substantial discovery, including payment information

 from the companies to various groups, including the front organizations identified above, and to

 physicians, including Portenoy, Fishman and Fine, among others.          They asked about any

 influence the companies had on a 2004 pain guide for physicians that was distributed by the

 FSMB, on the APS’ guidelines and on the APF’s Military/Veterans Pain Initiative. Almost

 immediately upon the launch of the Senate investigation, the APF shut down “due to irreparable

 economic circumstances.” The opioid report resulting from this investigation has not been

 released publicly.73

        185.    On March 29, 2017, it was widely reported74 that yet another Senate investigation

 had been launched:

               Missouri Senator Claire McCaskill has launched an investigation into
        some of the country’s leading prescription drug manufacturers, demanding
        documents and records dating back the past five years which indicate just what
        the companies knew of the drugs’ risk for abuse as well as documents detailing
        marketing practices and sales presentations. Her office has sent letters to the
        heads of Purdue, Janssen/Johnson & Johnson, Insys, Mylan, and Depomed.

        The above-referenced companies were reportedly targeted based on their role in

 manufacturing some of the opioid painkillers with the highest sales in 2015.




 73
    Paul D. Thacker, Senators Hatch and Wyden: Do your jobs and release the sealed opioids
 report, Stat News (June 27, 2016).
 74
     Nadia Kounang, Senator opens investigation into opioid manufacturers, CNN (Mar. 29,
 2017,     11:06     AM),   http://www.cnn.com/2017/03/28/health/senate-opioid-manufacturer-
 investigation/ index.html.


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        186.    On September 6, 2017, Senator McCaskill’s report, “Fueling an Epidemic: Insys

 Therapeutics and the Systemic Manipulation of Prior Authorization” was published. The report

 finds that Insys manipulated the prior authorization process by misleading pharmacy benefit

 managers about the role of Insys in the prior authorization process and the presence of

 breakthrough cancer pain in potential Subsys patients.75

        187.    On September 12, 2017, Senator McCaskill convened a Roundtable Discussion on

 Opioid Marketing. During the hearing, Senator McCaskill stated:

                The opioid epidemic is the direct result of a calculated marketing and sales
        strategy developed in the 90’s, which delivered three simple messages to
        physicians. First, that chronic pain was severely undertreated in the United
        States. Second, that opioids were the best tool to address that pain. And third,
        that opioids could treat pain without risk of serious addiction. As it turns out,
        these messages were exaggerations at best and outright lies at worst.

                                             *            *   *

                 Our national opioid epidemic is complex, but one explanation for this
        crisis is simple, pure greed.

        188.    Professor Adriane Fugh-Berman (“Fugh-Berman”), Associate Professor at

 Georgetown University Medical Center and director of a program at Georgetown called Pharmed

 Out, which conducts research on and educates the public about inappropriate pharmaceutical

 company marketing, also testified during the hearing. She, too, placed the blame for the opioid

 crisis squarely at the feet of pharmaceutical companies:

               Since the 1990’s, pharmaceutical companies have stealthily distorted the
        perceptions of consumers and healthcare providers about pain and opioids. Opioid
        manufacturers use drug representatives, physicians, consumer groups, medical
        groups, accreditation and licensing bodies, legislators, medical boards and the
        federal government to advance marketing goals to sell more opioids. This
        aggressive marketing pushes resulted in hundreds of thousands of deaths from the

 75
    HSGAC Minority Staff Report, Insys Therapeutics and the Systemic Manipulation of Prior
 Authorization (2017).


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        overprescribing of opioids. The U.S. is about – comprises about five percent of
        the world population, but we use about two-thirds of the world supply of opioids.

        189.    Fugh-Berman also answered why doctors were able to be convinced by

 pharmaceutical companies’ marketing efforts:

               Why the physicians fall for this? Well, physicians are overworked,
        overwhelmed, buried in paperwork and they feel unappreciated. Drug
        respresentatives are cheerful. They’re charming. They provide both appreciation
        and information. Unfortunately, the information they provide is innately
        unreliable.

                Pharmaceutical companies influence healthcare providers’ attitudes and
        their therapeutic choices through financial incentives that include research grants,
        educational grants, consulting fees, speaking fees, gifts and meals.

        190.    Fugh-Berman further described the false information provided by pharmaceutical

 companies and the industry creation of front organizations, including the APF, to pass industry-

 influenced regulations and policies:

                Pharmaceutical companies convinced healthcare providers that they were
        opiophobic and that they were causing suffering to their patients by denying
        opioids to patients with back pain or arthritis. They persuaded prescribers that
        patients with pain were somehow immune to addiction. Even when addiction was
        suspected, physicians were taught that it might not really be addiction, it might be
        pseudo-addiction, an invented (ph) condition that’s treated by increasing opioid
        dosages.

               Industry created the American Pain Foundation co-opted other groups
        including medical organizations, and they change state laws to eliminate curbs on
        opioid prescribing. Between 2006 and 2015, pharmaceutical companies and the
        advocacy groups they control employ 1,350 lobbyists a year in legislative hubs.
        Industry-influenced regulations and policies ensure that hospitalized patients were
        and are berated paraded constantly about their level of pain and overmedicated
        with opioids for that pain. Even a week of opioids can lead a patient into addiction
        so many patients are discharged from hospitals already dependent on opioids.

        191.    In addition, Fugh-Berman pointed out that promotion of opioids remains ongoing

 despite increasing public concern about their use:

               Promotion of opioids is not in the past. Between 2013 and 2015, one in 12
        physicians took out money from opioid manufacturers, a total of more than $46


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        million. Industry-friendly messages that pharmaceutical companies are currently
        perpetuating reassure physicians that prescribing opioids is safe as long as
        patients do not have a history of substance abuse or mental illness.

        192.   Fugh-Berman concluded by stating: “It is a misperception to think that most

 opioid deaths are caused by misuse of opioids or overdoses. In fact, many deaths occur when

 people are using opioids in exactly the way they were prescribed. Misuse isn’t the problem; use

 is the problem.”

               C.      Defendants’ Marketing and Sales Strategy Worked,
                       Resulting in Devastation.

        193.   The United States, including specifically Camden County, is experiencing an

 unprecedented opioid addiction and overdose epidemic, costing millions in treatment, services

 and public safety as well as lost productivity in the workforce, economic opportunity and tax

 revenue.

        194.   By 2002, “[l]ifetime nonmedical use of OxyContin increased from 1.9 million to

 3.1 million people between 2002 and 2004, and in 2004 there were 615,000 new nonmedical

 users of OxyContin.”76

        195.   The carnage wrought by the Manufacturing Defendants’ illegal scheme has been

 profound. The drug companies profited enormously as more and more people became addicted

 to opioids and died of overdoses.

        196.   For Purdue, sales grew from $48 million per year in 1996, to over $1 billion per

 year in 2000, to $3.1 billion per year ten years later. In 2011, pharmaceutical companies

 generated revenues of $11 billion from opioid sales alone.

 76
    Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public
 Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009), https://
 www.ncbi.nlm.nih.gov/pmc/articles/ PMC2622774/ (hereinafter “Van Zee, Promotion and
 Marketing”).


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            197.   By 2004, OxyContin had “become a a leading drug of abuse in the United

 States.”77 The severity of the problem was first felt in states including Maine, West Virginia,

 eastern Kentucky, southwestern Virginia and Alabama, where, from 1998 through 2000,

 hydrocodone and oxycodone were being prescribed 2.5-5 times more often than the national

 average. By 2000, these same areas had a prescription rate up to 5-6 times higher than the

 national average. These areas were also the first to suffer increased abuse and diversion, which

 became apparent by 1999 and 2000. Manufacturers then expanded the geographic market by

 investing hundreds of millions of dollars in marketing, and the once-regional problem began to

 spread nationally.

            198.   As OxyContin sales grew between 1999 and 2002, so did sales of other opioids,

 including fentanyl (226%), morphine (73%) and oxycodone (402%). And, as prescriptions

 surged between 1999 and 2010, so did deaths from opioid overdoses (from about 4,000 to almost

 17,000).78

            199.   In 2012 alone, an estimated 259 million opioid prescriptions were filled, enough

 to medicate every adult in the United States for a month on a round-the-clock basis.79 The use of

 prescription painkillers cost health insurers up to $72.5 billion annually in direct healthcare

 costs.80


 77
      Id.
 78
      Gounder, Who Is Responsible, supra n.35.
 79
    Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs (July
 2014), https://www.cdc.gov/vitalsigns/opioid-prescribing/.
 80
    Katherine Eban, OxyContin: Purdue Pharma’s painful medicine, Fortune Magazine (Nov. 9,
 2011), http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/ (hereinafter
 “Eban, Painful Medicine”).


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            200.   Public health officials have called the current epidemic the worst drug crisis in

 American history.81

            201.   The County is one of the hardest hit counties in New Jersey. In 2017, the County

 saw 90 fatal overdoses.

            202.   Since 2014 CCPD has saved 312 lives with the administration of Narcan to an

 overdose victim.

            203.   In 2016 and 2017, CCPD responded to 949 overdoses, (130 of which were

 fatalities), and administered Narcan 141 times. These 949 calls for services related to overdoses

 equaled 1,740 man hours.

            204.   In 2015, opioids killed at least 918 people across the State. More alarming is

 that its chemical cousin, the ultra-potent fentanyl, was implicated in more than 400 deaths

 after being responsible for just 46 two years before. 82

            205.   Data released by the Centers for Disease Control and Prevention demonstrates

 that the rate at which heroin and fentanyl are killing in the State far outpaces the national

 average.83

            206.   The County is compelled to divert significant resources each year to provide a

 wide range of opioid- and addiction-related services for its residents and visitors – money that

 it would not have had to spend but for the extreme and continuing public nuisance caused by


 81
    Julie Borman, Inside a Killer Drug Epidemic: A Look at America’s Opioid Crisis, N.Y.
 Times (Jan. 6, 2017), https://www.nytimes.com/2017/01/06/us/opioid-crisis-epidemic.html.
 82

 http://www.nj.com/news/index.ssf/2016/12/nj_heroin_death_rate_was_25_times_the_skyrocketi
 ng_us_rate_in_2015.html (last visited February 20, 2018).
 83
      Id.


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 defendants’ actions – including, for instance, law enforcement and emergency response

 services and treatment.

        207.    The County continues to suffer significant financial consequences as a result of

 opioid over-prescription and addiction, including, but not limited to, increased law

 enforcement expenditures, increased public works expenditures, increased emergency and

 treatment services, and lost productivity, economic opportunity, and property and tax revenue.

 In order to properly address this unprecedented epidemic and protect the safety and welfare of

 its residents, the County has had to significantly modify its emergency response plan,

 requiring the hiring of additional permanent emergency response personnel, overtime pay, and

 the purchase and maintenance of additional emergency vehicles and supplies, such as Narcan

 – none of which would have otherwise been necessary. Additionally, the County must now

 pay for and provide mental health services to its employees, who are on the front lines of

 assisting residents and visitors, and otherwise re-allocate County funds to cope with the Opioid

 epidemic.

        B.      Each Manufacturing Defendant Engaged in Fraudulent And
                Deceptive Acts that Targeted Prescribers in the County

                A.      Purdue

        208.    Purdue Pharma Inc. is a Delaware corporation with its principal place of business

 in Stamford, Connecticut, and The Purdue Frederick Company, Inc. is a Delaware corporation

 with its principal place of business in Stamford, Connecticut (collectively, “Purdue”). Purdue is

 privately held by the Sackler family – one of America’s wealthiest families with a collective net

 worth of thirteen billion dollars.   Purdue markets, sells, and distributes opioids in the County,

 including the following:



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  OxyContin             Opioid agonist84 indicated for pain severe enough to require   Schedule II
  (oxycodone            daily, around-the-clock, long-term opioid treatment; not
  hydrochloride         indicated as an as-needed (p.r.n.) analgesic. It was first
  extended release)     approved by the FDA in December 1995.
  MS Contin             Opioid agonist; controlled-release tablet form of morphine     Schedule II
  (morphine sulfate     sulfate indicated for the management of severe pain; not
  extended release)     intended for use as a p.r.n. analgesic; first approved in May
                        1987 as the first formulation of an opioid pain medicine that
                        allowed dosing every 12 hours.
  Dilaudid              Opioid analgesic; injectable and oral formulation; eight times Schedule II
  (hydromorphone        more potent than morphine.85
  hydrochloride)
  Dilaudid-HP           Opioid analgesic; injectable and oral high-potency and        Schedule II
  (hydromorphone        highly concentrated formulation indicated for relief of
  hydrochloride)        moderate-to-severe pain in opioid-tolerant patients.
  Hysingla ER           Brand-name extended-release form of hydrocodone bitrate       Schedule II
  (hydrocodone          that is indicated for the management of severe pain.
  bitrate)
  Targiniq ER           Brand-name extended-release opioid analgesic made of a        Schedule II
  (oxycodone            combination of oxycodone hydrochloride and naloxone
  hydrochloride and     hydrochloride. It was approved by the FDA on July 23,
  naloxone              2013.
  hydrochloride)

                        a.      Purdue Falsely Marketed Low Addiction Risk to Wide
                                Swaths of Physicians

        209.   In In addition to pushing OxyContin as safe and non-addictive, Purdue also

 promoted prescription opioids for use in non-cancer patients, who make up 86% of the total

 opioid market today.




 84
     An “agonist” medication is one that binds to and fully activates targeted receptors in the
 brain. They activate these neurotransmitter receptors to illicit a certain response. An
 “antagonist” medication, on the other hand, works to prevent the binding of other chemicals to
 neurotransmitters in order to block a certain response. Both may be used to offer pain relief.
 Health Q&A, Reference*, https://www.reference.com/health/difference-between-agonist-
 antagonist-drugs-838e9e0994a788eb (last visited February 20, 2018).
 85
     Dilaudid Addiction, Suboxone California, https://www.suboxonecalifornia.com/suboxone-
 treatment/dilaudid-addiction/ (last visited February 20, 2018).


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         210.    Rather than targeting merely those physicians treating acute severe short-term

 (like post-operative) pain or oncologists treating end-stage cancer pain, Purdue heavily promoted

 OxyContin nationwide to other doctors such as general practitioners, who had little training in

 the treatment of serious pain or in recognizing signs of drug abuse in patients.86 According to a

 report in The New Yorker regarding Purdue’s strategies, “[a] major thrust of the sales campaign

 was that OxyContin should be prescribed not merely for the kind of severe short-term pain

 associated with surgery or cancer but also for less acute, longer-lasting pain: arthritis, back pain,

 sports injuries, fibromyalgia” and “[t]he number of conditions that OxyContin could treat

 seemed almost unlimited.”87

         211.    Sales representatives even provided physicians with coupons redeemable for a

 seven- to thirty-day supply of free OxyContin, a Schedule II narcotic that by definition cannot be

 prescribed for more than one month at a time, with the promise that OxyContin was a safe

 opioid. Purdue “trained its sales representatives to carry the message that the risk of addiction

 was ‘less than one percent,’” and “[a] consistent feature in the promotion and marketing of

 OxyContin was a systematic effort to minimize the risk of addiction in the use of opioids for the

 treatment of chronic non-cancer­related pain.”88

         212.    Sales representatives marketed OxyContin as a product “‘to start with and to stay

 with’,” and Purdue deliberately exploited a misconception it knew many doctors held that

 oxycodone was less potent than morphine. 89 They also received training in overcoming doctors’

 86
      Meier, Guilty Plea, supra n.22.
 87
      Keefe, Empire of Pain, supra n.3.
 88
      Van Zee, Promotion and Marketing, supra n.23.
 89
      Keefe, Empire of Pain, supra n.3.

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 concerns about addiction with talking points they knew to be untrue about the drug’s abuse

 potential. The New Yorker reported that “[i]n 2002, a sales manager from the company, William

 Gergely, told a state investigator in Florida that Purdue executives ‘told us to say things like it is

 “virtually” non-addicting.’”90

            213.   Further, “[a]ccording to training materials, Purdue instructed sales representatives

 to assure doctors—repeatedly and without evidence—that “‘fewer than one per cent’” of patients

 who took OxyContin became addicted. (In 1999, a Purdue-funded study of patients who used

 OxyContin for headaches found that the addiction rate was thirteen per cent.)”91

            214.   As late as 2015, if not more recently, Purdue sales representatives were telling

 physicians OxyContin was “addiction resistant” and had “abuse-deterrent technology.”

            215.   And the marketing worked.        Keith Humphreys, professor of psychiatry at

 Stanford and drug-policy adviser to the Obama Administration, said

            That’s the real Greek tragedy of this—that so many well-meaning doctors got co-
            opted. The level of influence is just mind-boggling. Purdue gave money to
            continuing medical education, to state medical boards, to faux grassroots
            organizations.92

            216.   Additionally, Purdue tracked physicians’ prescribing practices by reviewing

 pharmacy prescription data.        Rather than reporting highly suspicious prescribing practices,

 Purdue used the data as part of its marketing scheme -- to track physicians who prescribed some

 opioids and who could be persuaded to prescribe more. Purdue also identified physicians writing




 90
      Id.
 91
      Id.
 92
      Id.


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 large numbers of prescriptions, and particularly for high-dose 80 mg pills – potential signs of

 diversion and drug dealing.93 It called those high-prescribing doctors “whales.”94

         217.    Worse yet, as early as 1993 and through to the present, Purdue, including Richard

 Sackler and other Purdue employees, have sought and received patents to lessen the probability

 of addiction to the active ingredient in OxyContin and other opioids, and thus, recognize the

 serious risk of addiction. Yet, during the same period, Purdue, on its own and through Front

 Groups and KOLs, simultaneously spent substantial sums on promotional activities and materials

 that falsely deny or downplay the serious risk of addiction and even promoting the concept that

 OxyContin is non-addictive.

         218.    Purdue knew about many suspicious doctors and pharmacies from prescribing

 records, pharmacy orders, field reports from sales representatives and, in some instances, its own

 surveillance operations.95 Since 2002, Purdue maintained a confidential roster of suspected

 93
     An 80 mg tablet is equivalent in strength to 16 Vicodin tablets, and was generally reserved
 by doctors for patients with severe, chronic pain who had built up a tolerance over months or
 years. In the illegal drug trade, however, “80s” were the most in demand. For those attempting
 to detect how OxyContin was getting onto the black market, a physician writing a high volume
 of 80s was a red flag. Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the
 hands of criminals and addicts. What the drugmaker knew, L.A. Times (July 10, 2016),
 http://www.latimes.com/ projects/la-me-oxycontin-part2/ (hereinafter “Ryan, More than 1
 million”).
 94
      Keefe, Empire of Pain, supra n. 3.
 95
     Purdue’s “Abuse and Diversion Detection” program requires its sales representatives to
 report to the company any facts that suggest a healthcare provider to whom it markets opioids
 may be involved in the abuse or illegal diversion of opioid products. When a provider is
 reported under the program, Purdue purportedly conducts an internal inquiry regarding the
 provider to determine whether he or she should be placed on a “no-call” list. If a provider is
 placed on this list, Purdue sales representatives may no longer contact the provider to promote
 the company’s opioid products. Bill Fallon, Purdue Pharma agrees to restrict marketing of
 opioids,       Stamford        Advocate        (Aug.       25,      2015,       3:32       PM),
 http://www.stamfordadvocate.com/business/article/Purdue-Pharma-agrees-to-restrict-marketing-
 of-6464800.php (hereinafter “Fallon, Purdue Pharma agrees”).

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 reckless prescribers known as “Region Zero.” By 2013, there were more than 1,800 doctors in

 Region Zero, but Purdue reported only 8% of them. The Los Angeles Times reported that “[a]

 former Purdue executive, who monitored pharmacies for criminal activity, acknowledged that

 even when the company had evidence pharmacies were colluding with drug dealers, it did not

 stop supplying distributors selling to those stores.”96     Instead, Purdue supplied prescription

 opioids to these stores, prioritized its own profits (and the bank accounts of its owners) ahead of

 public safety, and downplayed the risk of addiction.

                        b.     Purdue Funded Publications and Presentations with
                               False and Misleading Messaging

         219.   As explained above, Purdue’s false marketing scheme did not end with its own

 sales representatives and branded marketing materials. It extended far beyond, engaging third

 parties including doctors and front groups to spread the false message of prescription opioids’

 safety and efficacy.

         220.   One extension of Purdue’s marketing scheme was its plan to cause the publication

 and distribution of false and deceptive guidelines on opioid prescribing. For example, as set

 forth above, Purdue paid $100,000 to the FSMB to help print and distribute its guidelines on the

 use of opioids to treat chronic pain to 700,000 practicing doctors.

         221.   One of the advisors for FSMB 2007 publication “Responsible Opioid Prescribing:

 A Physician’s Guide” and its 2012 update was Haddox, a longtime member of Purdue’s

 speakers’ bureau who became a Purdue vice president.




 96
      Ryan, More than 1 Million, supra n. 92.


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             222.   Similarly,97 multiple videos feature Fine delivering educational talks about the

 drugs. In one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline

 for Chronic Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another)

 not only for cancer patients, but for non-cancer patients, and suggests it may take four or five

 switches over a person’s “lifetime” to manage pain. 98         He states the “goal is to improve

 effectiveness which is different from efficacy and safety.” Rather, for chronic pain patients,

 effectiveness “is a balance of therapeutic good and adverse events over the course of years.”

 The entire program teaches that opioids are appropriate treatment over a “protracted period of

 time” and even over a patient’s entire “lifetime.” He even suggests that opioids can be used to

 treat sleep apnea. He further states that the associated risks of addiction and abuse can be

 managed by doctors and evaluated with “tools,” but leaves that for “a whole other lecture.”99

             223.   Purdue provided many “teaching” materials free of charge to the Joint

 Commission.

             224.   Purdue also deceptively marketed the use of opioids for chronic pain through the

 APF, which was shut down after the launching of the Senate investigation in 2012. In 2010

 alone, the APF received 90% of its funding from drug and medical device companies, including

 from Purdue. Purdue paid APF unspecified amounts in 2008 and 2009 and between $100,000

 and $499,999 in 2010.100

 97
       Weber, Two Leaders in Pain, supra n.69.
 98
     Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
 https://www.youtube.com/watch?v=_G3II9yqgXI.
 99
       Id.
 100
    American Pain Foundation Partner Report, GuideStar, http://www.guidestar.org/PartnerRepor
 t.aspx?ein=XX-XXXXXXX&Partner=Demo (last visited February 20, 2018).

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                        c.     The Guilty Pleas

         225.   In May 2007, Purdue and three of its executives pled guilty to federal charges of

 misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

 about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its

 plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

 misrepresented the risk of addiction and was unsupported by science. Additionally, Michael

 Friedman (“Friedman”), the company’s president, pled guilty to a misbranding charge and

 agreed to pay $19 million in fines; Howard R. Udell (“Udell”), Purdue’s top lawyer, also pled

 guilty and agreed to pay $8 million in fines; and Paul D. Goldenheim (“Goldenheim”), its former

 medical director, pled guilty as well and agreed to pay $7.5 million in fines.

         226.   In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

 Attorney for the Western District of Virginia, stated:

         Purdue claimed it had created the miracle drug – a low risk drug that could
         provide long acting pain relief but was less addictive and less subject to abuse.
         Purdue’s marketing campaign worked, and sales for OxyContin skyrocketed –
         making billions for Purdue and millions for its top executives.

         But OxyContin offered no miracles to those suffering in pain. Purdue’s claims
         that OxyContin was less addictive and less subject to abuse and diversion were
         false – and Purdue knew its claims were false. The result of their
         misrepresentations and crimes sparked one of our nation’s greatest prescription
         drug failures. . . . OxyContin was the child of marketeers and bottom line
         financial decision making.101

         227.   Brownlee characterized Purdue’s criminal activity as follows:

                First, Purdue trained its sales representatives to falsely inform health
         care providers that it was more difficult to extract the oxycodone from an
         OxyContin tablet for the purpose of intravenous abuse. Purdue ordered this

 101
     Testimony of The Hon. John L. Brownlee, U.S. Attorney for the Western District of Virginia,
 (July 31, 2007),
 https://www.judiciary.senate.gov/imo/media/doc/Brownlee%20Testimony%20073107.pdf


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             training even though its own study showed that a drug abuser could extract
             approximately 68% of the oxycodone from a single 10 mg OxyContin tablet by
             simply crushing the tablet, stirring it in water, and drawing the solution through
             cotton into a syringe.

                    Second, Purdue falsely instructed its sales representatives to inform
             health care providers that OxyContin could create fewer chances for addiction
             than immediate-release opioids.

                    Third, Purdue sponsored training that falsely taught Purdue sales
             supervisors that OxyContin had fewer “peak and trough” blood level effects
             than immediate-release opioids resulting in less euphoria and less potential for
             abuse than short-acting opioids.

                    Fourth, Purdue falsely told certain health care providers that patients
             could stop therapy abruptly without experiencing withdrawal symptoms and
             that patients who took OxyContin would not develop tolerance to the drug.

                    And fifth, Purdue falsely told health care providers that OxyContin did
             not cause a “buzz” or euphoria, caused less euphoria, had less addiction
             potential, had less abuse potential, was less likely to be diverted than immediate-
             release opioids, and could be used to “weed out” addicts and drug seekers.102

             228.   Specifically, Purdue pled guilty to illegally misbranding OxyContin in an effort to

 mislead and defraud physicians and consumers, while Friedman, Udell and Goldenheim pled

 guilty to the misdemeanor charge of misbranding OxyContin, for introducing misbranded drugs

 into interstate commerce in violation of 21 U.S.C. §§331(a), 333(a)(1)-(2) and 352(a).

             229.   The guilty plea and fine did not dissuade Purdue or its executives. After the

 settlement, Purdue continued to pay doctors on speakers’ bureaus to promote the liberal

 prescribing of OxyContin for chronic pain and to fund seemingly neutral organizations to

 disseminate the message that opioids were effective and non-addictive. Purdue continues to

 aggressively market the liberal prescribing of opioids for chronic pain while diminishing the

 associated dangers of addiction.


 102
       Id.


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          230.   After Purdue entered its guilty plea in 2007, “it assembled an army of lobbyists to

 fight any legislative actions that might encroach on its business. Between 2006 and 2015,

 Purdue and other painkiller producers, along with their associated nonprofits, spent nearly nine

 hundred million dollars on lobbying and political contributions—eight times what the gun

 lobby spent during that period.”103 (emphasis added).

          231.   Purdue has earned more than $31 billion from OxyContin, the nation’s bestselling

 painkiller, which constitutes approximately 30% of the United States market for painkillers.

 Since 2009, Purdue’s national annual sales of OxyContin have fluctuated between $2.47 billion

 and $2.99 billion, up threefold from 2006 sales of $800 million.104

          232.   Purdue also made thousands of payments to physicians nationwide, including to

 physicians in the County, for activities including participating on speakers’ bureaus, providing

 consulting services, assisting in post-marketing safety surveillance and other services.

                 B.      Janssen

          233.   Janssen markets, sells, and distributes the following opioids in the County:

  Duragesic           Opioid analgesic delivered via skin patch; contains gel form of    Schedule II
  (fentanyl)          fentanyl, a synthetic opioid that is up to 100 times more potent
                      than morphine; delivers fentanyl at regulated rate for up to 72
                      hours; first approved by the FDA in August 1990.
  Nucynta ER          Opioid agonist; extended-release formulation indicated for         Schedule II
  (tapentadol         severe pain.
  hydrochloride)
  Nucynta             Immediate-release version of tapentadol hydrochloride for the      Schedule II
  (tapentadol         management of moderate to severe acute pain.
  hydrochloride)




 103
       Keefe, Empire of Pain, supra n.3.
 104
       Eban, Painful Medicine, supra n.78.


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        234.    Janssen introduced Duragesic in 1990. It is indicated for the “management of

 pain in opioid-tolerant patients, severe enough to require daily, around-the-clock, long-term

 opioid treatment and for which alternative treatment options are inadequate.” Janssen also

 markets Nucynta, which was first approved by the FDA in 2008, formulated in tablet form and in

 an oral solution and indicated for the “relief of moderate to severe acute pain in patients 18 years

 of age or older.” Additionally, Janssen markets Nucynta ER, which was first approved by the

 FDA in 2011 in tablet form. Initially, it was indicated for the “management of . . . pain severe

 enough to require daily, around-the-clock, long-term opioid treatment and for which alternative

 treatment options are inadequate.” This pain indication was later altered to “management of

 moderate to severe chronic pain in adults” and “neuropathic pain associated with diabetic

 peripheral neuropathy (DPN) in adults.” Janssen sold Nucynta and Nucynta ER to Depomed in

 2015 for $1.05 billion.

                        a.     The FDA Warned Janssen Regarding Its False
                               Messaging

        235.    On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

 dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

 Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

 explained that the “homemade” promotional pieces were “false or misleading because they

 contain misrepresentations of safety information, broaden Duragesic’s indication, contain

 unsubstantiated claims, and lack fair balance.”

        236.    The    March    30,   2000    letter     identified   specific   violations,   including

 misrepresentations that Duragesic had a low potential for abuse:

               You present the claim, “Low abuse potential!” This claim suggests that
                Duragesic has less potential for abuse than other currently available
                opioids. However, this claim has not been demonstrated by substantial

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                      evidence. Furthermore, this claim is contradictory to information in the
                      approved product labeling (PI) that states, “Fentanyl is a Schedule II
                      controlled substance and can produce drug dependence similar to that
                      produced by morphine.” Therefore, this claim is false or misleading.105

            237.      The March 30, 2000 letter also stated that the promotional materials represented

  that Duragesic was “more useful in a broader range of conditions or patients than has been

  demonstrated by substantial evidence.” Specifically, the FDA stated that Janssen was marketing

  Duragesic for indications beyond the treatment of chronic pain that cannot otherwise be

  managed, for which it was approved:

                    You present the claim, “It’s not just for end stage cancer anymore!” This
                      claim suggests that Duragesic can be used for any type of pain
                      management. However, the PI for Duragesic states, “Duragesic (fentanyl
                      transdermal system) is indicated in the management of chronic pain in
                      patients who require continuous opioid analgesia for pain that cannot be
                      managed by lesser means . . . .” Therefore, the suggestion that Duragesic
                      can be used for any type of pain management promotes Duragesic[] for a
                      much broader use than is recommended in the PI, and thus, is misleading.
                      In addition, the suggestion that Duragesic can be used to treat any kind of
                      pain is contradictory to the boxed warning in the PI. Specifically, the PI
                      states,

                     BECAUSE      SERIOUS      OR      LIFE-THREATENING
                      HYPOVENTILATION COULD OCCUR, DURAGESIC® (FENTANYL
                      TRANSDERMAL SYSTEM) IS CONTRAINDICATED:

                     In the management of acute or post-operative pain, including use in out-
                      patient surgeries . . . .106

            238.      The March 30, 2000 letter also stated Janssen failed to adequately present

  “contraindications, warnings, precautions, and side effects with a prominence and readability




  105
     NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
  Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
  106
        Id. at 2-3.


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  reasonably comparable to the presentation of information relating to the effectiveness of the

  product”:

           Although this piece contains numerous claims for the efficacy and safety of
           Duragesic, you have not presented any risk information concerning the boxed
           warnings, contraindications, warnings, precautions, or side effects associated with
           Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,
           or otherwise misleading, because it fails to address important risks and restrictions
           associated with Duragesic therapy.107

           239.    On September 2, 2004, the U.S. Department of Health and Human Services

  (“HHS”) also sent Janssen a warning letter concerning Duragesic due to “false or misleading

  claims about the abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness

  claims for Duragesic,” including, specifically, “suggesting that Duragesic has a lower potential

  for abuse compared to other opioid products.”

           240.    The September 2, 2004 letter warned Janssen regarding its claims that Duragesic

  had a low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as

  compared to other opioids. The letter stated that the claim was false or misleading because the

  claim was not based on substantial data and because the lower rate of mentions was likely

  attributable to Duragesic’s lower frequency of use compared to other opioids listed in DAWN:

                  The file card presents the prominent claim, “Low reported rate of
           mentions in DAWN data,” along with Drug Abuse Warning Network (DAWN)
           data comparing the number of mentions for Fentanyl/combinations (710
           mentions) to other listed opioid products, including Hydrocodone/combinations
           (21,567 mentions), Oxycodone/combinations (18,409 mentions), and Methadone
           (10,725 mentions). The file card thus suggests that Duragesic is less abused than
           other opioid drugs.

                   This is false or misleading for two reasons. First, we are not aware of
           substantial evidence or substantial clinical experience to support this comparative
           claim. The DAWN data cannot provide the basis for a valid comparison among
           these products. As you know, DAWN is not a clinical trial database. Instead, it is

  107
        Id. at 3 (emphasis in original).


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            a national public health surveillance system that monitors drug-related emergency
            department visits and deaths. If you have other data demonstrating that Duragesic
            is less abused, please submit them.

                    Second, Duragesic is not as widely prescribed as other opioid products.
            As a result, the relatively lower number of mentions could be attributed to the
            lower frequency of use, and not to a lower incidence of abuse. The file card fails
            to disclose this information.108

            241.      The September 2, 2004 letter also details a series of unsubstantiated, false or

  misleading claims regarding Duragesic’s effectiveness. The letter concluded that various claims

  made by Janssen were insufficiently supported, including that:

                     “‘Demonstrated effectiveness in chronic back pain with additional patient
                      benefits, . . . 86% of patients experienced overall benefit in a clinical study based
                      on: pain control, disability in ADLs, quality of sleep.’”

                     “‘All patients who experienced overall benefit from DURAGESIC would
                      recommend it to others with chronic low back pain.’”

                     “‘Significantly reduced nighttime awakenings.’”

                     “‘Significant improvement in disability scores as measured by the Oswestry
                      Disability Questionnaire and Pain Disability Index.’”

                     “‘Significant improvement in physical functioning summary score.’”

                     “‘Significant improvement in social functioning.’”109

            242.      In addition, the September 2, 2004 letter identifies “outcome claims [that] are

  misleading because they imply that patients will experience improved social or physical

  functioning or improved work productivity when using Duragesic.” The claims include “‘1,360

  loaves . . . and counting,’ ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’

  108
      Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services,
  to      Ajit   Shetty,     Janssen   Pharmaceutica,      Inc.    (Sept.   2,    2004),
  https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/
  The%20Pink%20Sheet/66/038/00660380018/040920_ duragesic_letter.pdf at 2.
  109
        Id. at 2-3.


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  ‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less about their pain,’

  and ‘[i]mprove[s] . . . physical and social functioning.’” The September 2, 2004 letter states:

  “Janssen has not provided references to support these outcome claims. We are not aware of

  substantial evidence or substantial clinical experience to support these claims.”110

            243.    On July 15, 2005, the FDA issued a public health advisory warning doctors of

  deaths resulting from the use of Duragesic and its generic competitor, manufactured by Mylan

  N.V. The advisory noted that the FDA had been “‘examining the circumstances of product use

  to determine if the reported adverse events may be related to inappropriate use of the patch’” and

  noted the possibility “that patients and physicians might be unaware of the risks” of using the

  fentanyl transdermal patch, which is a potent opioid analgesic meant to treat chronic pain that

  does not respond to other painkillers.

                           b.     Janssen Funded False Publications and Presentations

            244.    Despite these repeated warnings, Janssen continued to falsely market the risks of

  opioids. For example, in 2009, PriCara, a “Division of Ortho-McNeil-Janssen Pharmaceuticals,

  Inc.,” sponsored a 2009 brochure directed toward patients, “Finding Relief: Pain Management

  for Older Adults.” The brochure included a free DVD featuring actress Kathy Baker, who

  played a doctor in the popular television series “Picket Fences.”

            245.    The brochure represented that it was a source for older adults to gain accurate

  information about treatment options for effective pain relief:

                     This program is aimed specifically at older adults and what they need to
            know to get effective pain relief. You will learn that there are many pathways to
            this relief.



  110
        Id. at 3.


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                      You will learn about your options for pain management and how to find
              the treatment that’s right for you. By learning more about pain and the many
              ways it can be treated, you are taking solid steps toward reducing the pain you or
              a loved one may be feeling.111

              246.   Despite representing itself as a source of accurate information, the brochure

  included false and misleading information about opioids, including a section seeking to dispel

  purported “myths” about opioid usage:

              Opioid Myths

              Myth: Opioid medications are always addictive.

              Fact: Many studies show that opioids are rarely addictive when used properly for
              the management of chronic pain.

              Myth: Opioids make it harder to function normally.

              Fact: When used correctly for appropriate conditions, opioids may make it easier
              for people to live normally.

              Myth: Opioid doses have to get bigger over time because the body gets used to
              them.

              Fact: Unless the underlying cause of your pain gets worse (such as with cancer
              or arthritis), you will probably remain on the same dose or need only small
              increases over time.112

              247.   Among the “Partners” listed in “Finding Relief: Pain Management for Older

  Adults” are the AAPM, the American Geriatrics Society (“AGS”) and the AGS Foundation for

  Health in Aging. Janssen (along with Purdue and Endo) funded AAPM. The AGS and the AGS

  Foundation for Health in Aging published a pain guide titled “Finding Relief: Pain Management

  for Older Adults,” which was funded by Janssen.113


  111
        Finding Relief, Pain Management for Older Adults (2009).
  112
        Id. (emphasis in original).
  113
        Id.


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              248.   In addition, Janssen disseminated false information about opioids on the website

  Prescribe Responsibly, which remains publicly accessible at www.prescriberesponsibly.com.

  According to the website’s legal notice, all content on the site “is owned or controlled by

  Janssen.”114 The website includes numerous false or misleading representations concerning the

  relative safety of opioids and omissions of the risks associated with taking them. For example, it

  states that while practitioners are often concerned about prescribing opioids due to “questions of

  addiction,” such concerns “are often overestimated. According to clinical opinion polls, true

  addiction occurs only in a small percentage of patients with chronic pain who receive chronic

  opioid analgesic[] . . . therapy.”115

              249.   Prescribe Responsibly also compared the risks of opioid use favorably to those

  associated with non-steroidal anti-inflammatory drugs (“NSAIDs”), such as aspirin and

  ibuprofen, and stated that many patients develop tolerance for opioid side effects:

                     Opioid analgesics are often the first line of treatment for many painful
              conditions and may offer advantages over nonsteroidal anti-inflammatory drugs
              (NSAIDs). Opioid analgesics, for example, have no true ‘ceiling dose’ for
              analgesia and do not cause direct organ damage; however, they do have several
              possible side effects, including constipation, nausea, vomiting, a decrease in
              sexual interest, drowsiness, and respiratory depression. With the exception of
              constipation, many patients often develop tolerance to most of the opioid
              analgesic-related side effects.116

              250.   Further, Prescribe Responsibly repeats the scientifically unsupported discussion

  of “pseudoaddiction” as “a syndrome that causes patients to seek additional medications due to

  114
      Legal Notice, Prescribe Responsibly, https://www.prescriberesponsibly.com/legal-notice (last
  visited February 20, 2018).
  115
      Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
  http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited February 20,
  2018).
  116
        Id.


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  inadequate pharmacotherapy being prescribed. Typically, when the pain is treated appropriately,

  the inappropriate behavior ceases.”117 Thus, pseudoaddiction is defined as a condition requiring

  the prescription of more or stronger opioids.

          251.   Janssen also made thousands of payments to physicians nationwide, including to

  County physicians, for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance and other services.

          252.   As people became more and more hooked on prescription pain killers, they

  moved to heroin, and increasingly to fentanyl, which is even more potent and cheaper than

  heroin, and which as set forth above was being deceptively marketed by Janssen, causing a rise

  in heroin and fentanyl overdose deaths.

                 C.      Endo

          253.   Endo markets, sells, and distributes the following opioids in the County:

   Opana ER           Opioid agonist; extended-release tablet formulation; first drug Schedule II
   (oxymorphone       in which oxymorphone is available in an oral, extended-release
   hydrochloride)     formulation; first approved in 2006.
   Opana              Opioid agonist; first approved in 2006.                         Schedule II
   (oxymorphone
   hydrochloride)
   Percodan           Branded tablet combining oxymorphone hydrochloride and             Schedule II
   (oxymorphone       aspirin; first approved in 1950; first marketed by Endo in
   hydrochloride      2004.
   and aspirin)
   Percocet           Branded tablet that combines oxymorphone hydrochloride and         Schedule II
   (oxymorphone       acetaminophen; first approved in 1999; first marketed by Endo
   hydrochloride      in 2006.
   and
   acetaminophen)
   Oxycodone          Generic product.                                                   Schedule II

  117
      What a Prescriber Should Know Before Writing the First Prescription, Prescribe
  Responsibly, http://www.prescriberesponsibly.com/articles/before-prescribing-opioids (last
  visited February 20, 2018).


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   Oxymorphone   Generic product.                                                          Schedule II
   Hydromorphone Generic product.                                                          Schedule II
   Hydrocodone   Generic product.                                                          Schedule II

          254.     The FDA approved an injectable form of Opana in 1959 (then known as

  Numorphan) which was indicated “for the relief of moderate to severe pain” and “for

  preoperative medication, for support of anesthesia, for obstetrical analgesia, and for relief of

  anxiety in patients with dyspnea associated with pulmonary edema secondary to acute left

  ventricular dysfunction.” However, oxymorphone drugs—which included Numorphan—were

  removed from the market in the 1970s due to widespread abuse.118

          255.     In 2006, the FDA approved a tablet form of Opana in 5 mg and 10 mg dosage

  strengths. The tablet form was “indicated for the relief of moderate to severe acute pain where

  the use of an opioid is appropriate.” Also in 2006, the FDA approved Opana ER, an extended-

  release tablet version of Opana available in 5 mg, 10 mg, 20 mg and 40 mg tablet dosage

  strengths.     Opana ER was indicated “for the relief of moderate to severe pain in patients

  requiring continuous, around-the-clock opioid treatment for an extended period of time.” Endo’s

  goal was to use Opana ER to take market share away from OxyContin; thus it was marketed as

  being safer, with less abuse potential than OxyContin because of its crush-resistance.

          256.     According to Endo’s annual reports, sales of Opana and Opana ER regularly

  generate several hundred million dollars in annual revenue for the company, growing from $107

  million in 2007 to as high as $384 million in 2011. Over the last ten years, Percocet has

  generated an average of well over $100 million in annual revenue for the company.

  118
      John Fauber & Kristina Fiore, Opana Gets FDA Approval Despite History of Abuse, Limited
  Effectiveness     in     Trials,   Milwaukee      Journal  Sentinel    (May      9,     2015),
  http://archive.jsonline.com/watchdog/watchdogreports/opana-gets-fda-approval-despite-history-
  of-abuse-limited-effectiveness-in-trials-b99494132z1-303198321.html/.


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                            a.     Endo Falsely Marketed Opana ER as Crush Resistant

          257.       In December 2011, the FDA approved a reformulated version of Opana ER,

  which Endo claimed offered “safety advantages” over the original formulation because the latter

  “‘is resistant to crushing by common methods and tools employed by abusers of prescription

  opioids . . . [and] is less likely to be chewed or crushed even in situations where there is no intent

  for abuse, such as where patients inadvertently chew the tablets, or where caregivers attempt to

  crush the tablets for easier administration with food or by gastric tubes, or where children

  accidentally gain access to the tablets.’”

          258.       Endo publicized the reformulated version of Opana ER as “crush-resistant.” To

  combat the fear of opioids, sales representatives touted it to doctors as a safer option due to its

  crush-resistance and extended release. In a December 12, 2011, press release announcing FDA

  approval of the reformulated Opana ER, Endo’s executive vice president for research and

  development and chief scientific officer highlighted the reformulated version’s safety

  characteristics:

                  “FDA’s approval of this new formulation of Opana ER is an important
          milestone for both the Long Acting Opioid category as well as Endo’s branded
          pharmaceutical portfolio. . . . Patient safety is our top concern and addressing
          appropriate use of opioids is a responsibility that we take very seriously. We
          firmly believe this new formulation of Opana ER, coupled with our long-term
          commitment to awareness and education around appropriate use of opioids will
          benefit patients, physicians and payers.”

          259.       However, in October 2012, the CDC issued a health alert noting that 15 people in

  Tennessee had contracted thrombotic thrombocytopenic purpura, a rare blood-clotting disorder,

  after injecting reformulated Opana ER. In response, Endo’s chief scientific officer stated that,




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  while Endo was looking into the data, he was not especially concerned: “‘Clearly, we are looking

  into this data, . . . but it’s in a very, very distinct area of the country.’”119

              260.   Shortly thereafter, the FDA determined that Endo’s conclusions about the

  purported safety advantages of the reformulated Opana ER were unfounded. In a May 10, 2013

  letter to Endo, the FDA found that the tablet was still vulnerable to “‘cutting, grinding, or

  chewing,’” “‘can be prepared for insufflation (snorting) using commonly available tools and

  methods,’” and “‘can [be readily] prepared for injection.’” It also warned that preliminary data

  suggested “the troubling possibility that a higher percentage of reformulated Opana ER abuse is

  via injection than was the case with the original formulation.”

              261.   A 2014 study co-authored by an Endo medical director corroborated the FDA’s

  warning.       This 2014 study found that while overall abuse of Opana had fallen following

  Opana ER’s reformulation, it also found that injection had become the preferred way of abusing

  the drug.120 However, the study reassured that it was not possible to draw a causal link between

  the reformulation and injection abuse.

              262.   The study’s failure to adequately warn healthcare providers and the public was

  catastrophic. On April 24, 2015, the CDC issued a health advisory concerning its investigation

  of “a large outbreak of recent human immunodeficiency virus (HIV) infections among persons




  119
     Jake Harper & Kelly McEvers, How A Painkiller Designed To Deter Abuse Helped Spark An
  HIV Outbreak, National Public Radio (Apr. 1, 2016), http://www.npr.org/sections/health-
  shots/2016/04/01/472538272/how-a-painkiller-designed-to-deter-abuse-helped-spark-an-hiv-
  outbreak.
  120
        Id.


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  who inject drugs.”121 The CDC specifically attributed the outbreak to the injection of Opana ER.

  As the advisory explained:

                      From November 2014 to January 2015, ISDH identified 11 new HIV
              infections in a rural southeastern county where fewer than 5 infections have been
              identified annually in the past. As of April 21, 2015, an on-going investigation by
              ISDH with assistance from CDC has identified 135 persons with newly diagnosed
              HIV infections in a community of 4,200 people; 84% were also HCV infected.
              Among 112 persons interviewed thus far, 108 (96%) injected drugs; all reported
              dissolving and injecting tablets of the prescription-type opioid oxymorphone
              (OPANA® ER) using shared drug preparation and injection equipment.122

                             b.     New York’s Investigation Found Endo Falsely
                                    Marketed Opana ER

              263.   On February 18, 2017, the State of New York announced a settlement with Endo

  requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to

  describe accurately the risk of addiction to Opana ER.”123 In the Assurance of Discontinuance

  that effectuated the settlement, the State of New York revealed evidence showing that Endo had

  known about the risks arising from the reformulated Opana ER even before it received FDA

  approval.

              264.   Among other things, the investigation concluded that:

                    Endo improperly marketed Opana ER as designed to be crush resistant, when
                     Endo’s own studies dating from 2009 and 2010 showed that the pill could be
                     crushed and ground;


  121
     Outbreak of Recent HIV and HCV Infections Among Persons Who Inject Drugs, Centers for
  Disease Control and Prevention, https://emergency.cdc.gov/ han/han00377.asp (last visited
  February 20, 2018).
  122
        Id.
  123
      Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces
  Settlement With Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing of
  Prescription Opioid Drugs (Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-
  announces-settlement-endo-health-solutions-inc-endo-pharmaceuticals.


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                Endo improperly instructed its sales representatives to diminish and distort the
                 risks associated with Opana ER, including the serious danger of addiction; and

                Endo made unsupported claims comparing Opana ER to other opioids and
                 failed to disclose accurate information regarding studies addressing the
                 negative effects of Opana ER.

          265.   In October 2011, Endo’s director of project management e-mailed the company

  that had developed the formulation technology for reformulated Opana ER to say there was little

  or no difference between the new formulation and the earlier formulation, which Endo withdrew

  due to risks associated with grinding and chewing:

          “We already demonstrated that there was little difference between [the original
          and new formulations of Opana] in Study 108 when both products were ground.
          FDA deemed that there was no difference and this contributed to their statement
          that we had not shown an incremental benefit. The chewing study (109) showed
          the same thing no real difference which the FDA used to claim no incremental
          benefit.”124

          266.   Endo conducted two additional studies to test the reformulated Opana ER’s crush

  resistance. Study 901 tested whether it was more difficult to extract reformulated Opana ER than

  the original version, and whether it would take longer to extract from reformulated Opana ER

  than from the original version. The test revealed that both formulations behaved similarly with

  respect to manipulation time and produced equivalent opioid yields.

          267.   The settlement also identified and discussed a February 2013 communication

  from a consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he

  initial data presented do not necessarily establish that the reformulated Opana ER is tamper




  124
     In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No.
  15-228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15 at 5
  (Mar. 1, 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.


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  resistant.’” The same consultant also reported that the distribution of the reformulated Opana ER

  had already led to higher levels of abuse of the drug via injection.125

              268.   Regardless, pamphlets produced by Endo and distributed to physicians

  misleadingly marketed the reformulated Opana ER as “‘designed to be’ crush resistant,” and

  Endo’s sales representative training identified Opana ER as “CR,” short for crush resistant.126

              269.   The Office of the Attorney General of New York also revealed that the “managed

  care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit

  managers misrepresented the studies that had been conducted on Opana ER. The dossier was

  distributed in order to assure the inclusion of reformulated Opana ER in their formularies.

              270.   According to Endo’s vice president for pharmacovigilance and risk management,

  the dossier was presented as a complete compendium of all research on the drug. However, it

  omitted certain studies: Study 108 (completed in 2009) and Study 109 (completed in 2010),

  which showed that reformulated Opana ER could be ground and chewed.

              271.   The settlement also detailed Endo’s false and misleading representations about the

  non-addictiveness of opioids and Opana.           Until April 2012, Endo’s website for the drug,

  www.opana.com, contained the following representation: “‘Most healthcare providers who treat

  patients with pain agree that patients treated with prolonged opioid medicines usually do not

  become addicted.’”127 However, Endo had no basis for their representations.

              272.   The Office of the Attorney General of New York also disclosed that training

  materials provided by Endo to sales representatives stated that the “‘[s]ymptoms of withdrawal

  125
        Id. at 6.
  126
        Id.
  127
        Id.


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  do not indicate addiction.’”128 This representation is inconsistent with the diagnosis of opioid-

  use disorder as provided in the Diagnostic and Statistical Manual of Mental Disorders by the

  American Psychiatric Association (Fifth Edition).

            273.    The Office of the Attorney General of New York also found that Endo trained its

  sales representatives to falsely distinguish addiction from “pseudoaddiction,” which it defined as

  a condition in which patients exhibit drug-seeking behavior that resembles but is not the same as

  addiction. However, Endo’s vice president for pharmacovigilance and risk management testified

  that he was not aware of any research validating the concept of pseudoaddiction.

            274.    On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER

  after determining that the risks associated with its abuse outweighed the benefits. According to

  Dr. Janet Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks

  include “several serious problems,” including “outbreaks of HIV and Hepatitis C from sharing

  the drug after it was extracted by abusers” and “a[n] outbreak of serious blood disorder.” If

  Endo does not comply with the request, Dr. Woodcock stated that the FDA would issue notice of

  a hearing and commence proceedings to compel its removal.

                           c.     Endo Funded False Publications and Presentations

            275.    Like several of the other Manufacturing Defendants, Endo provided substantial

  funding to purportedly neutral medical organizations, including APF.

            276.    For example, in April 2007, Endo sponsored an article aimed at prescribers,

  written by Dr. Charles E. Argoff in Pain Medicine News, titled “Case Challenges in Pain

  Management: Opioid Therapy for Chronic Pain.”129



  128
        Id. at 7.


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              277.   The article commenced with the observation that “[a]n estimated 50 to 60 million

  people . . . suffer from chronic pain.” It continued:

                      Opioids represent a highly effective but controversial and often
              misunderstood class of analgesic medications for controlling both chronic and
              acute pain. The phenomenon of tolerance to opioids – the gradual waning of
              relief at a given dose – and fears of abuse, diversion, and misuse of these
              medications by patients have led many clinicians to be wary of prescribing these
              drugs, and/or to restrict dosages to levels that may be insufficient to provide
              meaningful relief.130

              278.   The article included a case study that focused on the danger of extended use of

  NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal bleed

  believed to have resulted from his protracted NSAID use. In contrast, the article did not provide

  the same detail concerning the serious side effects associated with opioids. It concluded by

  saying that “use of opioids may be effective in the management of chronic pain.”

              279.   Later, in 2014, Endo issued a patient brochure titled “Understanding Your Pain:

  Taking Oral Opioid Analgesics.” It was written by nurses Margo McCaffery and Chris Pasero

  and edited by APF board member Portenoy.

              280.   The brochure included numerous false and misleading statements minimizing the

  dangers associated with prescription opioid use. Among other things, the brochure falsely and

  misleadingly represented that:

                     Addiction IS NOT when a person develops “withdrawal” (such as
              abdominal cramping or sweating) after the medicine is stopped quickly or the
              dose is reduced by a large amount. Your doctor will avoid stopping your
              medication suddenly by slowly reducing the amount of opioid you take before the
              medicine is completely stopped. Addiction also IS NOT what happens when
              some people taking opioids need to take a higher dose after a period of time in

  129
     Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
  Pain Med. News, http://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf.
  130
        Id.


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          order for it to continue to relieve their pain. This normal “tolerance” to opioid
          medications doesn’t affect everyone who takes them and does not, by itself, imply
          addiction. If tolerance does occur, it does not mean you will “run out” of pain
          relief. Your dose can be adjusted or another medicine can be prescribed.

                                                *            *   *

          How can I be sure I’m not addicted?

               Addiction to an opioid would mean that your pain has gone away but you
                 still take the medicine regularly when you don’t need it for pain, maybe
                 just to escape from your problems.

                Ask yourself: Would I want to take this medicine if my pain went away?
                 If you answer no, you are taking opioids for the right reasons – to relieve
                 your pain and improve your function. You are not addicted.

                                                *            *   *

                 Your doctor or nurse may instruct you to do some of the following:

                Take the next dose before the last dose wears off. If pain is present most
                 of the day and night, the pain medicine may be taken at regularly
                 scheduled times. If you are taking a short-acting opioid, this usually
                 means taking it every 4 hours. You may need to set your alarm, especially
                 at night, to be sure you take your dose before the pain returns and wakes
                 you up.

                If your pain comes and goes, take your pain medicine when pain first
                 begins, before it becomes severe.

                If you are taking a long-acting opioid, you may only need to take it every
                 8 to 12 hours, but you may also need to take a short-acting opioid in
                 between for any increase in pain.131

          281.   In 2008, Endo also provided an “educational grant” to PainEDU.org, which

  produced a document titled “Screener and Opioid Assessment for Patients with Pain (SOAPP)




  131
      Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid
  Analgesics,      Endo       Pharmaceuticals        (2004),         http://www.thblack.com/
  links/RSD/Understand_Pain_Opioid_Analgesics.pdf (emphasis in original).


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  Version 1.0-14Q.” Endo and King Pharmaceuticals sponsor PainEDU.org. 132 SOAPP describes

  itself “as a tool for clinicians to help determine how much monitoring a patient on long-term

  opioid therapy might require.” It falsely highlights purportedly “recent findings suggesting that

  most patients are able to successfully remain on long-term opioid therapy without significant

  problems.”

          282.   Endo also sponsored the now-defunct website painknowledge.com, which was

  created by APF and stated it was “a one-stop repository for print materials, educational

  resources, and physician tools across the broad spectrum of pain assessment, treatment, and

  management approaches.”133 Among other featured content, painknowledge.com included a

  flyer titled “Pain: Opioid Therapy,” which failed to warn of significant adverse effects that could

  arise from opioid use, including hyperalgesia, immune and hormone dysfunction, cognitive

  impairment, decreased tolerance, dependence and addiction.

          283.   Endo, along with Janssen and Purdue, also provided grants to APF to distribute

  Exit Wounds, discussed above.134




  132
     B. Eliot Cole, Resources for Education on Pain and Its Management: A Practitioner’s
  Compendium 2 (Am. Society of Pain Educators 2009), https:// www.paineducators.org/wp-
  content/uploads/2012/12/ASPE-ResForEducationOnPainAn.pdf.
  133
     AboutPainKnowledge.org,     PainKnowledge,      http://web.archive.org/web/      2012011
  9124921/http://www.painknowledge.org/aboutpaink.aspx (last visited February 20, 2018).
  134
      Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival
  Guide to Pain Management for Returning Veterans and Their Families, Coalition for Iraq +
  Afghanistan                         Veterans,                         https://web.archive.org/web/
  20160804131030/http://coalitionforveterans.org/2009/10/iraq-war-veteran-amputee-pain-
  advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-
  returning-veterans-and-their-families/ (last visited February 20, 2018).


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          284.   Endo also made thousands of payments to physicians nationwide, including to

  County physicians, for activities including participating on speakers’ bureaus, providing

  consulting services, assisting in post-marketing safety surveillance and other services.

                         d.     The FDA Requested Endo Withdraw Opana ER Due to
                                the Public Health Consequences of Abuse

          285.   On June 8, 2017, the FDA requested that Endo remove reformulated Opana ER

  from the market “based on its concern that the benefits of the drug may no longer outweigh its

  risks.”135 According to the FDA’s press release, it sought removal “due to the public health

  consequences of abuse.” The decision to seek Opana ER’s removal from sale followed a March

  2017 FDA advisory committee meeting, during which a group of independent experts voted 18-8

  that the drug’s benefits no longer outweigh the risks associated with its use. Should Endo choose

  not to remove Opana ER due to the FDA’s request, the agency stated that it will take steps to

  formally require its removal by withdrawing approval.

          286.   Opana ER is prescribed in the County.

                 D.      Cephalon & Teva

          287.   Cephalon markets, sells, and distributes the following opioids in the County:

   Actiq (fentanyl Opioid analgesic; oral transmucosal lozenge; indicated only for Schedule II
   citrate)        the management of breakthrough pain (or “BTP”) in cancer
                   patients – pain that for a short time “breaks through” medication
                   that otherwise effectively controls a patient’s persistent pain – in
                   patients 16 and older with malignancies; commonly referred to
                   as a lollipop because designed to look and perform like one;
                   approved in 1998 with restricted distribution program.
   Fentora         Rapid-release tablet for BTP in cancer patients who are already Schedule II
   (fentanyl       receiving and tolerant of around-the-clock opioid therapy;
   buccal)         approved 2006.

  135
      Press Release, U.S. Food & Drug Administration, FDA Requests Removal of Opana ER for
  Risks Related to Abuse (June 8, 2017), https://www.fda.gov/newsevents/newsroom/
  pressannouncements/ucm562401.htm.


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   Generic of        Opiate agonist.                                                      Schedule II
   OxyContin
   (oxycodone
   hydrochloride)

           288.   Actiq is designed to resemble a lollipop and is meant to be sucked on at the onset

  of intense BTP in cancer patients. It delivers fentanyl citrate, a powerful opioid agonist that is 80

  times stronger than morphine,136 rapidly into a patient’s bloodstream through the oral

  membranes.137      Because it is absorbed through those membranes, it passes directly into

  circulation without having to go through the liver or stomach, thereby providing faster relief.138

           289.   In November 1998, the FDA approved Actiq for only a very narrow group of

  people – cancer patients “with malignancies who are already receiving and who are tolerant to

  opioid therapy for their underlying persistent cancer pain.”139

           290.   Understanding the risks of introducing such an intense opioid analgesic to the

  market, the FDA provided approval of Actiq “ONLY for the management of breakthrough cancer

  pain in patients with malignancies who are already receiving and who are tolerant to opioid




  136
      See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J.
  (Nov. 3, 2006), https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-
  fda-curbs/ (hereinafter “Carreyrou, Narcotic Lollipop”).
  137
      Actiq would later become part of a category of opioids now known as transmucosal
  immediate-release fentanyl (“TIRF”) products. “Transmucosal” refers to the means through
  which the opioid is delivered into a patient’s bloodstream, across mucous membranes, such as
  inside the cheek, under the tongue or in the nose.
  138
    Cephalon, Inc., Company-Histories.com, http://www.company-histories.com/Cephalon-Inc-
  Company-History.html (last visited February 20, 2018).
  139
        1998 FDA Label.


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  therapy for their underlying persistent cancer pain.”140 Further, the FDA explicitly stated that

  Actiq “must not be used in opioid non-tolerant patients,” was contraindicated for the

  management of acute or postoperative pain, could be deadly to children and was “intended to be

  used only in the care of opioid-tolerant cancer patients and only by oncologists and pain

  specialists who are knowledgeable of and skilled in the use of Schedule II opioids to treat cancer

  pain.”

           291.    The FDA also required that Actiq be provided only in compliance with a strict

  risk-management program that explicitly limited the drug’s direct marketing to the approved

  target audiences, defined as oncologists, pain specialists, their nurses and office staff.141

           292.    In October 2000, Cephalon acquired the worldwide product rights to Actiq and

  began marketing and selling Actiq in the United States.

           293.    Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation

  of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005.

  In September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq,

  but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

  Fentora’s approval to the treatment of BTP in cancer patients who were already tolerant to

  around-the-clock opioid therapy for their underlying persistent cancer pain. Cephalon began

  marketing and selling Fentora in October 2006.




  140
      NDA 20-747 Letter from Cynthia McCormick, Center for Drug Evaluation and Research, to
  Patricia J. Richards, Anesta Corporation, http://www.accessdata.fda.gov/drugsatfda_docs/
  appletter/1998/20747ltr.pdf.
  141
        Carreyrou, Narcotic Lollipop, supra n. 135.


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                            a.     Cephalon Falsely and Aggressively Marketed Cancer
                                   Drug Actiq to Non-Cancer Treating Physicians

              294.   Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its

  potential for growing revenue. In order to increase its revenue and market share, Cephalon

  needed to find a broader audience and thus began marketing its lollipop to treat headaches, back

  pain, sports injuries and other chronic non-cancer pain, targeting non-oncology practices,

  including, but not limited to, pain doctors, general practitioners, migraine clinics,

  anesthesiologists and sports clinics. It did so in violation of applicable regulations prohibiting

  the marketing of medications for off-label use and in direct contravention of the FDA’s strict

  instructions that Actiq be prescribed only to terminal cancer patients and by oncologists and pain

  management doctors experienced in treating cancer pain.

              295.   According to “data gathered from a network of doctors by research firm ImpactRx

  between June 2005 and October 2006” (“ImpactRx Survey”), Cephalon sales representatives’

  visits to non-oncologists to pitch Actiq increased sixfold between 2002 and 2005. Cephalon

  representatives would reportedly visit non-oncologists monthly, providing up to 60 or 70

  coupons (each coupon was good for six free Actiq lozenges) and encouraging prescribers to try

  Actiq on their non-cancer patients.142

              296.   Cephalon’s efforts paid off. In 2000, Actiq generated $15 million in sales.143 By

  2002, it attributed a 92% increase in Actiq sales to “a dedicated sales force for ACTIQ” and

  “ongoing changes to [its] marketing approach including hiring additional sales representatives




  142
        Id.
  143
        Id.


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  and targeting our marketing efforts to pain specialists.”144 By 2005, Actiq’s total sales had

  spiked to $412 million, making it (a drug approved for only a narrow customer base) Cephalon’s

  second-bestselling drug. By the end of 2006, Actiq’s sales had exceeded $500 million.145

              297.   Only 1% of the 187,076 prescriptions for Actiq filled at retail pharmacies during

  the first six months of 2006 were prescribed by oncologists. Results of the ImpactRx Survey

  suggested that “more than 80 percent of patients who use[d] the drug don’t have cancer.”146

                            b.     Government Investigations Found Cephalon Falsely
                                   Marketed Actiq for Off-Label Uses

              298.   Beginning in or about 2003, former Cephalon employees filed four whistleblower

  lawsuits claiming the company had wrongfully marketed Actiq for unapproved, off-label uses.

  On September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement

  with the Office of the Inspector General of HHS and agreed to pay $425 million in civil and

  criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

  According to a DOJ press release, Cephalon trained sales representatives to disregard restrictions

  of the FDA-approved label, employed sales representatives and healthcare professionals to speak

  to physicians about off-label uses of the three drugs and funded CME to promote off-label uses.

  Specifically, the DOJ stated:

              From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for
              non-cancer patients to use for such maladies as migraines, sickle-cell pain
              crises, injuries, and in anticipation of changing wound dressings or radiation



  144
    Cephalon, Inc. Annual Report (Form 10-K) (Mar. 31, 2003), https://
  www.sec.gov/Archives/edgar/ data/873364/000104746903011137/a2105971z10-k.htm at 28.
  145
        Carreyrou, Narcotic Lollipop, supra n.135.
  146
        Id.


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              therapy. Cephalon also promoted Actiq for use in patients who were not yet
              opioid-tolerant, and for whom it could have life-threatening results.147

              299.   Then-acting U.S. Attorney Laurie Magid commented on the dangers of

  Cephalon’s unlawful practices:

              “This company subverted the very process put in place to protect the public
              from harm, and put patients’ health at risk for nothing more than boosting its
              bottom line. People have an absolute right to their doctors’ best medical
              judgment. They need to know the recommendations a doctor makes are not
              influenced by sales tactics designed to convince the doctor that the drug being
              prescribed is safe for uses beyond what the FDA has approved.”148

              300.   Upon information and belief, documents uncovered in the government’s

  investigations confirm that Cephalon directly targeted non-oncology practices and pushed its

  sales representatives to market Actiq for off-label use.          For instance, the government’s

  investigations confirmed:

                    Cephalon instructed its sales representatives to ask non-cancer doctors whether
                     they have the potential to treat cancer pain. Even if the doctor answered “no,” a
                     decision tree provided by Cephalon instructed the sales representatives to give
                     these physicians free Actiq coupons;

                    Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
                     patients with migraine headaches;

                    Cephalon sales representatives utilized the assistance of outside pain management
                     specialists when visiting non-cancer physicians to pitch Actiq. The pain
                     management specialist would falsely inform the physician that Actiq does not
                     cause patients to experience a “high” and carries a low risk of diversion toward
                     recreational use;

                    Cephalon set sales quotas for its sales and marketing representatives that could
                     not possibly have been met solely by promoting Actiq for its FDA-approved
                     indication;

  147
      Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425
  Million For Off-Label Drug Marketing (Sept. 29, 2008), https://www.justice.gov/
  archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
  148
        Id.


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                Cephalon promoted the use of higher doses of Actiq than patients required by
                 encouraging prescriptions of the drug to include larger-than-necessary numbers of
                 lozenges with unnecessarily high doses of fentanyl; and

                Cephalon promoted Actiq for off-label use by funding and controlling CME
                 seminars that promoted and misrepresented the efficacy of the drug for off-label
                 uses such as treating migraine headaches and for patients not already opioid-
                 tolerant.149

          301.   Still, the letters, the FDA’s safety alert, DOJ and state investigations and the

  settlement seemed to have had little impact on Cephalon as it continued its deceptive marketing

  strategy for both Actiq and Fentora.

                        c.       Cephalon Falsely and Aggressively Marketed Cancer
                                 Drug Fentora to Non-Cancer Treating Physicians

          302.   From the time it first introduced Fentora to the market in October 2006, Cephalon

  targeted non-cancer doctors, falsely represented Fentora as a safe, effective off-label treatment

  for non-cancer pain and continued its disinformation campaign about the safety and non-

  addictiveness of Fentora specifically and opioids generally. In fact, Cephalon targeted the same

  pain specialists and non-oncologists that it had targeted with its off-label marketing of Actiq,

  simply substituting Fentora.

          303.   During an investor earnings call shortly after Fentora’s launch, Cephalon’s chief

  executive officer (“CEO”) described the “opportunity” presented by the use of Fentora for non-

  cancer pain:

                 The other opportunity of course is the prospect for FENTORA outside of
          cancer pain, in indications such as breakthrough lower back pain and
          breakthrough neuropathic pain.

                                              *            *   *


  149
     John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J.,
  Nov. 21, 2006, at B1 (hereinafter “Carreyrou, Cephalon Used Improper Tactics”).


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          Of all the patients taking chronic opioids, 32% of them take that medication to
          treat back pain, and 30% of them are taking their opioids to treat neuropathic pain.
          In contrast only 12% are taking them to treat cancer pain, 12%.

                  We know from our own studies that breakthrough pain episodes
          experienced by these non-cancer sufferers respond very well to FENTORA. And
          for all these reasons, we are tremendously excited about the significant impact
          FENTORA can have on patient health and well being and the exciting growth
          potential that it has for Cephalon.

                  In summary, we have had a strong launch of FENTORA and continue to
          grow the product aggressively. Today, that growth is coming from the physicians
          and patient types that we have identified through our efforts in the field over the
          last seven years. In the future, with new and broader indications and a much
          bigger field force presence, the opportunity that FENTORA represents is
          enormous.150

                         d.     The FDA Warned Cephalon Regarding its False and
                                Off-Label Marketing of Fentora

          304.   On September 27, 2007, the FDA issued a public health advisory to address

  numerous reports that patients who did not have cancer or were not opioid tolerant had been

  prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

  “Fentora should not be used to treat any type of short-term pain.”151

          305.   Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

  Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

  treatment of non-cancer BTP. In the application and supporting presentations to the FDA,

  Cephalon admitted both that it knew the drug was heavily prescribed for off-label use and that

  150
      Seeking Alpha, Transcript of Q1 2007 Cephalon, Inc. Earnings Conference Call, May 1,
  2007,                     http://seekingalpha.com/article/34163-cephalon-q1-2007-earnings-call-
  transcript?all=true&find =Q1% 2B2007%2BCephalon%2BMay%2B1%2C% 2B2007 at 6-7.
  151
       Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important
  Information for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
  https://wayback.archive-
  it.org/7993/20170406045231/https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInfo
  rmationforPatientsandProviders/ucm051273.htm.


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  the drug’s safety for such use had never been clinically evaluated.152         An FDA advisory

  committee lamented that Fentora’s existing risk management program was ineffective and stated

  that Cephalon would have to institute a risk evaluation and mitigation strategy for the drug

  before the FDA would consider broader label indications.          In response, Cephalon revised

  Fentora’s label and medication guide to add strengthened warnings.

          306.   But in 2009, the FDA once again informed Cephalon that the risk management

  program was not sufficient to ensure the safe use of Fentora for already approved indications.

          307.   On March 26, 2009, the FDA warned Cephalon against its misleading advertising

  of Fentora (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement

  as misleading because it purported to broaden “the indication for Fentora by implying that any

  patient with cancer who requires treatment for breakthrough pain is a candidate for Fentora . . .

  when this is not the case.” Rather, Fentora was only indicated for those who were already opioid

  tolerant. It further criticized Cephalon’s other direct Fentora advertisements because they did not

  disclose the risks associated with the drug.

          308.   Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP

  and its warning against marketing the drug for the same, Cephalon continued to use the same

  sales tactics to push Fentora as it did with Actiq.

          309.   For example, on January 13, 2012, Cephalon published an insert in Pharmacy

  Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA

  (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).”             Despite the
  152
       FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs
  and Drug Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration
  (May                   6,                    2008),                   https://wayback.archive-
  it.org/7993/20170405034240/https://www.fda.gov/ohrms/dockets/ac/08/slides/2008-4356s2-03-
  Cephalon.pdf.


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   repeated warnings of the dangers associated with the use of the drugs beyond their limited

   indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

   judicious use of opioids can facilitate effective and safe management of chronic pain.”153

                          e.      Cephalon Funded False Publications and Presentations

           310.   In addition to its direct marketing, Cephalon indirectly marketed through third

   parties to change the way doctors viewed and prescribed opioids – disseminating deceptive

   messages that opioids were safe for the treatment of chronic, long-term pain, that they were non-

   addictive and that they were woefully under-prescribed to the detriment of patients who were

   needlessly suffering. It did so by sponsoring pro-opioid front groups, misleading prescription

   guidelines, articles and CME programs, and it paid physicians thousands of dollars every year to

   publicly opine that opioids were safe, effective and non-addictive for a wide variety of uses.

           311.   Cephalon sponsored numerous CME programs, which were made widely

   available through organizations like Medscape, LLC (“Medscape”) and which disseminated false

   and misleading information to physicians in the County.

           312.   For    example,     a   2003    Cephalon-sponsored       CME      presentation    titled

   “Pharmacologic Management of Breakthrough or Incident Pain,” posted on Medscape in

   February 2003, teaches:

           [C]hronic pain is often undertreated, particularly in the noncancer patient
           population. . . . The continued stigmatization of opioids and their prescription,
           coupled with often unfounded and self-imposed physician fear of dealing with
           the highly regulated distribution system for opioid analgesics, remains a barrier
           to effective pain management and must be addressed. Clinicians intimately
           involved with the treatment of patients with chronic pain recognize that the
           majority of suffering patients lack interest in substance abuse. In fact, patient

   153
      An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA (Fentanyl
   Bucall Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate), Pharmacy Times (Jan. 13,
   2012), http://www.pharmacytimes.com/publications/issue/2012/january2012/r514-jan-12-rems.


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           fears of developing substance abuse behaviors such as addiction often lead to
           undertreatment of pain. The concern about patients with chronic pain
           becoming addicted to opioids during long-term opioid therapy may stem from
           confusion between physical dependence (tolerance) and psychological
           dependence (addiction) that manifests as drug abuse.154


           313.   Another Cephalon-sponsored CME presentation titled “Breakthrough Pain:

   Treatment Rationale with Opioids” was available on Medscape starting September 16, 2003 and

   was given by a self-professed pain management doctor with interests in “previously operated

   back, complex pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain

   process as a non-time-dependent continuum that requires a balanced analgesia approach using

   “targeted pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”155 The

   doctor lists fentanyl as one of the most effective opioids available for treating BTP, describing its

   use as an expected and normal part of the pain management process. Nowhere in the CME

   presentation is cancer or cancer pain mentioned.

           314.   Dr. Stephen H. Landy (“Landy”) authored a 2004 CME manuscript available on

   Medscape titled “Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine Headache

   Pain In Outpatients: A Case Series.” The manuscript preparation was supported by Cephalon.

   Landy describes the findings of a study of fentanyl citrate for the use of migraine headache pain

   and concluded that “OTFC rapidly and significantly relieved acute, refractory migraine pain in




   154
     Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
   Medscape, http://www.medscape.org/viewarticle/449803 (last visited February 20, 2018).
   155
       Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
   http://www.medscape.org/viewarticle/461612 (last visited February 20, 2018).


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   outpatients . . . and was associated with high patient satisfaction ratings.”156        Based on an

   analysis of publicly available data, Cephalon paid Landy approximately $190,000 in 2009-2010

   alone, and in 2015-2016, Cephalon paid Landy another $75,000.

               315.   In 2006, Cephalon sponsored a review of scientific literature to create additional

   fentanyl-specific dosing guidelines titled “Evidence-Based Oral Transmucosal Fentanyl Citrate

   (OTFC®) Dosing Guidelines.”157 The article purports to review the evidence for dosing and

   efficacy of oral transmucosal fentanyl citrate in the management of pain and produce dosing

   guidelines in both cancer and non-cancer patients. In pertinent part, it states:

                       Oral transmucosal fentanyl citrate has a proven benefit in treating cancer-
               associated breakthrough pain in opioid-tolerant patients with cancer, which is the
               Food and Drug Administration (FDA)-approved indication for Actiq. Pain
               medicine physicians have also used OTFC successfully to provide rapid pain
               relief in moderate to severe noncancer pain in both opioid-tolerant and opioid-
               nontolerant patients.158

               316.   Deeper into the article, the authors attempt to assuage doctors’ concerns regarding

   possible overdose and respiratory distress in non-cancer patients by arguing “[t]here is no

   evidence that opioid safety and efficacy differs in opioid-tolerant patients with chronic

   noncancer pain.”         Regarding the use of fentanyl to treat non-opioid-tolerant patients, the

   article’s authors stated:

               Alternatively, OTFC might also be used cautiously and safely for acute pain
               experienced by patients who are not opioid tolerant. Parenteral opioids are
               routinely used for acute pain in patients who are not opioid tolerant. Examples

   156
       Stephen H. Landy, Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine
   Headache Pain In Outpatients: A Case Series, 44(8) Headache (2004),
   http://www.medscape.com/viewarticle/488337_2.
   157
      Gerald M. Aronoff, et al., Evidence-Based Oral Transmucosal Fentanyl Citrate (OTFC)
   Dosing Guidelines, 6(4) Pain Med. 305-14 (2005).
   158
         Id.


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               include episodic pain (i.e., refractory migraine pain, recurrent renal calculi, etc.)
               and acute pain that follows surgery, trauma, or painful procedures (burn dressing
               change, bone marrow aspiration, lumbar puncture). Assuming that clinical
               experience with IV morphine in patients who are not opioid tolerant can be
               extrapolated, OTFC should be safe and efficacious in such settings as well.159

               317.   Through its sponsorship of the FSMB’s “Responsible Opioid Prescribing: A

   Physician’s Guide”, Cephalon continued to encourage the prescribing of opioid medication to

   “reverse . . . and improve” patient function, attributing patients’ displays of traditional drug-

   seeking behaviors as merely “pseudoaddiction.”

               318.   Cephalon also disseminated its false messaging through speakers’ bureaus and

   publications. For example, at an AAPM annual meeting held February 22 through 25, 2006,

   Cephalon sponsored a presentation by Webster and others titled “Open-label study of fentanyl

   effervescent buccal tablets in patients with chronic pain and breakthrough pain: Interim safety

   results.”      The presentation’s agenda description states: “Most patients with chronic pain

   experience episodes of breakthrough pain (BTP), yet no currently available pharmacologic agent

   is ideal for its treatment.” The presentation purports to cover a study analyzing the safety of a

   new form of fentanyl buccal tablets in the chronic pain setting and promises to show the

   “[i]nterim results of this study suggest that FEBT is safe and well-tolerated in patients with

   chronic pain and BTP.”

               319.   Cephalon sponsored another CME activity written by Webster and M. Beth Dove

   titled “Optimizing Opioid Treatment for Breakthrough Pain” and offered on Medscape from

   September 28, 2007 through December 15, 2008. The CME activity teaches that non-opioid

   analgesics and combination opioids containing non-opioids such as aspirin and acetaminophen



   159
         Id.


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   are less effective at treating BTP than pure opioid analgesics because of dose limitations on the

   non-opioid component.160

               320.   Perry G. Fine authored a Cephalon-sponsored CME article titled “Opioid-Based

   Management of Persistent and Breakthrough Pain,” with Drs. Christine A. Miaskowski and

   Michael J. Brennan. Cephalon paid to have this CME article published in a “Special Report”

   supplement of the journal Pain Medicine News in 2009.161 The CME article targeted a wide

   variety of non-oncologist healthcare providers who treat patients with chronic pain with the

   objective of educating “health care professionals about a semi-structured approach to the opioid-

   based management of persistent and breakthrough pain,” including the use of fentanyl. The

   CME article purports to analyze the “combination of evidence- and case-based discussions” and

   ultimately concludes:

                       Chronic pain is a debilitating biopsychosocial condition prevalent in both
               cancer and noncancer pain populations. . . . Opioids have an established role in
               pain related to cancer and other advanced medical illnesses, as well as an
               increasing contribution to the long-term treatment of carefully selected and
               monitored patients with certain [chronic noncancer pain] conditions. All
               individuals with chronic, moderate to severe pain associated with functional
               impairment should be considered for a trial or opioid therapy, although not all
               of them will be selected.162

               321.   Along with Purdue, Cephalon sponsored APF’s guide, which warned against the

   purported under-prescribing of opioids, taught that addiction is rare and suggested that opioids

   have “no ceiling dose” and are therefore, the most appropriate treatment for severe pain.

   160
       Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
   http://www.medscape.org/viewarticle/563417_6 (last visited February 20, 2018).
   161
      Perry G. Fine, et al., Opioid-Based Management of Persistent and Breakthrough Pain,
   Special Report (2009), https://www.yumpu.com/en/document/ view/11409251/opioid-based-
   management-of-persistent-and-breakthrough-pain/9.
   162
         Id.


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               322.   A summary of the February 12-16, 2008 AAPM annual meeting reinforced the

   message, promoted both by the AAPM and the APS, that “the undertreatment of pain is

   unjustified.” It continues:

               Pain management is a fundamental human right in all patients not only with
               acute postoperative pain but also in patients suffering from chronic pain.
               Treating the underlying cause of pain does not usually treat all of the ongoing
               pain. Minimal pathology with maximum dysfunction remains the enigma of
               chronic pain. Chronic pain is only recently being explored as a complex
               condition that requires individual treatment and a multidisciplinary approach. It is
               considered to be a disease entity.163

               323.   Cephalon was one of several opioid manufacturers who collectively paid 14 of the

   21 panel members who drafted the 2009 APS-AAPM opioid treatment guidelines.164

               324.   In the March 2007 article titled “Impact of Breakthrough Pain on Quality of Life

   in Patients with Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment with Oral

   Transmucosal Fentanyl Citrate,”165 published in the nationally circulated journal Pain Medicine,

   physicians paid by Cephalon (including Webster) described the results of a Cephalon-sponsored

   study seeking to expand the definition of BTP to the chronic, non-cancer setting. The authors

   stated that the “OTFC has been shown to relieve BTP more rapidly than conventional oral,

   normal-release, or ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a

   qualitative evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.”166


   163
     Mohamed A. Elkersh & Zahid H. Bajwa, Highlights From the American Academy of Pain
   Medicine 24th Annual Meeting, 2(1) Advances in Pain Management 50-52 (2008).
   164
         See Chou, Clinical Guidelines, supra n.59.
   165
      Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
   Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
   Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).
   166
         Id.


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   The number-one-diagnosed cause of chronic pain in the patients studied was back pain (44%),

   followed by musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and

   recommends fentanyl for non-cancer BTP patients:

                      In summary, BTP appears to be a clinically important condition in patients
               with chronic noncancer pain and is associated with an adverse impact on QoL.
               This qualitative study on the negative impact of BTP and the potential benefits of
               BTP-specific therapy suggests several domains that may be helpful in developing
               BTP-specific, QoL assessment tools.167

               325.   Cephalon also sponsored, through an educational grant, the regularly published

   journal Advances in Pain Management. In a single 2008 issue of the journal, there are numerous

   articles from Portenoy, Dr. Steven Passik (“Passik”), Dr. Kenneth L. Kirsh (“Kirsh”) and

   Webster, all advancing the safety and efficacy of opioids. In an article titled “Screening and

   Stratification Methods to Minimize Opioid Abuse in Cancer Patients,” Webster expresses disdain

   for the prior 20 years of opioid phobia.

               326.   In another article from the same issue, “Appropriate Prescribing of Opioids and

   Associated Risk Minimization,” Passik and Kirsh state: “[c]hronic pain, currently experienced by

   approximately 75 million Americans, is becoming one of the biggest public health problems in

   the US.” They assert that addiction is rare, that “[m]ost pain specialists have prescribed opioids

   for long periods of time with success demonstrated by an improvement in function” and that

   then-recent work had shown “that opioids do have efficacy for subsets of patients who can

   remain on them long term and have very little risk of addiction.”168




   167
         Id.
   168
      Steven D. Passik & Kenneth L. Kirsh, Appropriate Prescribing of Opioids and Associated
   Risk Minimization, 2(1) Advances in Pain Management 9-16 (2008).


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               327.   In November 2010, Fine and others published an article presenting the results of

   another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl Buccal

   Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain:

   An 18-Month Study.”169 In that article, Fine explained that the 18-month “open-label” study

   “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP in a

   large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for persistent

   [sic] noncancer pain.” The article acknowledges that: (a) “[t]here has been a steady increase in

   the use of opioids for the management of chronic noncancer pain over the past two decades”;

   (b) the “widespread acceptance” had led to the publishing of practice guidelines “to provide

   evidence- and consensus-based recommendations for the optimal use of opioids in the

   management of chronic pain”; and (c) those guidelines lacked “data assessing the long-term

   benefits and harms of opioid therapy for chronic pain.”170

               328.   They conclude: “[T]he safety and tolerability profile of [Fentora] in this study was

   generally typical of a potent opioid.         The [adverse events] observed were, in most cases,

   predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

   events was “small.”171

               329.   From 2000 forward, Cephalon has paid doctors nationwide millions of dollars for

   programs relating to its opioids, many of whom were not oncologists and did not treat cancer

   pain. These doctors included Portenoy, Webster, Fine, Passik, Kirsh, Landy and others.

   169
      Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
   Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
   Study, 40(5) J. Pain & Symptom Management 747-60 (Nov. 2010).
   170
         Id.
   171
         Id.


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            330.   Cephalon’s payments to doctors have resulted in studies that support its sales but,

   on closer examination, are biased or irreparably flawed. For instance, and upon information and

   belief, the governmental whistleblower investigation into Actiq revealed that two studies touted

   by Cephalon had tested fewer than 28 patients and had no control group whatsoever. 172 A 2012

   article evaluating the then-current status of transmucosal fentanyl tablet formulations for the

   treatment of BTP in cancer patients noted that clinical trials to date used varying criteria, that

   “the approaches taken . . . [did] not uniformly reflect clinical practice” and that “the studies ha[d]

   been sponsored by the manufacturer and so ha[d] potential for bias.”173

                   E.       Insys

            331.   Insys markets, sells, and distributes the following pharmaceutical drug in the

   County:

    Subsys              Fentanyl sublingual spray; semi-synthetic opioid agonist,          Schedule II
    (fentanyl)          approved in 2012.

            332.   Subsys is indicated “for the management of breakthrough pain in cancer patients

   18 years of age and older who are already receiving and are tolerant to opioid therapy for their

   underlying persistent cancer pain.”174 The indication also specifies that “SUBSYS is intended to

   be used only in the care of cancer patients and only by oncologists and pain specialists who are

   knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.” In addition,

   172
         Carreyrou, Cephalon Used Improper Tactics, supra n.148.
   173
      Eric Prommer & Brandy Fleck, Fentanyl Transmucosal Tablets: Current Status in the
   Management of Cancer-related Breakthrough Pain, 2012(6) Patient Preference and Adherence
   465-75 (June 25, 2012).
   174
       The indication provides that “[p]atients considered opioid tolerant are those who are taking
   around-the-clock medicine consisting of at least 60 mg of oral morphine daily, at least 25 mcg of
   transdermal fentanyl/hour, at least 30 mg of oral oxycodone daily, at least 8 mg of oral
   hydromorphone daily or an equianalgesic dose of another opioid daily for a week or longer.”


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   the indication provides that “[p]atients must remain on around-the-clock opioids when taking

   SUBSYS.” Subsys is contraindicated for, among other ailments, the “[m]anagement of acute or

   postoperative pain including headache/migraine and dental pain.” It is available in 100 mcg,

   200 mcg, 400 mcg, 600 mcg and 800 mcg dosage strengths.

            333.   Insys’ revenue is derived almost entirely from Subsys. According to its Form

   10-K for 2015, Insys reported revenues of $331 million. Of that total, $329.5 million was

   derived from sales of Subsys.

            334.   According to Dr. Andrew Kolodny, executive director of Physicians for

   Responsible Opioid Prescribing and chief medical officer of the Phoenix House Foundation,

   fentanyl products are “‘the most potent and dangerous opioids on the market.’”175

            335.   The dangers associated with Subsys are reflected by its extremely limited and

   specific indication, as it is approved solely for BTP in cancer patients already receiving opioids

   for persistent cancer-related pain.

            336.   Despite Subsys’ limited indication and the potent danger associated with fentanyl,

   Insys falsely and misleadingly marketed Subsys to doctors as an effective treatment for back

   pain, neck pain and other off-label pain conditions.176 Moreover, as of June 2012, Insys defined

   BTP in cancer patients to include mild pain: a “flare of mild-to-severe pain in patients with

   otherwise stable persistent pain,” based on a misleading citation to a paper written by




   175
      Dina Gusovsky, The Pain Killer: A Drug Company Putting Profits Above Patients, CNBC
   (Nov. 5, 2015, 10:13 AM), http://www.cnbc.com/2015/11/04/the-deadly-drug-appeal-of-insys-
   pharmaceuticals.html.
   176
      In the Matter of Insys Therapeutics, Inc., Notice of Unlawful Trade Practices and Proposed
   Resolution (July 10, 2015), https://www.documentcloud.org/ documents/2195731-insysdoj.html.


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   Portenoy.177 Insys trained and instructed its sales representatives to use the false definition of

   breakthrough pain and specifically to use a core visual aid, including the improper definition,

   whenever they detailed Subsys to a healthcare provider or provider’s office.

            337.   According to a 2014 article in The New York Times, only 1% of prescriptions for

   Subsys were written by oncologists. Approximately half the prescriptions were written by pain

   specialists, with others written by other specialists including dentists and podiatrists.178

                          a.      The Indictment of Insys Executives and Arrest of Its
                                  Founder

            338.   On December 8, 2016, several former Insys executives were arrested and indicted

   for conspiring to bribe practitioners in numerous states, many of whom operated pain clinics, in

   order to induce them to prescribe Subsys. In exchange for bribes and kickbacks, the practitioners

   wrote large numbers of prescriptions for patients, most of whom were not diagnosed with

   cancer.179


   177
       Portenoy’s paper, “Breakthrough Pain: Definition, Prevalence and Characteristics,” which
   was featured in the 1990 issue of Pain, actually defined breakthrough pain as “a transitory
   increase in pain to greater than moderate intensity (that is, to an intensity of ‘severe’ or
   ‘excruciating’) . . . on a baseline pain of moderate intensity or less.” Russell K. Portenoy & Neil
   A. Hagen, Breakthrough Pain: Definition, Prevalence and Characteristics, 41(3) Pain 273-81
   (July 1990).
   178
       Katie Thomas, Doubts Raised About Off-Label Use of Subsys, a Strong Painkiller, N.Y.
   Times (May 13, 2014), https://www.nytimes.com/2014/05/14/ business/doubts-raised-about-off-
   label-use-of-subsys-a-strong-painkiller.html?action=
   click&contentCollection=Business%20Day&region=Footer&module=MoreInSection&pgtype=
   Blogs&_r=2.
   179
       Press Release, U.S. Attorney’s Office for the District of Massachusetts, Pharmaceutical
   Executives Charged in Racketeering Scheme (Dec. 8, 2016), https://www.justice.gov/usao-
   ma/pr/pharmaceutical-executives-charged-racketeering-scheme (hereinafter “Insys Indictment
   Press Release”); United States v. Babich, et al., No. 1:16-cr-10343-ADB, Dkt. No. 1 (D. Mass.
   Dec. 6, 2016), https://www.justice.gov/usao-ma/press-release/file/916681/download (hereinafter
   “Insys Indictment”).


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            339.   The indictment alleged that the former executives conspired to mislead and

   defraud health insurance providers, who were reluctant to approve payment for Subsys when it

   was prescribed for patients without cancer. In response, the former executives established a

   “reimbursement unit” at Insys, which was dedicated to assisting physicians by obtaining prior

   authorization for prescribing Subsys directly from insurers and pharmacy benefit managers.

   Insys’ reimbursement unit employees were told to inform agents of insurers and pharmacy

   benefit managers that they were calling “from” or that they were “with” the doctor’s office, or

   that they were calling “on behalf of” the doctor.

            340.   The executive defendants in the indictment are Insys’ former CEO and president,

   former vice president of sales, former national director of sales, former vice president of

   managed markets and several former regional sales directors.         On October 26, 2017, the

   billionaire founder, CEO, and chairman of Insys, John Kapoor, who owns approximately 70% of

   the company, was also charged with fraud and racketeering and was accused of offering bribes to

   doctors to write large numbers of prescriptions for Subsys. Most of the patients who received

   the medication did not have cancer. 180

            341.   The charges against all seven executives include alleged violations of the federal

   Anti-Kickback Law, the federal Racketeer Influenced and Corrupt Organizations (“RICO”)

   statute and conspiracy to commit wire and mail fraud, as well as allegations of bribery and

   defrauding insurers. If found guilty, the defendants face possible sentences of up to 20 years for

   conspiracy to commit RICO and conspiracy to commit mail and wire fraud, as well as a fine of

   $250,000 or twice the amount of the pecuniary gain or loss. For the charge of conspiracy to
   180
       Michela Tindera, Opioid Billionaire Arrested on Racketeering Charges, Forbes (October 26,
   2017) (https://www.forbes.com/sites/michelatindera/2017/10/26/opioid-billionaire-arrested-on-
   racketeering-charges/#1af3f9076a00) (hereinafter “Tindera, Opioid Billionaire Arrested”).


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   violate the Anti-Kickback Law, the defendants face a sentence of up to five years in prison and a

   $25,000 fine.

            342.    The indictment details a coordinated, centralized scheme by Insys to illegally

   drive profits. The company defrauded insurers from a call center at corporate headquarters

   where Insys employees, acting at the direction of Insys’ former CEO and vice president of

   managed markets, disguised their identity and the location of their employer and lied about

   patient diagnoses, the type of pain being treated and the patient’s course of treatment with other

   medication.

            343.    Harold Shaw, special agent in charge of the FBI Boston field division, said in a

   statement, “As alleged, these executives created a corporate culture at Insys that utilized

   deception and bribery as an acceptable business practice, deceiving patients, and conspiring with

   doctors and insurers.”181

                           b.      Insys Targeted Non-Cancer Treating Physicians and
                                   Funded False Publications and Presentations

            344.    As set forth in the above-referenced indictment, Insys targeted and bribed

   practitioners in a number of ways. Insys bribed Subsys prescribers through strategic hires and by

   employing sales representatives and other employees at practitioners’ behest, with the

   expectation that such hires would provide inroads with key practitioners. Insys also bribed

   practitioners through a sham speakers’ bureau that was purportedly intended to increase brand

   awareness using peer-to-peer educational lunches and dinners.

            345.    Specifically, in June 2012, former executives began using in-person meetings,

   telephone calls and texts to inform Insys sales representatives that the key to sales was using the


   181
         Tindera, Opioid Billionaire Arrested, supra n.179.


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   speakers’ bureau to pay practitioners to prescribe Subsys.         As one of the company’s vice

   presidents for sales texted one of his sales representatives about potential physicians for the

   speakers’ bureau: “[t]hey do not need to be good speakers, they need to write a lot of [Subsys

   prescriptions].”    The former Insys executives actively recruited physicians known to have

   questionable prescribing habits for these speakers’ bureaus.182

            346.    The speakers’ bureaus were often just social gatherings at high-priced restaurants

   involving neither education nor presentations.        Frequently, they involved repeat attendees,

   including physicians not licensed to prescribe Subsys. Many of the speakers’ bureaus had no

   attendees; sales representatives were instructed to falsely list names of attendees and their

   signatures on Insys’ sign-in sheets.

            347.    Insys made thousands of payments to physicians nationwide, including to

   physicians in the County, for participating on these speakers’ bureaus and for other services.

            348.    Moreover, the executives are charged with targeting practitioners who prescribed

   Subsys not only for cancer pain, but for all pain.

            349.    As set forth in the indictment, at one national speakers’ bureau in or about 2014,

   Insys’ then-vice president of sales stated:

                    “These [doctors] will tell you all the time, well, I’ve only got like eight
            patients with cancer. Or, I only have, like, twelve patients that are on a rapid-
            onset opioids [sic]. Doc, I’m not talking about any of those patients. I don’t want
            any of those patients. That’s, that’s small potatoes. That’s nothing. That’s not
            what I’m here doing. I’m here selling [unintelligible] for the breakthrough pain.
            If I can successfully sell you the [unintelligible] for the breakthrough pain, do you
            have a thousand people in your practice, a thousand patients, twelve of them are
            currently on a rapid-onset opioids [sic]. That leaves me with at least five
            hundred patients that can go on this drug.”183

   182
         Insys Indictment Press Release, supra n.178.
   183
         Insys Indictment, supra n.178, at 15.

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             350.     Moreover, when agents of insurers or pharmacy benefit managers asked if a

   patient was being treated for BTP in cancer patients, Insys’ reimbursement unit employees were

   instructed to answer using a written script, sometimes called “the spiel”: “‘The physician is

   aware that the medication is intended for the management of breakthrough pain in cancer

   patients. The physician is treating the patient for their pain (or breakthrough pain, whichever is

   applicable).’”184

             351.     Insys’ former executives also tracked and internally circulated the number of

   planned and completed speakers’ bureau events for each speaker, as well as the number of

   Subsys prescriptions each speaker wrote, the percentage of such prescriptions compared to those

   written for Subsys’ competitor drugs, the total amount of honoraria paid to each speaker and, for

   a period of time, an explicit calculation of the ratio of return on investment for each speaker.

   When a speaker did not write an appropriate number of Subsys prescriptions, as determined by

   Insys, the number of future events for which that speaker would be paid would be reduced unless

   and until he or she wrote more Subsys prescriptions.

             352.     In a press release issued when the indictment was announced, the Massachusetts

   U.S. Attorney, Carmen M. Ortiz, stated: “‘I hope that today’s charges send a clear message that

   we will continue to attack the opioid epidemic from all angles, whether it is corporate greed or

   street level dealing.’”185

             353.     In the same press release, the FBI Special Agent in Charge of the Boston Field

   Division, Harold H. Shaw, linked the allegations to the national opioid epidemic:



   184
         Id. at 44.
   185
         Insys Indictment Press Release, supra n.178.


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                       “As alleged, top executives of Insys Therapeutics, Inc. paid kickbacks
               and committed fraud to sell a highly potent and addictive opioid that can lead to
               abuse and life threatening respiratory depression . . . . In doing so, they
               contributed to the growing opioid epidemic and placed profit before patient
               safety. These indictments reflect the steadfast commitment of the FBI and our
               law enforcement partners to confront the opioid epidemic impacting our
               communities, while bringing to justice those who seek to profit from fraud or
               other criminal acts.”186

               354.   The Special Agent in Charge at the Defense Criminal Investigative Service in the

   Northeast Field Office, Craig Rupert, commented specifically on the effect the criminal activities

   had on members of the military: “‘Causing the unnecessary use of opioids by current and retired

   U.S. military service members shows disregard for their health and disrespect for their service to

   our country . . . .’”187

                      F.      Mallinckrodt

               355.   Mallinckrodt markets, sells, and distributes pharmaceutical drugs in the County.

   Mallinckrodt is the largest U.S. supplier of opioid pain medications and among the top ten

   generic pharmaceutical manufacturers in the United States, based on prescriptions.

               356.   Among the drugs it distributes are the following:

    Exalgo                 Opioid agonist indicated for opioid-tolerant patients for         Schedule II
    (hydromorphone         management of pain severe enough to require daily, around-
    hydrochloride          the-clock, long-term opioid treatment and for which
    extended               alternative treatment options (e.g., non-opioid analgesics) are
    release)               inadequate. The FDA approved the 8, 12, and 16 mg tablets of
                           Exalgo in March 2010 and 32 mg tablet in August 2012.
    Roxicodone             Brand-name instant-release form of oxycodone hydrochloride.       Schedule II
    (oxycodone             Indicated for the management of pain severe enough to
    hydrochloride)         require an opioid analgesic and for which alternative
                           treatments are inadequate. Acquired from Xanodyne
                           Pharmaceuticals in 2012. Strengths range up to 30 mg per pill.
                           Nicknames include Roxies, blues, and stars.

   186
         Id.
   187
         Id.


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    Xartemis XR         The FDA approved Xartemis XR in March 2014 for the               Schedule II
    (oxycodone          management of acute pain severe enough to require opioid
    hydrochloride       treatment and in patients for whom alternative treatment
    and                 options are ineffective, not tolerated or would otherwise be
    acetaminophen)      inadequate. It was the first extended-release oral combination
                        of oxycodone and acetaminophen.
    Methadose           Branded generic product. Opioid agonist indicated for            Schedule II
    (methadone          treatment of opioid addiction.
    hydrochloride)
    Morphine            Generic product.                                                 Schedule II
    sulfate extended
    release
    Fentanyl            Generic product.                                                 Schedule II
    extended release
    Fentanyl citrate    Generic product.                                                 Schedule II
    Oxycodone and       Generic product.                                                 Schedule II
    acetaminophen
    Hydrocodone         Generic product.                                                 Schedule II
    bitartrate and
    acetaminophen
    Hydromorphone       Generic product.                                                 Schedule II
    hydrochloride
    Hydromorphone       Generic product.                                                 Schedule II
    hydrochloride
    extended release
    Naltrexone          Generic product.                                                 Schedule II
    hydrochloride
    Oxymorphone         Generic product.                                                 Schedule II
    hydrochloride
    Methadone           Generic product.                                                 Schedule II
    hydrochloride
    Oxycodone           Generic product.                                                 Schedule II
    hydrochloride

            357.   Mallinckrodt purchased Roxicodone from Xanodyne Pharmaceuticals in 2012.188

            358.   Mallinckrodt debuted Xartemis (MNK-795) at the September 4-7, 2013

   PAINWeek in Las Vegas.


   188
      Mallinckrodt Announces Agreement with Xanodyne to Purchase Roxicodone, Bus. Wire
   (Aug. 23, 2012), http://www.businesswire.com/news/ home/20120823005209/en/Mallinckrodt-
   Announces-Agreement-Xanodyne-Purchase-Roxicodone%C2%AE.


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                           a.      Mallinckrodt Funded False Publications and
                                   Presentations

            359.    Like several of the other Manufacturing Defendants, Mallinckrodt provided

   substantial funding to purportedly neutral organizations, which disseminated false messaging

   about opioids.

            360.    For example, until at least February 2009, Mallinckrodt provided an educational

   grant to Pain-Topics.org, a now-defunct website that touted itself as “a noncommercial resource

   for healthcare professionals, providing open access to clinical news, information, research, and

   education for a better understanding of evidence-based pain-management practices.”189

            361.    Among other content, the website included a handout titled “Oxycodone Safety

   Handout for Patients,” which advised practitioners that: “Patients’ fears of opioid addiction

   should be dispelled.”190      The handout included several false and misleading statements

   concerning the risk of addiction associated with prescription opioids:

            Will you become dependent on or addicted to oxycodone?

                   After awhile, oxycodone causes physical dependence. That is, if you
                    suddenly stop the medication you may experience uncomfortable
                    withdrawal symptoms, such as diarrhea, body aches, weakness,
                    restlessness, anxiety, loss of appetite, and other ill feelings. These may
                    take several days to develop.

                   This is not the same as addiction, a disease involving craving for the drug,
                    loss of control over taking it or compulsive use, and using it despite harm.




   189
       Pain                  Treatment                Topics,                         Pain-Topics.org,
   https://web.archive.org/web/20070104235709/http://www.pain-topics.org:80/           (last   visited
   February 20, 2018).
   190
       Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handout for Patients, Pain-Topics.Org
   (June 2007), http://paincommunity.org/blog/wp-content/uploads/ Oxycodone/Handout.pdf.


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                      Addiction to oxycodone in persons without a recent history of alcohol or
                      drug problems is rare.191

               362.   Additionally, the FAQ section of Pain-Topics.org contained the following false

   and misleading information downplaying the dangers of prescription opioid use:

                       Pseudoaddiction – has been used to describe aberrant patient behaviors
               that may occur when pain is undertreated (AAPM 2001). Although this diagnosis
               is not supported by rigorous investigation, it has been widely observed that
               patients with unrelieved pain may become very focused on obtaining opioid
               medications, and may be erroneously perceived as “drug seeking.”
               Pseudoaddiction can be distinguished from true addiction in that the behaviors
               resolve when the pain is effectively treated. Along with this, two related
               phenomena have been described in the literature (Alford et al. 2006):

                      Therapeutic dependence – sometimes patients exhibit what is considered
               drug-seeking because they fear the reemergence of pain and/or withdrawal
               symptoms from lack of adequate medication; their ongoing quest for more
               analgesics is in the hopes of insuring a tolerable level of comfort.

                              Pseudo-opioid-resistance – other patients, with adequate pain
                      control, may continue to report pain or exaggerate its presence, as if their
                      opioid analgesics are not working, to prevent reductions in their currently
                      effective doses of medication.

                        Patient anxieties about receiving inadequate pain control can be profound,
               resulting in demanding or aggressive behaviors that are misunderstood by
               healthcare practitioners and ultimately detract from the provision of adequate pain
               relief.192

               363.   Another document available on the website, “Commonsense Oxycodone

   Prescribing & Safety,” falsely suggests that generic oxycodone is less prone to abuse and

   diversion than branded oxycodone: “Anecdotally, it has been observed that generic versions of

   popularly abused opioids usually are less appealing; persons buying drugs for illicit purposes




   191
         Id.
   192
       FAQs, Pain-Topics.org, https://web.archive.org/web/20070709031530/ http://www.pain-
   topics.org:80/faqs/index1.php#tolerance.


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   prefer brand names because they are more recognizable and the generics have a lower value ‘on

   the street,’ which also makes them less alluring for drug dealers.”193

               364.   In November 2016, Mallinckrodt paid Dr. Scott Gottlieb (“Gottlieb”), the new

   commissioner of the FDA, $22,500 for a speech in London, shortly after the U.S. presidential

   election.194       Gottlieb has also received money from the Healthcare Distribution Alliance

   (“HDA”), an industry-funded organization that pushes the agenda of large pharmaceutical

   wholesalers, and he has often criticized efforts aimed at regulating the pharmaceutical opioid

   market.195

               365.   Mallinckrodt also made thousands of payments to physicians nationwide,

   including to physicians in the County.

               366.   Exalgo, Roxicodone and Xartemis XR have been widely prescribed in the

   County.

                             b.     The DEA Investigates Suspicious Orders

               367.   In 2008, the DEA and federal prosecutors launched an investigation into

   Mallinckrodt, charging that the company ignored red flags and supplied – and failed to report –

   suspicious orders for its generic oxycodone between 2008 and 2012.196 The U.S. Attorney’s


   193
       Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handout for Patients, Pain-Topics.Org
   (June 2007), http://paincommunity.org/blog/wp-content/uploads/OxycodoneHandout.pdf.
   194
      Lee Fang, Donald Trump’s Pick to Oversee Big Pharma Is Addicted to Opioid-Industry
   Cash, Intercept (Apr. 4, 2017, 2:15 PM), https://theintercept.com/ 2017/04/04/scott-gottlieb-
   opioid/.
   195
         Id.
   196
       Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers
   accountable, Wash. Post (Apr. 2, 2017), https://www.washingtonpost.com/graphics/
   investigations/dea-mallinckrodt/?utm_ term=.7ce8c975dd86.


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   office in Detroit, handled the case.       The investigation uncovered that from 2008 to 2012,

   Mallinckrodt sent, for example, 500 million tablets of oxycodone into a single state.197

   According to the internal government documents obtained by The Washington Post,

   Mallinckrodt’s failure to report could have resulted in “nearly 44,000 federal violations and

   exposed it to $2.3 billion in fines.”198

               368.   Despite learning from the DEA that generic opioids seized in a Tennessee drug

   operation were traceable to one of its distributors, Sunrise Wholesale (“Sunrise”), Mallinckrodt

   in the following six weeks sent 2.1 million tablets of oxycodone to Sunrise. In turn, Sunrise sent

   at least 92,400 oxycodone tablets to a single doctor over an 11-month period, who, in one day,

   prescribed 1,000 to a single patient.199

               369.   According to documents obtained by the Washington Post, investigators also

   found “scores of alleged violations” at Mallinckrodt’s plant in Hobart, New York. Those

   violations included the failure to keep accurate records, to document transfers of drugs and to

   secure narcotics.200

               370.   During the DEA’s investigation, Mallinckrodt sponsored the HDA (known as the

   Healthcare Distribution Management Association until 2016), an industry-funded organization

   that represents pharmaceutical distributors.201 The HDA initiated the Ensuring Patient Access


   197
         Id.
   198
         Id.
   199
         Id.
   200
         Id.
   201
       Sponsors: HDA’s Annual Circle Sponsors, Healthcare Distribution                     Alliance,
   https://www.healthcaredistribution.org/hda-sponsors (last visited February 20, 2018).


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   and Effective Drug Enforcement Act of 2016 (enacted April 19, 2016), which requires the DEA

   to give notice of violations and an opportunity to comply, to pharmacies and distributors, before

   withdrawing licenses.      This Act substantially lessened the DEA’s ability to regulate

   manufacturers and wholesalers.202

            371.   In May 2014, Mallinckrodt posted a video titled “Red Flags: Pharmacists Anti-

   Abuse Video.” The video is a thinly veiled attempt to divert responsibility for the opioid

   epidemic away from manufacturers and wholesalers, and toward individual pharmacists. The

   video was sponsored by the Anti-Diversion Industry Working Group, which is composed of,

   among others, McKesson, Mallinckrodt, AmerisourceBergen, and Qualitest—all of whom are

   conveniently missing from the list of those responsible.203

            372.   In April 2017, Mallinckrodt plc reached an agreement with the DEA and the U.S.

   Attorneys for the Eastern District of Florida and Northern District of New York to pay $35

   million to resolve a probe of its distribution of its opioid medications.204 Mallinckrodt finalized

   the settlement on July 11, 2017, agreeing to pay $35 million while admitting no wrongdoing.205



   202
      Chris McGreal, Opioid Epidemic: Ex-DEA Official Says Congress is Protecting Drug
   Makers, Guardian (Oct. 31, 2016, 9:26 EDT), https://www.theguardian.com/us-
   news/2016/oct/31/opioid-epidemic-dea-official-congress-big-pharma.
   203
       Mallinckrodt Pharmaceuticals, Red Flags: Pharmacists Anti-Abuse Video, YouTube (May
   27, 2014), https://www.youtube.com/watch?v=fdv0B210bEk&t=1s.
   204
      Linda A. Johnson, Mallinckrodt to Pay $35M in Deal to End Feds’ Opioid Probe, U.S. News
   & World Report (Apr. 3, 2017, 6:47 PM), https://www.usnews.com/news/business/articles/2017-
   04-03/mallinckrodt-to-pay-35m-in-deal-to-end-feds-opioid-probe.
   205
       Press Release, U.S. Department of Justice, Mallinckrodt Agrees to Pay Record $35 Million
   Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for
   Recordkeeping Violations (July 11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-agrees-
   pay-record-35-million-settlement-failure-report-suspicious-orders.


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          C.      Each Manufacturing Defendant Violated New Jersey State Laws
                  Pertaining to the Manufacture, Distribution, and Sale of Prescription
                  Drugs.

          373.    The Manufacturing Defendants violated New Jersey State laws pertaining to the

   manufacture, distribution, and sale of opioids by failing to, inter alia,

                  (a)     design and operate a system to identify suspicious orders of controlled

   substances and to notify the DCU of any suspicious orders. N.J.A.C. § 13:45H-2.4(b);

                  (b)     maintain complete and accurate the records and inventories and file

   reports regarding the same with the proper regulatory and enforcement body. N.J.A.C. § 13:45H-

   5.9 – 5.13;

                  (c)     establish and maintain records of all transactions regarding the receipt,

   distribution or other disposition of all prescription drugs, N.J.A.C. § 24:6B-27;

                  (d)     establish and maintain procedures for reporting counterfeit or suspected

   counterfeit prescription drugs, or counterfeiting or suspected counterfeiting activities to the

   department, N.J.A.C. § 24:6B-27;

                  (e)     establish and maintain a system for mandatory reporting to the department

   of significant shortages or losses of prescription drugs when diversion of prescription drugs is

   known or suspected, N.J.A.C. § 24:6B-27; and

                  (f)     “establish, maintain and adhere to written policies and procedures for the

   receipt, security, storage, inventory, transport, shipping and distribution of prescription drugs,

   including policies and procedures for: identifying, recording and reporting losses or thefts;

   correcting all errors and inaccuracies in inventories; and implementing and maintaining a

   continuous quality improvement system,” N.J.S.A. § 24:6B-28 (a) and (b).




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          374.    It is foreseeable to each Defendant that failing to adhere to the statutory

   requirements pertaining to the manufacture, sale, and distribution of prescription opioids listed

   above would cause harm to the County.

          D.      The Distributor Defendants Failed to Track and Report Suspicious
                  Sales as Required by New Jersey Law.

          375.    Manufacturers rely upon distributors to distribute their drugs. The distributors

   serve as middlemen, sending billions of doses of opioid pain pills to pharmacists, hospitals,

   nursing homes and pain clinics. According to the CDC, the increased distribution of opioids

   directly correlates to increased overdose death rates.

          376.    On October 23, 2017, CBS aired an episode of 60 Minutes featuring former DEA

   agent Joe Rannazzisi, who blamed the Wholesaler Defendants for killing people by violating the

   CSA requirement to report suspicious orders:

          RANNAZZISI: This is an industry that’s out of control. What they wanna do, is
          do what they wanna do, and not worry about what the law is. And if they don’t
          follow the law in drug supply, people die. That’s just it. People die.

                                                *       *     *

          This is an industry that allowed millions and millions of drugs to go into bad
          pharmacies and doctors’ offices, that distributed them out to people who had no
          legitimate need for those drugs.

          [INTERVIEWER]: Who are these distributors?

          RANNAZZISI: The three largest distributors are Cardinal Health, McKesson,
          and AmerisourceBergen. They control probably 85 or 90 percent of the drugs
          going downstream.

          [INTERVIEWER]: You know the implication of what you’re saying, that these
          big companies knew that they were pumping drugs into American communities
          that were killing people.

          RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what they
          did.



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          377.    Jim Geldhof, a 40-year veteran of the DEA who ran investigations in the Detroit

   field office corroborated Rannazzinsi’s account, saying that the wholesalers are “absolutely”

   responsible for the opioids epidemic:

          [INTERVIEWER]: These companies are a big reason for this epidemic?

          GELDHOF: Yeah, absolutely they are. And I can tell you with 100 percent
          accuracy that we were in there on multiple occasions trying to get them to change
          their behavior. And they just flat out ignored us.

          378.    Indeed, according to Rannazzisi, the Manufacturer Defendants succeeded in

   lobbying Congress to strip the DEA of its most potent tool for fighting against diversion and

   abuse. In 2013, a bill was introduced in the House that “was promoted as a way to ensure that

   patients had access to the pain medication they needed.” What it “really did,” however, “was

   strip the [DEA] of its ability to immediately freeze suspicious shipments of prescription narcotics

   to keep drugs off U.S. streets.” A 2015 Justice Department memo confirmed that the bill “‘could

   actually result in increased diversion, abuse, and public health and safety consequences.’”

          379.    During the two years the legislation was considered and amended, defendants and

   others in the industry spent $102 million lobbying Congress on the bill and other litigation,

   “claiming the DEA was out of control [and] making it harder for patients to get needed

   medication.” The APA co-signed a letter in support of the legislation. The APA receives

   funding from numerous industry participants, including defendants Endo, Johnson & Johnson,

   Mallinckrodt, Purdue, and Cephalon. Metadata associated with the letter co-signed by the APA

   shows that it was created by Kristen L. Freitas, vice president for federal government affairs at

   the Healthcare Distributors Alliance – the trade group that represents defendants McKesson, and

   AmerisourceBergen. Fritas is also a registered lobbyist who lobbied in support of the bill.




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                  A.     McKesson

          380.    McKesson is a wholesale pharmaceutical distributor of controlled and

   uncontrolled prescription medications, including opioids. It is the largest drug distributor, and

   the fifth largest company, in the United States. It distributes pharmaceuticals through a network

   of distribution centers across the country. McKesson ranked fifth on the 2017 Fortune 500 list,

   with over $192 billion in revenues.

          381.    McKesson is a distributor of opioids in the County and supplies various

   pharmacies in the County with an increasing amount of prescription opioid pills.

          382.    McKesson distribution centers are required to operate in accordance with laws

   and regulations governing the sale and distribution of Schedule II narcotics, such as opioids,

   within the State of New Jersey.

          383.    New Jersey law requires McKesson to “design and operate a system to disclose

   suspicious orders of controlled substances” as well as to “inform the Drug Control Unit of

   suspicious orders when discovered by [McKesson].” N.J.A.C. 13:45H-2.4.

          384.    McKesson failed to design and operate a system to disclose suspicious orders of

   controlled substances and/or failed to notify the DCU of suspicious orders.

          385.    In or about 2007, the DEA accused McKesson of failing to report suspicious

   orders and launched an investigation. In 2008, McKesson entered into a settlement agreement

   with the DOJ and a memorandum of agreement, agreeing to pay a $13.25 million fine for failure

   to report suspicious orders of pharmaceutical drugs and promising to set up a monitoring system.

          386.    As a result, McKesson developed a Controlled Substance Monitoring Program

   (“CSMP”) but nevertheless failed to design and implement an effective system to detect and

   report “suspicious orders” for controlled substances distributed to its independent and small


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   chain pharmacy customers – i.e., orders that are unusual in their frequency, size or other patterns.

   McKesson continued to fail to detect and disclose suspicious orders of controlled substances. It

   failed to conduct adequate due diligence of its customers, failed to keep complete and accurate

   records in the CSMP files maintained for many of its customers and bypassed suspicious order

   reporting procedures set forth in the CSMP.

          387.    In 2013, the DEA again began investigating reports that McKesson was failing to

   maintain proper controls to prevent the diversion of opioids and accused McKesson of failing to

   design and use an effective system to detect “suspicious orders” from pharmacies for powerful

   painkillers such as oxycodone, as required by the Controlled Substances Act.

          388.    On January 17, 2017, in one of the most severe sanctions ever agreed to by a

   distributor, McKesson agreed to pay a record $150 million in fines and suspend sales of

   controlled substances from distribution centers in four states (Colorado, Ohio, Michigan and

   Florida) to settle allegations that the company violated federal law. According to the DOJ,

   McKesson continued to fail to report suspicious orders between 2008 and 2012 and did not fully

   implement or follow the monitoring program.             As part of the agreement, McKesson

   acknowledged that:

          at various times during the Covered Time Period, it did not identify or report to
          DEA certain orders placed by certain pharmacies, which should have been
          detected by McKesson as suspicious, in a manner fully consistent with the
          requirements set forth in the 2008 MOA.

          389.    It is foreseeable to McKesson that failing to design and operate a system to

   disclose suspicious orders of controlled substances and/or failing to notify the DCU of suspicious

   orders would cause harm to the County.




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                   B.     AmerisourceBergen

            390.   AmerisourceBergen is a wholesale distributor of pharmaceuticals, including

   controlled substances and non-controlled prescription medications.

            391.   AmerisourceBergen is a distributor of opioids in the United States. It handles the

   distribution of approximately 20% of all pharmaceuticals sold and distributed in the U.S. through

   a network of 26 pharmaceutical distribution centers.206 It ranked 11th on the Fortune 500 list in

   2017, with over $146 billion in annual revenue.

            392.   AmerisourceBergen is a distributor of opioids in the County and supplies various

   pharmacies in Camden County with an increasing amount of prescription opioid pills.

            393.   AmerisourceBergen distribution centers are required to operate in accordance

   with laws and regulations governing the sale and distribution of Schedule II narcotics, such as

   opioids, within the State of New Jersey.

            394.   New Jersey law requires AmerisourceBergen to “design and operate a system to

   disclose suspicious orders of controlled substances” as well as to “inform the Drug Control Unit

   of suspicious orders when discovered by [AmerisourceBergen].” N.J.A.C. 13:45H-2.4.

            395.   AmerisourceBergen failed to design and operate a system to disclose suspicious

   orders of controlled substances and/or failed to notify the DCU of suspicious orders.

            396.   In 2012, West Virginia sued AmerisourceBergen and other wholesalers, for

   numerous causes of action, including violations of the CSA, consumer credit and protection, and

   antitrust laws and the creation of a public nuisance. Unsealed court records from that case

   demonstrate that AmerisourceBergen, McKesson and others, together shipped 423 million pain


   206
       AmerisourceBergen,       Wikipedia,        https://en.wikipedia.org/wiki/AmerisourceBergen
   (hereinafter “AmerisourceBergen”) (last visited February 20, 2018).


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   pills to West Virginia between 2007 and 2012.207 AmerisourceBergen itself shipped 80.3 million

   hydrocodone pills and 38.4 oxycodone pills during that time period.208         Moreover, public

   documents also demonstrate that that the average dose of each tablet distributed grew

   substantially during that time period. In 2016, AmerisourceBergen agreed to settle the West

   Virginia lawsuit by paying $16 million to the state, with the funds set aside to fund drug

   treatment programs in order to respond to the opioid addiction crisis.

            397.   It is foreseeable to AmerisourceBergen that failing to design and operate a

   system to disclose suspicious orders of controlled substances and/or failing to notify the DCU of

   suspicious orders would cause harm to the County.

                   C.     Cardinal Health

            398.   Cardinal Health describes itself as a global integrated healthcare services and

   products company. It generated $121.5 billion in total revenue during fiscal year 2016 (ended

   June 30, 2016). It is ranked 15th by revenue on the 2017 Fortune 500 list of top United States

   companies.

            399.   Cardinal Health distributes branded and generic pharmaceutical, special

   pharmaceutical, over-the-counter and consumer products in the United States. Of Cardinal

   Health’s $121.5 billion in revenue during fiscal year 2016, $109.1 billion was derived from the

   pharmaceutical operating segment.

            400.   Cardinal Health is a significant distributor of opioids in the United States.

   Cardinal Health’s largest customer is CVS Health (“CVS”), which accounted for 25% of

   207
      Eric Eyre, Drug Firms Poured 780M Painkillers into WV Amid Rise of Overdoses,
   Charleston   Gazette-Mail    (Dec.    17,   2016),      http://www.wvgazettemail.com/news-
   health/20161217/drug-firms-poured-780m-painkillers-into-wv-amid-rise-of-overdoses.
   208
         AmerisourceBergen, supra n.205.


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   Cardinal Health’s fiscal year 2016 revenue. According to its website, CVS operates numerous

   pharmacies in the County.

            401.   Cardinal is a distributor of opioids in the County and supplies various pharmacies

   in Camden County an increasing amount of prescription opioid pills.

            402.   Cardinal distribution centers are required to operate in accordance with laws and

   regulations governing the sale and distribution of Schedule II narcotics, such as opioids, within

   the State of New Jersey.

            403.   New Jersey law requires Cardinal to “design and operate a system to disclose

   suspicious orders of controlled substances” as well as to “inform the Drug Control Unit of

   suspicious orders when discovered by [McKesson].” N.J.A.C. § 13:45H-2.4.

            404.   Cardinal failed to design and operate a system to disclose suspicious orders of

   controlled substances and/or failed to notify the DCU of suspicious orders.

            405.   On December 23, 2016, Cardinal Health agreed to pay the United States $44

   million to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida

   and New York by failing to report suspicious orders of controlled substances, including

   oxycodone, to the DEA.

            406.   In the settlement agreement, Cardinal Health admitted, accepted and

   acknowledged that it had violated the CSA between January 1, 2009 and May 14, 2012 by failing

   to:

                  “timely identify suspicious orders of controlled substances and inform the DEA of
                   those orders, as required by 21 C.F.R. §1301.74(b)”;

                  “maintain effective controls against diversion of particular controlled substances
                   into other than legitimate medical, scientific, and industrial channels, as required
                   by 21 C.F.R. §1301.74, including the failure to make records and reports required



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                      by the CSA or DEA’s regulations for which a penalty may be imposed under 21
                      U.S.C. §842(a)(5)”; and

                     “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
                      ‘Form 222’ order forms and their electronic equivalent for Schedule II controlled
                      substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part 1305.”

               407.   The settlement agreement was announced by the U.S. Attorney for the District of

   Maryland, Rod J. Rosenstein (“Rosenstein”), and the DEA Special Agent in Charge –

   Washington Field Division, Karl C. Colder (“Colder”).209

               408.   In the press release announcing the settlement agreement, Rosenstein stated:

                      “Pharmaceutical suppliers violate the law when they fill unusually large or
               frequent orders for controlled substances without notifying the DEA . . . . Abuse
               of pharmaceutical drugs is one of the top federal law enforcement priorities.
               Cases such as this one, as well as our $8 million settlement with CVS in February
               2016, reflect the federal commitment to prevent the diversion of pharmaceutical
               drugs for illegal purposes.”210

               409.   In the press release, Colder clarified that the settlement specifically concerned

   oxycodone:

                         “DEA is responsible for ensuring that all controlled substance transactions
               take place within DEA’s regulatory closed system. All legitimate handlers of
               controlled substances must maintain strict accounting for all distributions and
               Cardinal failed to adhere to this policy . . . . Oxycodone is a very addictive drug
               and failure to report suspicious orders of oxycodone is a serious matter. The civil
               penalty levied against Cardinal should send a strong message that all handlers of
               controlled substances must perform due diligence to ensure the public safety
               . . . .”211



   209
       Press Release, U.S. Attorney’s Office for the District of Maryland, Cardinal Health Agrees to
   $44 Million Settlement for Alleged Violations of Controlled Substances Act (Dec. 23, 2016),
   https://www.justice.gov/usao-md/pr/cardinal-health-agrees-44-million-settlement-alleged-
   violations-controlled-substances-act.
   210
         Id.
   211
         Id.


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          410.      It is foreseeable to Cardinal Health that failing to design and operate a system to

   disclose suspicious orders of controlled substances and/or failing to notify the DCU of suspicious

   orders would cause harm to the County.

          E.        The Pharmacy Defendants Failed to Track and Report Suspicious
                    Sales as Required by New Jersey Law.

          411.      New Jersey law imposes duties and requirements on the conduct of the

   Pharmacy Defendants. These requirements establish a standard of care for pharmacy conduct.

          412.      New Jersey law requires pharmacists to review each controlled substance

   prescription and, prior to dispensing medication, make a professional determination that the

   prescription is effective and valid. See N.J.A.C. 13:45H-7.4, see also N.J.A.C. 13:45H-7.8.

          413.      What is more, N.J.A.C. 13:45H-7.4 states, “[t]he          responsibility for the

   proper prescribing and dispensing of controlled substances is upon the prescribing

   practitioner, but a corresponding responsibility rests with the pharmacist who fills the

   prescription.”

          414.      Therefore, pharmacists are required to ensure that prescriptions for controlled

   substances are valid, and that they are issued for a legitimate medical purpose by an

   individual practitioner acting in the usual course of his professional practice.

          415.      Under New Jersey law, pharmacy registrants are required to “provide effective

   controls and procedures to guard against theft and diversion of controlled substances” N.J.A.C.

   13:45H-2.1, and maintain and filed complete and accurate inventory records with the appropriate

   state and federal regulators. See N.J.A.C. 13:45H-5.9 – 5.13.

          416.      In addition, pharmacists “shall inform the Drug Control Unit of suspicious

   orders when discovered by the registrant. Suspicious orders include orders of unusual size,



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   orders deviating substantially from a normal pattern, and orders of unusual frequency.” N.J.A.C.

   13:45H-2.4.

          417.    On information and belief, the Pharmacy Defendants failed to provide

   effective controls and procedures to guard against diversion of prescription opioids,

   failed to maintain complete and accurate inventory records, and failed to report

   suspicious orders.

           418. On information and belief, the Pharmacy Defendants regularly filled opioid

    prescriptions that would have been deemed questionable or suspicious by a reasonably-

    prudent pharmacy.

          419.    On information and belief, the Pharmacy Defendants have not adequately

   trained or supervised their employees at the point of sale to investigate or report suspicious

   or invalid prescriptions, or protect against corruption or theft by employees or others.

          420.    On information and belief, the Pharmacy Defendants utilize monetary

   compensation programs for certain employees that are based, in part, on the number of

   prescriptions filled and dispensed. This type of compensation creates economic disincentives

   within the companies to change their practices. For example, there have been reports of chain

   store supervisory personnel directing pharmacists to fill prescriptions regardless of the red

   flags presented.

          421.    The Pharmacy Defendants have violated a voluntarily-undertaken duty to the

   public which they have assumed by their own words and actions. In news reports and other

   public documents, it has been reported that the Pharmacy Defendants, through their words or

   actions, have assured the public that issues affecting public health and safety are the highest

   priority for the defendants.

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          422.   For example, in 2015, CVS publically stated that, “the abuse of controlled

   substance pain medication is a nationwide epidemic that is exacting a devastating toll upon

   individuals, families and communities. Pharmacists have a legal obligation under state and

   federal law to determine whether a controlled substance was issued for a legitimate purpose

   and to decline to fill prescriptions they have reason to believe were issued for a non-legitimate

   purpose.”

          423.   In failing to take adequate measures to prevent substantial opioid-related

   injuries to the County and her residents, the Pharmacy Defendants have breached their

   duties under the “reasonable care” standard, professional duties under the relevant standards

   of professional practice, and requirements established by the laws of the State of New Jersey.

          424.   It is foreseeable to the Pharmacy Defendants that filling invalid or suspicious

   prescriptions for opioids would cause harm to individual pharmacy customers, the County

   citizens who may use the wrongfully-dispensed opioids, and the County itself.

          425.   It is reasonably foreseeable to the Pharmacy Defendants that, when

   unintended users gain access to opioids, tragic preventable injuries will result, including

   overdoses and death. It is also reasonably foreseeable many of these injuries will be suffered

   by the County and her citizens.

          426.   At all relevant times, the Pharmacy Defendants have engaged in improper

   dispensing practices, and continue to do so, despite knowing full well they could take

   measures to substantially eliminate their complicity in opioid diversion.

          427.   At all relevant times, the Pharmacy Defendants engaged in these activities,

   and continue to do so, knowing full well that the County, in its role of providing protection

   and care for its citizens, would provide or pay for additional medical services, emergency


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   services, law enforcement, and other necessary services, as well as by the loss of substantial

   economic productivity that contributes to the health and well-being of the County.

           428.   It is reasonably foreseeable to the Pharmacy Defendants that the County

   would be forced to bear substantial expenses as a result of the Pharmacy Defendants’ acts.

           429.   The Pharmacy Defendants were on notice of their ongoing negligence or

   intentional misconduct towards the County in part because of their history of being

   penalized for violating their duties and legal requirements in other jurisdictions.

   V.      TOLLING OF THE STATUE OF LIMITATIONS

           A.     Continuing Wrong Doctrine

           430.   Plaintiff contends it continues to suffer harm from the continual unlawful actions

   by the Defendants.

           431.   Because Defendants owed a continuing duty to Plaintiff not to commit the

   wrongful acts alleged in this Complaint, and committed a continual, cumulative pattern of

   tortious conduct, the continued tortious and unlawful conduct by the Defendants are continuing

   violations state law causing a distinct injury instead of continual ill effects from an original

   violation.

           432.   The effects of Defendants’ violative acts are cumulative. The damages have not

   occurred all at once but have continued to occur after each violation and have increased as time

   progresses. The tort is not completed nor have all the damages been incurred until the

   wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has not ceased. The

   public nuisance remains unabated.




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          B.         Discovery Rule Tolling

          433.       The County did not discover, and could not have discovered through the exercise

   of reasonable diligence and intelligence Defendants’ role in the deceptive marketing of chronic

   opioid therapy or the resulting harm caused by Defendants’ false and deceptive statements about

   the risks and benefits of long-term opioid use within the time period of any applicable statutes of

   limitation.

          434.       Defendants took steps to avoid detection of and to fraudulently conceal their

   deceptive marketing and unlawful, unfair, and deceptive conduct.             Among other things,

   Defendants disguised their own role in the deceptive marketing of chronic opioid therapy by

   funding and working through third parties and hiding behind the assumed credibility of these

   individuals and organizations. Defendants also never disclosed their role in shaping, editing, and

   approving the content of information and materials disseminated by these third parties. Finally,

   Defendants manipulated the scientific literature and distorted the meaning and import of studies.

   The lack of support for Defendants’ deceptive messages was not apparent to medical

   professionals who relied upon them in making treatment decisions, nor could it have been

   detected by Plaintiffs.

          435.       Plaintiffs did not know of the existence or scope of the Defendants’ deception and

   could not have acquired such knowledge earlier through the exercise of reasonable diligence.

   For these reasons, all applicable statutes of limitation have been tolled by operation of the

   discovery rule.




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            C.     Fraudulent Concealment Tolling

            436.   All applicable statutes of limitation have also been tolled by Defendants’ knowing

   and active fraudulent concealment and denial of the facts alleged herein throughout the time

   period relevant to this action.

            D.     Estoppel

            437.   Defendants are equitably estopped from relying upon a statute of limitations

   defense, to the extent any such defense even applies to Plaintiff’s claims, because they undertook

   efforts to purposefully conceal their unlawful conduct and fraudulently assure the public,

   including the State, the Plaintiff, and Plaintiff’s Community, that they were undertaking efforts

   to comply with their obligations under the state controlled substances laws, all with the goal of

   protecting their registered manufacturer or distributor status in the State and to continue

   generating profits. Notwithstanding the allegations set forth above, the Defendants affirmatively

   assured the public, including the County.

            438.   Based on the foregoing, Defendants are estopped from relying on any statutes of

   limitations in defense of this action.

   VI.      CLAIMS

                                               COUNT I

   NEW JERSEY RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                (“NEW JERSEY RICO”), N.J.S.A. 2C:41-2, ET SEQ.

                       (Against the Individual and Manufacturing Defendants)

            439.   The County incorporates by reference each preceding paragraph as though fully

   set forth herein.




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          440.     Plaintiff brings this Count on behalf of itself against the Individual Defendants

   and Manufacturing Defendants (collectively, for purposes of this Count, the “RICO Marketing

   Defendants”).

          441.     At all relevant times, the RICO Marketing Defendants were “persons” within the

   meaning of N.J.S.A. 2C:41-1(b), because they are entities capable of holding, and do hold, “a

   legal or beneficial interest in property.”

          442.     The New Jersey RICO statute makes it unlawful for any person employed by or

   associated with any enterprise engaged in or activities of which affect trade or commerce to

   conduct or participate, directly or indirectly, in the conduct of the enterprise’s affairs through a

   pattern of racketeering activity or collection of unlawful debt. N.J.S.A. 2C:41-2.

          443.     In addition, it is unlawful for “any person to conspire to violate” the provisions of

   N.J.S.A. 2C:41-2(c). N.J.S.A. 2C:41-2(d).

          444.     As alleged above, at all relevant times, the RICO Marketing Defendants, together

   with their agents, expanded the market for prescription opioids through a fraudulent and

   deceptive marketing campaign that over-emphasized the under-treatment of pain and deceptively

   marketed opioids as being: (i) rarely, if ever, addictive; (ii) safe and effective for the treatment of

   chronic long-term pain; (iii) abuse resistant or deterrent; or (iv) safe and effective for other types

   of pain for which the drugs were not approved. In particular, the Manufacturing Defendants,

   along with other entities and individuals, were employed by or associated with, and conducted or

   participated in the affairs of, the New Jersey RICO enterprise (the “Opioid Marketing Fraud

   Enterprise”), whose purpose was to deceive opioid prescribers and the public into believing that

   opioids were safe and effective for the treatment of long-term chronic pain, and presented

   minimal risk of addiction. In doing so, they sought to maximize revenues from the design,


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   manufacture, distribution and sale of opioids which, in fact, were highly addictive and often

   ineffective and dangerous when used for long term, chronic and other types of pain. As a direct

   and proximate result of their fraudulent scheme and common course of conduct, defendants were

   able to extract revenues of billions of dollars. As explained in detail below, the Manufacturing

   Defendants’ years-long misconduct violated 1 N.J.S.A. 2C:41-2 (c) and (d).

                       THE OPIOID MARKETING FRAUD ENTERPRISE

          445.    At all relevant times, the RICO Marketing Defendants, along with other

   individuals and entities, including unknown third parties involved in the marketing and sale of

   opioids, operated an “enterprise” within the meaning of N.J.S.A. 2C:41-1(c) because they are a

   group of individuals associated in fact, even though they are not a collective legal entity. The

   Opioid Marketing Fraud Enterprise: (a) had an existence separate and distinct from each of its

   component entities; (b) was separate and distinct from the pattern of racketeering in which the

   Manufacturing Defendants engaged; and (c) was an ongoing organization consisting of legal

   entities, including, but not limited to, the RICO Marketing Defendants, employees and agents of

   the FSMB, APF, AAPM, APS and APA, as well as other entities and individuals, including

   physicians.

          446.    Within the Opioid Marketing Fraud Enterprise, there was a common

   communication network by which members exchanged information on a regular basis through

   the use of wires and mail.       The Opioid Marketing Fraud Enterprise used this common

   communication network for the purpose of deceptively marketing and selling opioids to the

   general public. When their products were contested by other parties, the enterprise members

   took action to hide the scheme to continue its existence.




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          447.    The participants in the Opioid Marketing Fraud Enterprise were systematically

   linked to each other through corporate ties, contractual relationships, financial ties and

   continuing coordination of activities. Through the enterprise, the RICO Marketing Defendants

   functioned as a continuing unit with the purpose of furthering the illegal scheme and their

   common purposes of increasing their revenues and market share, and minimizing losses. Each

   member of the Opioid Marketing Fraud enterprise shared in the bounty generated by the

   enterprise by sharing the benefit derived from increased sales of opioids and other revenue

   generated by the scheme to defraud prescribers and consumers in the County.

          448.    The Opioid Marketing Fraud Enterprise engaged in, indeed, continues to engage

   in the deceptive marketing of opioids as non-addictive, and as safe and effective for chronic

   long-term pain.

          449.    The enterprise has engaged in such activity for the purpose of maximizing the sale

   and profits of opioids.

          450.    To fulfill this purpose, the enterprise has advocated for and caused the over-

   prescription of opioids by marketing, promoting, advertising and selling opioids in the County.

   Their receipt of monies from such activities has affected trade and commerce. The enterprise’s

   past and ongoing practices thus constitute a pattern of racketeering activity under 2C:41-2.

          451.    The Opioid Marketing Fraud Enterprise functioned by marketing and selling

   opioids to states, counties, other municipalities, doctors, healthcare organizations and the

   consuming public. Many of these opioid products are legitimate, including opioids used short-

   term for acute surgical and end-stage cancer pain. However, the RICO Marketing Defendants as

   co-conspirators, through their illegal enterprise, engaged in a pattern of racketeering activity,

   which involves a fraudulent scheme to increase revenue for the RICO Marketing Defendants and


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   the other entities and individuals associated-in-fact with the enterprise’s activities through the

   deceptive marketing and sale of opioids.

          452.    The RICO Marketing Defendants participated in the operation and management

   of the Opioid Marketing Fraud Enterprise by directing its affairs, as described herein. While the

   RICO Marketing Defendants participated in, and are members of the enterprise, they have a

   separate existence from the enterprise, including distinct legal statuses, different offices and

   roles, bank accounts, officers, directors, employees, individual personhood, reporting

   requirements and financial statements.

          453.    As detailed above, each of the RICO Marketing Defendants relentlessly promoted

   opioids as having little to no risk of addiction, as being safe and effective for the treatment of

   long-term chronic pain. The RICO Marketing Defendants’ success in maximizing sales was due

   to the tight collaboration among the RICO Marketing Defendants through and in collaboration

   with the pain foundations – a formidable partnership that marketed to hundreds of thousands of

   prescribers across the country, including prescribers in the County.           The relationship was

   strengthened, in part, by individuals including physicians that held different leadership roles at

   different times across the various entities participating in the enterprise over the years.

          454.    On numerous occasions, the RICO Marketing Defendants funded the pain

   foundations’ marketing efforts. The RICO Marketing Defendants specifically chose to partner

   with the pain foundations and individual physicians to publish and otherwise disseminate

   misleading pro-opioid material, knowing the public and prescribers would be more receptive to

   statements made by what they perceived to be scholarly, neutral, third party sources.

          455.    The members of the Opioid Marketing Fraud Enterprise worked together to

   further the enterprise, by and among the following manner and means:


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                    (a)      jointly planning to deceptively market and manufacture opioids that were

   purportedly non-addictive, safe and effective for the treatment of chronic, long-term pain;

                    (b)      concealing the addictive qualities of the opioids from prescribers and the

   public;

                    (c)      misleading the public about the addictive quality and safety and efficacy

   of opioids;

                    (d)      otherwise misrepresenting or concealing the highly dangerous nature of

   opioids from prescribers and the public;

                    (e)      illegally marketing, selling and/or distributing opioids; and

                    (f)      profiting from the sale of such products for uses for which they are

   unapproved, unsafe or ineffective.

             456.   To achieve their common goals, the RICO Marketing Defendants hid from the

   general public the full extent of the unsafe and ineffective nature of opioids for chronic pain as

   described herein. The RICO Marketing Defendants suppressed and/or ignored warnings from

   third parties, whistleblowers and governmental entities about the addictive, unsafe and often

   ineffective nature of opioids.

             457.   The foregoing allegations support that the RICO Marketing Defendants were part

   of an association of entities that shared a common purpose, had relationships across the various

   members of the enterprise and collaborated to further the goals of the enterprise for a continuous

   period of time.        The RICO Marketing Defendants knowingly and intentionally engaged in

   deceptive marketing practices, and incentivized pain foundations, marketing firms and

   physicians to do so as well.




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                         PATTERN OF RACKETEERING ACTIVITIES

          458.    To carry out and attempt to carry out the scheme to defraud, the Individual and

   RICO Marketing Defendants, each of whom is a person associated in fact with the enterprise, did

   knowingly conduct and participate, directly and indirectly, in the conduct of the affairs of the

   enterprise through a pattern of racketeering activity within the meaning of N.J.S.A. Section

   2C:41-2 and which employed the use of the mail and wire facilities, in violation of 18 U.S.C.

   §§1341 (mail fraud) and 1343 (wire fraud), and included a conspiracy.

          459.    Specifically, the RICO Marketing Defendants have committed, conspired to

   commit and/or aided and abetted in the commission of, or caused the commission of, at least two

   predicate acts of racketeering activity (specifically, violations of 18 U.S.C. §§1341 and 1343)

   within ten years of each other. The multiple acts of racketeering activity which the RICO

   Marketing Defendants committed or aided and abetted in the commission of, or caused to

   commit, were related to each other, and also posed a threat of continued racketeering activity.

   They therefore constitute a “pattern of racketeering activity.” The racketeering activity was

   made possible by the RICO Marketing Defendants’ regular use of the facilities, services,

   distribution channels and employees of the enterprise.       The RICO Marketing Defendants

   participated in the scheme to defraud by using, or causing the use of, mail, telephone and the

   Internet to transmit mailings and wires in interstate or foreign commerce and by engaging in a

   conspiracy.

          460.    In devising and executing the illegal scheme, the RICO Marketing Defendants

   devised and knowingly carried out a material scheme and/or artifice to defraud regulators,

   prescribers and the public to obtain money from the County by means of materially false or

   fraudulent pretenses, representations, promises or omissions of material facts. For the purpose of


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   executing the illegal scheme, the RICO Marketing Defendants committed, or caused the

   commission of, these racketeering acts intentionally and knowingly with the specific intent to

   advance the illegal scheme.

          461.   The predicate acts of racketeering committed by, or cause to be committed by, the

   RICO Marketing Defendants include, but are not limited to:

                 (a)     Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. §1341

   by sending and receiving, and by causing to be sent and/or received, materials via U.S. Mail or

   commercial interstate carriers for the purpose of executing the unlawful scheme to deceptively

   market, and sell the opioids by means of false pretenses, misrepresentations, promises and

   omissions;

                 (b)     Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. §1343

   by transmitting and/or receiving, and by causing to be transmitted and/or received, materials by

   wire for the purpose of executing the unlawful scheme to defraud and obtain money on false

   pretenses, misrepresentations, promises and omissions; and

                 (c)     Conspiracy:    See infra at Count VII.

          462.   The RICO Marketing Defendants’ use of the mails and wires (or causing the issue

   thereof) include, but are not limited to, the transmission, delivery and shipment of deceptive

   marketing materials by the RICO Marketing Defendants and other members of the Opioid

   Marketing Fraud Enterprise. These materials would not have been delivered but for the RICO

   Marketing Defendants’ illegal scheme, including, but not limited to:

                 (a)     the FSMB’s publication of opioid prescribing guidelines entitled

   “Responsible Opioid Prescribing,” by Fishman;




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                   (b)    the FSMB’s publication of “Revised and Expanded 2nd Edition [of]

   Responsible Opioid Prescribing[:] A Guide for Florida Clinicians”;

                   (c)    the APF’s publication of Exit Wounds;

                   (d)    the AAPM’s “consensus statement” and educational programs featuring

   Fine;

                   (e)    the APA’s publication and dissemination of “Prescription Pain

   Medication: Preserving Patient Access While Curbing Abuse”;

                   (f)    false or misleading communications to the public and to regulators;

                   (g)    sales and marketing materials, including slide decks, presentation

   materials, purported guidelines, advertising, web sites, product packaging, brochures, labeling

   and other writings which misrepresented, falsely promoted and concealed the true nature of

   opioids;

                   (h)    documents intended to facilitate the manufacture and sale of opioids,

   including bills of lading, invoices, shipping records, reports and correspondence;

                   (i)    documents to process and receive payment for opioids, including invoices

   and receipts;

                   (j)    payments to the foundations and physicians that deceptively marketed the

   RICO Marketing Defendants’ opioids;

                   (k)    deposits of proceeds; and

                   (l)    other documents and things, including electronic communications.

           463.    The RICO Marketing Defendants also used, or caused the use of, the Internet and

   other electronic facilities to carry out the scheme and conceal the ongoing fraudulent activities.

   Specifically, the RICO Marketing Defendants made misrepresentations about opioids on their


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   websites, YouTube and through online ads, all of which intended to mislead prescribers and the

   public about the safety, efficacy and non-addictiveness of opioids.

              464.   The RICO Marketing Defendants also communicated, or caused communications,

   by U.S. Mail, by interstate facsimile and by interstate electronic mail with various other

   affiliates, regional offices, divisions, distributors and other third party entities in furtherance of

   the scheme. The mail and wire transmissions described herein were made in furtherance of the

   RICO Marketing Defendants’ scheme and common course of conduct to deceive prescribers and

   consumers and lure consumers into purchasing opioids, which the RICO Marketing Defendants

   knew or recklessly disregarded as being unsafe and ineffective for chronic long-term pain and

   addictive. The RICO Marketing Defendants utilized mail and wire transmissions, or caused the

   use thereof, to create an extensive campaign that advertised the exact opposite message: that

   opioids were safe and effective and rarely if ever addictive.

              465.   Many of the precise dates of the fraudulent uses of the U.S. Mail and interstate

   wire facilities are concealed from The County, and details as to the predicate acts is exclusively

   within the possession, custody or control of the RICO Marketing Defendants. As such, it cannot

   be alleged without access to the RICO Marketing Defendants’ books and records. However, The

   County has described the types of predicate acts of mail and/or wire fraud that occurred. The

   secretive nature of the enterprise’s activities made its marketing tactics even more deceptive and

   harmful.

              466.   The foregoing allegations support that the RICO Marketing Defendants engaged

   in a pattern of racketeering activity by repeatedly engaging in wire and mail fraud, and a

   conspiracy, to deceptively market their products through the use of both print and electronic

   outlets.


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          467.     The RICO Marketing Defendants’ pattern of racketeering activity has adversely

   impacted this State’s trade or commerce, as well as the general health and welfare of the State

   and its inhabitants. Their conduct annually drains and diverts millions from the public coffers

   and, as a consequence, harms the general health and welfare of the States’ inhabitants, among

   other things.

                                   CONSPIRACY ALLEGATIONS

          468.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

   fully set forth herein, and further alleges as follows.

          469.     The RICO Marketing Defendants have not undertaken the practices described

   herein in isolation, but as part of a common scheme and conspiracy. In violation of N.J.S.A.

   2C:41-2(d) the RICO Marketing Defendants conspired to violate N.J.S.A. 2C:41-2(c), as

   described herein.

          470.     The RICO Marketing Defendants conspired to incentivize and encourage various

   other persons, firms and corporations, including third party entities and individuals not named as

   defendants in this Complaint, to carry out offenses and other acts in furtherance of the

   conspiracy.     The RICO Marketing Defendants conspired to increase or maintain revenues,

   increase market share and/or minimize losses for the RICO Marketing Defendants and their other

   collaborators throughout the illegal scheme and common course of conduct. In order to achieve

   this goal, the RICO Marketing Defendants engaged in the aforementioned predicate acts on

   numerous occasions. The RICO Marketing Defendants, with knowledge and intent, agreed to

   the overall objectives of the conspiracy and participated in the common course of conduct to

   commit acts of fraud and indecency in defectively marketing and/or selling opioids through the

   use of mail and wire fraud.


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              471.   For the conspiracy to succeed, each of the RICO Marketing Defendants had to

   agree to deceptively market and/or sell opioids. Indeed, the unanimity of the RICO Marketing

   Defendants’ marketing tactics gave their misleading statements credence to prescribers and

   consumers.

              472.   The RICO Marketing Defendants knew and intended that state regulators,

   prescribers and consumers in the County, would rely on the collective material

   misrepresentations and omissions made by them and the other enterprise members about opioids.

   The RICO Marketing Defendants knew and intended that consumers, including those in the

   County, would incur costs as a result.

              473.   The RICO Marketing Defendants knew that by partnering with the pain

   foundations and individual physicians who carried a more neutral public image, they would be

   able to attribute more scientific credibility to their products, thereby increasing their sales and

   profits.

              474.   The foregoing illustrates the RICO Marketing Defendants’ liability under

   N.J.S.A. Section 2C:41-2(d) to engage in their pattern of racketeering conspired to achieve their

   common goal of maximizing opioid sales.

                                      RESULTING DAMAGES

              475.   As described herein, the RICO Marketing Defendants engaged in a pattern of

   related and continuous predicate acts for years. The predicate acts constituted a variety of

   unlawful activities, each conducted with the common purpose of obtaining significant monies

   and revenues from consumers, based on their misrepresentations and omissions. The predicate

   acts also had the same or similar results, participants, victims and methods of commission. The

   predicate acts were related and not isolated events. The predicate acts all had the purpose of


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   generating significant revenue and profits for the RICO Marketing Defendants, at the expense of

   the County and its residents. The predicate acts were committed or caused to be committed by

   the RICO Marketing Defendants through their participation in the enterprise and in furtherance

   of their fraudulent scheme, and were interrelated in that they involved obtaining the County’s

   and its residents’ funds.

          476.    The County and its residents, along with scores of other counties and

   municipalities, relied upon representations and omissions that were made or caused by the RICO

   Marketing Defendants. The County’s residents purchased opioids which never should have been

   introduced into the stream of commerce and whose use has now caused an epidemic of addiction

   to opioids (both prescription and heroin).

          477.    The County’s injuries, and those of its residents, were proximately caused by the

   RICO Marketing Defendants’ racketeering activity. But for the RICO Marketing Defendants’

   misstatements and omissions and their scheme employed by the opioids marketing fraud

   enterprise, consumers would not have paid for opioid prescriptions for chronic pain. Though the

   RICO Marketing Defendants’ misstatements were largely directed toward opioid prescribers, the

   County was directly injured by the RICO Marketing Defendants’ conduct because they caused

   the over-prescription of opioids and thus the over-purchase and over-consumption of opioids

   (both prescription and in the form of heroin).

          478.    By reason of, and as a result of the conduct of the RICO Marketing Defendants,

   and in particular, their pattern of racketeering activity, the County and its residents have been

   injured financially in multiple ways, including, but not limited to, suffering increased

   expenditures for emergency services, law enforcement, public works, lost economic opportunity,




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   lost productivity, increased expenditures for overtime, additional county employees, and mental

   health treatment for those employees, and lost tax revenue.

          479.    The RICO Marketing Defendants’ violations of N.J.S.A. 2C:41-2(c) and (d) have

   directly and proximately caused injuries and damages to the County and its residents, and the

   County is entitled to bring this action for three times its actual damages, as well as

   injunctive/equitable relief, costs and reasonable attorneys’ fees pursuant to N.J.S.A. 2C:41-4(a)

   and (c).

                                                  COUNT II

   NEW JERSEY RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                (“NEW JERSEY RICO”), N.J.S.A. 2C:41-2 (C) – (D))

                 (Against the Individual, Marketing, and Distribution Defendants)

          480.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

   fully set forth herein, and further alleges as follows.

          481.    Plaintiff brings this Count on behalf of itself against the Individual Defendants,

   the Manufacturing Defendants, and the Distribution Defendants (collectively, for purposes of

   this Count, the “RICO Diversion Defendants”).

          482.    The RICO Diversion Defendants conducted and continue to conduct their

   business through legitimate and illegitimate means in the form of an association-in-fact

   enterprise and/or a legal entity enterprise.

          483.    At all relevant times, the RICO Diversion Defendants were “persons” within the

   meaning of N.J.S.A. § 2C:41-1(b), because they are entities capable of holding, and do hold, “a

   legal or beneficial interest in property.”




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          484.    In addition, IMS Health was a “person” within the meaning of N.J.S.A. § 2C:41-

   1(b), because it is an entity capable of holding, and does hold, “a legal or beneficial interest in

   property.”

          485.    The RICO Diversion Defendants’ illegal scheme was hatched by an association-

   in-fact enterprise between the Individual Defendants, the Manufacturer Defendants, and the

   Distributor Defendants. Each of the RICO Diversion Defendants were associated with, and

   conducted or participated in, the affairs of the RICO enterprise (defined below and referred to

   collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful

   sales of opioids, deceiving the public and state regulators into believing that the RICO Diversion

   Defendants were faithfully fulfilling their statutory obligations.

          486.    The RICO Diversion Defendants’ scheme allowed them to make billions in

   unlawful sales of opioids with the purpose of ensuring unlawfully increasing revenues, profits,

   and market share.

          487.    As a direct result of the RICO Diversion Defendants’ fraudulent scheme, course

   of conduct, and pattern of racketeering activity, entities like the Plaintiff experienced tens of

   millions of dollars of injuries caused by the reasonably foreseeable consequences of the

   prescription opioid addiction epidemic.

          488.    As explained in detail below, the RICO Diversion Defendants’ misconduct

   violated N.J.S.A. 2C:41-2(c) and Plaintiff is entitled to treble damages for its injuries under

   N.J.S. A. 2C:41-4-(a)(8) and (c).

          489.    Alternatively, the RICO Diversion Defendants were members of a legal entity

   enterprise within the meaning of N.J.S.A. 2C:41-1(c), through which the RICO Diversion

   Defendants conducted their pattern of racketeering activity in this jurisdiction. Specifically, the


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   Healthcare Distribution Alliance (the “HDA”)212 is a distinct legal entity that satisfies the

   definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

   the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

   qualifies as an “enterprise” within the definition set out in N.J.S.A. 2C:41-1(c) because it is a

   corporation and a legal entity.

           490.     On information and belief, each of the RICO Diversion Defendants is a member,

   participant, and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion

   Enterprise and to engage in the pattern of racketeering activity that gives rise to the Count.

           491.     Each of the RICO Diversion Defendants is a legal entity separate and distinct

   from the HDA. And, the HDA serves the interests of distributors and manufacturers beyond the

   RICO Diversion Defendants. Therefore, the HDA exists separately from the Opioid Diversion

   Enterprise, and each of the RICO Diversion Defendants exists separately from the HDA.

   Therefore, the HDA may serve as a RICO enterprise.

           492.     The legal and association-in-fact enterprises alleged in the previous and

   subsequent paragraphs were each used by the RICO Diversion Defendants to conduct the Opioid

   Diversion Enterprise by engaging in a pattern of racketeering activity. Therefore, the legal and

   association- in-fact enterprises alleged in the previous and subsequent paragraphs are pleaded in

   the alternative and are collectively referred to as the “Opioid Diversion Enterprise.”

                                 THE OPIOID DIVERSION ENTERPRISE

           493.     At all relevant times, the RICO Diversion Defendants operated as an association-

   in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

    212
       History, Healthcare Distribution Alliance, https://www.healthcaredistribution.org/about/hda-history (last
    accessed on February 20, 2018).




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   disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

   opioids and diversion of their drugs into the illicit market. The RICO Diversion Defendants

   conducted their pattern of racketeering activity in this jurisdiction through this enterprise.

           494.    The Opioid Diversion Enterprise has been conducting business uninterrupted

   since its genesis.

           495.    At all relevant times, the Opioid Diversion Enterprise: (a) had an existence

   separate and distinct from each RICO Distribution Defendant; (b) was separate and distinct from

   the pattern of racketeering in which the RICO Diversion Defendants engaged; (c) was an

   ongoing and continuing organization consisting of legal entities, including each of the RICO

   Diversion Defendants; (d) characterized by interpersonal relationships among the RICO

   Diversion Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose; and (f)

   functioned as a continuing unit.

           496.    Each member of the Opioid Diversion Enterprise participated in the conduct of

   the enterprise, including patterns of racketeering activity, and shared in the growth of profits

   generated as a result of the Opioid Diversion Enterprise’s disregard for its duty to prevent

   diversion of their drugs into the illicit market

           497.    The Opioid Diversion Enterprise functioned by selling prescription opioids. While

   there are some legitimate uses and/or needs for prescription opioids, the RICO Diversion

   Defendants, through their illegal enterprise, engaged in a pattern of racketeering activity, that

   involves a fraudulent scheme to increase revenue by violating state law requiring the

   maintenance of effective controls against diversion of prescription opioids, and the identification,

   investigation, and reporting of suspicious orders of prescription opioids destined for the illicit

   drug market. The goal of the RICO Distribution Defendants’ scheme was to increase profits from


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   opioid sales. The RICO Diversion Defendants refused to identify, investigate and/or report

   suspicious orders of their prescription opioids being diverted into the illicit drug market.

          498.    Within the Opioid Diversion Enterprise, there were interpersonal relationships

   and common communication by which the RICO Diversion Defendants shared information on a

   regular basis. These interpersonal relationships also formed the organization of the Opioid

   Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

   communication network for the purpose of conducting the enterprise through a pattern of

   racketeering activity.

          499.    Each of the RICO Diversion Defendants had a systematic link to each other

   through joint participation in lobbying groups, trade industry organizations, contractual

   relationships and continuing coordination of activities. The RICO Diversion Defendants

   participated in the operation and management of the Opioid Diversion Enterprise by directing its

   affairs, as described herein. While the RICO Diversion Defendants participated in, and are

   members of, the enterprise, they each have a separate existence from the enterprise, including

   distinct legal statuses, different offices and roles, bank accounts, officers, directors, employees,

   individual personhood, reporting requirements, and financial statements.

          500.    The RICO Diversion Defendants exerted substantial control over the Opioid

   Diversion Enterprise by their membership in the Pain Care Forum, the HDA, and through their

   contractual relationships.

          501.    The Pain Care Forum (“PCF”) is a coalition of drugmakers, trade groups and

   dozens of non-profit organizations supported by industry funding. The PCF shaped public policy

   regarding the use of prescription opioids for more than a decade.




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               502.   The Center for Public Integrity and The Associated Press obtained “internal

   documents shed[ding] new light on how drugmakers and their allies shaped the national response

   to the ongoing wave of prescription opioid abuse.”213 Specifically, PCF members spent over

   $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

   including opioid-related measures.214

               503.   Not surprisingly, each of the RICO Diversion Defendants who stood to profit

   from lobbying in favor of prescription opioid use is a member of and/or participant in the PCF.215

   In 2012, membership and participating organizations included the HDA (of which all RICO

   Diversion Defendants are members), Endo, Purdue, Johnson & Johnson (the parent company for

   Janssen Pharmaceuticals), and Teva (the parent company of Cephalon).216 The Manufacturer

   Defendants worked together through the PCF to advance the interests of the enterprise.

               504.   But, the Manufacturer Defendants were not alone. The Distributor Defendants

   actively participated, and continue to participate in the PCF, at a minimum, through their trade

   organization, the HDA.217 The Distributor Defendants participated directly in the PCF as well.


   213
       Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
   Center     for     Public      Integrity    (September     19,      2017,   12:01     a.m.),
   https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo- chamber-shaped-policy-
   amid-drug-epidemic (emphasis added).
   214
         Id.
   215
       PAIN CARE FORUM, 2012 Meetings Schedule, Pain Care Forum (December 2011),
   https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-
   Schedule-amp.pdf.
    216
      Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the
    PCF sometime after 2012.

   217
      Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
   Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,

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               505.   The 2012 Meeting Schedule for the PCF is particularly revealing on the subject of

   the Defendants’ interpersonal relationships. The meeting schedule indicates that meetings were

   held in the D.C. office of Powers, Pyles, Sutter & Verville, on a monthly basis, unless otherwise

   noted. Local members were “encouraged to attend in person” at the monthly meetings. And, the

   meeting schedule indicates that the quarterly and year-end meetings included a “Guest

   Speaker.”218

               506.   The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

   Defendants participated in meetings on a monthly basis, either directly or through their trade

   organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

   national response to the ongoing prescription opioid epidemic, including the concerted lobbying

   efforts that the PCF undertook on behalf of its members.219

               507.   Second, the HDA led to the formation of interpersonal relationships and an

   organization between the RICO Diversion Defendants. Although the entire HDA membership

   directory is private, the HDA website confirms that each of the Distributor Defendants and the

   Manufacturer Defendants named in the Complaint, including, Endo, Purdue, Mallinckrodt and

   Cephalon were members of the HDA. And, the HDA and each of the Distributor Defendants,

   eagerly sought the active membership and participation of the Manufacturer Defendants by

   advocating that one of the benefits of membership included the ability to develop direct


   Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation,
   and the President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee,
   Healthcare    Distribution      Alliance     (accessed    on      September 14,    2017),
   https://www.healthcaredistribution.org/about/executive-committee.
   218
         Pain Care Forum, 2012 Meetings Schedule.
   219
         Id.


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   relationships between Manufacturers and Distributors at high executive levels.In fact, the HDA

   touted the benefits of membership to the Manufacturer Defendants, advocating that membership

   included the ability to, among other things, “network one on one with manufacturer executives at

   HDA’s members-only Business and Leadership Conference,” “networking with HDA wholesale

   distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

   “participate on HDA committees, task forces and working groups with peers and trading

   partners,” and “make connections.”220 Clearly, the HDA and the Distributor Defendants believed

   that membership in the HDA was an opportunity to create interpersonal and ongoing

   organizational relationships between the Manufacturers and Defendants.

               508.   The application for manufacturer membership in the HDA further indicates the

   level of connection that existed between the RICO Diversion Defendants.221 The manufacturer

   membership application must be signed by a “senior company executive,” and it requests that the

   manufacturer applicant identify a key contact and any additional contacts from within its

   company. The HDA application also requests that the manufacturer identify its current

   distribution information and its most recent year end net sales through any HDA distributors,

   including but not limited to, Defendants AmerisourceBergen, Cardinal Health, and McKesson.222



    220
       Manufacturer Membership Benefits, Healthcare Distribution Alliance,
    https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
    benefits.ashx?la=en, (last accessed on February 20, 2018).

    221
       Manufacturer Membership Application, Healthcare Distribution Alliance,
    https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
    application.ashx?la=en, (last accessed on February 20, 2018).

   222
         Id.


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          509.    After becoming HDA members, the Distributors and Manufacturers were eligible

   to participate on councils, committees, task forces and working groups, including:

                  (a)       Industry Relations Council: “This council, composed of distributor and

   manufacturer members, provides leadership on pharmaceutical distribution and supply chain

   issues.”

                  (b)       Business Technology Committee: “This committee provides guidance to

   HDA and its members through the development of collaborative e-commerce business solutions.

   The committee’s major areas of focus within pharmaceutical distribution include information

   systems,   operational     integration   and   the   impact   of e-commerce.” Participation in this

   committee includes distributors and manufacturer members.

                  (c)       Health, Beauty and Wellness Committee: “This committee conducts

   research, as well as creates and exchanges industry knowledge to help shape the future of the

   distribution for health, beauty and wellness/consumer products in the healthcare supply chain.”

   Participation in this committee includes distributors and manufacturer members.

                  (d)       Logistics Operation Committee: “This committee initiates projects

   designed to help members enhance the productivity, efficiency and customer satisfaction within

   the healthcare supply chain. Its major areas of focus include process automation, information

   systems, operational integration, resource management and quality improvement.” Participation

   in this committee includes distributors and manufacturer members.

                  (e)       Manufacturer Government Affairs Advisory Committee: “This committee

   provides a forum for briefing HDA’s manufacturer members on federal and state legislative and

   regulatory activity affecting the pharmaceutical distribution channel. Topics discussed include

   such issues as prescription drug traceability, distributor licensing, FDA and DEA regulation of


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   distribution, importation and Medicaid/Medicare reimbursement.” Participation in this

   committee includes manufacturer members.

                   (f)    Bar Code Task Force: Participation includes Distributor, Manufacturer

   and Service Provider Members.

                   (g)    eCommerce Task Force: Participation includes Distributor, Manufacturer

   and Service Provider Members.

                   (h)    ASN Working Group: Participation includes Distributor, Manufacturer

   and Service Provider Members.

                   (i)    Contracts and Chargebacks Working Group: “This working group

   explores how the contract administration process can be streamlined through process

   improvements or technical efficiencies. It also creates and exchanges industry knowledge of

   interest to contract and chargeback professionals.”      Participation includes Distributor and

   Manufacturer Members. 223

            510.   The councils, committees, task forces and working groups provided the

   Manufacturer and Distributor Defendants with the opportunity to work closely together in

   shaping their common goals and forming the enterprise’s organization.

            511.   The HDA also offers a multitude of conferences, including annual business and

   leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

   the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

   leaders and influential managers . . . to hold strategic business discussions on the most pressing

   industry issues.” The conferences also gave the Manufacturer and Distributor Defendants


   223
            Councils     and       Committees,       Healthcare        Distribution     Alliance,
   https://www.hda.org/about/councils-and-committees, (last accessed on February 20, 2018).


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   “unmatched opportunities to network with [their] peers and trading partners at all levels of the

   healthcare distribution industry.” 224 The HDA and its conferences were significant opportunities

   for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And, it

   is clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

   these events.

            512.   Third, the RICO Diversion Defendants            maintained their interpersonal

   relationships by working together and exchanging information and driving the unlawful sales of

   their opioids through their contractual relationships, including chargebacks and vault security

   programs.

            513.   The Manufacturer Defendants engaged in an industry-wide practice of paying

   rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids. As

   reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the

   HDA, there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates

   and/or chargebacks on their prescription opioid sales. On information and belief, these contracts

   were negotiated at the highest levels, demonstrating ongoing relationships between the

   Manufacturer and Distributor Defendants. In return for the rebates and chargebacks, the

   Distributor Defendants provided the Manufacturer Defendants with detailed information

   regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

   notices, and invoices. The Manufacturer Defendants used this information to gather high-level

   data regarding overall distribution and direct the Distributor Defendants on how to most

   effectively sell the prescription opioids.
   224
         2017 Business and Leadership Conference, Healthcare Distribution Alliance,
   https://www.healthcaredistribution.org/events/2017-business-and-leadership-conference, (last
   accessed on February 20, 2018).


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          514.    The contractual relationships among the RICO Diversion Defendants also include

   vault security programs. The RICO Diversion Defendants are required to maintain certain

   security protocols and storage facilities for the manufacture and distribution of their opiates.

   Plaintiff is informed and believes that manufacturers negotiated agreements whereby the

   Manufacturers installed security vaults for Distributors in exchange for agreements to maintain

   minimum sales performance thresholds. Plaintiff is informed and believes that these agreements

   were used by the RICO Diversion Defendants as a tool to violate their reporting and diversion

   duties in order to reach the sales requirements.

          515.    Taken together, the interaction and length of the relationships between and among

   the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

   between two groups in a tightly knit industry.

          516.    Indeed, the Manufacturer and Distributor Defendants were not two separate

   groups operating in isolation or two groups forced to work together in a closed system. The

   RICO Diversion Defendants operated together as a united entity, working together on multiple

   fronts, to engage in the unlawful sale of prescription opioids. The HDA and the PCF are but two

   examples of the overlapping relationships, and concerted joint efforts to accomplish common

   goals and demonstrates that the leaders of each of the RICO Diversion Defendants was in

   communication and cooperation.

          517.    According to articles published by the Center for Public Integrity and The

   Associated Press, the PCF -- whose members include the Manufacturers and the Distributors’




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   trade association has been lobbying on behalf of the Manufacturers and Distributors for “more

   than a decade.” 225

               518.   And, from 2006 to 2016 the Distributors and Manufacturers worked together

   through the Pain Care Forum to spend over $740 million lobbying in the nation’s capital and in
                                                                        226
   all 50 statehouses on issues including opioid-related measures.            Similarly, the HDA has

   continued its work on behalf of Distributors and Manufacturers, without interruption, since at

   least 2000. 227

               519.   As described above, the RICO Diversion Defendants began working together as

   early as 2006 through the PCF and/or the HDA to promote the common purpose of their

   enterprise. Plaintiff is informed and believes that the RICO Diversion Defendants worked

   together as an ongoing and continuous organization throughout the existence of their enterprise.

               520.   The RICO Diversion Defendants exerted control over, conducted and/or

   participated in the Opioid Diversion Enterprise by fraudulently failing to comply with their

   Federal and State obligations to identify, investigate and report suspicious orders of opioids in

   order to prevent diversion of those highly addictive substances into the illicit market, to halt such

   unlawful sales and, in doing so, to drive unlawful profits, as follows:

               521.   Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligations to maintain effective controls against diversion

   of their prescription opioids.



   225
         Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic
   226
         Id.
   227
         History, Healthcare Distribution Alliance


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            522.   Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligations to design and operate a system to disclose to the

   registrant suspicious orders of their prescription opioids.

            523.   Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligation to notify the DCU of any suspicious orders or

   diversion of their prescription opioids.

            524.   Defendants sought to influence local, state and federal governments through joint

   lobbying efforts as part of the PCF. The RICO Diversion Defendants were all members of their

   PCF either directly or indirectly through the HDA.

            525.   The RICO Diversion Defendants exercised control and influence over the

   distribution industry by participating and maintaining membership in the HDA.

            526.   The RICO Diversion Defendants engaged in an industry-wide practice of paying

   rebates and chargebacks to incentivize unlawful opioid prescription sales. The Manufacturer

   Defendants used the chargeback program to acquire detailed, high-level data regarding sales of

   the opioids they manufactured.

            527.   The Manufacturer Defendants used this high-level information to direct the

   Distributor Defendants’ sales efforts to regions where prescription opioids were selling in larger

   volumes.

            528.   The Distributor Defendants developed “know your customer” questionnaires and

   files.

            529.   On information and belief, the “know your customer” questionnaires informed the

   RICO Diversion Defendants of the number of pills that the pharmacies sold, how many non-

   controlled substances are sold compared to controlled substances, whether the pharmacy buys


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   from other distributors, the types of medical providers in the area, including pain clinics, general

   practitioners, hospice facilities, cancer treatment facilities, among others, and these

   questionnaires put the recipients on notice of suspicious orders.

          530.    The RICO Diversion Defendants refused to identify, investigate and report

   suspicious orders to the DCU when they became aware of the same despite their actual

   knowledge of drug diversion rings.

          531.    Defendants’ scheme had a decision-making structure that was driven by the

   Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

   Defendants worked together to control the State’s response to the manufacture and distribution

   of prescription opioids through a systematic refusal to maintain effective controls against

   diversion, and identify suspicious orders and report them to the DCU.

          532.    Indeed, the RICO Diversion Defendants actively took steps to increase suspicious

   orders in the following ways:

                  (a)     The Distributor Defendants assisted the enterprise and the Manufacturer

   Defendants in their lobbying efforts through the PCF;

                  (b)     The   Distributor   Defendants     provided   sales   information    to   the

   Manufacturer Defendants regarding their prescription opioids, including reports of all opioids

   prescriptions filled by the Distributor Defendants;

                  (c)     The Manufacturer Defendants used a chargeback program to ensure

   delivery of the Distributor Defendants’ sales information;

                  (d)     The Manufacturer Defendants used sales information showing how

   individual doctors across the nation were prescribing opioids.




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                  (e)       The Distributor Defendants accepted rebates and chargebacks for orders of

   prescription opioids;

                  (f)       The Manufacturer Defendants used the Distributor Defendants’ sales

   information and the data to instruct the Distributor Defendants to focus their distribution efforts

   to specific areas where the purchase of prescription opioids was most frequent;

                  (g)       The RICO Diversion Defendants identified suspicious orders of

   prescription opioids and then continued filling those unlawful orders, without reporting them,

   knowing that they were suspicious and/or being diverted into the illicit drug market; and

                  (h)       The RICO Diversion Defendants withheld information regarding

   suspicious orders and illicit diversion from the DCU.

          533.    The scheme devised and implemented by the RICO Diversion Defendants

   amounted to a common course of conduct characterized by a refusal to maintain effective

   controls against diversion, and all designed and operated to ensure the continued unlawful sale of

   controlled substances.

                             PATTERN OF RACKETEERING ACTIVITY

          534.    The RICO Diversion Defendants conducted and participated in the conduct of the

   Opioid Diversion Enterprise through a pattern of racketeering activity as defined in N.J.S.A.

   2C:41-1(a), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

          535.    The RICO Diversion Defendants carried out, or attempted to carry out, a scheme

   to defraud state regulators, and the American public by knowingly conducting or participating in

   the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

   the meaning of N.J.S.A. 2C:41-1(a) that employed the use of mail and wire facilities, in violation

   of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).


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          536.    The RICO Diversion Defendants committed, conspired to commit, and/or aided

   and abetted in the commission of, or caused the commission of, at least two predicate acts of

   racketeering activity (specifically, violations of 18 U.S.C. §§ 1341 and 1343) within ten years

   of each other. The multiple acts of racketeering activity that the RICO Diversion Defendants

   committed, or aided and abetted in the commission of, or caused the commission of, were related

   to each other, posed a threat of continued racketeering activity, and therefore constitute a

   “pattern of racketeering activity.” The racketeering activity was made possible by the RICO

   Diversion Defendants’ regular use of the facilities, services, distribution channels, and

   employees of the Opioids Diversion Enterprise. The RICO Diversion Defendants participated

   in the scheme to defraud by using mail, telephone and the Internet to transmit mailings and wires

   in interstate or foreign commerce.

          537.    The RICO Diversion Defendants used, directed the use of, and/or caused to be

   used, thousands of interstate mail and wire communications in service of their scheme through

   virtually uniform misrepresentations, concealments and material omissions regarding their

   compliance with their mandatory reporting requirements and the actions necessary to carry out

   their unlawful goal of selling prescription opioids without reporting suspicious orders or the

   diversion of opioids into the illicit market.

          538.    In devising and executing the illegal scheme, the RICO Diversion Defendants

   devised and knowingly carried out a material scheme and/or artifice to defraud by means of

   materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

   For the purpose of executing the illegal scheme, the RICO Diversion Defendants committed, or

   caused to be committed, these racketeering acts, which number in the thousands, intentionally

   and knowingly with the specific intent to advance the illegal scheme.


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          539.    The predicate acts of racketeering committed by, or caused to be committed by,

   the RICO Diversion Defendants (18 U.S.C. § 1961(1)) include, but are not limited to:

                  (a)     Mail Fraud: The RICO Diversion Defendants violated 18 U.S.C. § 1341

   by sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or

   commercial interstate carriers for the purpose of executing the unlawful scheme to design,

   manufacture, market, and sell the prescription opioids by means of false pretenses,

   misrepresentations, promises, and omissions.

                  (b)     Wire Fraud: The RICO Diversion Defendants violated 18 U.S.C. § 1343

   by transmitting and/or receiving, or by causing to be transmitted and/or received, materials by

   wire for the purpose of executing the unlawful scheme to design, manufacture, market, and sell

   the prescription opioids by means of false pretenses, misrepresentations, promises, and

   omissions.

          540.    The RICO Diversion Defendants’ use of, or causing the use of, the mail and wires

   includes, but is not limited to, the transmission, delivery, or shipment of the following by the

   Manufacturers, Distributors, or third parties that were foreseeably caused to be sent as a result of

   the RICO Diversion Defendants’ illegal scheme, including but not limited to:

                  (a)     The prescription opioids themselves;

                  (b)     Documents and communications that facilitated the manufacture, purchase

   and unlawful sale of prescription opioids;

                  (c)     Defendants’ registrations to sell, manufacturer, and/or distribute

   prescription opioids within the State of New Jersey;




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                  (d)     Documents intended to facilitate the manufacture, distribution, and sale of

   Defendants’ prescription opioids, including bills of lading, invoices, shipping records, reports

   and correspondence;

                  (e)     Documents for processing and receiving payment for prescription opioids;

                  (f)     Payments between the Distributors and the Manufacturers;

                  (g)     Rebates and chargebacks from Manufacturers to the Distributors;

                  (h)     Payments to Defendants’ lobbyists through the PCF;

                  (i)     Payments to Defendants’ trade organizations, like the HDA, for

   memberships and/or sponsorships;

                  (j)     Deposits of proceeds from Defendants’ manufacture and distribution of

   prescription opioids; and

                  (k)     Other documents and things, including electronic communications.

          541.    On information and belief, the RICO Diversion Defendants (and/or their agents),

   for the purpose of executing the illegal scheme, sent and/or received (or caused to be

   sent and/or received) by mail or by private or interstate carrier, shipments of prescription opioids

   and related documents by mail or by private carrier affecting interstate commerce, including the

   following:

                  (a)     Purdue manufactures multiple forms of prescription opioids, including but

   not limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and

   Targiniq ER. Purdue manufactured and shipped these prescription opioids to the Distributor

   Defendants in this jurisdiction.    The Distributor Defendants shipped Purdue’s prescription

   opioids throughout this jurisdiction.




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                   (b)    Cephalon manufactures multiple forms of prescription opioids, including

   but not limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription

   opioids to the Distributor Defendants in this jurisdiction. The Distributor Defendants shipped

   Cephalon’s prescription opioids throughout this jurisdiction.

                   (c)    Janssen manufactures prescription opioids known as Duragesic. Janssen

   manufactured and shipped its prescription opioids to the Distributor Defendants in this

   jurisdiction. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

   jurisdiction.

                   (d)    Endo manufactures multiple forms of prescription opioids, including but

   not limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and

   shipped its prescription opioids to the Distributor Defendants in this jurisdiction. The Distributor

   Defendants shipped Janssen’s prescription opioids throughout this jurisdiction.

                   (e)    Mallinckrodt manufactures multiple forms of prescription opioids,

   including but not limited to: Exalgo and Roxicodone. The Distributor Defendants shipped

   Mallinckrodt’s prescription opioids throughout this jurisdiction.

                   (f)    Insys manufactures Subsys (fentanyl).          The Distributor Defendants

   shipped Insys’ prescription opioids throughout this jurisdiction.

           542.    The RICO Diversion Defendants also used, or caused the use of, the internet and

   other electronic facilities to carry out their scheme and conceal their ongoing fraudulent

   activities. Specifically, the RICO Diversion Defendants made misrepresentations about their

   compliance with Federal and State laws requiring them to identify, investigate and report

   suspicious orders of prescription opioids and/or diversion of the same into the illicit market.




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          543.    At the same time, the RICO Diversion Defendants misrepresented the superior

   safety features of their order monitoring programs, ability to detect suspicious orders,

   commitment to preventing diversion of prescription opioids and that they complied with all state

   and federal regulations regarding the identification and reporting of suspicious orders of

   prescription opioids.

          544.    Plaintiff is also informed and believes that the RICO Diversion Defendants

   utilized, or caused the utilization of, the internet and other electronic resources to exchange

   communications, to exchange information regarding prescription opioid sales, and to transmit

   payments and rebates/chargebacks.

          545.    The      RICO   Diversion    Defendants     also   communicated      by,   or   caused

   communication by, U.S. Mail, by interstate facsimile, and by interstate electronic mail and with

   various other affiliates, regional offices, regulators, distributors, and other third-party entities in

   furtherance of the scheme.

          546.    The mail and wire transmissions described herein were made in furtherance of

   Defendants’ scheme and common course of conduct to deceive regulators and the public that

   Defendants were complying with their state and federal obligations to identify and report

   suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

   of doses of prescription opioids to divert into the illicit drug market.

          547.    Many of the precise details of the fraudulent uses of the U.S. mail and interstate

   wire facilities, and other predicate acts, have been deliberately hidden by, and is exclusively

   within the possession, custody or control of, the RICO Diversion Defendants. As such, it cannot

   be alleged without access to Defendants’ books and records. But, Plaintiff has described the

   types of, and in some instances, occasions on which the predicate acts of mail and/or wire fraud


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   occurred. They include thousands of communications to perpetuate and maintain the scheme,

   including the things and documents described in the preceding paragraphs.

          548.    The RICO Diversion Defendants did not undertake the practices described herein

   in isolation, but as part of a common scheme. Various other persons, firms, and corporations,

   including third-party entities and individuals not named as defendants in this Complaint, may

   have contributed to and/or participated in the scheme with the RICO Diversion Defendants in

   these offenses and have performed acts in furtherance of the scheme to increase revenues,

   increase market share, and /or minimize the losses for the RICO Diversion Defendants.

          549.    The RICO Diversion Defendants hid from the general public, and suppressed

   and/or ignored warnings from third parties, whistleblowers and governmental entities, about the

   reality of the suspicious orders that the RICO Diversion Defendants were filling on a daily basis

   -- leading to the diversion of a tens of millions of doses of prescriptions opioids into the illicit

   market.

          550.    The RICO Diversion Defendants, with knowledge and intent, agreed to the

   overall objective of their fraudulent scheme and participated in the common course of conduct to

   commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

          551.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants

   had to agree to implement similar tactics regarding marketing prescription opioids and refusing

   to report suspicious orders.

          552.    As described herein, the RICO Diversion Defendants engaged in a pattern of

   related and continuous predicate acts for years. The predicate acts constituted a variety of

   unlawful activities, each conducted with the common purpose of obtaining significant monies

   and revenues from the sale of their highly addictive and dangerous drugs. The predicate acts also


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   had the same or similar results, participants, victims, and methods of commission. The predicate

   acts were related and not isolated events.

          553.    The predicate acts all had the purpose of generating significant revenue and

   profits for the RICO Diversion Defendants while Plaintiff was left with substantial injury to its

   business through the damage that the prescription opioid epidemic caused. The predicate acts

   were committed or caused to be committed by the RICO Diversion Defendants through their

   participation in the Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

          554.    The pattern of racketeering activity alleged herein and the Opioid Diversion

   Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

   enterprise.

          555.    The pattern of racketeering activity alleged herein is continuing as of the date of

   this Complaint and, upon information and belief, will continue into the future unless enjoined by

   this Court.

          556.    Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

   issue here have been hidden, are exclusively within the possession, custody or control, of the

   RICO Diversion Defendants, and cannot be alleged without access to Defendants’ books and

   records. Indeed, an essential part of the successful operation of the Opioids Addiction and Opioid

   Diversion Enterprise alleged herein depended upon secrecy.

          557.    Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

   Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their

   scheme to increase and maintain their increased profits, without regard to the effect such


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   behavior would have on consumers in this jurisdiction, its citizens or the Plaintiff. In designing

   and implementing the scheme, at all times Defendants were cognizant of the fact that those in

   the manufacturing and distribution chain rely on the integrity of the pharmaceutical companies

   and ostensibly neutral third parties to provide objective and reliable information regarding

   Defendants’ products and their manufacture and distribution of those products. The Defendants

   were also aware that Plaintiff and the citizens of this jurisdiction rely on the Defendants to

   maintain a closed system and to protect against the non-medical diversion and use of their

   dangerously addictive opioid drugs.

          558.    By intentionally refusing to report and halt suspicious orders of their prescription

   opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

   a pattern of racketeering activity.

          559.    It was foreseeable to Defendants that refusing to report and halt suspicious orders,

   as required by New Jersey law, would harm Plaintiff by allowing the flow of prescriptions

   opioids from appropriate medical channels into the illicit drug market.

          560.    The last racketeering incident occurred within ten years of the commission of a

   prior incident of racketeering.

          561.    These actions against the Distributor Defendants confirm that the Distributors

   knew they had a duty to maintain effective controls against diversion, design and operate a

   system to disclose suspicious orders, and to report suspicious orders to the DEA. These actions

   also demonstrate, on information and belief, that the Manufacturer Defendants were aware of the

   enforcement against their Distributors and the diversion of the prescription opioids and a

   corresponding duty to report suspicious orders.




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           562.    The pattern of racketeering activity alleged herein is continuing as of the date of

   this Complaint and, upon information and belief, will continue into the future unless enjoined by

   this Court.

           563.    Many of the precise dates of Defendants’ criminal actions at issue herein were

   hidden, are exclusively within the possession, custody or control, of the Defendants, and cannot

   be alleged without access to Defendants’ books and records. Indeed, an essential part of the

   successful operation of the Opioid Diversion Enterprise depended upon the secrecy of the

   participants in that enterprise.

           564.    Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

   Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

   profits from unlawful sales of opioids, without regard to the effect such behavior would have on

   this jurisdiction, its citizens or the Plaintiff. The Defendants were aware that Plaintiff and the

   citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

   and distribution to protect against the non-medical diversion and use of their dangerously

   addictive opioid drugs.

           565.    By intentionally refusing to report and halt suspicious orders of their prescription

   opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

   a pattern of racketeering activity.

           566.    It was foreseeable to Defendants that refusing to report and halt suspicious orders,

   as required by New Jersey Law, would harm Plaintiff by allowing the flow of prescriptions

   opioids from appropriate medical channels into the illicit drug market.


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          567.     The last racketeering incident occurred within ten years of the commission of a

   prior incident of racketeering.

          568.     The RICO Diversion Defendants’ pattern of racketeering activity has adversely

   impacted this State’s trade or commerce, as well as the general health and welfare of the State

   and its inhabitants. Their conduct annually drains and diverts millions from the public coffers,

   and as a consequence harms the general health and welfare of the States’ inhabitants, among

   other things.

                                     CONSPIRACY ALLEGATIONS

          569.     Plaintiff realleges and incorporates by reference all paragraphs as though fully set

   forth herein.

          570.     The Manufacturing Defendants and Distributor Defendants have not undertaken

   the practices described herein in isolation, but as part of a common scheme and conspiracy. In

   violation of N.J.S.A. 2C:41-2(d) the Manufacturing Defendants conspired to violate N.J.S.A.

   2C:41-2(c), as described herein.

          571.     The Manufacturing Defendants and Distributor Defendants conspired to

   incentivize and encourage various other persons, firms and corporations, including third party

   entities and individuals not named as defendants in this Complaint, to carry out offenses and

   other acts in furtherance of the conspiracy. The Manufacturing Defendants and Distributor

   Defendants conspired to increase or maintain revenues, increase market share and/or minimize

   losses for the Manufacturing Defendants and Distributor Defendants and their other collaborators

   throughout the illegal scheme and common course of conduct. In order to achieve this goal, the

   Manufacturing Defendants and Distributor Defendants engaged in the aforementioned predicate

   acts on numerous occasions. The Manufacturing Defendants and Distributor Defendants, with


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   knowledge and intent, agreed to the overall objectives of the conspiracy and participated in the

   common course of conduct to commit acts of fraud and indecency in defectively marketing

   and/or selling opioids through the use of mail and wire fraud.

          572.    Each of the Manufacturing Defendants and Distributor Defendants agreed to

   conduct or participate in the conduct of the affairs of the enterprise, and agreed to the

   commission of at least two predicate acts. They also engaged in a RICO conspiracy based on

   their agreement to the scheme to deceptively market and/or sell and/or distribute opioids, or

   based on their adoption of the goal of furthering or facilitating the scheme.

          573.    The Manufacturing Defendants and Distributor Defendants knew and intended

   that state regulators, prescribers and consumers in the County, would rely on the collective

   material misrepresentations and omissions made by them and the other enterprise members about

   opioids. The Manufacturing Defendants and Distributor Defendants knew and intended that

   consumers, including those in the County, would incur costs as a result.

          574.    The foregoing illustrates the Manufacturing Defendants’ and Distributor

   Defendants’ liability under N.J.S.A. 2C:41-2(d) to engage in their pattern of racketeering

   conspired to achieve their common goal of maximizing opioid sales.

                                      RESULTING DAMAGES

          575.    The RICO Diversion Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff injury in its business and property

   because Plaintiff paid for costs associated with the opioid epidemic, as described above in

   language expressly incorporated herein by reference.

          576.    Plaintiff’s injuries, and those of her citizens, were proximately caused by

   Defendants’ racketeering activities. But for the RICO Diversion Defendants’ conduct, Plaintiff


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   would not have paid the health services, social services and first responders’ services and

   expenditures required as a result of the plague of drug-addicted residents.

          577.     Plaintiff’s injuries and those of her citizens were directly caused by the RICO

   Diversion Defendants’ racketeering activities.

          578.     Plaintiff was most directly harmed and there is no other Plaintiff better suited to

   seek a remedy for the economic harms at issue here.

          579.     Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

   actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

   attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                               COUNT III

                             NEW JERSEY CONSUMER FRAUD ACT
                               (“NJCFA”), N.J.S.A. 56:8-1 ET SEQ.

          580.     Plaintiff realleges and incorporates by reference all paragraphs as though fully set

   forth herein.

          581.     Defendants have violated and continue to violate New Jersey’s Consumer Fraud

   Act, N.J. Stat. Ann. 56:8-1 et seq., because they engaged in unconscionable commercial

   practices, deception, fraud, false pretenses, false promises, misrepresentations, or the knowing

   concealment, suppression, or omission of a material fact or facts in connection with the sale,

   distribution, or advertisement of merchandise as alleged herein.

          582.     These unfair methods of competition and unfair and/or deceptive acts or

   unconscionable practices in the conduct of trade or commerce were reasonably calculated to

   deceive the County and its consumers, and did in fact deceive the County and its consumers.

   Each Defendant's misrepresentations, concealments, and omissions continue to this day.

          583.     Specifically, misrepresentations and false claims include, but are not limited to:

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                    (a)    Defendants’ marketing and public claims and statements that the risks of

   long-term opioid use and the risk of addiction were overblown;

                    (b)    Defendants’ claims that opioid doses can or should be increased until pain

   relief is achieved;

                    (c)    Defendants’ claims that evidence supports the long-term use of opioids for

   chronic pain;

                    (d)    Defendants’ claims that chronic opioid therapy would improve patients’

   function and quality of life;

                    (e)    Defendants’ misrepresentations regarding the signs of addiction;

                    (f)    Defendants’ claims that screening tools effectively prevent addiction;

                    (g)    Defendants’ failures to monitor and report opioid use and potential for

   misuse as required by law;

                    (h)    Defendants’ claims that abuse-deterrent opioids reduce tampering and

   abuse; and

                    (i)    Claims that Defendants cooperate with and support efforts to prevent

   opioid abuse and diversion.

           584.     Defendants also omitted to state material facts that they had a duty to disclose by

   virtue of Defendants’ other representations and applicable law, with the intent that others rely on

   their omissions or suppression of information, including but not limited to, failing to disclose

   that:

                    (a)    opioids are highly addictive and may result in overdose or death;

                    (b)    the use of screening tools as a strategy for reducing abuse or diversion are

   not effective;


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                  (c)     high dose opioids subject the user to greater risks of addiction, other

   injury, or death;

                  (d)     the risks of hyperalgesia, hormonal dysfunction, decline in immune

   function, mental clouding, confusion, and dizziness, increased falls and fractures in the elderly,

   neonatal abstinence syndrome, and potentially fatal interactions with alcohol or benzodiazepines;

                  (e)     the benefits of chronic opioid therapy lacked scientific support or were

   contrary to the scientific evidence;

                  (f)     opioids fail to last a full twelve hours in many patients;

                  (g)     abuse-deterrent formulations are not designed to address, and have no

   effect on, the most common route of abuse (oral abuse), can be defeated with relative ease; and

   may increase overall abuse; and

                  (h)     they were aware of suspicious prescribers.

          585.     Defendants’ statements about the use of opioids to treat chronic pain were not

   supported by, or were contrary to, the scientific evidence, as confirmed by the CDC and FDA.

          586.    Further, Defendants’ omissions, which were false and misleading in their own

   right, rendered even seemingly truthful statements about opioids false and misleading and likely

   to mislead

          587.     Defendants’ acts and practices regarding prescribers and consumers as alleged in

   this Complaint are unconscionable commercial practices and are immoral, unethical, and

   offensive to established public policy.

          588.    Defendants’ acts and practices as alleged constituted unfair competition. At all

   times relevant to this Complaint, Defendants promoted opioids as superior to competing




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   products, such as NSAIDs, and exaggerated the risks of NSAIDs while ignoring risks of adverse

   effects of opioids.

           589.    The County is part of the broad class of persons that may avail themselves of a

   remedy under N.J.S.A. 56:8-19, et seq.

           590.    The County has been injured as a direct and proximate result of Defendants’

   violations of the Consumer Fraud Act as alleged in this Complaint.

           591.    The County has suffered ascertainable loss of money or property as a result of

   Defendants acts and practices alleged in this Complaint.

           592.    Defendants are liable for three times the County’s actual damages and reasonable

   attorneys’ fees, filing fees, and reasonable costs of suit. The Court should also grant injunctive

   relief enjoining Defendants from future violations of the NJCFA. Defendants’ actions, as

   complained of herein, constitute unfair competition or unfair, deceptive or fraudulent acts or

   practices in violation of the NJCFA.

                                               COUNT IV

                                          PUBLIC NUISANCE

           593.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           594.    A public nuisance is one which affects equally the rights of an entire community

   or neighborhood, although the extent of the damage may be unequal.”

           595.    In addition, a public nuisance constitutes an unreasonable interference with a right

   common to the general public, such as a condition dangerous to health, offensive to community

   moral standards, or unlawfully obstructing the public in the free use of public property.




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          596.    The County and its residents have a right to be free from conduct that endangers

   their health and safety. Yet Defendants, individually and collectively, have engaged in conduct

   which endangers or injures the health and safety of the residents of the County by their

   production, promotion, and marketing of opioids for use by residents of the County and by their

   failure to monitor, report and prevent such abuses.

          597.    Each Defendant has created or assisted in the creation of a condition that is

   injurious to the health and safety of the County and its residents, and interferes with the

   comfortable enjoyment of life and property of entire communities and/or neighborhoods.

          598.    Defendants’ conduct has caused deaths, serious injuries, and a severe disruption

   of the public peace, order and safety, including fueling the homeless and heroin crises facing the

   County described herein. Defendants’ conduct is ongoing and continues to produce permanent

   and long-lasting damage.

          599.    The health and safety of the residents of the County, including those who use,

   have used, or will use opioids, as well as those affected by users of opioids, are matters of

   substantial public interest and of legitimate concern to the County's citizens and its residents.

          600.    Defendants’ conduct has impacted and continues to impact a substantial number

   of people within the County and is likely to continue causing significant harm to patients with

   chronic pain who are being prescribed and take opioids, their families, and their communities.

          601.    But for Defendants’ actions, there is no doubt that opioid use and ultimately its

   misuse and abuse would not be as widespread as it is today, and the massive epidemic of opioid

   abuse that currently exists would have been averted.

          602.    Logic, common sense, justice, policy, and precedent indicate Defendants’ unfair

   and deceptive conduct has caused the damage and harm complained of herein. Defendants knew


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   or reasonably should have known that their statements regarding the risks and benefits of opioids

   were false and misleading, and that their false and misleading statements and failures to monitor

   and curb and prevent abuse were causing harm. Thus, the public nuisance caused by Defendants

   to the County was reasonably foreseeable, including the financial and economic losses incurred

   by the County.

          603.       Defendants’ actions were, at the very least, a substantial factor in opioids

   becoming widely available and widely used, in deceiving healthcare professionals and patients

   about the risks and benefits of opioids for the treatment of chronic pain, and in the public health

   crisis that followed.

          604.       Defendants knew or should have known that their promotion of opioids was false

   and misleading and that their deceptive marketing scheme and other unlawful, unfair, and

   fraudulent actions would create or assist in the creation of a public nuisance.

          605.       Defendants’ conduct in creating and maintaining the public nuisance were neither

   fully regulated nor required by any federal or New Jersey law, and in fact were contrary to public

   policy and guidance from the FDA and CDC.

          606.       The public nuisance alleged herein can be abated and further recurrence of such

   harm and inconvenience can be abated.

          607.       The County has been, and continues to be, directly and proximately injured by

   Defendants’ actions in creating a public nuisance.

          608.       Plaintiff suffered special injuries distinguishable from those suffered by the

   general public.

          609.       Defendants’ conduct was accompanied by wanton and willful disregard of

   persons who foreseeably might be harmed by their acts and omissions.


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                                               COUNT V

                                            NEGLIGENCE

           610.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           611.    Each Defendant owed a duty of care to the County and her residents, including

   but not limited to taking reasonable steps to prevent the misuse, abuse, and over-prescription of

   opioids.

           612.    In violation of this duty, Defendants failed to take reasonable steps to prevent,

   monitor, and/or report the misuse, abuse, and over-prescription of opioids in the County by

   misrepresenting the risks and benefits associated with opioids.

           613.    As alleged above, Defendants falsely claimed that the risk of opioid addiction was

   low, falsely instructed doctors and patients that prescribing more opioids was appropriate when

   patients presented symptoms of addiction, falsely claimed that risk-mitigation strategies could

   safely address concerns about addiction, falsely claimed that doctors and patients could increase

   opioid usage indefinitely without added risk, deceptively marketed that purported abuse-

   deterrent technology could curb misuse and addiction, falsely claimed that long-term opioid use

   could actually restore function and improve a patient's quality of life, and failured to monitor and

   report opioid use and potential for misuse as required by law.

           614.    Each of these misrepresentations made by Defendants violated the duty of care to

   the County and her residents.

           615.    As a direct and proximate cause of Defendants' unreasonable and negligent

   conduct, the County and her residents have suffered and will continue to suffer harm, and are

   entitled to damages in an amount determined at trial.


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                                               COUNT VI

                                        CIVIL CONSPIRACY

           616.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           617.    The Distributor Defendants continuously supplied prescription opioids to the

   Pharmacy Defendants despite having actual or constructive knowledge that said pharmacies

   were habitually breaching their common law duties and violating New Jersey law.

           618.    Without the Distributor Defendants’ supply of prescription opioids, the

   Pharmacy Defendants would not be able to fill and dispense the increasing number of

   prescription opioids throughout the County.

           619.    The Pharmacy Defendants continuously paid the Distributor Defendants to

   supply large quantities of prescription opioids in order to satisfy the demand for the drugs.

           620.    Neither side would have succeeded in profiting so significantly from the

   opioid epidemic without the concerted conduct of the other party.

           621.    As a result of the concerted action between the Distributor Defendants and

   the Pharmacy Defendants, the County and her citizens have suffered damage.

                                              COUNT VII

                                        CIVIL CONSPIRACY

           622.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           623.    The Manufacturer Defendants continuously supplied prescription opioids to

   the Distributor Defendants despite having actual or constructive knowledge that the



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   Distributor Defendants were habitually breaching their common law duties and violating

   New Jersey law.

          624.    Without the Manufacture Defendants’ supply of prescription opioids, the

   Distributor Defendants would not be able to fill and dispense the increasing number of

   prescription opioids throughout the County.

          625.    The Distributor Defendants continuously paid the Manufacturer Defendants

   to supply large quantities of prescription opioids in order to satisfy the demand for the drugs.

          626.    Neither side would have succeeded in profiting so significantly from the

   opioid epidemic without the concerted conduct of the other party.

          627.    As a result of the concerted action between the Manufacturer Defendants and

   the Distributor Defendants, the County and her citizens have suffered damage.

                                      PRAYER FOR RELIEF

          WHEREFORE, the County respectfully requests the Court order the following relief:

                  (a)    An Order that the conduct alleged herein constitutes violations of the New

   Jersey Consumer Fraud Act;

                  (b)    An Order that Plaintiff is entitled to treble damages pursuant to the New

   Jersey Consumer Fraud Act;

                  (c)    An Order that the conduct alleged herein constitutes a public nuisance

   under New Jersey law;

                  (d)    An Order that Defendants abate the public nuisance that they caused under

   New Jersey law;

                  (e)    An Order that Defendants are negligent under New Jersey law;



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                  (f)     An Order that Defendants have been unjustly enriched at Plaintiffs

   expense;

                  (g)     An Order that Defendants’ conduct constitutes violations of the New

   Jersey Racketeer Influenced and Corrupt Organizations Act (“New Jersey RICO”), N.J.S.A.

   2C:41-1, et seq.;

                  (h)     An Order that the conduct alleged herein constitutes a civil conspiracy

   under New Jersey law;

                  (i)     An Order that Plaintiff is entitled to treble damages pursuant to New

   Jersey RICO;

                  (j)     An Order that Plaintiff is entitled to recover all measure of damages

   permissible under the statutes identified herein and under common law;

                  (k)     An Order that judgment be entered against Defendants in favor of

   Plaintiff;

                  (l)     An Order that Plaintiff is entitled to attorney’s fees and costs pursuant to

   any applicable provision of law, including but not limited to under the New Jersey Consumer

   Fraud Act and New Jersey RICO; and

                  (m)     An Order awarding any other and further relief deemed just and proper,

   including pre-judgment and post-judgment interest on the above amounts.

                                    DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a trial by jury, pursuant to N.J. Ct. R. 4:35-1.




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                                            /s/ James E. Cecchi

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                          Civil Case Information Statement
   Case Details: CAMDEN | Civil Part Docket# L-000695-18

  Case Caption: CAMDEN COUNTY VS PURDUE PHARMA,                    Case Type: COMPLEX COMMERCIAL
  L.P.                                                             Document Type: Complaint with Jury Demand
  Case Initiation Date: 02/21/2018                                 Jury Demand: YES - 6 JURORS
  Attorney Name: CHRISTOPHER JOHN BUGGY                            Hurricane Sandy related? NO
  Firm Name: CARELLA BYRNE CECCHI OLSTEIN BRODY                    Is this a professional malpractice case? NO
  & AGNELLO PC                                                     Related cases pending: NO
  Address: 5 BECKER FARM RD                                        If yes, list docket numbers:
  ROSELAND NJ 070681738                                            Do you anticipate adding any parties (arising out of same
  Phone:                                                           transaction or occurrence)? NO
  Name of Party: PLAINTIFF : Camden County
  Name of Defendant’s Primary Insurance Company
  (if known): Unknown



         THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                        CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




   Do parties have a current, past, or recurrent relationship? NO
   If yes, is that relationship:
   Does the statute governing this case provide for payment of fees by the losing party? NO
   Use this space to alert the court to any special case characteristics that may warrant individual
   management or accelerated disposition:


   Do you or your client need any disability accommodations? NO
          If yes, please identify the requested accommodation:


   Will an interpreter be needed? NO
            If yes, for what language:




   I certify that confidential personal identifiers have been redacted from documents now submitted to the
   court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

   02/21/2018                                                                           /s/ CHRISTOPHER JOHN BUGGY
   Dated                                                                                                      Signed
               CAM L 000695-18 02/22/2018 4:54:19 AM Pg 1 of 1 Trans ID: LCV2018328782
  Case 1:18-cv-11983-JHR-AMD Document 1-1 Filed 07/23/18 Page 188 of 396 PageID: 214
CAMDEN COUNTY
SUPERIOR COURT
HALL OF JUSTICE
CAMDEN            NJ 08103
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (856) 379-2200
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   FEBRUARY 21, 2018
                             RE:     CAMDEN COUNTY    VS PURDUE PHARMA, L.P.
                             DOCKET: CAM L -000695 18

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 4.

     DISCOVERY IS PRESUMPTIVELY 450 DAYS BUT MAY BE ENLARGED OR SHORTENED BY THE
JUDGE AND RUNS FROM THE FIRST ANSWER OR 90 DAYS FROM SERVICE ON THE FIRST
DEFENDANT, WHICHEVER COMES FIRST.
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE MANAGING JUDGE ASSIGNED IS:   HON FRANCISCO DOMINGUEZ

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      302
AT:   (856) 379-2200 EXT 3080.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: CHRISTOPH J. BUGGY
                                             CARELLA BYRNE CECCHI OLSTEIN B
                                             5 BECKER FARM RD
                                             ROSELAND         NJ 07068-1738

ECOURTS
          CAM-L-000695-18 02/22/2018 12:40:23 PM Pg 1 of 2 Trans ID: LCV2018332410
Case 1:18-cv-11983-JHR-AMD Document 1-1 Filed 07/23/18 Page 189 of 396 PageID: 215



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   Attorneys for Plaintiff

   CAMDEN COUNTY, NEW JERSEY,                      SUPERIOR COURT OF NEW JERSEY
                                                   LAW DIVISION: CIVIL PART
                    Plaintiff,                     CAMDEN COUNTY
   v.                                              DOCKET NO. CAM-L-0695-18

   PURDUE PHARMA L.P., DR. RICHARD
   SACKLER, ESTATE OF MORTIMER
   SACKLER, ESTATE OF RAYMOND
   SACKLER, ABBOTT LABORATORIES,                          NOTICE OF APPEARANCE
   CEPHALON, INC., TEVA
   PHARMACEUTICAL INDUSTRIES INC.,
   ENDO INTERNATIONAL PLC, JANSSEN
   PHARMACEUTICALS, INC., INSYS
   THERAPEUTICS, INC., MALLINCKRODT
   PLC, ABC CORPORATIONS 1-100
   ENGAGED IN THE MANUFACTURING OF
   OPIOIDS, AMERISOURCEBERGEN,
   MCKESSON, CARDINAL HEALTH, ABC
   CORPORATIONS 1-100 ENGAGED IN THE
   DISTRIBUTION OF OPIOIDS, CVS HEALTH
   CORPORATION, WALGREENS BOOTS
   ALLIANCE, INC., COSTCO WHOLESALE
   CORPORATION, RITE AID
   CORPORATION, AND ABC
   CORPORATIONS 1-100,

                    Defendants.
         CAM-L-000695-18 02/22/2018 12:40:23 PM Pg 2 of 2 Trans ID: LCV2018332410
Case 1:18-cv-11983-JHR-AMD Document 1-1 Filed 07/23/18 Page 190 of 396 PageID: 216



          PLEASE TAKE NOTICE that Donald A. Ecklund, an attorney with the law firm Carella,

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   court documents in this proceeding to the undersigned counsel.

                                                              Respectfully submitted,

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                                                           OLSTEIN, BRODY & AGNELLO


   Dated: February 22, 2018                                   By: /s/ Donald A. Ecklund
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                                                  2
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                                                   LAW DIVISION: CIVIL PART
                    Plaintiff,                     CAMDEN COUNTY
   v.                                              DOCKET NO. CAM-L-0695-18

   PURDUE PHARMA L.P., DR. RICHARD
   SACKLER, ESTATE OF MORTIMER
   SACKLER, ESTATE OF RAYMOND
   SACKLER, ABBOTT LABORATORIES,                          NOTICE OF APPEARANCE
   CEPHALON, INC., TEVA
   PHARMACEUTICAL INDUSTRIES INC.,
   ENDO INTERNATIONAL PLC, JANSSEN
   PHARMACEUTICALS, INC., INSYS
   THERAPEUTICS, INC., MALLINCKRODT
   PLC, ABC CORPORATIONS 1-100
   ENGAGED IN THE MANUFACTURING OF
   OPIOIDS, AMERISOURCEBERGEN,
   MCKESSON, CARDINAL HEALTH, ABC
   CORPORATIONS 1-100 ENGAGED IN THE
   DISTRIBUTION OF OPIOIDS, CVS HEALTH
   CORPORATION, WALGREENS BOOTS
   ALLIANCE, INC., COSTCO WHOLESALE
   CORPORATION, RITE AID
   CORPORATION, AND ABC
   CORPORATIONS 1-100,

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                                                   LAW DIVISION: CIVIL PART
                    Plaintiff,                     CAMDEN COUNTY
   v.                                              DOCKET NO. CAM-L-0695-18

   PURDUE PHARMA L.P., DR. RICHARD
   SACKLER, ESTATE OF MORTIMER
   SACKLER, ESTATE OF RAYMOND
   SACKLER, ABBOTT LABORATORIES,                          NOTICE OF APPEARANCE
   CEPHALON, INC., TEVA
   PHARMACEUTICAL INDUSTRIES INC.,
   ENDO INTERNATIONAL PLC, JANSSEN
   PHARMACEUTICALS, INC., INSYS
   THERAPEUTICS, INC., MALLINCKRODT
   PLC, ABC CORPORATIONS 1-100
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   OPIOIDS, AMERISOURCEBERGEN,
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   CORPORATIONS 1-100 ENGAGED IN THE
   DISTRIBUTION OF OPIOIDS, CVS HEALTH
   CORPORATION, WALGREENS BOOTS
   ALLIANCE, INC., COSTCO WHOLESALE
   CORPORATION, RITE AID
   CORPORATION, AND ABC
   CORPORATIONS 1-100,

                    Defendants.
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                                              SUPERIOR COURT OF NEW JERSEY
   CAMDEN COUNTY, NEW JERSEY,                 LAW DIVISION:
                                              Docket No.
                  Plaintiff,

   v.

   PURDUE PHARMA L.P., DR. RICHARD
                                                FIRST AMENDED COMPLAINT and
   SACKLER, ESTATE OF MORTIMER
                                                   DEMAND FOR JURY TRIAL
   SACKLER, ESTATE OF RAYMOND
   SACKLER, ABBOTT LABORATORIES,
   CEPHALON, INC., TEVA
   PHARMACEUTICAL INDUSTRIES INC.,
   ENDO INTERNATIONAL PLC, JANSSEN
   PHARMACEUTICALS, INC., INSYS
   THERAPEUTICS, INC., MALLINCKRODT
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   ENGAGED IN THE MANUFACTURING OF
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   CORPORATION, WALGREENS BOOTS
   ALLIANCE, INC., COSTCO WHOLESALE
   CORPORATION, RITE AID
   CORPORATION, AND ABC
   CORPORATIONS 1-100,

                  Defendants.
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   I.         INTRODUCTION

              1.     America is in the midst of an ever-expanding epidemic of addiction to opioids –

   both in the form of prescription pain killers and heroin.

              2.     In the next hour, five Americans will fatally overdose from opioids 1; two opioid

   dependent babies will be born 2; and a significant number of prescription opioid addicts will turn

   to heroin. 3 During that same time, opioid manufacturers will earn approximately $2.7 million

   from opioids. 4

              3.     Prescription opioids include brand-name drugs and generics like oxycodone and

   hydrocodone, and are derived from or possess properties similar to opium and heroin. As such,

   they are highly addictive and dangerous.

              4.     Under New Jersey law, opioids are categorized as Schedule I or Schedule II

   drugs. 5

              5.     The cause of the epidemic, and of the harms for which this lawsuit seeks redress,

   is not the opioids themselves, but Defendants’ conduct. As detailed below, Defendants engaged


   1
       Center for Disease Control and Prevention, Drug Overdose Death                           Data,
   https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited February 20, 2018).
   2
    Jean Y. Ko, PhD, et al., Public Health Burden of Neonatal Abstinence Syndrome (March 10,
   2017), https://www.cdc.gov/mmwr/volumes/66/wr/mm6609a2.htm (last visited February 20,
   2018).
   3
     Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 23, 2017),
   https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
   (hereinafter “Keefe, Empire of Pain”).
   4
     Dina Gusovsky, “American Consume Vast Majority of World’s Opioids, CNBC (April 27,
   2016), https://www.cnbc.com/2016/04/27/americans-consume-almost-all-of-the-global-opioid-
   supply.html.
   5
       See New Jersey Controlled Dangerous Substances Act, N.J.S.A. 24:21–1 et seq.


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   in a concerted, avaricious campaign to flood this country with opioids by deliberately

   manipulating (and failing to police) every layer of the distribution and prescription process in

   order to push pills out the door in volumes and through channels they knew would create

   conditions ripe for addiction and abuse.      Communities, such as Camden, were predictably

   inundated by Defendants’ man-made flood---and seek relief for all the predictable, damning

   consequence that have followed.

            6.     The opioid addiction epidemic was ignited in the 1990s by Purdue Pharma, at the

   instance and direction of Richard, Mortimer, and Raymond Sackler.

            7.     Historically, because they were considered too addictive and debilitating for

   treatment of chronic pain, opioids were used only to treat short-term acute pain or for palliative

   (end-of-life) care.

            8.     Purdue Pharma, manufacturer and marketer of OxyContin, changed this

   perception, not with scientific advances but through a deceptive marketing scheme aimed at

   convincing doctors (and the public at large) that opioids can be prescribed for long-periods of

   time with little to no risk of addiction—a blatantly false premise.

            9.     Purdue’s fraudulent and deceptive marketing scheme worked, and sales for

   OxyContin skyrocketed, resulting in billions of dollars for Purdue and its top executives—

   including, Richard, Mortimer, and Raymond Sackler.

            10.    As detailed below, Purdue’s fraudulent and deceptive marketing scheme was

   joined and/or adopted by each of the Defendants, as well as those who acted in concert with

   them.

            11.    The record profits achieved by Purdue Pharma and others were earned at the

   expense of millions of Americans who predictably to the tsunami of opioids that Purdue and


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   others unleashed, and the communities which were left to address the consequence of the crisis

   created by Defendants.

            12.      Since the plan’s inception, deaths from opioids have been rising sharply.

            13.      Today, drug overdoses kill more Americans under age 50 than anything else.

            14.      More than 42,000 opioid-related deaths occurred in 2016. 6 Experts predict that

   opioids could kill 500,000 Americans over the next decade, and that the annual death toll will

   increase by at least 35 percent between 2015 and 2027—that means more than 93,000 deaths a

   year by 2027. 7

            15.      There are now more than 100 deaths a day from opioids, and the devastation

   blankets the United States—from bucolic New England suburbs to the farms in California, from

   beaches in the Florida Keys to the White Mountains of New Hampshire. 8

            16.      The epidemic touches all demographics: new born children and the elderly, men

   and women, veterans and civilians, farmers and musicians, lawyers and construction workers,

   stay-at-home moms and the homeless. 9

            17.      All the while, the communities where the newly addicted live struggle to contain

   the epidemic and ameliorate its consequences. For example, in 2016 and 2017, the Camden



   6
       Center for Disease Control and Prevention, Drug Overdose Death                             Data,
   https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited February 20, 2018)
   7
       Max Blau, STAT Forecast: Opioids could kill nearly 500,000 Americans in the next decade
   (June 27, 2017), https://www.statnews.com/2017/06/27/opioid-deaths-forecast/ (last visited
   February 20, 2018)
   8
       Center for Disease Control and Prevention, Drug Overdose Death                             Data,
   https://www.cdc.gov/drugoverdose/data/statedeaths.html (last visited February 20, 2018)
   9
       https://www.statnews.com/2017/06/27/opioid-deaths-forecast/ (last visited February 20, 2018)


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   County Police Department (“CCPD”) expended at least 1,740 man hours responding to 941

   opioid overdoses—131 of which resulted in death.

               18.   Since 2014, the Camden County Police Department has saved 312 lives by

   administering Narcan to those who have overdosed on opioids. But, even so, opioid-related

   deaths are on the rise.

               19.   Addiction is on the rise as well. It is estimated that approximately 2.6 million

   Americans over the age of 12 were addicted to prescription pain relievers and heroin in 2015.

   That number is likely even higher today. 10

               20.   In 2012, only 241,000 privately insured patients were diagnosed with opioid

   dependence.

               21.   By 2016, that number was 1.4 million. And that does not even account for the

   hundreds of thousands more battling addictions while on Medicaid or Medicare, or while

   uninsured. 11

               22.   And, increasingly, those who have an opioid dependency, but cannot obtain a

   prescription (either because they cannot afford it, or cannot find a doctor to fill it), turn from

   prescription pills to heroin or fentanyl – which is less expensive, often more accessible, and can

   be even more potent 12




   10
        https://www.statnews.com/2017/06/27/opioid-deaths-forecast/ (last visited February 20, 2018)
   11
        Id.
   12
        Id.


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                23.   Indeed, 75 percent of patients in heroin treatment centers started their opioid use

   with prescription medications, not heroin. 13

                24.   Based on these statistics, most Americans know someone that either is struggling

   with, has been impacted by, or has died from an opioid addiction.

                25.   In 1991, doctors wrote 76 million opioid prescriptions. 14 Less than a decade later

   (by 2000), that number had almost doubled, jumping to 131,000,000. 15 By the next decade

   (2012), the number had almost doubled again, to an alarming 259,000,000 prescriptions 16--

   enough for every man, woman, and child to get at least one bottle of prescription opioid pills that

   year.

                26.   By 2015, the amount of opioids prescribed was enough for every American to be

   medicated around the clock for three weeks.

                27.   The increased sales of prescription opioids is not accompanied by an overall

   change in the amount of pain reported. 17


   13
          Maia   Szalavitz,   “Five    Myths     About     Heroin”     (March    4,    2016),
   https://www.washingtonpost.com/opinions/five-myths-about-heroin/2016/03/04/c5609b0e-d500-
   11e5-b195-2e29a4e13425_story.html?utm_term=.40eeb3df6d96 (last visited February 20, 2018).
   14
        Id.
   15
      Christopher M. Jones, “Prescription Drug Abuse & Overdose in the United States”
   https://secure.in.gov/attorneygeneral/files/Jones_Indiana_RX_Meeting_-_CJONES(5).pdf (last
   visited February 20, 2018).
   16
      Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs (July
   2014), https://www.cdc.gov/vitalsigns/opioid-prescribing/
   17
      Overdoses of Prescription Opioid Pain Relievers United States, 1999—2008, Centers for
   Disease     Control     and    Prevention:     Vital   Signs     (November  4,    2011),
   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6043a4.htm; see also, Chang H, Daubresse
   M, Kruszewski S, et al. Prevalence and treatment of pain in emergency departments in the
   United States, 2000 – 2010. Amer. J. of Emergency Med. 2014; 32(5): 421-31.


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           28.    This meteoric rise in prescriptions (and the attendant rise in addiction to and

   abuse of prescription opioids and heroin) is not due to a medical breakthrough.

           29.    Rather, is has been Defendants’ quest for greater profits by way of a fraudulent

   and deceptive marketing scheme—all at the expense of American lives and their communities—

   that has caused increases in prescriptions and addictions.

           30.    The cost of the opioid epidemic is estimated to have exceeded $1 trillion from

   2001 to 2017, and is projected to cost an additional $500 billion by 2020. 18

           31.    Accordingly, in addition to injunctive relief and damages for past costs incurred

   by the County, the County seeks monetary damages for the costs needed to prospectively abate,

   contain and minimize the impact of the epidemic on the County and its residents, including

   funding for: (i) treatment programs, including expanded educational programs, medication

   assisted treatment, and social services; (ii) programs to reduce demand, strengthen education in

   the community, and provide associated family support and child services; (iii) harm reduction

   programs, including improved access and training regarding naloxone and other overdose

   antidotes; and (iv) increased police and task force activity to reduce diversion of prescription

   opioids and the supply of illicit opioids, such as heroin and fentanyl.

   II.     PARTIES

           A.     Plaintiff

           32.    Plaintiff Camden County, New Jersey (“County” or “Plaintiff”) is located in New

   Jersey. The County’s population is roughly 510,000.



   18
         Economic Toll of Opioid Crisis In U.S. Exceeded $1 Trillion Since 2001,
   https://altarum.org/about/news-and-events/economic-toll-of-opioid-crisis-in-u-s-exceeded-1-
   trillion-since-2001 (last visited February 20, 2018)


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          33.     To increase awareness among County residents of heroin and prescription drug

   abuse and the devastating effects it has on its community, the County created an Addiction

   Awareness Task Force (“AATF”). The goals of AATF are to help reduce the demand for and

   availability of prescription opioids and heroin, create awareness programs to educate residents

   about programs and resources available to prevent and treat addiction, and to support the creation

   of additional resources to treat and prevent addiction to heroin and prescription drugs.

          34.     The County also created the Office of Mental Health and Addiction to combat the

   opioid epidemic.

          35.     The County has incurred significant costs and a loss of resources attempting to

   curb the epidemic, impacting virtually every branch of the County—from emergency services, to

   the courts, to care facilities and clinics, to prisons, and to the police department.

          36.     The County has been required to spend increasing amounts of money and

   resources to combat the increasing opioid epidemic, including but not limited to:

                  (a)     Medication costs for employees and retirees;

                  (b)     Health insurance premiums paid on behalf of employees and retirees;

                  (c)     Addiction treatment for employees and retirees;

                  (d)     Costs related to absenteeism due to addiction in the workforce;

                  (e)     Overdose- and addiction-related medical and hospital costs for employees

                          and retirees;

                  (f)     Overdose-related emergency room services for indigent members of the

                          community and jail inmates;

                  (g)     Detoxification, substance abuse treatment, and certain related medical care

                          for jail inmates;


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                  (h)    Incarceration costs for opioid-related crimes;

                  (i)    Police services associated with opioid arrests and overdose calls;

                  (j)    Drug court and related judicial expenditures;

                  (k)    Medical examiner and burial costs associated with overdoses and related

                         medical conditions; and

                  (l)    Homelessness services and mental health services related to opioid

                         addiction.

          37.     The County has expended taxpayers’ resources to address these harms caused by

   the opioid epidemic, as well as many others. In many cases, law enforcement has, by default,

   become the first responders to deal with the crisis. This is not only counter-productive to law

   enforcement’s intended mission, but it is also not an effective way to stem of the epidemic of

   addiction.

          38.     Defendants can, and must, be held accountable.

          B.      Manufacturer Defendants

          39.     Defendant Purdue Pharma L.P. is a Delaware limited partnership formed in 1991

   with headquarters located in Stamford, Connecticut and offices for Research and Development in

   Cranbury, New Jersey and Ewing, New Jersey, as well as facilities in Totowa, New Jersey that

   manufacture and distribute OxyContin.       The company maintains four operational branches:

   Purdue Pharma L.P., the Purdue Frederick Company, Purdue Pharmaceutical Products L.P. and

   Purdue Products L.P. (referred to collectively herein as “Purdue”).

          40.     Defendant Dr. Richard Sackler (“Dr. Sackler”) is a board member and the former

   President and Co-Chairman of Purdue Pharma L.P. Dr. Sackler is the named inventor on

   multiple patents directed toward the opioids at issue in the opioid addiction epidemic.


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          41.     Defendant the Estate of Mortimer Sackler (“Estate of M. Sackler”) was co-CEO

   of Purdue Pharma during the crucial period of OxyContin’s development and promotion.

          42.     Defendant the Estate of Raymond Sackler (“Estate of R. Sackler”) was co-CEO of

   Purdue Pharma during the crucial period of OxyContin’s development and promotion.

          43.     Defendant Abbott Laboratories (“Abbott”) is an Illinois corporation with its

   principal place of business in Abbott Park, Illinois.

          44.     Defendant Cephalon, Inc. is a Delaware corporation with its headquarters and

   principal place of business located in Frazer, Pennsylvania.

          45.     Defendant Teva Pharmaceutical Industries Inc. (“Teva USA”) is a wholly-owned

   subsidiary of Teva Pharmaceutical Industries, Ltd. (Teva Ltd.”), an Israeli corporation. Teva

   USA is a Delaware corporation with its principal place of business in Pennsylvania.

          46.     Teva USA and Cephalon, Inc. work together closely to market and sell Cephalon

   products in the United States. Teva USA conducts Teva Ltd.’s sales and marketing activities for

   Cephalon in the United States and has done so since Teva Ltd.’s October 2011 acquisition of

   Cephalon. Teva USA holds out Actiq and Fentora as Teva products to the public. Teva USA

   sells all former Cephalon branded products through its “specialty medicines” division. The FDA

   approved prescribing information and medication guide, which is distributed with Cephalon

   opioids marketed and sold in Chicago, discloses that the guide was submitted by Teva USA, and

   directs physicians to contact Teva USA to report adverse events. (Teva USA and Cephalon, Inc.

   collectively are referred to herein as “Cephalon.”)

          47.     Defendant Endo International plc is an Irish public limited company with its

   headquarters in Dublin, Ireland. Endo Pharmaceuticals Inc. (together with Endo International

   plc, “Endo”) is a Delaware corporation with its headquarters and principal place of business in


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   Malvern, Pennsylvania. Endo Pharmaceuticals Inc. is an indirectly wholly-owned subsidiary of

   Endo International plc.

             48.   Defendant Janssen Pharmaceuticals, Inc. (“Janssen”) (formerly known as Ortho-

   McNeil-Janssen Pharmaceuticals, Inc. and Janssen Pharmaceutica) is headquartered in Titusville,

   New Jersey and Raritan, New Jersey. Janssen is a wholly-owned subsidiary of Johnson &

   Johnson, a New Jersey corporation with its principal place of business in New Brunswick, New

   Jersey.

             49.   Defendant Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its

   principal place of business in Chandler, Arizona.

             50.   Defendant Mallinckrodt plc is an Irish public limited company with its

   headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt Pharmaceuticals

   (together with Mallinckrodt plc, “Mallinckrodt”) is a Delaware corporation with its headquarters

   in Hazelwood, Missouri.

             51.   ABC Corporations 1-100 engaged in the manufacturing of opioids.

             C.    Distributor Defendants

             52.   Defendant AmerisourceBergen is a Delaware corporation with its headquarters

   and principal place of business located in Chesterbrook, Pennsylvania.

             53.   Defendant McKesson is a Delaware corporation with its headquarters and

   principal place of business located in San Francisco, California.

             54.   Defendant Cardinal Health is a Delaware corporation with its headquarters and

   principal place of business located in Dublin, Ohio.

             55.   ABC Corporations 1-100 engaged in the distribution of opioids.




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            D.    Pharmacy Defendants

            56.   Defendant CVS Health Corporation is a Delaware corporation with its

   headquarters and principal placed of business located in Woonsocket, Rhode Island.

            57.   Defendant Walgreens Boots Alliance, Inc. is a Delaware corporation with its

   headquarters in Deerfield, Illinois.

            58.   Defendant Costco Wholesale Corporation is a Washington corporation with its

   headquarters in Issaquah, Washington.

            59.   Defendant Rite Aid Corporation is a Delaware Corporation with its headquarters

   in Camp Hill, Pennsylvania.

            60.   ABC Corporations 1-100 engaged in the filling of prescriptions for opioids.

            E.    Defendants’ Agents

            61.   All of the actions described in this Complaint are part of, and in furtherance of,

   the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants or

   their officers, agents, employees, or other representatives while actively engaged in the

   management of Defendant’s affairs within the course and scope of their duties and employment,

   and/or with Defendant’s actual, apparent, and/or ostensible authority.

            62.   Jane and John Does 1-100, and ABC Corporations 1-100 actively engaged in the

   management of Defendants’ affairs within the course and scope of their duties and employment,

   and/or with Defendant’s actual, apparent, and/or ostensible authority.

   III.     JURISDICTION AND VENUE

            63.   This Court has personal jurisdiction over Defendants because they transact and/or

   during the relevant period, have transacted business in the State of New Jersey and Camden

   County.


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           64.    Venue is proper in Camden County pursuant to R. 4:3-2, because Defendants

   transact and/or during the relevant period, transacted business in Camden County.

   IV.     FACTUAL BACKGROUND

           65.    The opioid epidemic plaguing this country today has its roots not in the products

   themselves, but in Defendants’ conduct, namely the development, marketing, manufacture, sale,

   and distribution of opioids from the 1990’s to the present day.

           66.    As Senator McCaskill declared:

                   The opioid epidemic is the direct result of a calculated marketing and sales
           strategy developed in the 90’s, which delivered three simple messages to
           physicians. First, that chronic pain was severely undertreated in the United
           States. Second, that opioids were the best tool to address that pain. And third,
           that opioids could treat pain without risk of serious addiction. As it turns out,
           these messages were exaggerations at best and outright lies at worst.

                                                *            *   *

                    Our national opioid epidemic is complex, but one explanation for this
           crisis is simple, pure greed.

           A.     Defendants’ Quest for Profits, Not A Medical Breakthrough,
                  Expanded the Market for Prescription Opioids to Long Term Use for
                  “Every Day Pain”

           67.    By the late 1980s, the patent on its main source of revenue, a morphine pill for

   cancer patients called MS Contin, was running out for Purdue. Executives—including Richard,

   Raymond, and Mortimer Sackler—anticipated a massive loss of revenue as generic versions

   drove down the price of MS Contin.

           68.    In a 1990 memo, Robert F. Kaiko (“Kaiko”), vice president for clinical research,

   explained that “MS Contin may eventually face such serious generic competition that other

   controlled-release opioids must be considered.”




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          69.     Purdue already had developed a mechanism to extend a drug’s release over time.

   In MS Contin, that mechanism made morphine last 8 to 12 hours. Purdue decided to use it on an

   old, cheap narcotic, oxycodone.

          70.     Sold under several names and formulations, including Percocet and Roxicodone,

   oxycodone controls pain for up to six hours.

          71.     With the delayed-release mechanism, executives, chief among them Richard

   Sackler, theorized that the drug would last 12 hours — at least twice as long as generics and the

   high end of MS Contin’s range.

          72.     The first patients to use this drug, named OxyContin, were women recuperating

   from abdominal and gynecological surgery at two hospitals in Puerto Rico in 1989. In the

   clinical study, designed and overseen by Purdue scientists and paid for by the company, 90

   women were given a single dose of the drug while other patients were given short-acting

   painkillers or placebos. None of the women were regular users of painkillers, so they were more

   susceptible to the effects of narcotics.

          73.     Even so, more than a third of the women given OxyContin started complaining

   about pain in the first eight hours and about half required more medication before the 12-hour

   mark, according to an FDA analysis of the study.

          74.     Despite the results of the clinical trials calling into question the 12-hour

   effectiveness, Purdue continued developing OxyContin as a 12-hour drug. It did not test

   OxyContin at more frequent intervals (i.e., intervals of less than 12-hours).

          75.     In statements to the patent office—contrary to the results of its clinical testing—

   Purdue claimed that OxyContin “provides pain relief [to] patient[s] for at least 12 hours after

   administration.”


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          76.    Purdue launched OxyContin in 1996, touting in advertisements in medical

   journals that it would last 12-hours. For example, in one advertisement, a spotlight illuminated

   two dosage cups, one marked 8 AM and the other 8 PM. “REMEMBER, EFFECTIVE RELIEF

   JUST TAKES TWO,” and another read “One dose relieves pain for 12 hours, more than twice

   as long as generic medications.”19

          77.    Before OxyContin, doctors had viewed narcotic painkillers as dangerously

   addictive and primarily reserved their long-term use for cancer patients and the terminally ill.

   Purdue, led by the Sacklers, wanted a bigger market, and set out to create it through a campaign

   of false and deceptive marketing.

          78.    “We do not want to niche OxyContin just for cancer pain,” a marketing executive

   explained to employees planning the drug’s debut, according to minutes of the 1995 meeting.

          79.    Accordingly, under the direction of the Sacklers, Purdue spent $207 million on

   the launch of OxyContin, doubling its sales force to 600. Sales representatives were trained to

   pitch the drug to family doctors and general practitioners to treat common conditions such as

   back aches and knee pain.

          80.    With Percocet and other short-acting drugs, patients have to remember to take a

   pill up to six times a day, Purdue told doctors. OxyContin “spares patients from anxious ‘clock-

   watching.’”

          81.    Purdue’s marketing effort was brazen. Sales representatives showered prescribers

   with clocks and fishing hats embossed with “Q12h.” The company invited doctors to dinner



   19
      Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem,
   L.A. Times (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/ (hereinafter
   “Ryan, Description of Hell”).


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   seminars and flew them to weekend junkets at resort hotels, where they were encouraged to

   prescribe OxyContin and promote it to colleagues back home.

           82.        Purdue sales representatives, who spent their days visiting doctors to talk up

   OxyContin, heard repeatedly that the drug did not last. In reports to Purdue headquarters, they

   wrote that many physicians were prescribing it for three or even four doses a day.

           83.        By 2000, data analyzed by company employees showed that one in five

   OxyContin prescriptions was for use every eight hours, or even more frequently.

           84.        But, managed care companies began denying these shorter prescriptions, and

   pharmacies refused to fill prescriptions for anything other than every twelve hours. This created

   a sales problem for Purdue and the Sacklers.

           85.        To solve this problem, Purdue (incredibly without any scientific basis) instructed

   its sales team to recommend to physicians that they increase the strength of the dose of the

   prescriptions rather than the frequency and to remind physicians that there is no ceiling on the

   amount of OxyContin a patient can be prescribed.

           86.        While increasing the dosage could extend the duration, it did not guarantee 12

   hours of relief.

           87.        But, higher doses did guarantee more money for Purdue and its sales

   representatives, while exposing patients to greater risks.

           88.        Purdue charged wholesalers on average about $97 for a bottle of the 10-milligram

   pills, the smallest dosage, while the maximum strength, 80 milligrams, cost more than $630,

   according to 2001 sales. On information and belief, commissions and performance evaluations

   for the sales force were based in part on the proportion of sales from high-dose pills.




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           89.    Purdue was aware that those on higher doses of opioids are more likely to

   overdose.

           90.    Indeed, an analysis of the medical records of more than 32,000 patients on

   OxyContin and other painkillers in Ontario, Canada, found that one in 32 patients on high doses

   fatally overdosed.

           91.    Purdue and the Sacklers knew that the potential for abuse was a barrier to

   expanding opioid sales. For example, prior to launching OxyContin, Purdue conducted focus

   groups with doctors and “learned that the ‘biggest negative’ that might prevent widespread use of

   the drug was ingrained concern regarding the ‘abuse potential’ of opioids.”20

           92.    In its initial press release launching the drug, Purdue told doctors that one

   OxyContin tablet would provide “smooth and sustained pain control all day and all night.”

   Based in large part on that promise, and Purdue’s repeated assurances that opioids were both

   effective and non-addictive, OxyContin became America’s bestselling painkiller.21 But, Purdue

   had no evidentiary basis for these claims.

           93.    In truth, and as alleged above, Purdue’s nationwide marketing claims were false

   and highly deceptive. OxyContin was not superior to immediate-release opioids. And not only

   does OxyContin wear off well in advance of 12 hours, as Purdue’s own early studies showed, it

   is (contrary to Purdue’s central thesis) highly addictive.




   20
        Keefe, Empire of Pain, supra n.3.
   21
       Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering from
   Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996);
   see also, http://documents.latimes.com/oxycontin-press-release-1996/ (last visited February 20,
   2018).


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           94.     “Brain abnormalities resulting from chronic use of heroin, oxycodone, and other

   morphine-derived drugs are underlying causes of opioid dependence (the need to keep taking

   drugs to avoid a withdrawal syndrome) and addiction (intense drug craving and compulsive

   use).” 22

           95.     Furthermore, contrary to what Purdue was telling doctors, experts characterized

   the 12-hour dosing regimen as “‘an addiction producing machine.’”23 Purdue had reportedly

   known for decades that it falsely promised 12-hour relief and nevertheless mobilized hundreds of

   sales representatives to “refocus” physicians on 12-hour dosing:

                  . . . Even before OxyContin went on the market, clinical trials showed
                   many patients weren’t getting 12 hours of relief. Since the drug’s debut
                   in 1996, the company has been confronted with additional evidence,
                   including complaints from doctors, reports from its own sales
                   representatives and independent research.

                  The company has held fast to the claim of 12-hour relief, in part to protect
                   its revenue. OxyContin’s market dominance and its high price – up to
                   hundreds of dollars per bottle – hinge on its 12-hour duration. Without
                   that, it offers little advantage over less expensive painkillers.

                  When many doctors began prescribing OxyContin at shorter intervals in
                   the late 1990s, Purdue executives mobilized hundreds of sales
                   representatives to “refocus” physicians on 12-hour dosing. Anything
                   shorter “needs to be nipped in the bud. NOW!!” one manager wrote to her
                   staff.

                  Purdue tells doctors to prescribe stronger doses, not more frequent ones,
                   when patients complain that OxyContin doesn’t last 12 hours. That
                   approach creates risks of its own. Research shows that the more potent the
                   dose of an opioid such as OxyContin, the greater the possibility of
                   overdose and death.



   22
        Kosten, et al., The Neurobiology of Opioid Dependence: Implications for Treatment,
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2851054/
   23
        Ryan, Description of Hell, supra n. 16.


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                  More than half of long-term OxyContin users are on doses that public
                   health officials consider dangerously high, according to an analysis of
                   nationwide prescription data conducted for The Times. 24

           96.     As reported by The New York Times, “internal Purdue Pharma documents show

   that company officials recognized even before the drug was marketed that they would face stiff

   resistance from doctors who were concerned about the potential of a high-powered narcotic like

   OxyContin to be abused by patients or cause addiction.” To combat this resistance, Purdue

   falsely promised the long-acting, extended-release formulation was safer and “less prone to such

   problems.” 25

           B.      Purdue & Abbott Laboratories Co-Promotion of OxyContin

           97.     Purdue and Abbott entered into a co-promotion agreement to market and sell

   OxyContin from 1996 through 2002—a critical period directly following the approval of the

   drug by the U.S. Food and Drug Administration.

           98.     With Abbott’s help, sales of OxyContin went from a mere $49 million in its first

   full year on the market to $1.6 billion in 2002. Over the life of the partnership, Purdue paid

   Abbott at least $374 million.

           99.     The sales teams of Purdue and Abbott worked together -- holding regular strategy

   sessions, alternating meeting locations between Purdue’s Stamford, Conn., headquarters and

   Abbott’s corporate offices in Illinois.




   24
        Ryan, Description of Hell, supra n. 16.
   25
      Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10,
   2007), http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier,
   Guilty Plea”).


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          100.    Indeed, an Abbott executive wrote to Purdue’s vice president of marketing

   pledging to take the relationship between the companies to “new heights with our positioning of

   OxyContin as a key component of Abbott Pain Management.”

          101.    Abbott heavily incentivized its sales staff to push OxyContin, offering $20,000

   cash prizes and luxury vacations to top performers.

          102.    While marketing a highly dangerous and addictive drug, the sales team cavalierly

   used terminology from the Middle Ages Crusades: Sales representatives were called “royal

   crusaders” and “knights” in internal documents, and they were supervised by the “Royal Court of

   OxyContin” — executives referred to in memos as the “Wizard of OxyContin,” “Supreme

   Sovereign of Pain Management,” and the “Empress of Analgesia.” The head of pain care sales,

   Jerry Eichhorn, was the “King of Pain” and signed memos simply as “King.”

          103.    Abbott sales staff was instructed that if a doctor was concerned about the euphoria

   a patient was experiencing on the shorter-acting painkiller Vicodin, they should tell the

   physician, “OxyContin has fewer such effects.”

          104.    Abbott also instructed sales representatives to highlight the “less abuse/addiction

   potential” of the drug, which could be taken just twice a day because of its time-release

   formulation.

          105.    Abbott sales representatives were also given a graphic to show doctors that

   depicted levels of its pain-killing ingredient in the bloodstream holding steady, but, on

   information and belief, the graphic mislead physicians to believe that the levels were “steadier”

   or “flatter” than they actually were.




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           106.   And a “coaching sheet” prepared for Abbott sales personnel advised discussing

   the potential abuse of OxyContin only if a doctor brought it up, and to tell physicians that it was

   “street users” who were misusing the drug, rather than “true pain patients.”

          107.    On information and belief, under the agreement with Purdue, Abbott received 25

   percent of all net sales, up to $10 million, for prescriptions written by doctors its sales

   representatives called on, and 30 percent of sales above $10 million, according to court records.

           108.   On information and belief, prescriptions written by “Abbott MD’s” comprised 25

   percent of all OxyContin prescriptions, and between 1996 and 2002, Abbott was paid more than

   $374 million in commissions.

           109.   Even after Abbott stopped selling OxyContin, it received a residual payment of 6

   percent of net sales of OxyContin by Purdue.

                  1.      Purdue Used Big Data to Optimize Overprescribing.

           110.   On information and belief, for years Purdue has compiled profiles of doctors and

   their prescribing habits into databases.

           111.   These databases then organized the information based on location to indicate the

   spectrum of prescribing patterns in a given state or county.

           112.   Armed with this sensitive data, Purdue’s sales representatives could determine

   which doctors they would target to sell OxyContin to and which populations were susceptible to

   its product.

           113.   Indeed, Purdue’s databases contained information of hundreds of doctors

   suspected of recklessly prescribing OxyContin to addicts and drug dealers, but Purdue did not

   timely alert law enforcement or medical authorities.




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          114.    In other words, Purdue, through its use of big data had a window to see where

   OxyContin was being prescribed and recklessly overprescribed. And, rather than putting a stop

   to it, simply pushed more pills in that direction.

                  2.      OxyContin Opens a New Product Category for Big Pharma.

          115.    Purdue’s marketing of OxyContin transformed the practice of medicine. Other

   drug companies began peddling their own narcotic painkillers for routine injuries all based on the

   twin falsities that these powerful narcotics were not addictive and were safe and effective

   treatments for routine pain.

          116.    By 2010, one out of every five doctor’s visits in the U.S. for pain resulted in a

   prescription for narcotic painkillers, according to a Johns Hopkins University study.

          C.      The Manufacturer Defendants Misled the Public Regarding the
                  Dangers of Opioid Addiction and the Efficacy of Opioids for Long-
                  Term Use, Causing Sales and Rates of Overdose and Addiction to
                  Soar

          117.    From the mid-90s to the present, the Manufacturer Defendants aggressively

   marketed and falsely promoted opioids as presenting little to no risk of addiction, even when

   used long term for chronic pain. They infiltrated medical academia faculty and literature as well

   as regulatory agencies to convince doctors that treating chronic pain with long-term opioids was

   evidence-based medicine when, in fact, it was not. Huge prescribing and profits resulted from

   these efforts, leading to the present addiction and overdose epidemic.

                  1.      Background on Opioid Overprescribing

          118.    The Manufacturer Defendants’ scheme to drive their rapid and dramatic

   expansion of prescription opioids relied on the misuse of two reports. The first was a 100-word




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   letter to the editor published in 1980 in the New England Journal of Medicine (“1980 Letter to

   the Editor”). 26 A 2017 study in the New England Journal of Medicine concluded:

           that a five-sentence letter published in the Journal in 1980 was heavily and
           uncritically cited as evidence that addiction was rare with long-term opioid
           therapy. We believe that this citation pattern contributed to the North American
           opioid crisis by helping to shape a narrative that allayed prescribers’ concerns
           about the risk of addiction associated with long-term opioid therapy. 27

           119.   Second was a single retrospective study published by Drs. Russell Portenoy

   (“Portenoy”) and Kathleen Foley (“Foley”) (“Portenoy Publication”).28 Portenoy, one of the



   26
       The 1980 Letter to the Editor, by Jane Porter (“Porter”) and Dr. Herschel Jick (“Jick”),
   reported that less than 1% of patients at Boston University Medical Center who received
   narcotics while hospitalized became addicted. Jane Porter & Hershel Jick, Addiction rate in
   patients treated with narcotics, 302(2) New Eng. J. Med. 123 (Jan. 10, 1980). The letter did not
   support the conclusion for which it was often cited by the industry. Harrison Jacobs, This one-
   paragraph letter may have launched the opioid epidemic, Bus. Insider (May 26,
   2016), http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-016-
   5 (hereinafter “Jacobs, One-paragraph letter”). As discussed in a 2009 article in the American
   Journal of Public Health, the 1980 Letter to the Editor “shed[] some light on the risk of addiction
   for acute pain, [but did] not help establish the risk of iatrogenic addiction when opioids are used
   daily for a prolonged time in treating chronic pain. [Indeed, t]here are a number of studies . . .
   that demonstrate that in the treatment of chronic non-cancer-related pain with opioids, there is a
   high incidence of prescription drug abuse.” Art Van Zee, The Promotion and Marketing of
   OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am. J. Pub. Health 221-27
   (Feb. 2009).
   27
        http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
   28
       In 1986, the medical journal Pain, which would eventually become the official journal of the
   American Pain Society (“APS”), published an article by Portenoy and Foley summarizing the
   results of a “study” of 38 chronic non-cancer pain patients who had been treated with opioid
   painkillers. Portenoy and Foley concluded that, for non-cancer pain, opioids “can be safely and
   effectively prescribed to selected patients with relatively little risk of producing the maladaptive
   behaviors which define opioid abuse.” However, their study was neither scientific nor did it
   meet the rigorous standards commonly used to evaluate the validity and strength of such studies
   in the medical community. For instance, the study was not a prospective, and had no placebo
   control group—essentially, the authors queried a few dozen patients about their prior experiences
   with opioid treatment. The authors themselves advised caution, stating that the drugs should be
   used as an “alternative therapy” and recognizing that longer-term studies of patients on opioids
   would have to be performed. None were. See Russell K. Portenoy & Kathleen M. Foley,

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   industry’s most vocal advocates for long-term opioid use, made it his life’s work to campaign for

   the movement to increase use of prescription opioids. He was one of Opioid manufacturer’s paid

   “thought leaders” and was paid to travel the country to promote more liberal opioid prescribing

   for many types of pain.        His talks were sponsored by the Manufacturer Defendants and

   organizations paid by them as continuing medical education (“CME”) programs for doctors. He

   had financial relationships with at least a dozen pharmaceutical companies, most of which

   produced prescription opioids. 29

             120.   Portenoy has now admitted that he minimized the risks of opioids. In a 2011

   interview released by Physicians for Responsible Opioid Prescribing, Portenoy stated that his

   earlier work purposefully relied on evidence that was not “real” and, in fact, left real evidence

   behind:

             I gave so many lectures to primary care audiences in which the Porter and Jick
             article was just one piece of data that I would then cite, and I would cite six,
             seven, maybe ten different avenues of thought or avenues of evidence, none of
             which represented real evidence, and yet what I was trying to do was to create a
             narrative so that the primary care audience would look at this information in toto
             and feel more comfortable about opioids in a way they hadn’t before. In essence
             this was education to destigmatize [opioids], and because the primary goal was
             to destigmatize, we often left evidence behind. 30

             121.   The damage, however, was already done.           Remarkably, the Manufacturer

   Defendants used these two publications, the 1980 Letter to the Editor and the Portenoy



   Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
   (May 1986).
   29
       Anna Lembke (2016), Drug Dealer, MD – How Doctors Were Duped, Patients Got Hooked,
   and Why It’s So Hard to Stop, at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail
   of Addiction and Death (St. Martin’s Press, 1st ed. 2003)).
   30
      Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30,
   2011), https://www.youtube.com/watch?v=DgyuBWN9D4w.


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   Publication, as the foundation for a massive, far-reaching campaign to dramatically shift the

   thinking of healthcare providers, patients, policymakers and the public on the risk of addiction

   presented by opioids.

           122.      In 1997, the APS and the American Academy of Pain Medicine (“AAPM”) (both

   funded by the Manufacturer Defendants) issued a “landmark consensus,” co-authored by

   Portenoy, stating there is little risk of addiction or overdose in pain patients.31

           123.      Despite the prescription opioids’ highly addictive qualities, the Manufacturer

   Defendants aggressive pro-opioid marketing efforts effected a dramatic shift in the public’s and

   prescribers’ perception of the safety and efficacy of opioids for chronic long-term pain and

   everyday use. Contrary to what doctors had previously understood about opioid risks and

   benefits, they were encouraged for the last two decades by the Manufacturer Defendants to

   prescribe opioids aggressively and were assured, based on false evidence provided directly by

   the Manufacturer Defendants and numerous medical entities funded by or related to the

   Manufacturer Defendants (and others with financial interests in generating more opioid

   prescriptions), that: (i) the risk of becoming addicted to prescription opioids among patients

   being treated for pain was low, even as low as less than 1%; and (ii) great harm was caused by

   “under-treated pain.” These two foundational falsehoods led directly to the current opioid crisis.

           124.      As described in more detail below, the essence of the scheme was to redefine

   back pain, neck pain, headaches, arthritis, and other common conditions suffered by most of the

   population at some point in their lives as a distinct malady – chronic pain – that doctors and

   patients should take seriously and for which opioids were an appropriate, successful, and low-

   risk treatment.
   31
        Jacobs, One-paragraph letter, supra n.23.


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          125.    The scheme was tragically successful. Indeed, studies now show more than 85%

   of patients taking OxyContin at common doses are doing so for chronic non-cancer related

   pain.32

          126.    This false and misleading marketing strategy continued despite studies revealing

   that up to 56% of patients receiving long-term prescription opioid painkillers for chronic back

   pain progress to addictive opioid use, including patients with no prior history of addiction.33

          127.    Thus, based on false and incomplete evidence, the Manufacturer Defendants

   expanded their market exponentially from patients with end-stage cancer and acute pain, an

   obviously limited customer base, to anyone suffering from “chronic pain,” which by some

   accounts includes approximately 100 million Americans – nearly one-third of the country’s

   population. 34 The treatment of chronic pain includes patients whose general health is good

   enough to refill prescriptions month after month, year after year.

          128.    The promotion, distribution (without reporting suspicious sales) and rampant sale

   of opioids for such treatment has made defendants billions of dollars. It has also led to the

   opioid addiction and overdose crisis in the County and throughout the Country.




   32
      Harriet Ryan, et al., “OxyContin goes global – ‘We’re only just getting started’”, L.A. Times
   (December 18, 2016), http://www.latimes.com/projects/la-me-oxycontin-part3/ (hereinafter
   “Ryan, OxyContin goes global”).
   33
       Lembke (2016), supra n.26, at 22 (citing Martell, et al., Systematic review: opioid treatment
   for chronic back pain: prevalence, efficacy and association with addiction, 146(2) Ann. Intern.
   Med. 116-27 (2007).
   34
       AAPM Facts and Figures on Pain, The American Academy of Pain Medicine,
   http://www.painmed.org/patientcenter/facts_on_pain.aspx#refer (last visited February 20, 2018).


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                   2.      The Fraudulent Sales Practices

           129.    As set forth below, the Manufacturer Defendants employed a variety of strategies

   both to normalize the use of opioids for chronic long-term pain and to misrepresent the very

   significant risk of abuse, addiction, overdose, and death.

                           a.      The Manufacturer Defendants Funded Front
                                   Organizations that Published and Disseminated False
                                   and Misleading Marketing Materials

           130.    Defendants sponsored purportedly neutral medical boards and foundations that

   educated doctors and set guidelines for the use of opioids in medical treatment in order to

   promote the liberal prescribing of opioids for chronic pain. The following organizations, funded

   by the Manufacturer Defendants, advised doctors that liberal prescribing of opioids was both safe

   and effective. In truth, it was neither safe, nor effective.

           131.    Federation of State Medical Boards: The Federation of State Medical Boards

   (“FSMB”) is a trade group representing the 70 medical and osteopathic boards in the United

   States. The FSMB develops guidelines that serve as the basis for model policies with the stated

   goal of improving medical practice. Defendants Purdue, Cephalon and Endo have provided

   substantial funding to the FSMB.

           132.    In 2007, the FSMB printed and distributed a physician’s guide on the use of

   opioids to treat chronic pain titled “Responsible Opioid Prescribing” by Dr. Scott M. Fishman

   (“Fishman”). After the guide was adopted as a model policy, the FSMB reportedly asked Purdue

   for $100,000 to help pay for printing and distribution. FSMB disseminated the guide to 700,000

   practicing doctors.




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          133.    The guide’s clear purpose is to deceive prescribers regarding the purported under-

   treatment of pain and falsely assure them that opioid therapy is an appropriate treatment for

   chronic, non-cancer pain:

                 Pain management is integral to good medical practice and for all patients;

                 Opioid therapy to relieve pain and improve function is a legitimate
                  medical practice for acute and chronic pain of both cancer and non-
                  cancer origins;

                 Patients should not be denied opioid medications except in light of clear
                  evidence that such medications are harmful to the patient.

                                            *      *      *

                  Four key factors contribute to the ongoing problem of under-treated
          pain:

                  1.      Lack of knowledge of medical standards, current research, and
                  clinical guidelines for appropriate pain treatment;

                  2.      The perception that prescribing adequate amounts of opioids will
                  result in unnecessary scrutiny by regulatory authorities;

                  3.      Misunderstanding of addiction and dependence; and

                  4.      Lack of understanding of regulatory policies and processes.

          134.    The guide also purports to offer “professional guidelines” that will “easily and

   efficiently” allow physicians to manage that risk and “minimize the potential for abuse.” Indeed,

   it states that even for those patients assessed to have risk of substance abuse, “it does not mean

   that opioid use will become problematic or that opioids are contraindicated,” just that physicians

   should use additional care in prescribing.

          135.    The guide further warns physicians to “[b]e aware of the distinction between

   pseudoaddiction and addiction” and teaches that behaviors such as “[r]equesting [drugs] by

   name,” “[d]emanding or manipulative behavior,” “[o]btaining opioid drugs from more than one

   physician” and “[h]oarding opioids,” these are just signs of “pseudoaddiction.”

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           136.   It defines “Physical Dependence” as an acceptable result of opioid therapy not to

   be equated with addiction and states that while “[i]t may be tempting to assume that patients with

   chronic pain and a history of recreational drug use who are not adherent to a treatment regimen

   are abusing medications,” there could be other acceptable reasons for non-adherence.

           137.   The guide, which became the seminal authority on opioid prescribing for the

   medical profession, dramatically overstated the safety and efficacy of opioids and understated

   the risk of opioid addiction.

           138.   This heightened focus on the under-treatment of pain was a concept designed by

   the Manufacturer Defendants to sell opioids. The FSMB actually issued a report calling on

   medical boards to punish doctors for inadequately treating pain. 35 Among the drafters of this

   policy was Dr. J. David Haddox (“Haddox”).

           139.   Haddox coined the term “pseudoaddiction,” which wholly lacked scientific

   evidence but quickly became a common way for the Manufacturer Defendants and their allies to

   promote the use of opioids even to patients displaying addiction symptoms.

           140.   Haddox later became a Purdue Vice President. 36         At a 2003 conference at

   Columbia University he said: “If I gave you a stalk of celery and you ate that, it would be

   healthy. But if you put it in a blender and tried to shoot it into your veins, it would not be

   good.” 37



   35
      Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J.,
   Dec. 17, 2012, at A1.
   36
       Gounder, Who is Responsible for the Pail-Pill Epidemic?, The New Yorker (Nov. 8, 2013)
   (hereinafter, Who is Responsible).
   37
        Keefe, Empire of Pain, supra n.3.


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           141.     In 2012 and again in 2017, the guides and the sources of their funding became the

   subject of a Senate investigation.

           142.     On June 8, 2012, the FSMB submitted a letter to the U.S. Senate Committee on

   Finance (“Senate Finance Committee”) concerning its investigation into the abuse and misuse of

   opioids. 38    While the letter acknowledged the escalation of drug abuse and related deaths

   resulting from prescription painkillers, the FSMB continued to focus on the “serious and related

   problem” that “[m]illions of Americans suffer from debilitating pain – a condition that, for some,

   can be relieved through the use of opioids.” Among other things, the letter stated, “Studies have

   concluded that both acute pain and chronic pain are often under-treated in the United States,

   creating serious repercussions that include the loss of productivity and quality of life.” The letter

   cited no such studies.      The letter also confirmed that the FSMB’s “Responsible Opioid

   Prescribing: A Physician’s Guide” has been distributed in each of the 50 states and the District of

   Columbia.

           143.     In addition, the FSMB letter disclosed payments the FSMB received from

   organizations that develop, manufacture, produce, market or promote the use of opioid-based

   drugs from 1997 through the present, including in the payments received are the following

   payments from Defendants:




   38
      June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus
   and Charles Grassley.


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                      Company                Fiscal Year                 Amount
                     Purdue       2001                                 $38,324.56
                                  2002                                 $10,000.00
                                  2003                                 $85,180.50
                                  2004                                 $87,895.00
                                  2005                                 $244,000.00
                                  2006                                 $207,000.00
                                  2007                                 $50,000.00
                                  2008                                 $100,000.00
                                  Total Purdue Payments                $822,400.06
                     Endo         2007                                 $40,000.00
                                  2008                                 $100,000.00
                                  2009                                 $100,000.00
                                  2011                                 $125,000.00
                                  2012                                 $46,620.00
                                  Total Endo Payments                  $371,620.00
                     Cephalon     2007                                 $30,000.00
                                  2008                                 $100,000.00
                                  2011                                 $50,000.00
                                  Total Cephalon Payments              $180,000.00
                     Mallinckrodt 2011                                 $100,000.00
                                  Total Mallinckrodt Payments          $100,000.00

          144.   The letter also disclosed payments of $40,000 by Endo and $50,000 by Purdue to

   directly fund the production of “Responsible Opioid Prescribing.”

          145.   The Joint Commission: The Joint Commission is an organization that establishes

   standards for treatment and accredits healthcare organizations in the United States.         The

   Manufacturer Defendants, including Purdue, contributed misleading and groundless teaching

   materials and videos to the Joint Commission, which emphasized what Big Pharma coined the

   “under-treatment of pain,” referenced pain as the “fifth vital sign” (the first and only

   unmeasurable/subjective vital sign) that must be monitored and treated, and encouraged the use

   of prescription opioids for chronic pain while minimizing the danger of addiction. It also called

   doctors’ concerns about addiction “inaccurate and exaggerated.”




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           146.   In 2000, the Joint Commission printed a book for purchase by doctors as part of

   required continuing education seminars that cited studies claiming “there is no evidence that

   addiction is a significant issue when persons are given opioids for pain control.” The book

   was sponsored by Purdue.

           147.   In 2001, the Joint Commission and the National Pharmaceutical Council (founded

   in 1953 and supported by the nation’s major pharmaceutical companies 39) collaborated to issue a

   101-page monograph titled “Pain: Current understanding of assessment, management, and

   treatments.”   The monograph states falsely that beliefs about opioids being addictive are

   “erroneous”:

           Societal issues that contribute to the undertreatment of pain include drug abuse
           programs and erroneous beliefs about tolerance, physical dependence, and
           addiction (see I.E.5). For example, some clinicians incorrectly assume that
           exposure to an addictive drug usually results in addiction.

                                               *            *   *

           b.     Etiology, issues, and concerns

                   Many medications produce tolerance and physical dependence, and some
           (e.g., opioids, sedatives, stimulants, anxiolytics, some muscle relaxants) may
           cause addiction in vulnerable individuals. Most experts agree that patients who
           undergo prolonged opioid therapy usually develop physical dependence but do
           not develop addictive disorders. In general, patients in pain do not become
           addicted to opioids. Although the actual risk of addiction is unknown, it is
           thought to be quite low. A recent study of opioid analgesic use revealed “low and
           stable” abuse of opioids between 1990 and 1996 despite significant increases in
           opioids prescribed. . . .

                  Fear of causing addiction (i.e., iatrogenic addiction), particularly with
           opioid use, is a major barrier to appropriate pain management. This fear
           sometimes reflects a lack of understanding of the risk of addiction with
           therapeutic drug use. Although studies suggest that the risk of iatrogenic



   39
        Currently funded by Johnson & Johnson, Purdue and Teva, among others.


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            addiction is quite low (e.g., Perry and Heidrich, Zenz et al.), surveys indicate that
            clinicians often overestimate this risk.40

            148.     Additionally, the monograph recommends that “[p]ain . . . is assessed in all

   patients” and suggests that long-acting (i.e., extended release) pain medications are superior and

   should be used whenever possible:

            Long-acting and sustained-release opioids are useful for patients with
            continuous pain, as they lessen the severity of end-of-dose pain and often allow
            the patient to sleep through the night.

                                                 *            *   *

                    Administer opioids primarily via oral or transdermal routes, using long-
                     acting medications when possible. 41

            149.     As alleged above, however, such medications do not last as long as promised,

   and, contrary to the monograph’s claims, addiction risk is very high.

            150.     The Manufacturer Defendants’ infiltration and influence over the Joint

   Commission’s standards and literature provided doctors with misleading information under the

   guise of objectivity.

            151.     Further, as more and more doctors migrated from private practice to integrated

   healthcare systems in the 2000s, treatment options were dictated by, among other things, the

   Joint Commission’s guidelines. 42 Consistent with the guidelines, doctors who left pain untreated

   were viewed as demonstrating poor clinical skills and/or being morally compromised. 43

   40
      Pain: Current Understanding of Assessment, Management, and Treatments 16-17 (Dec.
   2001), http://www.npcnow.org/system/files/research/download/Pain-Current-Understanding-of-
   Assessment-Management-and-Treatments.pdf (footnotes and citations omitted).
   41
        Id. at 38, 68 (Table 38).
   42
        Lembke (2016), supra n.26, at 119.
   43
        Id. at 42.


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          152.    The U.S. General Accounting Office’s December 2003 Report to Congressional

   Requesters confirms that Purdue funded the “pain management educational courses” that taught

   the new standard of care for treating pain.        It further revealed that Purdue disseminated

   educational materials on pain management, which “‘facilitated [Purdue’s] access to hospitals to

   promote OxyContin.’” 44

          153.    American Pain Foundation: The American Pain Foundation (“APF”),

   headquartered in Baltimore, Maryland, describes itself as the nation’s largest organization for

   pain patients. 45 While APF holds itself out as an independent patient advocacy organization, in

   reality it received 90% of its funding in 2010 from the drug and medical-device industry,

   including from defendants Purdue, Endo, Janssen and Cephalon.

          154.    In fact, it received more than $10 million in funding from opioid manufacturers

   from 2007 to 2012, when it shut down days after the Senate Finance Committee launched an

   investigation of APF’s promotion of prescription opioids.

          155.    The APF’s guides for patients, journalists, and policymakers downplayed the risk

   of addiction and greatly exaggerated the benefits associated with opioid painkillers. 46

          156.    For example, in 2001, APF published “Treatment Options: A Guide for People

   Living with Pain.” 47 The guide, which was produced due to support from companies including

   44
      Supra, Who Is Responsible, supra n.35; U.S. General Accounting Office, GAO-04-110,
   Prescription Drugs, OxyContin Abuse and Diversion and Efforts to Address the Problem (Dec.
   2003), http://www.gao.gov/new.items/d04110.pdf).
   45
       The APF was the focus of a December investigation by ProPublica in the Washington Post
   that detailed its close ties to drugmakers.
   46
       Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators
   Launch Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
   https://www.propublica.org/article/senate-panel-investigates-drug-company-ties-to-pain-groups
   (hereinafter “Ornstein, American Pain Foundation”).


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   defendants Cephalon and Purdue, misrepresented the risks associated with opioid use. Among

   other things, the guide:

              •      lamented that opioids were sometimes called narcotics because “[c]alling opioid
                     analgesics ‘narcotics’ reinforces myths and misunderstandings as it places
                     emphasis on their potential abuse rather than on the importance of their use as
                     pain medicines”; 48

              •      stated that “[o]pioids are an essential option for treating moderate to severe pain
                     associated with surgery or trauma”; 49 and

              •      opined that “[r]estricting access to the most effective medications for treating pain
                     [opioids] is not the solution to drug abuse or addiction.” 50

              157.   Portenoy is quoted in the guide as saying “[t]his is a very good resource for the

   pain patient,” and Fishman, who is quoted as saying, “[w]hat a great job! Finally, a pill

   consumer resource created for patients with pain. A ‘must have’ for every physician’s waiting

   room.” 51

              158.   In 2003, APF published a newsletter titled “Best of . . . The Pain Community

   News” that purported to clarify any confusion over addiction and opioids and emphasized the

   “tragic consequence of leaving many people with severe pain under-treated because they – or

   their doctors – fear that opioids will cause addiction.”

              159.   In 2009, Endo sponsored APF’s publication and distribution of “Exit Wounds: A

   Survival Guide to Pain Management for Returning Veterans & Their Families” (“Exit Wounds”),

   47
       Treatment Options: A Guide for People Living with Pain, American Pain Foundation,
   https://assets.documentcloud.org/documents/277605/apf-treatment options.pdf.
   48
        Id. at 11.
   49
        Id.
   50
        Id. at 15.
   51
        Id. at 76.


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   a book described as “the inspirational story of how one courageous veteran, with the aid of his

   family, recovered and thrived despite near death, traumatic brain injury, and the loss of a limb.”

   It also purported to “offer[] veterans and their families comprehensive and authoritative

   information on . . . treatment options, and strategies for self-advocating for optimal pain care and

   medical resources inside and outside the VA system.” 52

          160.    Among other false statements, Exit Wounds reported: “Long experience with

   opioids shows that people who are not predisposed to addiction are very unlikely to become

   addicted to opioid pain medications.”

          161.    Endo, through APF, thus knowingly distributed false information to veterans with

   the intention that they would “self-advocat[e]” for opioids.       This publication also omits a

   discussion of the risks associated with opioid use.

          162.    In 2009, APF played a central role in a first-of-its-kind web-based series called

   “Let’s Talk Pain,” hosted by veteran TV journalist Carol Martin. The series brought together

   healthcare providers and “people with pain to discuss a host of issues from managing health care

   for pain to exploring integrative treatment approaches to addressing the psychological aspects

   associated with pain.” The “Let’s Talk Pain” talk show is still available online. In the very first

   episode of this talk show, the following exchange took place:

                  [Teresa Shaffer (APF Action Network Leader):] As a person who has
          been living with pain for over 20 years, opioids are a big part of my pain
          treatment. And I have been hearing such negative things about opioids and the
          risk factors of opioids. Could you talk with me a little bit about that?

                 [Dr. Al Anderson (AAPM Board of Directors):] The general belief
          system in the public is that the opioids are a bad thing to be giving a patient.
          Unfortunately, it’s also prevalent in the medical profession, so patients have

   52
        Presss   Rehttp://www.vmwusa.org/index.php/component/content/article/62-vmwnow/504-
   exitwounds


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          difficulty finding a doctor when they are suffering from pain for a long period of
          time, especially moderate to severe pain. And that’s the patients that we really
          need to use the opioids methods of treatment, because they are the ones who need
          to have some help with the function and they’re the ones that need to be
          controlled enough so that they can increase their quality of life. 53

          163.      In reality, there is little scientific evidence to support the contention that opioids

   taken long-term improve function or quality of life for chronic pain patients. 54 To the contrary,

   there is ample evidence that opioids impose significant risks and adverse outcomes on long-term
                                                55
   users and may actually reduce function.           As a recent article in the New England Journal of

   Medicine concluded: “Although opioid analgesics rapidly relieve many types of acute pain and

   improve function, the benefits of opioids when prescribed for chronic pain are much more

   questionable.”




   53
       Episode 1: Safe Use of Opioids (PainSAFE), Let’s Talk Pain (Sept. 28, 2010),
   https://www.youtube.com/watch?v=zeAIvAMRgsk.
   54
       Lembke (2016), supra n.26, at 59 (citing Agency for Healthcare Research and Quality (US):
   The Effectiveness and Risks of Long-Term Opioid Treatment of Chronic Pain, Evid. Rep./Tech.
   Assess., No. 218 (2014), https://ahrq-ehc-application.s3.amazonaws.com/media/pdf/chronic-
   pain-opioid-treatment-research.pdf).
   55
      Discussing the “March 2016 Guideline for Prescribing Opioids for Chronic Pain” by the
   Centers for Disease Control (“CDC”), doctors wrote:

          Most placebo-controlled, randomized trials of opioids have lasted 6 weeks or less,
          and we are aware of no study that has compared opioid therapy with other
          treatments in terms of long-term (more than 1 year) outcomes related to pain,
          function, or quality of life. The few randomized trials to evaluate opioid efficacy
          for longer than 6 weeks had consistently poor results. In fact, several studies have
          showed that use of opioids for chronic pain may actually worsen pain and
          functioning, possibly by potentiating pain perception.

   Thomas Frieden & Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing
   Guideline,    374     New        Eng.    J.  Med.     1501-04     (Apr.   21,      2016),
   http://www.nejm.org/doi/full/10.1056/ NEJMp1515917?af=R&rss=currentIssue&#t= article.


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          164.    The APF also developed the National Initiative on Pain Control (“NIPC”), which

   ran a facially unaffiliated website called www.painknowledge.org. NIPC promoted itself as an

   education initiative and promoted its expert leadership team, including purported experts in the

   pain management field. The website painknowledge.org promised that, on opioids, “your level

   of function should improve; you may find you are now able to participate in activities of daily

   living, such as work and hobbies, that you were not able to enjoy when your pain was worse.”

   Elsewhere, the website touted improved quality of life (as well as “improved function”) as

   benefits of opioid therapy. In a brochure available on painknowledge.org titled “Pain: Opioid

   Facts,” the NIPC misled that “people who have no history of drug abuse, including tobacco, and

   use their opioid medication as directed will probably not become addicted” and even refused to

   rule out the use of opioid pain relievers for patients who have a history of addiction to opioids. 56

          165.    In or around 2011, the APF published the “Policymaker’s Guide,” sponsored by

   Purdue, which dispelled the notion that “strong pain medication leads to addiction” by

   characterizing it as a “common misconception[]”:

          Many people living with pain, and even some health care practitioners, falsely
          believe that opioid pain medicines are universally addictive. As with any
          medication, there are risks, but these risks can be managed when these medicines
          are properly prescribed and taken as directed. For more information about safety
          issues related to opioids and other pain therapies, visit http://www.painsafe.org. 57

          166.    The guide describes “pain in America” as “an evolving public health crisis” and

   characterizes concerns about opioid addiction as misconceptions: “Unfortunately, too many

   56
       Pain: Opioid Facts, Pain Knowledge, https://www.peacehealthlabs.org/lab-
   services/Laboratory%20Services%20Documents/PtProtect/Opioid%20Facts.pdf (last visited
   February 20, 2018).
   57
       A Policymaker’s Guide to Understanding Pain & Its Management, American Pain
   Foundation at 5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf
   (last visited February 20, 2018).


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   Americans are not getting the pain care they need and deserve. Some common reasons for

   difficulty in obtaining adequate care include: . . . Misconceptions about opioid addiction.” 58 It

   even characterizes as a “myth” that “[c]hildren can easily become addicted to pain

   medications.” 59     The guide further asserts that “multiple clinical studies” have shown that

   opioids are effective in improving daily function, psychological health and health-related quality

   of life for chronic pain patients, which was not the case. 60

            167.     In December 2011, the Washington Post reported on ProPublica’s investigation of

   the APF, which detailed APF’s close ties to drugmakers:

            [T]he pills continue to have an influential champion in the American Pain
            Foundation, which describes itself as the nation’s largest advocacy group for pain
            patients. Its message: The risk of addiction is overblown, and the drugs are
            underused.

                   What the nonprofit organization doesn’t highlight is the money behind
            that message.

                    The foundation collected nearly 90 percent of its $5 million in funding
            last year from the drug and medical-device industry – and closely mirrors its
            positions, an examination by ProPublica found. 61


   58
        Id. at 6.
   59
        Id. at 40.
   60
      The “Policymaker’s Guide” cites for support “Opioids for chronic noncancer pain: a meta-
   analysis of effectiveness and side effects,” a review published in 2006 in the Canadian Medical
   Association Journal. Id. at 34. However, the review concludes: “For functional outcomes, the
   other analgesics were significantly more effective than were opioids.” Andrea D. Furlan, et al.,
   Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects, 174(11)
   Canadian Med. Assoc. J. 1589-94 (May 23, 2006), https://www.ncbi.nlm.nih.gov/
   pmc/articles/PMC1459894/. The Purdue-sponsored guide failed to disclose both this conclusion
   and the fact that the review analyzed studies that lasted, on average, five weeks and therefore
   could not support the long-term use of opioids.
   61
       Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller
   drugs,       probe       finds,      Wash.          Post        (Dec.       23,       2011),
   https://www.washingtonpost.com/national/health-science/patient-advocacy-group-funded-by-

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          168.   American Academy of Pain Medicine and American Pain Society: The

   Manufacturer Defendants, including at least Endo, Janssen and Purdue, have contributed funding

   to the AAPM and the APS for decades.

          169.   In 1997, the AAPM issued a “consensus” statement that endorsed opioids to treat

   chronic pain and claimed that the risk that patients would become addicted to opioids was low.

   The chairman of the committee that issued the statement, Haddox, was, at the time, a paid

   speaker for Purdue. Haddox was later hired as Purdue’s vice president for health policy. The

   consensus statement, which also formed the foundation of the 1998 guidelines, was published on

   the AAPM’s website. AAPM’s corporate council includes Purdue, Depomed, Teva and other

   pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Fishman (2005),

   Dr. Perry G. Fine (“Fine”) (2011) and Lynn R. Webster (“Webster”) (2013), all of whose

   connections to the opioid manufacturers are well-documented.

          170.   At or about the same time, the APS introduced the “pain as the 5th vital sign”

   campaign.

          171.   AAPM and APS issued guidelines in 2009 (“2009 Guidelines”) that continued to

   recommend the use of opioids to treat chronic pain. Fourteen of the 21 panel members who

   drafted the 2009 Guidelines received funding from defendants Janssen, Cephalon, Endo, or

   Purdue.

          172.   The 2009 Guidelines falsely promoted opioids as safe and effective for treating

   chronic pain and concluded that the risk of addiction was manageable for patients regardless of




   success-of-painkiller-drugs-probe-finds/2011/12/20/gIQAgvczDP_story.html?utm_term=.
   22049984c606.


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   past abuse histories. 62   The 2009 Guidelines have been a particularly effective channel of

   deception and have influenced not only treating physicians but also the body of scientific

   evidence on opioids; they were reprinted in the journal Pain, have been cited hundreds of times

   in academic literature and remain available online. The Manufacturer Defendants widely cited

   and promoted the 2009 Guidelines without disclosing the lack of evidence to support their

   conclusions.

          173.    Alliance for Patient Access (“APA”): Founded in 2006, APA is a self-described

   patient advocacy and health professional organization that styles itself as “a national network of

   physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

   care.” 63 It is run by Woodberry Associates, a lobbying firm that was also established in 2006.64

   As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The list

   includes defendants Endo, Johnson & Johnson, Mallinckrodt, Purdue, and Cephalon.

          174.    APA’s board members have also directly received substantial funding from

   pharmaceutical companies. 65 For instance, board vice president Srinivas Nalamachu, M.D., who


   62
      Roger Chou, et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic
   Non- Cancer Pain, 10(2) J. Pain 113 (Feb. 2009), http://www.jpain.org/article/S1526-
   5900(08)00831-6/pdf (hereinafter “Chou, Clinical Guidelines”).
   63
       THE ALLIANCE FOR PATIENT ACCESS, About AfPA, http://allianceforpatientaccess.org/about-
   afpa/#membership (last visited February 20, 2018). References herein to APA include two
   affiliated groups: the Global Alliance for Patient Access and the Institute for Patient Access.
   64
       Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and politicians
   to push Big Pharma’s agenda, Health News Review (Oct. 2, 2017),
   https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
   politicians-push-big-pharmas-agenda/.
   65
       All information concerning pharmaceutical company payments to doctors in this paragraph is
   from        ProPublica’s       Dollars       for  Docs     database,        available       at
   https://projects.propublica.org/docdollars/.


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   practices in Kansas, received more than $800,000 from 2013 through 2015 from pharmaceutical

   companies—nearly all of it from manufacturers of opioids or drugs that treat opioids’ side-

   effects, including from defendants Endo, Insys, Purdue, and Cephalon. Dr. Nalamachu’s clinic

   was raided by FBI agents in connection with an investigation of Insys and its payment of

   kickbacks to physicians who prescribed Subsys. 66 Other board members include Dr. Robert A.

   Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

   pharmaceutical companies, including payments by defendants Cephalon and Mallinckrodt; Dr.

   Jack D. Schim from California, who received more than $240,000 between 2013 and 2015 from

   pharmaceutical companies including defendants Endo, Mallinckrodt, and Cephalon; Dr. Howard

   Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from pharmaceutical

   companies including defendants Endo, Purdue, Insys, Mallinckrodt, and Cephalon; and Dr.

   Robin K. Dore from California, who received $700,000 between 2013 and 2015 from

   pharmaceutical companies.

          175.   Among its activities, APA issued a white paper titled “Prescription Pain

   Medication: Preserving Patient Access While Curbing Abuse.” 67 Among other things, the white

   paper criticizes prescription monitoring programs, purporting to express concern that they are

   burdensome, not user friendly, and of questionable efficacy:

          Prescription monitoring programs that are difficult to use and cumbersome can
          place substantial burdens on physicians and their staff, ultimately leading many to
          stop prescribing pain medications altogether. This forces patients to seek pain


   66
       Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, Kansas City Star
   (July 20, 2017), http://www.kansascity.com/news/business/health-care/article162569383.html.
   67
       Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for
   Patient Access (Oct. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-
   content/uploads/2013/12/PT_White-Paper_Finala.pdf.


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          relief elsewhere, which may be much less convenient and familiar and may even
          be dangerous or illegal.

                                             *      *      *

          In some states, physicians who fail to consult prescription monitoring databases
          before prescribing pain medications for their patients are subject to fines; those
          who repeatedly fail to consult the databases face loss of their professional
          licensure. Such penalties seem excessive and may inadvertently target older
          physicians in rural areas who may not be facile with computers and may not have
          the requisite office staff. Moreover, threatening and fining physicians in an
          attempt to induce compliance with prescription monitoring programs represents a
          system based on punishment as opposed to incentives.

                                             *      *      *

          . . . . We cannot merely assume that these programs will reduce prescription pain
          medication use and abuse.

          176.    The white paper also purports to express concern about policies that have been

   enacted in response to the prevalence of pill mills:

          Although well intentioned, many of the policies designed to address this problem
          have made it difficult for legitimate pain management centers to operate. For
          instance, in some states, [pain management centers] must be owned by physicians
          or professional corporations, must have a Board certified medical director, may
          need to pay for annual inspections, and are subject to increased record keeping
          and reporting requirements. . . . [I]t is not even certain that the regulations are
          helping prevent abuses.

          177.    In addition, in an echo of earlier industry efforts to push back against what they

   termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

   pain medication:

          Both pain patients and physicians can face negative perceptions and outright
          stigma. When patients with chronic pain can’t get their prescriptions for pain
          medication filled at a pharmacy, they may feel like they are doing something
          wrong – or even criminal. . . . Physicians can face similar stigma from peers.
          Physicians in non-pain specialty areas often look down on those who specialize in
          pain management – a situation fueled by the numerous regulations and fines that
          surround prescription pain medications.




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              178.   In conclusion, the white paper states that “Prescription pain medications, and

   specifically the opioids, can provide substantial relief for people who are recovering from

   surgery, afflicted by chronic painful diseases, or experiencing pain associated with other

   conditions that does not adequately respond to over-the-counter drugs.”

                            b.     The Manufacturer Defendants Paid Doctors and Key
                                   Opinion Leaders, and Sponsored Speakers’ Bureaus to
                                   Disseminate False and Misleading Messaging

              179.   The Manufacturer Defendants have paid millions of dollars to physicians to

   promote aggressive prescribing of opioids for chronic pain. Recently released federal data shows

   that the Manufacturer Defendants increased such payments to physicians who treat chronic pain

   even while the opioid crisis accelerated and overdose deaths from prescription opioids and

   related illicit drugs, such as heroin, soared to record rates. 68 These payments come in the form of

   consulting and speaking fees, free food and beverages, discount coupons for drugs and other

   gifts.     The total payments from the Manufacturer Defendants to doctors related to opioids

   doubled from 2014 to 2015.

              180.   According to experts, research shows even small amounts of money can have

   large effects on doctors’ prescribing practices. 69 Physicians who are high prescribers are more

   likely to be invited to participate in defendants’ speakers’ bureaus.       According to a study

   published by the U.S. National Institutes of Health, “[i]n the speakers’ bureau system, physicians




   68
      Joe Lawlor, Even amid crisis, opioid makers plied doctors with perks, Portland Press Herald
   (Dec. 25, 2016), http://www.pressherald.com/2016/12/25/even-amid-crisis-opioid-makers-plied-
   doctors-with-perks/.
   69
        Id.

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   are recruited and trained by pharmaceutical, biotechnology, and medical device companies to

   deliver information about products to other physicians, in exchange for a fee.” 70

          181.    The use of speakers’ bureaus has led to substantial ethical concerns within the

   medical field. According to a 2013 publication by the Institute on Medicine as a Profession,

   speakers’ bureaus are ethically compromised because they often present information as objective

   when it is heavily biased toward the interests of the industry sponsor and, in fact, may lead to the

   dissemination of false or biased information. These findings are substantiated by citations to

   research in the Journal of the American Medical Association, The Journal of Law, Medicine &

   Ethics and Academic Psychiatry.

          The Problem:

                 Pharmaceutical companies often recruit physicians to perform speeches
          or presentations for the purpose of marketing a specific drug. In 2010, 8.6% of
          physicians reported having received payments for participating in speakers’
          bureaus. These speakers’ bureaus leverage the credibility of physicians in order
          to promote the use of pharmaceutical products. The physicians are generally
          trained to present a certain message, or are provided with pre-produced slides.
          The audience may assume that these presentations are objective, when in fact
          they are heavily biased towards the interests of the industry sponsor.

                  Speakers’ bureaus may lead to the dissemination of false or biased
          information. Exposure to industry-sponsored speaking events is associated with
          decreased quality of prescribing. Additionally, the compensation provided for
          these engagements may influence the attitudes or judgment of the presenter. 71

          182.    For example, Fishman is a physician whose ties to the opioid drug industry are

   legion. He has served as an APF board member and as president of the AAPM, and has


   70
      Lynette Reid & Matthew Herder, The Speakers’ bureau system: a form of peer selling, 7(2)
   Open Med. e31-e39 (Apr. 2, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3863750/.
   71
       Speakers’ Bureaus: Best Practices for Academic Medical Centers, IMAP (Oct. 10, 2013),
   http://imapny.org/wp-content/themes/imapny/File%20Library/            Best%20Practice%20
   toolkits/Best-Practices_Speakers--bureaus.pdf.


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   participated yearly in numerous CME activities for which he received “market rate honoraria.”

   As discussed above, he has authored publications, including the seminal guides on opioid

   prescribing, which were funded by the Manufacturer Defendants. He has also worked to oppose

   legislation requiring doctors and others to consult pain specialists before prescribing high doses

   of opioids to non-cancer patients. He has himself acknowledged his failure to disclose all

   potential conflicts of interest in a letter in the Journal of the American Medical Association titled

   “Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion.” 72

              183.   Similarly, Fine’s ties to the Manufacturer Defendants have been well

   documented. 73 He has authored articles and testified in court cases and before state and federal

   committees, and he, too, has served as president of the AAPM and argued against legislation

   restricting high-dose opioid prescription for non-cancer patients. Multiple videos feature Fine

   delivering educational talks about prescription opioids. He has also acknowledged having failed

   to disclose numerous conflicts of interest.

              184.   Fishman and Fine are only two of the many physicians whom the Manufacturer

   Defendants paid to present false or biased information on the use of opioids for chronic pain.

                           c.     Senate Investigations of the Manufacturer Defendants

              185.   In May 2012, the Chair and Ranking Member of the Senate Finance Committee,

   Max Baucus (D-MT) and Chuck E. Grassley (R-IA), launched an investigation into makers of

   narcotic painkillers and groups that champion them. The investigation was triggered by “an

   72
       Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse
   and Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in
   Pain Treatment Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 2:14 PM),
   https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry
   (hereinafter “Weber, Two Leaders in Pain”).
   73
        Id.


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   epidemic of accidental deaths and addiction resulting from the increased sale and use of powerful

   narcotic painkillers,” including popular brand names like OxyContin, Vicodin and Opana.

          186.   The Senate Finance Committee sent letters to Purdue, Endo and Johnson &

   Johnson, as well as five groups that support pain patients, physicians or research, including the

   APF, AAPM, APS, University of Wisconsin Pain & Policy Studies Group and the Center for

   Practical Bioethics. Letters also went to the FSMB and the Joint Commission.

          187.   The Senators’ letter to APF, the Senators addressed the magnitude of the

   epidemic and asserted that mounting evidence supports that the pharmaceutical companies may

   be responsible:

                  It is clear that the United States is suffering from an epidemic of
          accidental deaths and addiction resulting from the increased sale and use of
          powerful narcotic painkillers such as Oxycontin (oxycodone), Vicodin
          (hydrocodone), Opana (oxymorphone). According to CDC data, “more than
          40% (14,800)” of the “36,500 drug poisoning deaths in 2008” were related to
          opioid-based prescription painkillers. Deaths from these drugs rose more rapidly,
          “from about 4,000 to 14,800” between 1999 and 2008, than any other class of
          drugs, [killing] more people than heroin and cocaine combined. More people in
          the United States now die from drugs than car accidents as a result of this new
          epidemic. Additionally, the CDC reports that improper “use of prescription
          painkillers costs health insurers up to $72.5 billion annually in direct health
          care costs.”

                                               *            *   *

                  Concurrent with the growing epidemic, the New York Times reports that,
          based on federal data, “over the last decade, the number of prescriptions for the
          strongest opioids has increased nearly fourfold, with only limited evidence of
          their long-term effectiveness or risks” while “[d]ata suggest that hundreds of
          thousands of patients nationwide may be on potentially dangerous doses.”

                There is growing evidence pharmaceutical companies that manufacture
          and market opioids may be responsible, at least in part, for this epidemic by
          promoting misleading information about the drugs’ safety and effectiveness.
          Recent investigative reporting from the Milwaukee Journal Sentinel/MedPage
          Today and ProPublica revealed extensive ties between companies that
          manufacture and market opioids and non-profit organizations such as the
          American Pain Foundation, the American Academy of Pain Medicine, the

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           Federation of State Medical Boards, and University of Wisconsin Pain and Policy
           Study Group, and the Joint Commission.

                   In a ProPublica story published in the Washington Post, the watchdog
           organization examined the American Pain Foundation, a “health advocacy”
           organization that received “nearly 90 percent of its $5 million funding from the
           drug and medical device industry.” ProPublica wrote that its review of the
           American Pain Foundation’s “guides for patients, journalists, and policymakers
           play down the risks associated with opioids and exaggerate their benefits. Some
           of the foundation’s materials on the drugs include statements that are misleading
           or based on scant or disputed research.”

                   According to the Milwaukee Journal Sentinel/MedPage Today, a
           “network of national organizations and researchers with financial connections
           to the makers of narcotic painkillers . . . helped create a body of dubious
           information” favoring opioids “that can be found in prescribing guidelines,
           patient literature, position statements, books and doctor education courses.”

                   Although it is critical that patients continue to have access to opioids to
           treat serious pain, pharmaceutical companies and health care organizations
           must distribute accurate and unbiased information about these drugs in order
           to prevent improper use and diversion to drug abusers.

           188.    The Senators demanded substantial discovery, including payment information

   from the companies to various groups, including the front organizations identified above, and to

   physicians, including Portenoy, Fishman and Fine, among others.           They asked about any

   influence the companies had on a 2004 pain guide for physicians that was distributed by the

   FSMB, on the APS’ guidelines and on the APF’s Military/Veterans Pain Initiative. Almost

   immediately upon the launch of the Senate investigation, the APF shut down “due to irreparable

   economic circumstances.” The opioid report resulting from this investigation has not been

   released publicly. 74




   74
      Paul D. Thacker, Senators Hatch and Wyden: Do your jobs and release the sealed opioids
   report, Stat News (June 27, 2016).


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          189.    On March 29, 2017, it was widely reported 75 that yet another Senate investigation

   had been launched:

                 Missouri Senator Claire McCaskill has launched an investigation into
          some of the country’s leading prescription drug manufacturers, demanding
          documents and records dating back the past five years which indicate just what
          the companies knew of the drugs’ risk for abuse as well as documents detailing
          marketing practices and sales presentations. Her office has sent letters to the
          heads of Purdue, Janssen/Johnson & Johnson, Insys, Mylan, and Depomed.

          190.    The above-referenced companies were reportedly targeted based on their role in

   manufacturing some of the opioid painkillers with the highest sales in 2015.

          191.    On September 6, 2017, Senator McCaskill’s report, “Fueling an Epidemic: Insys

   Therapeutics and the Systemic Manipulation of Prior Authorization” was published. The report

   finds that Insys manipulated the prior authorization process by misleading pharmacy benefit

   managers about the role of Insys in the prior authorization process and the presence of

   breakthrough cancer pain in potential Subsys patients. 76

          192.    On September 12, 2017, Senator McCaskill convened a Roundtable Discussion on

   Opioid Marketing. During the hearing, Senator McCaskill stated:

                  The opioid epidemic is the direct result of a calculated marketing and sales
          strategy developed in the 90’s, which delivered three simple messages to
          physicians. First, that chronic pain was severely undertreated in the United
          States. Second, that opioids were the best tool to address that pain. And third,
          that opioids could treat pain without risk of serious addiction. As it turns out,
          these messages were exaggerations at best and outright lies at worst.

                                                *            *   *


   75
       Nadia Kounang, Senator opens investigation into opioid manufacturers, CNN (Mar. 29,
   2017,     11:06     AM),   http://www.cnn.com/2017/03/28/health/senate-opioid-manufacturer-
   investigation/ index.html.
   76
      HSGAC Minority Staff Report, Insys Therapeutics and the Systemic Manipulation of Prior
   Authorization (2017).


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                   Our national opioid epidemic is complex, but one explanation for this
          crisis is simple, pure greed.

          193.    Professor Adriane Fugh-Berman (“Fugh-Berman”), Associate Professor at

   Georgetown University Medical Center and director of a program at Georgetown called Pharmed

   Out, which conducts research on and educates the public about inappropriate pharmaceutical

   company marketing, also testified during the hearing. She, too, placed the blame for the opioid

   crisis squarely at the feet of pharmaceutical companies:

                 Since the 1990’s, pharmaceutical companies have stealthily distorted the
          perceptions of consumers and healthcare providers about pain and opioids. Opioid
          manufacturers use drug representatives, physicians, consumer groups, medical
          groups, accreditation and licensing bodies, legislators, medical boards and the
          federal government to advance marketing goals to sell more opioids. This
          aggressive marketing pushes resulted in hundreds of thousands of deaths from the
          overprescribing of opioids. The U.S. is about – comprises about five percent of
          the world population, but we use about two-thirds of the world supply of opioids.

          194.    Fugh-Berman also answered why doctors were able to be convinced by

   pharmaceutical companies’ marketing efforts:

                 Why the physicians fall for this? Well, physicians are overworked,
          overwhelmed, buried in paperwork and they feel unappreciated. Drug
          respresentatives are cheerful. They’re charming. They provide both appreciation
          and information. Unfortunately, the information they provide is innately
          unreliable.

                  Pharmaceutical companies influence healthcare providers’ attitudes and
          their therapeutic choices through financial incentives that include research grants,
          educational grants, consulting fees, speaking fees, gifts and meals.

          195.    Fugh-Berman further described the false information provided by pharmaceutical

   companies and the industry creation of front organizations, including the APF, to pass industry-

   influenced regulations and policies:

                  Pharmaceutical companies convinced healthcare providers that they were
          opiophobic and that they were causing suffering to their patients by denying
          opioids to patients with back pain or arthritis. They persuaded prescribers that
          patients with pain were somehow immune to addiction. Even when addiction was

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          suspected, physicians were taught that it might not really be addiction, it might be
          pseudo-addiction, an invented (ph) condition that’s treated by increasing opioid
          dosages.

                 Industry created the American Pain Foundation co-opted other groups
          including medical organizations, and they change state laws to eliminate curbs on
          opioid prescribing. Between 2006 and 2015, pharmaceutical companies and the
          advocacy groups they control employ 1,350 lobbyists a year in legislative hubs.
          Industry-influenced regulations and policies ensure that hospitalized patients were
          and are berated paraded constantly about their level of pain and overmedicated
          with opioids for that pain. Even a week of opioids can lead a patient into addiction
          so many patients are discharged from hospitals already dependent on opioids.

          196.    In addition, Fugh-Berman pointed out that promotion of opioids remains ongoing

   despite increasing public concern about their use:

                  Promotion of opioids is not in the past. Between 2013 and 2015, one in 12
          physicians took out money from opioid manufacturers, a total of more than $46
          million. Industry-friendly messages that pharmaceutical companies are currently
          perpetuating reassure physicians that prescribing opioids is safe as long as
          patients do not have a history of substance abuse or mental illness.

          197.    Fugh-Berman concluded by stating: “It is a misperception to think that most

   opioid deaths are caused by misuse of opioids or overdoses. In fact, many deaths occur when

   people are using opioids in exactly the way they were prescribed. Misuse isn’t the problem; use

   is the problem.”

                  3.     Defendants’ Marketing and Sales Strategy Worked,
                         Resulting in Devastation.

          198.    The United States, including specifically Camden County, is experiencing an

   unprecedented opioid addiction and overdose epidemic, costing millions in treatment, services

   and public safety as well as lost productivity in the workforce, economic opportunity and tax

   revenue.




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              199.   By 2002, “[l]ifetime nonmedical use of OxyContin increased from 1.9 million to

   3.1 million people between 2002 and 2004, and in 2004 there were 615,000 new nonmedical

   users of OxyContin.” 77

              200.   The carnage wrought by the Manufacturer Defendants’ illegal scheme has been

   profound. The drug companies profited enormously as more and more people became addicted

   to opioids and died of overdoses.

              201.   For Purdue, sales grew from $48 million per year in 1996, to over $1 billion per

   year in 2000, to $3.1 billion per year ten years later. In 2011, pharmaceutical companies

   generated revenues of $11 billion from opioid sales alone.

              202.   By 2004, OxyContin had “become a leading drug of abuse in the United States.” 78

   The severity of the problem was first felt in states including Maine, West Virginia, eastern

   Kentucky, southwestern Virginia and Alabama, where, from 1998 through 2000, hydrocodone

   and oxycodone were being prescribed 2.5-5 times more often than the national average. By

   2000, these same areas had a prescription rate up to 5-6 times higher than the national average.

   These areas were also the first to suffer increased abuse and diversion, which became apparent

   by 1999 and 2000. Manufacturers then expanded the geographic market by investing hundreds

   of millions of dollars in marketing, and the once-regional problem began to spread nationally.

              203.   As OxyContin sales grew between 1999 and 2002, so did sales of other opioids,

   including fentanyl (226%), morphine (73%) and oxycodone (402%). And, as prescriptions


   77
      Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public
   Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009), https://
   www.ncbi.nlm.nih.gov/pmc/articles/ PMC2622774/ (hereinafter “Van Zee, Promotion and
   Marketing”).
   78
        Id.


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   surged between 1999 and 2010, so did deaths from opioid overdoses (from about 4,000 to almost

   17,000). 79

           204.   In 2012 alone, an estimated 259 million opioid prescriptions were filled, enough

   to medicate every adult in the United States for a month on a round-the-clock basis. 80

           205.   The escalating number of opioid prescriptions written by doctors deceived by

   Defendants’ fraudulent and deceptive marketing scheme is the cause of a similarly dramatic

   increase in opioid addiction, overdose and death throughout the U.S. In August of 2016, the

   then-U.S. Surgeon General Vivek Murphy wrote an open letter to physicians nationwide, asking

   for their help combating this “urgent health crisis” and linking that crisis to deceptive marketing.

   He wrote that the push to aggressively treat pain, and the “devastating” results that followed, had

   “coincided with heavy marketing to doctors . . . [m]any of [whom] were even taught –

   incorrectly – that opioids are not addictive when prescribed for legitimate pain.”

           206.   Evidence demonstrates a strong correlation between opioid prescriptions and

   opioid abuse. In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

   quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

   prescription opioids for chronic pain account for the majority of overdoses. For these reasons, the

   CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

   reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

           207.   Contrary to Defendants’ misrepresentations, most opioid addiction begins with

   legitimately prescribed opioids, and therefore could have been prevented had Defendants’


   79
        Gounder, Who Is Responsible, supra n.35.
   80
      Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs (July
   2014), https://www.cdc.gov/vitalsigns/opioid-prescribing/.


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   representations to prescribers been truthful. In 2011, 71% of people who abused prescription

   opioids got them through friends or relatives, not from pill mills, drug dealers or the internet. 81

   Numerous doctors and substance abuse counselors note that many of their patients who misuse

   or abuse opioids started with legitimate prescriptions, confirming the important role that doctors’

   prescribing habits have played in the opioid epidemic.

             208.   Furthermore, “[a]ccording to the American Society of Addiction Medicine, four

   out of five people who try heroin today started with prescription painkillers.” 82

             209.   The use of prescription painkillers cost health insurers up to $72.5 billion

   annually in direct healthcare costs. 83

             210.   Public health officials have called the current epidemic the worst drug crisis in

   American history. 84

             211.   The County is one of the hardest hit counties in New Jersey. In 2017, the County

   saw 90 fatal overdoses.

             212.   Since 2014 CCPD has saved 312 lives with the administration of Narcan to an

   overdose victim.




   81
     See U.S. Dep’t of Health & Human Servs., 2011 National Survey on Drug Use and Health
   (Sept. 2012).
   82
        Keefe, Empire of Pain, supra n.3.
   83
      Katherine Eban, OxyContin: Purdue Pharma’s painful medicine, Fortune Magazine (Nov. 9,
   2011), http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/ (hereinafter
   “Eban, Painful Medicine”).
   84
      Julie Borman, Inside a Killer Drug Epidemic: A Look at America’s Opioid Crisis, N.Y.
   Times (Jan. 6, 2017), https://www.nytimes.com/2017/01/06/us/opioid-crisis-epidemic.html.


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                213.   In 2016 and 2017, CCPD responded to 949 overdoses, (130 of which were

   fatalities), and administered Narcan 141 times. These 949 calls for services related to overdoses

   equaled 1,740 man hours.

                214.   In 2015, opioids killed at least 918 people across the State. More alarming is

   that its chemical cousin, the ultra-potent fentanyl, was implicated in more than 400 deaths

   after being responsible for just 46 two years before. 85

                215.   Data released by the Centers for Disease Control and Prevention demonstrates

   that the rate at which heroin and fentanyl are killing in the State far outpaces the national

   average. 86

                216.   The County is compelled to divert significant resources each year to provide a

   wide range of opioid, and opioid addiction, related services for its residents and visitors –

   money that it would not have had to spend but for the extreme and continuing public nuisance

   caused by defendants’ actions – including, for instance, law enforcement and emergency

   response services and treatment.

                217.   The County continues to suffer significant financial consequences as a result of

   opioid over-prescription and addiction, including, but not limited to, increased law

   enforcement expenditures, increased public works expenditures, increased emergency and

   treatment services, and lost productivity, economic opportunity, and property and tax revenue.

   In order to properly address this unprecedented epidemic and protect the safety and welfare of

   its residents, the County has had to significantly modify its emergency response plan,

   85

   http://www.nj.com/news/index.ssf/2016/12/nj_heroin_death_rate_was_25_times_the_skyrocketi
   ng_us_rate_in_2015.html (last visited February 20, 2018).
   86
        Id.


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   requiring the hiring of additional permanent emergency response personnel, overtime pay, and

   the purchase and maintenance of additional emergency vehicles and supplies, such as Narcan

   – none of which would have otherwise been necessary. Additionally, the County must now

   pay for and provide mental health services to its employees, who are on the front lines of

   assisting residents and visitors, and otherwise re-allocate County funds to cope with the Opioid

   epidemic.

          D.      Each Manufacturer Defendant Engaged in Fraudulent And Deceptive
                  Acts that Targeted Prescribers in the County

                  1.      Purdue

          218.    Purdue Pharma Inc. is a Delaware corporation with its principal place of business

   in Stamford, Connecticut, and The Purdue Frederick Company, Inc. is a Delaware corporation

   with its principal place of business in Stamford, Connecticut (collectively, “Purdue”). Purdue is

   privately held by the Sackler family – one of America’s wealthiest families with a collective net

   worth of thirteen billion dollars.   Purdue markets, sells, and distributes opioids in the County,

   including the following:

          OxyContin             Opioid agonist 87 indicated for pain severe enough to require
          (oxycodone            daily, around-the-clock, long-term opioid treatment; not
          hydrochloride         indicated as an as-needed (p.r.n.) analgesic. It was first
          extended release)     approved by the FDA in December 1995.




   87
       An “agonist” medication is one that binds to and fully activates targeted receptors in the
   brain. They activate these neurotransmitter receptors to illicit a certain response. An
   “antagonist” medication, on the other hand, works to prevent the binding of other chemicals to
   neurotransmitters in order to block a certain response. Both may be used to offer pain relief.
   Health Q&A, Reference*, https://www.reference.com/health/difference-between-agonist-
   antagonist-drugs-838e9e0994a788eb (last visited February 20, 2018).


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           MS Contin            Opioid agonist; controlled-release tablet form of morphine
           (morphine sulfate    sulfate indicated for the management of severe pain; not
           extended release)    intended for use as a p.r.n. analgesic; first approved in May
                                1987 as the first formulation of an opioid pain medicine that
                                allowed dosing every 12 hours.
           Dilaudid             Opioid analgesic; injectable and oral formulation; eight times
           (hydromorphone       more potent than morphine. 88
           hydrochloride)
           Dilaudid-HP          Opioid analgesic; injectable and oral high-potency and
           (hydromorphone       highly concentrated formulation indicated for relief of
           hydrochloride)       moderate-to-severe pain in opioid-tolerant patients.
           Hysingla ER          Brand-name extended-release form of hydrocodone bitrate
           (hydrocodone         that is indicated for the management of severe pain.
           bitrate)
           Targiniq ER          Brand-name extended-release opioid analgesic made of a
           (oxycodone           combination of oxycodone hydrochloride and naloxone
           hydrochloride and    hydrochloride. It was approved by the FDA on July 23,
           naloxone             2013.
           hydrochloride)

                          a.      Purdue Falsely Marketed Low Addiction Risk to Wide
                                  Swaths of Physicians

           219.    In In addition to pushing OxyContin as safe and non-addictive, Purdue also

   promoted prescription opioids for use in non-cancer patients, who make up 86% of the total

   opioid market today.

           220.    Rather than targeting merely those physicians treating acute severe short-term

   (like post-operative) pain or oncologists treating end-stage cancer pain, Purdue heavily promoted

   OxyContin nationwide to other doctors such as general practitioners, who had little training in

   the treatment of serious pain or in recognizing signs of drug abuse in patients. 89 According to a

   report in The New Yorker regarding Purdue’s strategies, “[a] major thrust of the sales campaign



   88
       Dilaudid Addiction, Suboxone California, https://www.suboxonecalifornia.com/suboxone-
   treatment/dilaudid-addiction/ (last visited February 20, 2018).
   89
        Meier, Guilty Plea, supra n.22.


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   was that OxyContin should be prescribed not merely for the kind of severe short-term pain

   associated with surgery or cancer but also for less acute, longer-lasting pain: arthritis, back pain,

   sports injuries, fibromyalgia” and “[t]he number of conditions that OxyContin could treat

   seemed almost unlimited.” 90

              221.   Sales representatives even provided physicians with coupons redeemable for a

   seven- to thirty-day supply of free OxyContin, a Schedule II narcotic that by definition cannot be

   prescribed for more than one month at a time, with the promise that OxyContin was a safe

   opioid. Purdue “trained its sales representatives to carry the message that the risk of addiction

   was ‘less than one percent,’” and “[a] consistent feature in the promotion and marketing of

   OxyContin was a systematic effort to minimize the risk of addiction in the use of opioids for the

   treatment of chronic non-cancer­related pain.” 91

              222.   Sales representatives marketed OxyContin as a product “‘to start with and to stay

   with’,” and Purdue deliberately exploited a misconception it knew many doctors held that

   oxycodone was less potent than morphine. 92 They also received training in overcoming doctors’

   concerns about addiction with talking points they knew to be untrue about the drug’s abuse

   potential. The New Yorker reported that “[i]n 2002, a sales manager from the company, William

   Gergely, told a state investigator in Florida that Purdue executives ‘told us to say things like it is

   “virtually” non-addicting.’” 93



   90
        Keefe, Empire of Pain, supra n.3.
   91
        Van Zee, Promotion and Marketing, supra n.23.
   92
        Keefe, Empire of Pain, supra n.3.
   93
        Id.


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              223.   Further, “[a]ccording to training materials, Purdue instructed sales representatives

   to assure doctors—repeatedly and without evidence—that “‘fewer than one per cent’” of patients

   who took OxyContin became addicted. (In 1999, a Purdue-funded study of patients who used

   OxyContin for headaches found that the addiction rate was thirteen per cent.)” 94

              224.   As late as 2015, if not more recently, Purdue sales representatives were telling

   physicians OxyContin was “addiction resistant” and had “abuse-deterrent technology.”

              225.   And the marketing worked.        Keith Humphreys, professor of psychiatry at

   Stanford and drug-policy adviser to the Obama Administration, said

              That’s the real Greek tragedy of this—that so many well-meaning doctors got co-
              opted. The level of influence is just mind-boggling. Purdue gave money to
              continuing medical education, to state medical boards, to faux grassroots
              organizations. 95

              226.   Additionally, Purdue tracked physicians’ prescribing practices by reviewing

   pharmacy prescription data.        Rather than reporting highly suspicious prescribing practices,

   Purdue used the data as part of its marketing scheme -- to track physicians who prescribed some

   opioids and who could be persuaded to prescribe more. Purdue also identified physicians writing

   large numbers of prescriptions, and particularly for high-dose 80 mg pills – potential signs of

   diversion and drug dealing. 96 It called those high-prescribing doctors “whales.” 97

   94
        Id.
   95
        Id.
   96
       An 80 mg tablet is equivalent in strength to 16 Vicodin tablets, and was generally reserved
   by doctors for patients with severe, chronic pain who had built up a tolerance over months or
   years. In the illegal drug trade, however, “80s” were the most in demand. For those attempting
   to detect how OxyContin was getting onto the black market, a physician writing a high volume
   of 80s was a red flag. Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the
   hands of criminals and addicts. What the drugmaker knew, L.A. Times (July 10, 2016),
   http://www.latimes.com/ projects/la-me-oxycontin-part2/ (hereinafter “Ryan, More than 1
   million”).

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           227.    Worse yet, as early as 1993 and through to the present, Purdue, including Richard

   Sackler and other Purdue employees, have sought and received patents to lessen the probability

   of addiction to the active ingredient in OxyContin and other opioids, and thus, recognize the

   serious risk of addiction. Yet, during the same period, Purdue, on its own and through Front

   Groups and KOLs, simultaneously spent substantial sums on promotional activities and materials

   that falsely deny or downplay the serious risk of addiction and even promoting the concept that

   OxyContin is non-addictive.

           228.    Purdue knew about many suspicious doctors and pharmacies from prescribing

   records, pharmacy orders, field reports from sales representatives and, in some instances, its own

   surveillance operations. 98 Since 2002, Purdue maintained a confidential roster of suspected

   reckless prescribers known as “Region Zero.” By 2013, there were more than 1,800 doctors in

   Region Zero, but Purdue reported only 8% of them. The Los Angeles Times reported that “[a]

   former Purdue executive, who monitored pharmacies for criminal activity, acknowledged that

   even when the company had evidence pharmacies were colluding with drug dealers, it did not

   stop supplying distributors selling to those stores.” 99 Instead, Purdue supplied prescription


   97
        Keefe, Empire of Pain, supra n. 3.
   98
       Purdue’s “Abuse and Diversion Detection” program requires its sales representatives to
   report to the company any facts that suggest a healthcare provider to whom it markets opioids
   may be involved in the abuse or illegal diversion of opioid products. When a provider is
   reported under the program, Purdue purportedly conducts an internal inquiry regarding the
   provider to determine whether he or she should be placed on a “no-call” list. If a provider is
   placed on this list, Purdue sales representatives may no longer contact the provider to promote
   the company’s opioid products. Bill Fallon, Purdue Pharma agrees to restrict marketing of
   opioids,       Stamford        Advocate        (Aug.       25,      2015,       3:32       PM),
   http://www.stamfordadvocate.com/business/article/Purdue-Pharma-agrees-to-restrict-marketing-
   of-6464800.php (hereinafter “Fallon, Purdue Pharma agrees”).
   99
        Ryan, More than 1 Million, supra n. 92.


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   opioids to these stores, prioritized its own profits (and the bank accounts of its owners) ahead of

   public safety, and downplayed the risk of addiction.

                          b.     Purdue Funded Publications and Presentations with
                                 False and Misleading Messaging

            229.   As explained above, Purdue’s false marketing scheme did not end with its own

   sales representatives and branded marketing materials. It extended far beyond, engaging third

   parties including doctors and front groups to spread the false message of prescription opioids’

   safety and efficacy.

            230.   One extension of Purdue’s marketing scheme was its plan to cause the publication

   and distribution of false and deceptive guidelines on opioid prescribing. For example, as set

   forth above, Purdue paid $100,000 to the FSMB to help print and distribute its guidelines on the

   use of opioids to treat chronic pain to 700,000 practicing doctors.

            231.   One of the advisors for FSMB 2007 publication “Responsible Opioid Prescribing:

   A Physician’s Guide” and its 2012 update was Haddox, a longtime member of Purdue’s

   speakers’ bureau who became a Purdue vice president.

            232.   Similarly, 100 multiple videos feature Fine delivering educational talks about the

   drugs. In one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline

   for Chronic Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another)

   not only for cancer patients, but for non-cancer patients, and suggests it may take four or five

   switches over a person’s “lifetime” to manage pain. 101       He states the “goal is to improve

   effectiveness which is different from efficacy and safety.” Rather, for chronic pain patients,

   100
         Weber, Two Leaders in Pain, supra n.69.
   101
       Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
   https://www.youtube.com/watch?v=_G3II9yqgXI.


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   effectiveness “is a balance of therapeutic good and adverse events over the course of years.”

   The entire program teaches that opioids are appropriate treatment over a “protracted period of

   time” and even over a patient’s entire “lifetime.” He even suggests that opioids can be used to

   treat sleep apnea. He further states that the associated risks of addiction and abuse can be

   managed by doctors and evaluated with “tools,” but leaves that for “a whole other lecture.” 102

               233.   Purdue provided many “teaching” materials free of charge to the Joint

   Commission.

               234.   Purdue also deceptively marketed the use of opioids for chronic pain through the

   APF, which was shut down after the launching of the Senate investigation in 2012. In 2010

   alone, the APF received 90% of its funding from drug and medical device companies, including

   from Purdue. Purdue paid APF unspecified amounts in 2008 and 2009 and between $100,000

   and $499,999 in 2010. 103

                             c.     The Guilty Pleas

               235.   In May 2007, Purdue and three of its executives pled guilty to federal charges of

   misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

   about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its

   plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

   misrepresented the risk of addiction and was unsupported by science. Additionally, Michael

   Friedman (“Friedman”), the company’s president, pled guilty to a misbranding charge and

   agreed to pay $19 million in fines; Howard R. Udell (“Udell”), Purdue’s top lawyer, also pled


   102
         Id.
   103
      American Pain Foundation Partner Report, GuideStar, http://www.guidestar.org/PartnerRepor
   t.aspx?ein=XX-XXXXXXX&Partner=Demo (last visited February 20, 2018).


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   guilty and agreed to pay $8 million in fines; and Paul D. Goldenheim (“Goldenheim”), its former

   medical director, pled guilty as well and agreed to pay $7.5 million in fines.

           236.   In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

   Attorney for the Western District of Virginia, stated:

           Purdue claimed it had created the miracle drug – a low risk drug that could
           provide long acting pain relief but was less addictive and less subject to abuse.
           Purdue’s marketing campaign worked, and sales for OxyContin skyrocketed –
           making billions for Purdue and millions for its top executives.

           But OxyContin offered no miracles to those suffering in pain. Purdue’s claims
           that OxyContin was less addictive and less subject to abuse and diversion were
           false – and Purdue knew its claims were false. The result of their
           misrepresentations and crimes sparked one of our nation’s greatest prescription
           drug failures. . . . OxyContin was the child of marketeers and bottom line
           financial decision making. 104

           237.   Brownlee characterized Purdue’s criminal activity as follows:

                   First, Purdue trained its sales representatives to falsely inform health
           care providers that it was more difficult to extract the oxycodone from an
           OxyContin tablet for the purpose of intravenous abuse. Purdue ordered this
           training even though its own study showed that a drug abuser could extract
           approximately 68% of the oxycodone from a single 10 mg OxyContin tablet by
           simply crushing the tablet, stirring it in water, and drawing the solution through
           cotton into a syringe.

                  Second, Purdue falsely instructed its sales representatives to inform
           health care providers that OxyContin could create fewer chances for addiction
           than immediate-release opioids.

                  Third, Purdue sponsored training that falsely taught Purdue sales
           supervisors that OxyContin had fewer “peak and trough” blood level effects
           than immediate-release opioids resulting in less euphoria and less potential for
           abuse than short-acting opioids.




   104
       Testimony of The Hon. John L. Brownlee, U.S. Attorney for the Western District of Virginia,
   (July 31, 2007),
   https://www.judiciary.senate.gov/imo/media/doc/Brownlee%20Testimony%20073107.pdf


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                      Fourth, Purdue falsely told certain health care providers that patients
               could stop therapy abruptly without experiencing withdrawal symptoms and
               that patients who took OxyContin would not develop tolerance to the drug.

                      And fifth, Purdue falsely told health care providers that OxyContin did
               not cause a “buzz” or euphoria, caused less euphoria, had less addiction
               potential, had less abuse potential, was less likely to be diverted than immediate-
               release opioids, and could be used to “weed out” addicts and drug seekers. 105

               238.   Specifically, Purdue pled guilty to illegally misbranding OxyContin in an effort to

   mislead and defraud physicians and consumers, while Friedman, Udell and Goldenheim pled

   guilty to the misdemeanor charge of misbranding OxyContin, for introducing misbranded drugs

   into interstate commerce in violation of 21 U.S.C. §§331(a), 333(a)(1)-(2) and 352(a).

               239.   The guilty plea and fine did not dissuade Purdue or its executives. After the

   settlement, Purdue continued to pay doctors on speakers’ bureaus to promote the liberal

   prescribing of OxyContin for chronic pain and to fund seemingly neutral organizations to

   disseminate the message that opioids were effective and non-addictive. Purdue continues to

   aggressively market the liberal prescribing of opioids for chronic pain while diminishing the

   associated dangers of addiction.

               240.   After Purdue entered its guilty plea in 2007, “it assembled an army of lobbyists to

   fight any legislative actions that might encroach on its business. Between 2006 and 2015,

   Purdue and other painkiller producers, along with their associated nonprofits, spent nearly nine

   hundred million dollars on lobbying and political contributions—eight times what the gun

   lobby spent during that period.” 106 (emphasis added).




   105
         Id.
   106
         Keefe, Empire of Pain, supra n.3.


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            241.   Purdue has earned more than $31 billion from OxyContin, the nation’s bestselling

   painkiller, which constitutes approximately 30% of the United States market for painkillers.

   Since 2009, Purdue’s national annual sales of OxyContin have fluctuated between $2.47 billion

   and $2.99 billion, up threefold from 2006 sales of $800 million.107

            242.   Purdue also made thousands of payments to physicians nationwide, including to

   physicians in the County, for activities including participating on speakers’ bureaus, providing

   consulting services, assisting in post-marketing safety surveillance and other services.

                   2.      Janssen

            243.   Janssen markets, sells, and distributes the following opioids in the County:

             Duragesic        Opioid analgesic delivered via skin patch; contains gel form of
             (fentanyl)       fentanyl, a synthetic opioid that is up to 100 times more potent
                              than morphine; delivers fentanyl at regulated rate for up to 72
                              hours; first approved by the FDA in August 1990.
             Nucynta ER       Opioid agonist; extended-release formulation indicated for
             (tapentadol      severe pain.
             hydrochloride)
             Nucynta          Immediate-release version of tapentadol hydrochloride for the
             (tapentadol      management of moderate to severe acute pain.
             hydrochloride)

            244.   Janssen introduced Duragesic in 1990. It is indicated for the “management of

   pain in opioid-tolerant patients, severe enough to require daily, around-the-clock, long-term

   opioid treatment and for which alternative treatment options are inadequate.” Janssen also

   markets Nucynta, which was first approved by the FDA in 2008, formulated in tablet form and in

   an oral solution and indicated for the “relief of moderate to severe acute pain in patients 18 years

   of age or older.” Additionally, Janssen markets Nucynta ER, which was first approved by the

   FDA in 2011 in tablet form. Initially, it was indicated for the “management of . . . pain severe

   107
         Eban, Painful Medicine, supra n.83.


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   enough to require daily, around-the-clock, long-term opioid treatment and for which alternative

   treatment options are inadequate.” This pain indication was later altered to “management of

   moderate to severe chronic pain in adults” and “neuropathic pain associated with diabetic

   peripheral neuropathy (DPN) in adults.” Janssen sold Nucynta and Nucynta ER to Depomed in

   2015 for $1.05 billion.

                         a.      The FDA Warned Janssen Regarding Its False
                                 Messaging

           245.   On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

   dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

   Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

   explained that the “homemade” promotional pieces were “false or misleading because they

   contain misrepresentations of safety information, broaden Duragesic’s indication, contain

   unsubstantiated claims, and lack fair balance.”

           246.   The   March     30,   2000   letter     identified   specific   violations,   including

   misrepresentations that Duragesic had a low potential for abuse:

                 You present the claim, “Low abuse potential!” This claim suggests that
                  Duragesic has less potential for abuse than other currently available
                  opioids. However, this claim has not been demonstrated by substantial
                  evidence. Furthermore, this claim is contradictory to information in the
                  approved product labeling (PI) that states, “Fentanyl is a Schedule II
                  controlled substance and can produce drug dependence similar to that
                  produced by morphine.” Therefore, this claim is false or misleading. 108

           247.   The March 30, 2000 letter also stated that the promotional materials represented

   that Duragesic was “more useful in a broader range of conditions or patients than has been

   demonstrated by substantial evidence.” Specifically, the FDA stated that Janssen was marketing

   108
      NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
   Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.


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   Duragesic for indications beyond the treatment of chronic pain that cannot otherwise be

   managed, for which it was approved:

                      You present the claim, “It’s not just for end stage cancer anymore!” This
                       claim suggests that Duragesic can be used for any type of pain
                       management. However, the PI for Duragesic states, “Duragesic (fentanyl
                       transdermal system) is indicated in the management of chronic pain in
                       patients who require continuous opioid analgesia for pain that cannot be
                       managed by lesser means . . . .” Therefore, the suggestion that Duragesic
                       can be used for any type of pain management promotes Duragesic[] for a
                       much broader use than is recommended in the PI, and thus, is misleading.
                       In addition, the suggestion that Duragesic can be used to treat any kind of
                       pain is contradictory to the boxed warning in the PI. Specifically, the PI
                       states,

                      BECAUSE      SERIOUS      OR      LIFE-THREATENING
                       HYPOVENTILATION COULD OCCUR, DURAGESIC® (FENTANYL
                       TRANSDERMAL SYSTEM) IS CONTRAINDICATED:

                      In the management of acute or post-operative pain, including use in out-
                       patient surgeries . . . . 109

             248.      The March 30, 2000 letter also stated Janssen failed to adequately present

   “contraindications, warnings, precautions, and side effects with a prominence and readability

   reasonably comparable to the presentation of information relating to the effectiveness of the

   product”:

             Although this piece contains numerous claims for the efficacy and safety of
             Duragesic, you have not presented any risk information concerning the boxed
             warnings, contraindications, warnings, precautions, or side effects associated with
             Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,
             or otherwise misleading, because it fails to address important risks and restrictions
             associated with Duragesic therapy. 110

             249.      On September 2, 2004, the U.S. Department of Health and Human Services

   (“HHS”) also sent Janssen a warning letter concerning Duragesic due to “false or misleading

   109
         Id. at 2-3.
   110
         Id. at 3 (emphasis in original).


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   claims about the abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness

   claims for Duragesic,” including, specifically, “suggesting that Duragesic has a lower potential

   for abuse compared to other opioid products.”

           250.   The September 2, 2004 letter warned Janssen regarding its claims that Duragesic

   had a low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as

   compared to other opioids. The letter stated that the claim was false or misleading because the

   claim was not based on substantial data and because the lower rate of mentions was likely

   attributable to Duragesic’s lower frequency of use compared to other opioids listed in DAWN:

                  The file card presents the prominent claim, “Low reported rate of
           mentions in DAWN data,” along with Drug Abuse Warning Network (DAWN)
           data comparing the number of mentions for Fentanyl/combinations (710
           mentions) to other listed opioid products, including Hydrocodone/combinations
           (21,567 mentions), Oxycodone/combinations (18,409 mentions), and Methadone
           (10,725 mentions). The file card thus suggests that Duragesic is less abused than
           other opioid drugs.

                    This is false or misleading for two reasons. First, we are not aware of
           substantial evidence or substantial clinical experience to support this comparative
           claim. The DAWN data cannot provide the basis for a valid comparison among
           these products. As you know, DAWN is not a clinical trial database. Instead, it is
           a national public health surveillance system that monitors drug-related emergency
           department visits and deaths. If you have other data demonstrating that Duragesic
           is less abused, please submit them.

                   Second, Duragesic is not as widely prescribed as other opioid products.
           As a result, the relatively lower number of mentions could be attributed to the
           lower frequency of use, and not to a lower incidence of abuse. The file card fails
           to disclose this information. 111




   111
       Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services,
   to      Ajit   Shetty,     Janssen   Pharmaceutica,      Inc.    (Sept.   2,    2004),
   https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/
   The%20Pink%20Sheet/66/038/00660380018/040920_ duragesic_letter.pdf at 2.


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             251.      The September 2, 2004 letter also details a series of unsubstantiated, false or

   misleading claims regarding Duragesic’s effectiveness. The letter concluded that various claims

   made by Janssen were insufficiently supported, including that:

             •         “‘Demonstrated effectiveness in chronic back pain with additional patient
                       benefits, . . . 86% of patients experienced overall benefit in a clinical study based
                       on: pain control, disability in ADLs, quality of sleep.’”

             •         “‘All patients who experienced overall benefit from DURAGESIC would
                       recommend it to others with chronic low back pain.’”

             •         “‘Significantly reduced nighttime awakenings.’”

             •         “‘Significant improvement in disability scores as measured by the Oswestry
                       Disability Questionnaire and Pain Disability Index.’”

             •         “‘Significant improvement in physical functioning summary score.’”

             •         “‘Significant improvement in social functioning.’” 112

             252.      In addition, the September 2, 2004 letter identifies “outcome claims [that] are

   misleading because they imply that patients will experience improved social or physical

   functioning or improved work productivity when using Duragesic.” The claims include “‘1,360

   loaves . . . and counting,’ ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’

   ‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less about their pain,’

   and ‘[i]mprove[s] . . . physical and social functioning.’” The September 2, 2004 letter states:

   “Janssen has not provided references to support these outcome claims. We are not aware of

   substantial evidence or substantial clinical experience to support these claims.” 113

             253.      On July 15, 2005, the FDA issued a public health advisory warning doctors of

   deaths resulting from the use of Duragesic and its generic competitor, manufactured by Mylan

   112
         Id. at 2-3.
   113
         Id. at 3.


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   N.V. The advisory noted that the FDA had been “‘examining the circumstances of product use

   to determine if the reported adverse events may be related to inappropriate use of the patch’” and

   noted the possibility “that patients and physicians might be unaware of the risks” of using the

   fentanyl transdermal patch, which is a potent opioid analgesic meant to treat chronic pain that

   does not respond to other painkillers.

                          b.      Janssen Funded False Publications and Presentations

            254.   Despite these repeated warnings, Janssen continued to falsely market the risks of

   opioids. For example, in 2009, PriCara, a “Division of Ortho-McNeil-Janssen Pharmaceuticals,

   Inc.,” sponsored a 2009 brochure directed toward patients, “Finding Relief: Pain Management

   for Older Adults.” The brochure included a free DVD featuring actress Kathy Baker, who

   played a doctor in the popular television series “Picket Fences.”

            255.   The brochure represented that it was a source for older adults to gain accurate

   information about treatment options for effective pain relief:

                     This program is aimed specifically at older adults and what they need to
            know to get effective pain relief. You will learn that there are many pathways to
            this relief.

                    You will learn about your options for pain management and how to find
            the treatment that’s right for you. By learning more about pain and the many
            ways it can be treated, you are taking solid steps toward reducing the pain you or
            a loved one may be feeling. 114

            256.   Despite representing itself as a source of accurate information, the brochure

   included false and misleading information about opioids, including a section seeking to dispel

   purported “myths” about opioid usage:




   114
         Finding Relief, Pain Management for Older Adults (2009).


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               Opioid Myths

               Myth: Opioid medications are always addictive.

               Fact: Many studies show that opioids are rarely addictive when used properly for
               the management of chronic pain.

               Myth: Opioids make it harder to function normally.

               Fact: When used correctly for appropriate conditions, opioids may make it easier
               for people to live normally.

               Myth: Opioid doses have to get bigger over time because the body gets used to
               them.

               Fact: Unless the underlying cause of your pain gets worse (such as with cancer
               or arthritis), you will probably remain on the same dose or need only small
               increases over time. 115

               257.   Among the “Partners” listed in “Finding Relief: Pain Management for Older

   Adults” are the AAPM, the American Geriatrics Society (“AGS”) and the AGS Foundation for

   Health in Aging. Janssen (along with Purdue and Endo) funded AAPM. The AGS and the AGS

   Foundation for Health in Aging published a pain guide titled “Finding Relief: Pain Management

   for Older Adults,” which was funded by Janssen. 116

               258.   In addition, Janssen disseminated false information about opioids on the website

   Prescribe Responsibly, which remains publicly accessible at www.prescriberesponsibly.com.

   According to the website’s legal notice, all content on the site “is owned or controlled by

   Janssen.” 117 The website includes numerous false or misleading representations concerning the

   relative safety of opioids and omissions of the risks associated with taking them. For example, it


   115
         Id. (emphasis in original).
   116
         Id.
   117
       Legal Notice, Prescribe Responsibly, https://www.prescriberesponsibly.com/legal-notice (last
   visited February 20, 2018).


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   states that while practitioners are often concerned about prescribing opioids due to “questions of

   addiction,” such concerns “are often overestimated. According to clinical opinion polls, true

   addiction occurs only in a small percentage of patients with chronic pain who receive chronic

   opioid analgesic[] . . . therapy.” 118

               259.   Prescribe Responsibly also compared the risks of opioid use favorably to those

   associated with non-steroidal anti-inflammatory drugs (“NSAIDs”), such as aspirin and

   ibuprofen, and stated that many patients develop tolerance for opioid side effects:

                      Opioid analgesics are often the first line of treatment for many painful
               conditions and may offer advantages over nonsteroidal anti-inflammatory drugs
               (NSAIDs). Opioid analgesics, for example, have no true ‘ceiling dose’ for
               analgesia and do not cause direct organ damage; however, they do have several
               possible side effects, including constipation, nausea, vomiting, a decrease in
               sexual interest, drowsiness, and respiratory depression. With the exception of
               constipation, many patients often develop tolerance to most of the opioid
               analgesic-related side effects. 119

               260.   Further, Prescribe Responsibly repeats the scientifically unsupported discussion

   of “pseudoaddiction” as “a syndrome that causes patients to seek additional medications due to

   inadequate pharmacotherapy being prescribed. Typically, when the pain is treated appropriately,

   the inappropriate behavior ceases.” 120 Thus, pseudoaddiction is defined as a condition requiring

   the prescription of more or stronger opioids.




   118
       Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
   http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited February 20,
   2018).
   119
         Id.
   120
       What a Prescriber Should Know Before Writing the First Prescription, Prescribe
   Responsibly, http://www.prescriberesponsibly.com/articles/before-prescribing-opioids (last
   visited February 20, 2018).


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          261.    Janssen also made thousands of payments to physicians nationwide, including to

   County physicians, for activities including participating on speakers’ bureaus, providing

   consulting services, assisting in post-marketing safety surveillance and other services.

          262.    As people became more and more hooked on prescription pain killers, they

   moved to heroin, and increasingly to fentanyl, which is even more potent and cheaper than

   heroin, and which as set forth above was being deceptively marketed by Janssen, causing a rise

   in heroin and fentanyl overdose deaths.

                  3.      Endo

          263.    Endo markets, sells, and distributes the following opioids in the County:

          Opana ER            Opioid agonist; extended-release tablet formulation; first drug
          (oxymorphone        in which oxymorphone is available in an oral, extended-release
          hydrochloride)      formulation; first approved in 2006.
          Opana               Opioid agonist; first approved in 2006.
          (oxymorphone
          hydrochloride)
          Percodan            Branded tablet combining oxymorphone hydrochloride and
          (oxymorphone        aspirin; first approved in 1950; first marketed by Endo in
          hydrochloride       2004.
          and aspirin)
          Percocet                   Branded tablet that combines oxymorphone
          (oxymorphone               hydrochloride and acetaminophen; first approved in
          hydrochloride              1999; first marketed by Endo in 2006.
          and
          acetaminophen)
          Oxycodone           Generic product.
          Oxymorphone         Generic product.
          Hydromorphone       Generic product.
          Hydrocodone         Generic product.

          264.    The FDA approved an injectable form of Opana in 1959 (then known as

   Numorphan) which was indicated “for the relief of moderate to severe pain” and “for

   preoperative medication, for support of anesthesia, for obstetrical analgesia, and for relief of

   anxiety in patients with dyspnea associated with pulmonary edema secondary to acute left


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   ventricular dysfunction.” However, oxymorphone drugs—which included Numorphan—were

   removed from the market in the 1970s due to widespread abuse. 121

           265.     In 2006, the FDA approved a tablet form of Opana in 5 mg and 10 mg dosage

   strengths. The tablet form was “indicated for the relief of moderate to severe acute pain where

   the use of an opioid is appropriate.” Also in 2006, the FDA approved Opana ER, an extended-

   release tablet version of Opana available in 5 mg, 10 mg, 20 mg and 40 mg tablet dosage

   strengths.     Opana ER was indicated “for the relief of moderate to severe pain in patients

   requiring continuous, around-the-clock opioid treatment for an extended period of time.” Endo’s

   goal was to use Opana ER to take market share away from OxyContin; thus it was marketed as

   being safer, with less abuse potential than OxyContin because of its crush-resistance.

           266.     According to Endo’s annual reports, sales of Opana and Opana ER regularly

   generate several hundred million dollars in annual revenue for the company, growing from $107

   million in 2007 to as high as $384 million in 2011. Over the last ten years, Percocet has

   generated an average of well over $100 million in annual revenue for the company.

                           a.     Endo Falsely Marketed Opana ER as Crush Resistant

           267.     In December 2011, the FDA approved a reformulated version of Opana ER,

   which Endo claimed offered “safety advantages” over the original formulation because the latter

   “‘is resistant to crushing by common methods and tools employed by abusers of prescription

   opioids . . . [and] is less likely to be chewed or crushed even in situations where there is no intent

   for abuse, such as where patients inadvertently chew the tablets, or where caregivers attempt to


   121
       John Fauber & Kristina Fiore, Opana Gets FDA Approval Despite History of Abuse, Limited
   Effectiveness     in     Trials,   Milwaukee      Journal  Sentinel    (May      9,     2015),
   http://archive.jsonline.com/watchdog/watchdogreports/opana-gets-fda-approval-despite-history-
   of-abuse-limited-effectiveness-in-trials-b99494132z1-303198321.html/.


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   crush the tablets for easier administration with food or by gastric tubes, or where children

   accidentally gain access to the tablets.’”

           268.       Endo publicized the reformulated version of Opana ER as “crush-resistant.” To

   combat the fear of opioids, sales representatives touted it to doctors as a safer option due to its

   crush-resistance and extended release. In a December 12, 2011, press release announcing FDA

   approval of the reformulated Opana ER, Endo’s executive vice president for research and

   development and chief scientific officer highlighted the reformulated version’s safety

   characteristics:

                   “FDA’s approval of this new formulation of Opana ER is an important
           milestone for both the Long Acting Opioid category as well as Endo’s branded
           pharmaceutical portfolio. . . . Patient safety is our top concern and addressing
           appropriate use of opioids is a responsibility that we take very seriously. We
           firmly believe this new formulation of Opana ER, coupled with our long-term
           commitment to awareness and education around appropriate use of opioids will
           benefit patients, physicians and payers.”

           269.       However, in October 2012, the CDC issued a health alert noting that 15 people in

   Tennessee had contracted thrombotic thrombocytopenic purpura, a rare blood-clotting disorder,

   after injecting reformulated Opana ER. In response, Endo’s chief scientific officer stated that,

   while Endo was looking into the data, he was not especially concerned: “‘Clearly, we are looking

   into this data, . . . but it’s in a very, very distinct area of the country.’” 122

           270.       Shortly thereafter, the FDA determined that Endo’s conclusions about the

   purported safety advantages of the reformulated Opana ER were unfounded. In a May 10, 2013

   letter to Endo, the FDA found that the tablet was still vulnerable to “‘cutting, grinding, or


   122
      Jake Harper & Kelly McEvers, How A Painkiller Designed To Deter Abuse Helped Spark An
   HIV Outbreak, National Public Radio (Apr. 1, 2016), http://www.npr.org/sections/health-
   shots/2016/04/01/472538272/how-a-painkiller-designed-to-deter-abuse-helped-spark-an-hiv-
   outbreak.


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   chewing,’” “‘can be prepared for insufflation (snorting) using commonly available tools and

   methods,’” and “‘can [be readily] prepared for injection.’” It also warned that preliminary data

   suggested “the troubling possibility that a higher percentage of reformulated Opana ER abuse is

   via injection than was the case with the original formulation.”

               271.   A 2014 study co-authored by an Endo medical director corroborated the FDA’s

   warning.       This 2014 study found that while overall abuse of Opana had fallen following

   Opana ER’s reformulation, it also found that injection had become the preferred way of abusing

   the drug. 123 However, the study reassured that it was not possible to draw a causal link between

   the reformulation and injection abuse.

               272.   The study’s failure to adequately warn healthcare providers and the public was

   catastrophic. On April 24, 2015, the CDC issued a health advisory concerning its investigation

   of “a large outbreak of recent human immunodeficiency virus (HIV) infections among persons

   who inject drugs.” 124 The CDC specifically attributed the outbreak to the injection of Opana ER.

   As the advisory explained:

                       From November 2014 to January 2015, ISDH identified 11 new HIV
               infections in a rural southeastern county where fewer than 5 infections have been
               identified annually in the past. As of April 21, 2015, an on-going investigation by
               ISDH with assistance from CDC has identified 135 persons with newly diagnosed
               HIV infections in a community of 4,200 people; 84% were also HCV infected.
               Among 112 persons interviewed thus far, 108 (96%) injected drugs; all reported
               dissolving and injecting tablets of the prescription-type opioid oxymorphone
               (OPANA® ER) using shared drug preparation and injection equipment. 125


   123
         Id.
   124
      Outbreak of Recent HIV and HCV Infections Among Persons Who Inject Drugs, Centers for
   Disease Control and Prevention, https://emergency.cdc.gov/ han/han00377.asp (last visited
   February 20, 2018).
   125
         Id.


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                         b.     New York’s Investigation Found Endo Falsely
                                Marketed Opana ER

           273.   On February 18, 2017, the State of New York announced a settlement with Endo

   requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to

   describe accurately the risk of addiction to Opana ER.” 126 In the Assurance of Discontinuance

   that effectuated the settlement, the State of New York revealed evidence showing that Endo had

   known about the risks arising from the reformulated Opana ER even before it received FDA

   approval.

           274.   Among other things, the investigation concluded that:

           •      Endo improperly marketed Opana ER as designed to be crush resistant, when
                  Endo’s own studies dating from 2009 and 2010 showed that the pill could be
                  crushed and ground;

           •      Endo improperly instructed its sales representatives to diminish and distort the
                  risks associated with Opana ER, including the serious danger of addiction; and

           •      Endo made unsupported claims comparing Opana ER to other opioids and
                  failed to disclose accurate information regarding studies addressing the
                  negative effects of Opana ER.

           275.   In October 2011, Endo’s director of project management e-mailed the company

   that had developed the formulation technology for reformulated Opana ER to say there was little

   or no difference between the new formulation and the earlier formulation, which Endo withdrew

   due to risks associated with grinding and chewing:

           “We already demonstrated that there was little difference between [the original
           and new formulations of Opana] in Study 108 when both products were ground.
           FDA deemed that there was no difference and this contributed to their statement
           that we had not shown an incremental benefit. The chewing study (109) showed

   126
       Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces
   Settlement With Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing of
   Prescription Opioid Drugs (Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-
   announces-settlement-endo-health-solutions-inc-endo-pharmaceuticals.


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               the same thing no real difference which the FDA used to claim no incremental
               benefit.” 127

               276.   Endo conducted two additional studies to test the reformulated Opana ER’s crush

   resistance. Study 901 tested whether it was more difficult to extract reformulated Opana ER than

   the original version, and whether it would take longer to extract from reformulated Opana ER

   than from the original version. The test revealed that both formulations behaved similarly with

   respect to manipulation time and produced equivalent opioid yields.

               277.   The settlement also identified and discussed a February 2013 communication

   from a consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he

   initial data presented do not necessarily establish that the reformulated Opana ER is tamper

   resistant.’” The same consultant also reported that the distribution of the reformulated Opana ER

   had already led to higher levels of abuse of the drug via injection. 128

               278.   Regardless, pamphlets produced by Endo and distributed to physicians

   misleadingly marketed the reformulated Opana ER as “‘designed to be’ crush resistant,” and

   Endo’s sales representative training identified Opana ER as “CR,” short for crush resistant. 129

               279.   The Office of the Attorney General of New York also revealed that the “managed

   care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit

   managers misrepresented the studies that had been conducted on Opana ER. The dossier was

   distributed in order to assure the inclusion of reformulated Opana ER in their formularies.


   127
      In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No.
   15-228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15 at 5
   (Mar. 1, 2016), https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
   128
         Id. at 6.
   129
         Id.


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               280.   According to Endo’s vice president for pharmacovigilance and risk management,

   the dossier was presented as a complete compendium of all research on the drug. However, it

   omitted certain studies: Study 108 (completed in 2009) and Study 109 (completed in 2010),

   which showed that reformulated Opana ER could be ground and chewed.

               281.   The settlement also detailed Endo’s false and misleading representations about the

   non-addictiveness of opioids and Opana.           Until April 2012, Endo’s website for the drug,

   www.opana.com, contained the following representation: “‘Most healthcare providers who treat

   patients with pain agree that patients treated with prolonged opioid medicines usually do not

   become addicted.’” 130 However, Endo had no basis for their representations.

               282.   The Office of the Attorney General of New York also disclosed that training

   materials provided by Endo to sales representatives stated that the “‘[s]ymptoms of withdrawal

   do not indicate addiction.’” 131 This representation is inconsistent with the diagnosis of opioid-

   use disorder as provided in the Diagnostic and Statistical Manual of Mental Disorders by the

   American Psychiatric Association (Fifth Edition).

               283.   The Office of the Attorney General of New York also found that Endo trained its

   sales representatives to falsely distinguish addiction from “pseudoaddiction,” which it defined as

   a condition in which patients exhibit drug-seeking behavior that resembles but is not the same as

   addiction. However, Endo’s vice president for pharmacovigilance and risk management testified

   that he was not aware of any research validating the concept of pseudoaddiction.

               284.   On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER

   after determining that the risks associated with its abuse outweighed the benefits. According to

   130
         Id.
   131
         Id. at 7.


                                                    - 78 -
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   Dr. Janet Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks

   include “several serious problems,” including “outbreaks of HIV and Hepatitis C from sharing

   the drug after it was extracted by abusers” and “a[n] outbreak of serious blood disorder.” If

   Endo does not comply with the request, Dr. Woodcock stated that the FDA would issue notice of

   a hearing and commence proceedings to compel its removal.

                             c.     Endo Funded False Publications and Presentations

               285.   Like several of the other Manufacturer Defendants, Endo provided substantial

   funding to purportedly neutral medical organizations, including APF.

               286.   For example, in April 2007, Endo sponsored an article aimed at prescribers,

   written by Dr. Charles E. Argoff in Pain Medicine News, titled “Case Challenges in Pain

   Management: Opioid Therapy for Chronic Pain.” 132

               287.   The article commenced with the observation that “[a]n estimated 50 to 60 million

   people . . . suffer from chronic pain.” It continued:

                       Opioids represent a highly effective but controversial and often
               misunderstood class of analgesic medications for controlling both chronic and
               acute pain. The phenomenon of tolerance to opioids – the gradual waning of
               relief at a given dose – and fears of abuse, diversion, and misuse of these
               medications by patients have led many clinicians to be wary of prescribing these
               drugs, and/or to restrict dosages to levels that may be insufficient to provide
               meaningful relief. 133

               288.   The article included a case study that focused on the danger of extended use of

   NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal bleed

   believed to have resulted from his protracted NSAID use. In contrast, the article did not provide


   132
      Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
   Pain Med. News, http://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf.
   133
         Id.


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   the same detail concerning the serious side effects associated with opioids. It concluded by

   saying that “use of opioids may be effective in the management of chronic pain.”

          289.   Later, in 2014, Endo issued a patient brochure titled “Understanding Your Pain:

   Taking Oral Opioid Analgesics.” It was written by nurses Margo McCaffery and Chris Pasero

   and edited by APF board member Portenoy.

          290.   The brochure included numerous false and misleading statements minimizing the

   dangers associated with prescription opioid use. Among other things, the brochure falsely and

   misleadingly represented that:

                  Addiction IS NOT when a person develops “withdrawal” (such as
          abdominal cramping or sweating) after the medicine is stopped quickly or the
          dose is reduced by a large amount. Your doctor will avoid stopping your
          medication suddenly by slowly reducing the amount of opioid you take before the
          medicine is completely stopped. Addiction also IS NOT what happens when
          some people taking opioids need to take a higher dose after a period of time in
          order for it to continue to relieve their pain. This normal “tolerance” to opioid
          medications doesn’t affect everyone who takes them and does not, by itself, imply
          addiction. If tolerance does occur, it does not mean you will “run out” of pain
          relief. Your dose can be adjusted or another medicine can be prescribed.

                                                *            *   *

          How can I be sure I’m not addicted?

                Addiction to an opioid would mean that your pain has gone away but you
                 still take the medicine regularly when you don’t need it for pain, maybe
                 just to escape from your problems.

                Ask yourself: Would I want to take this medicine if my pain went away?
                 If you answer no, you are taking opioids for the right reasons – to relieve
                 your pain and improve your function. You are not addicted.

                                                *            *   *

                 Your doctor or nurse may instruct you to do some of the following:

                Take the next dose before the last dose wears off. If pain is present most
                 of the day and night, the pain medicine may be taken at regularly
                 scheduled times. If you are taking a short-acting opioid, this usually

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                  means taking it every 4 hours. You may need to set your alarm, especially
                  at night, to be sure you take your dose before the pain returns and wakes
                  you up.

                 If your pain comes and goes, take your pain medicine when pain first
                  begins, before it becomes severe.

                 If you are taking a long-acting opioid, you may only need to take it every
                  8 to 12 hours, but you may also need to take a short-acting opioid in
                  between for any increase in pain. 134

           291.   In 2008, Endo also provided an “educational grant” to PainEDU.org, which

   produced a document titled “Screener and Opioid Assessment for Patients with Pain (SOAPP)

   Version 1.0-14Q.” Endo and King Pharmaceuticals sponsor PainEDU.org. 135 SOAPP describes

   itself “as a tool for clinicians to help determine how much monitoring a patient on long-term

   opioid therapy might require.” It falsely highlights purportedly “recent findings suggesting that

   most patients are able to successfully remain on long-term opioid therapy without significant

   problems.”

           292.   Endo also sponsored the now-defunct website painknowledge.com, which was

   created by APF and stated it was “a one-stop repository for print materials, educational

   resources, and physician tools across the broad spectrum of pain assessment, treatment, and

   management approaches.” 136 Among other featured content, painknowledge.com included a

   flyer titled “Pain: Opioid Therapy,” which failed to warn of significant adverse effects that could

   134
       Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid
   Analgesics,      Endo       Pharmaceuticals        (2004),         http://www.thblack.com/
   links/RSD/Understand_Pain_Opioid_Analgesics.pdf (emphasis in original).
   135
      B. Eliot Cole, Resources for Education on Pain and Its Management: A Practitioner’s
   Compendium 2 (Am. Society of Pain Educators 2009), https:// www.paineducators.org/wp-
   content/uploads/2012/12/ASPE-ResForEducationOnPainAn.pdf.
   136
      AboutPainKnowledge.org,     PainKnowledge,      http://web.archive.org/web/      2012011
   9124921/http://www.painknowledge.org/aboutpaink.aspx (last visited February 20, 2018).


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   arise from opioid use, including hyperalgesia, immune and hormone dysfunction, cognitive

   impairment, decreased tolerance, dependence and addiction.

           293.   Endo, along with Janssen and Purdue, also provided grants to APF to distribute

   Exit Wounds, discussed above. 137

           294.   Endo also made thousands of payments to physicians nationwide, including to

   County physicians, for activities including participating on speakers’ bureaus, providing

   consulting services, assisting in post-marketing safety surveillance and other services.

                          d.     The FDA Requested Endo Withdraw Opana ER Due to
                                 the Public Health Consequences of Abuse

           295.   On June 8, 2017, the FDA requested that Endo remove reformulated Opana ER

   from the market “based on its concern that the benefits of the drug may no longer outweigh its

   risks.” 138 According to the FDA’s press release, it sought removal “due to the public health

   consequences of abuse.” The decision to seek Opana ER’s removal from sale followed a March

   2017 FDA advisory committee meeting, during which a group of independent experts voted 18-8

   that the drug’s benefits no longer outweigh the risks associated with its use. Should Endo choose

   not to remove Opana ER due to the FDA’s request, the agency stated that it will take steps to

   formally require its removal by withdrawing approval.

           296.   Opana ER is prescribed in the County.

   137
       Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival
   Guide to Pain Management for Returning Veterans and Their Families, Coalition for Iraq +
   Afghanistan                         Veterans,                         https://web.archive.org/web/
   20160804131030/http://coalitionforveterans.org/2009/10/iraq-war-veteran-amputee-pain-
   advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-
   returning-veterans-and-their-families/ (last visited February 20, 2018).
   138
       Press Release, U.S. Food & Drug Administration, FDA Requests Removal of Opana ER for
   Risks Related to Abuse (June 8, 2017), https://www.fda.gov/newsevents/newsroom/
   pressannouncements/ucm562401.htm.


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                    4.       Cephalon & Teva

           297.     Cephalon markets, sells, and distributes the following opioids in the County:

           Actiq (fentanyl Opioid analgesic; oral transmucosal lozenge; indicated only for
           citrate)        the management of breakthrough pain (or “BTP”) in cancer
                           patients – pain that for a short time “breaks through” medication
                           that otherwise effectively controls a patient’s persistent pain – in
                           patients 16 and older with malignancies; commonly referred to
                           as a lollipop because designed to look and perform like one;
                           approved in 1998 with restricted distribution program.
           Fentora         Rapid-release tablet for BTP in cancer patients who are already
           (fentanyl       receiving and tolerant of around-the-clock opioid therapy;
           buccal)         approved 2006.
           Generic of      Opiate agonist.
           OxyContin
           (oxycodone
           hydrochloride)

           298.     Actiq is designed to resemble a lollipop and is meant to be sucked on at the onset

   of intense BTP in cancer patients. It delivers fentanyl citrate, a powerful opioid agonist that is 80

   times stronger than morphine, 139 rapidly into a patient’s bloodstream through the oral

   membranes. 140        Because it is absorbed through those membranes, it passes directly into

   circulation without having to go through the liver or stomach, thereby providing faster relief. 141




   139
       See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J.
   (Nov. 3, 2006), https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-
   fda-curbs/ (hereinafter “Carreyrou, Narcotic Lollipop”).
   140
       Actiq would later become part of a category of opioids now known as transmucosal
   immediate-release fentanyl (“TIRF”) products. “Transmucosal” refers to the means through
   which the opioid is delivered into a patient’s bloodstream, across mucous membranes, such as
   inside the cheek, under the tongue or in the nose.
   141
     Cephalon, Inc., Company-Histories.com, http://www.company-histories.com/Cephalon-Inc-
   Company-History.html (last visited February 20, 2018).


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            299.    In November 1998, the FDA approved Actiq for only a very narrow group of

   people – cancer patients “with malignancies who are already receiving and who are tolerant to

   opioid therapy for their underlying persistent cancer pain.” 142

            300.    Understanding the risks of introducing such an intense opioid analgesic to the

   market, the FDA provided approval of Actiq “ONLY for the management of breakthrough cancer

   pain in patients with malignancies who are already receiving and who are tolerant to opioid

   therapy for their underlying persistent cancer pain.” 143 Further, the FDA explicitly stated that

   Actiq “must not be used in opioid non-tolerant patients,” was contraindicated for the

   management of acute or postoperative pain, could be deadly to children and was “intended to be

   used only in the care of opioid-tolerant cancer patients and only by oncologists and pain

   specialists who are knowledgeable of and skilled in the use of Schedule II opioids to treat cancer

   pain.”

            301.    The FDA also required that Actiq be provided only in compliance with a strict

   risk-management program that explicitly limited the drug’s direct marketing to the approved

   target audiences, defined as oncologists, pain specialists, their nurses and office staff. 144

            302.    In October 2000, Cephalon acquired the worldwide product rights to Actiq and

   began marketing and selling Actiq in the United States.

            303.    Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation

   of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005.

   142
         1998 FDA Label.
   143
       NDA 20-747 Letter from Cynthia McCormick, Center for Drug Evaluation and Research, to
   Patricia J. Richards, Anesta Corporation, http://www.accessdata.fda.gov/drugsatfda_docs/
   appletter/1998/20747ltr.pdf.
   144
         Carreyrou, Narcotic Lollipop, supra n. 135.


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   In September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq,

   but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

   Fentora’s approval to the treatment of BTP in cancer patients who were already tolerant to

   around-the-clock opioid therapy for their underlying persistent cancer pain. Cephalon began

   marketing and selling Fentora in October 2006.

                             a.     Cephalon Falsely and Aggressively Marketed Cancer
                                    Drug Actiq to Non-Cancer Treating Physicians

               304.   Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its

   potential for growing revenue. In order to increase its revenue and market share, Cephalon

   needed to find a broader audience and thus began marketing its lollipop to treat headaches, back

   pain, sports injuries and other chronic non-cancer pain, targeting non-oncology practices,

   including, but not limited to, pain doctors, general practitioners, migraine clinics,

   anesthesiologists and sports clinics. It did so in violation of applicable regulations prohibiting

   the marketing of medications for off-label use and in direct contravention of the FDA’s strict

   instructions that Actiq be prescribed only to terminal cancer patients and by oncologists and pain

   management doctors experienced in treating cancer pain.

               305.   According to “data gathered from a network of doctors by research firm ImpactRx

   between June 2005 and October 2006” (“ImpactRx Survey”), Cephalon sales representatives’

   visits to non-oncologists to pitch Actiq increased sixfold between 2002 and 2005. Cephalon

   representatives would reportedly visit non-oncologists monthly, providing up to 60 or 70

   coupons (each coupon was good for six free Actiq lozenges) and encouraging prescribers to try

   Actiq on their non-cancer patients. 145


   145
         Id.


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               306.   Cephalon’s efforts paid off. In 2000, Actiq generated $15 million in sales. 146 By

   2002, it attributed a 92% increase in Actiq sales to “a dedicated sales force for ACTIQ” and

   “ongoing changes to [its] marketing approach including hiring additional sales representatives

   and targeting our marketing efforts to pain specialists.” 147 By 2005, Actiq’s total sales had

   spiked to $412 million, making it (a drug approved for only a narrow customer base) Cephalon’s

   second-bestselling drug. By the end of 2006, Actiq’s sales had exceeded $500 million. 148

               307.   Only 1% of the 187,076 prescriptions for Actiq filled at retail pharmacies during

   the first six months of 2006 were prescribed by oncologists. Results of the ImpactRx Survey

   suggested that “more than 80 percent of patients who use[d] the drug don’t have cancer.” 149

                             b.     Government Investigations Found Cephalon Falsely
                                    Marketed Actiq for Off-Label Uses

               308.   Beginning in or about 2003, former Cephalon employees filed four whistleblower

   lawsuits claiming the company had wrongfully marketed Actiq for unapproved, off-label uses.

   On September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement

   with the Office of the Inspector General of HHS and agreed to pay $425 million in civil and

   criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

   According to a DOJ press release, Cephalon trained sales representatives to disregard restrictions

   of the FDA-approved label, employed sales representatives and healthcare professionals to speak



   146
         Id.
   147
     Cephalon, Inc. Annual Report (Form 10-K) (Mar. 31, 2003), https://
   www.sec.gov/Archives/edgar/ data/873364/000104746903011137/a2105971z10-k.htm at 28.
   148
         Carreyrou, Narcotic Lollipop, supra n.135.
   149
         Id.


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   to physicians about off-label uses of the three drugs and funded CME to promote off-label uses.

   Specifically, the DOJ stated:

               From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for
               non-cancer patients to use for such maladies as migraines, sickle-cell pain
               crises, injuries, and in anticipation of changing wound dressings or radiation
               therapy. Cephalon also promoted Actiq for use in patients who were not yet
               opioid-tolerant, and for whom it could have life-threatening results. 150

               309.   Then-acting U.S. Attorney Laurie Magid commented on the dangers of

   Cephalon’s unlawful practices:

               “This company subverted the very process put in place to protect the public
               from harm, and put patients’ health at risk for nothing more than boosting its
               bottom line. People have an absolute right to their doctors’ best medical
               judgment. They need to know the recommendations a doctor makes are not
               influenced by sales tactics designed to convince the doctor that the drug being
               prescribed is safe for uses beyond what the FDA has approved.” 151

               310.   Upon information and belief, documents uncovered in the government’s

   investigations confirm that Cephalon directly targeted non-oncology practices and pushed its

   sales representatives to market Actiq for off-label use.          For instance, the government’s

   investigations confirmed:

               •      Cephalon instructed its sales representatives to ask non-cancer doctors whether
                      they have the potential to treat cancer pain. Even if the doctor answered “no,” a
                      decision tree provided by Cephalon instructed the sales representatives to give
                      these physicians free Actiq coupons;

               •      Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
                      patients with migraine headaches;

               •      Cephalon sales representatives utilized the assistance of outside pain management
                      specialists when visiting non-cancer physicians to pitch Actiq. The pain

   150
       Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425
   Million For Off-Label Drug Marketing (Sept. 29, 2008), https://www.justice.gov/
   archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
   151
         Id.


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                  management specialist would falsely inform the physician that Actiq does not
                  cause patients to experience a “high” and carries a low risk of diversion toward
                  recreational use;

           •      Cephalon set sales quotas for its sales and marketing representatives that could
                  not possibly have been met solely by promoting Actiq for its FDA-approved
                  indication;

           •      Cephalon promoted the use of higher doses of Actiq than patients required by
                  encouraging prescriptions of the drug to include larger-than-necessary numbers of
                  lozenges with unnecessarily high doses of fentanyl; and

           •      Cephalon promoted Actiq for off-label use by funding and controlling CME
                  seminars that promoted and misrepresented the efficacy of the drug for off-label
                  uses such as treating migraine headaches and for patients not already opioid-
                  tolerant. 152

           311.   Still, the letters, the FDA’s safety alert, DOJ and state investigations and the

   settlement seemed to have had little impact on Cephalon as it continued its deceptive marketing

   strategy for both Actiq and Fentora.

                         c.       Cephalon Falsely and Aggressively Marketed Cancer
                                  Drug Fentora to Non-Cancer Treating Physicians

           312.   From the time it first introduced Fentora to the market in October 2006, Cephalon

   targeted non-cancer doctors, falsely represented Fentora as a safe, effective off-label treatment

   for non-cancer pain and continued its disinformation campaign about the safety and non-

   addictiveness of Fentora specifically and opioids generally. In fact, Cephalon targeted the same

   pain specialists and non-oncologists that it had targeted with its off-label marketing of Actiq,

   simply substituting Fentora.




   152
      John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J.,
   Nov. 21, 2006, at B1 (hereinafter “Carreyrou, Cephalon Used Improper Tactics”).


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           313.   During an investor earnings call shortly after Fentora’s launch, Cephalon’s chief

   executive officer (“CEO”) described the “opportunity” presented by the use of Fentora for non-

   cancer pain:

                  The other opportunity of course is the prospect for FENTORA outside of
           cancer pain, in indications such as breakthrough lower back pain and
           breakthrough neuropathic pain.

                                                *            *   *

           Of all the patients taking chronic opioids, 32% of them take that medication to
           treat back pain, and 30% of them are taking their opioids to treat neuropathic pain.
           In contrast only 12% are taking them to treat cancer pain, 12%.

                   We know from our own studies that breakthrough pain episodes
           experienced by these non-cancer sufferers respond very well to FENTORA. And
           for all these reasons, we are tremendously excited about the significant impact
           FENTORA can have on patient health and well being and the exciting growth
           potential that it has for Cephalon.

                   In summary, we have had a strong launch of FENTORA and continue to
           grow the product aggressively. Today, that growth is coming from the physicians
           and patient types that we have identified through our efforts in the field over the
           last seven years. In the future, with new and broader indications and a much
           bigger field force presence, the opportunity that FENTORA represents is
           enormous. 153

                          d.     The FDA Warned Cephalon Regarding its False and
                                 Off-Label Marketing of Fentora

           314.   On September 27, 2007, the FDA issued a public health advisory to address

   numerous reports that patients who did not have cancer or were not opioid tolerant had been




   153
       Seeking Alpha, Transcript of Q1 2007 Cephalon, Inc. Earnings Conference Call, May 1,
   2007,                     http://seekingalpha.com/article/34163-cephalon-q1-2007-earnings-call-
   transcript?all=true&find =Q1% 2B2007%2BCephalon%2BMay%2B1%2C% 2B2007 at 6-7.


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   prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

   “Fentora should not be used to treat any type of short-term pain.” 154

           315.   Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

   Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

   treatment of non-cancer BTP. In the application and supporting presentations to the FDA,

   Cephalon admitted both that it knew the drug was heavily prescribed for off-label use and that

   the drug’s safety for such use had never been clinically evaluated. 155       An FDA advisory

   committee lamented that Fentora’s existing risk management program was ineffective and stated

   that Cephalon would have to institute a risk evaluation and mitigation strategy for the drug

   before the FDA would consider broader label indications.           In response, Cephalon revised

   Fentora’s label and medication guide to add strengthened warnings.

           316.   But in 2009, the FDA once again informed Cephalon that the risk management

   program was not sufficient to ensure the safe use of Fentora for already approved indications.

           317.   On March 26, 2009, the FDA warned Cephalon against its misleading advertising

   of Fentora (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement

   as misleading because it purported to broaden “the indication for Fentora by implying that any

   patient with cancer who requires treatment for breakthrough pain is a candidate for Fentora . . .

   154
        Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important
   Information for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
   https://wayback.archive-
   it.org/7993/20170406045231/https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInfo
   rmationforPatientsandProviders/ucm051273.htm.
   155
        FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs
   and Drug Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration
   (May                   6,                    2008),                   https://wayback.archive-
   it.org/7993/20170405034240/https://www.fda.gov/ohrms/dockets/ac/08/slides/2008-4356s2-03-
   Cephalon.pdf.


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   when this is not the case.” Rather, Fentora was only indicated for those who were already opioid

   tolerant. It further criticized Cephalon’s other direct Fentora advertisements because they did not

   disclose the risks associated with the drug.

           318.   Disregarding the FDA’s refusal to approve Fentora for non-cancer BTP and its

   warning against marketing the drug for the same, Cephalon continued to use the same sales

   tactics to push Fentora as it did with Actiq.

           319.   For example, on January 13, 2012, Cephalon published an insert in Pharmacy

   Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA

   (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).”                 Despite the

   repeated warnings of the dangers associated with the use of the drugs beyond their limited

   indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

   judicious use of opioids can facilitate effective and safe management of chronic pain.” 156

                          e.      Cephalon Funded False Publications and Presentations

           320.   In addition to its direct marketing, Cephalon indirectly marketed through third

   parties to change the way doctors viewed and prescribed opioids – disseminating deceptive

   messages that opioids were safe for the treatment of chronic, long-term pain, that they were non-

   addictive and that they were woefully under-prescribed to the detriment of patients who were

   needlessly suffering. It did so by sponsoring pro-opioid front groups, misleading prescription

   guidelines, articles and CME programs, and it paid physicians thousands of dollars every year to

   publicly opine that opioids were safe, effective and non-addictive for a wide variety of uses.



   156
      An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA (Fentanyl
   Bucall Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate), Pharmacy Times (Jan. 13,
   2012), http://www.pharmacytimes.com/publications/issue/2012/january2012/r514-jan-12-rems.


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           321.   Cephalon sponsored numerous CME programs, which were made widely

   available through organizations like Medscape, LLC (“Medscape”) and which disseminated false

   and misleading information to physicians in the County.

           322.   For    example,    a   2003     Cephalon-sponsored      CME      presentation   titled

   “Pharmacologic Management of Breakthrough or Incident Pain,” posted on Medscape in

   February 2003, teaches:

           [C]hronic pain is often undertreated, particularly in the noncancer patient
           population. . . . The continued stigmatization of opioids and their prescription,
           coupled with often unfounded and self-imposed physician fear of dealing with
           the highly regulated distribution system for opioid analgesics, remains a barrier
           to effective pain management and must be addressed. Clinicians intimately
           involved with the treatment of patients with chronic pain recognize that the
           majority of suffering patients lack interest in substance abuse. In fact, patient
           fears of developing substance abuse behaviors such as addiction often lead to
           undertreatment of pain. The concern about patients with chronic pain
           becoming addicted to opioids during long-term opioid therapy may stem from
           confusion between physical dependence (tolerance) and psychological
           dependence (addiction) that manifests as drug abuse. 157


           323.   Another Cephalon-sponsored CME presentation titled “Breakthrough Pain:

   Treatment Rationale with Opioids” was available on Medscape starting September 16, 2003 and

   was given by a self-professed pain management doctor with interests in “previously operated

   back, complex pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain

   process as a non-time-dependent continuum that requires a balanced analgesia approach using

   “targeted pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”158 The

   doctor lists fentanyl as one of the most effective opioids available for treating BTP, describing its

   157
     Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
   Medscape, http://www.medscape.org/viewarticle/449803 (last visited February 20, 2018).
   158
       Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
   http://www.medscape.org/viewarticle/461612 (last visited February 20, 2018).


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   use as an expected and normal part of the pain management process. Nowhere in the CME

   presentation is cancer or cancer pain mentioned.

               324.   Dr. Stephen H. Landy (“Landy”) authored a 2004 CME manuscript available on

   Medscape titled “Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine Headache

   Pain In Outpatients: A Case Series.” The manuscript preparation was supported by Cephalon.

   Landy describes the findings of a study of fentanyl citrate for the use of migraine headache pain

   and concluded that “OTFC rapidly and significantly relieved acute, refractory migraine pain in

   outpatients . . . and was associated with high patient satisfaction ratings.” 159        Based on an

   analysis of publicly available data, Cephalon paid Landy approximately $190,000 in 2009-2010

   alone, and in 2015-2016, Cephalon paid Landy another $75,000.

               325.   In 2006, Cephalon sponsored a review of scientific literature to create additional

   fentanyl-specific dosing guidelines titled “Evidence-Based Oral Transmucosal Fentanyl Citrate

   (OTFC®) Dosing Guidelines.” 160 The article purports to review the evidence for dosing and

   efficacy of oral transmucosal fentanyl citrate in the management of pain and produce dosing

   guidelines in both cancer and non-cancer patients. In pertinent part, it states:

                       Oral transmucosal fentanyl citrate has a proven benefit in treating cancer-
               associated breakthrough pain in opioid-tolerant patients with cancer, which is the
               Food and Drug Administration (FDA)-approved indication for Actiq. Pain
               medicine physicians have also used OTFC successfully to provide rapid pain
               relief in moderate to severe noncancer pain in both opioid-tolerant and opioid-
               nontolerant patients. 161

   159
       Stephen H. Landy, Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine
   Headache Pain In Outpatients: A Case Series, 44(8) Headache (2004),
   http://www.medscape.com/viewarticle/488337_2.
   160
      Gerald M. Aronoff, et al., Evidence-Based Oral Transmucosal Fentanyl Citrate (OTFC)
   Dosing Guidelines, 6(4) Pain Med. 305-14 (2005).
   161
         Id.

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               326.   Deeper into the article, the authors attempt to assuage doctors’ concerns regarding

   possible overdose and respiratory distress in non-cancer patients by arguing “[t]here is no

   evidence that opioid safety and efficacy differs in opioid-tolerant patients with chronic

   noncancer pain.”          Regarding the use of fentanyl to treat non-opioid-tolerant patients, the

   article’s authors stated:

               Alternatively, OTFC might also be used cautiously and safely for acute pain
               experienced by patients who are not opioid tolerant. Parenteral opioids are
               routinely used for acute pain in patients who are not opioid tolerant. Examples
               include episodic pain (i.e., refractory migraine pain, recurrent renal calculi, etc.)
               and acute pain that follows surgery, trauma, or painful procedures (burn dressing
               change, bone marrow aspiration, lumbar puncture). Assuming that clinical
               experience with IV morphine in patients who are not opioid tolerant can be
               extrapolated, OTFC should be safe and efficacious in such settings as well. 162

               327.   Through its sponsorship of the FSMB’s “Responsible Opioid Prescribing: A

   Physician’s Guide”, Cephalon continued to encourage the prescribing of opioid medication to

   “reverse . . . and improve” patient function, attributing patients’ displays of traditional drug-

   seeking behaviors as merely “pseudoaddiction.”

               328.   Cephalon also disseminated its false messaging through speakers’ bureaus and

   publications. For example, at an AAPM annual meeting held February 22 through 25, 2006,

   Cephalon sponsored a presentation by Webster and others titled “Open-label study of fentanyl

   effervescent buccal tablets in patients with chronic pain and breakthrough pain: Interim safety

   results.”      The presentation’s agenda description states: “Most patients with chronic pain

   experience episodes of breakthrough pain (BTP), yet no currently available pharmacologic agent

   is ideal for its treatment.” The presentation purports to cover a study analyzing the safety of a

   new form of fentanyl buccal tablets in the chronic pain setting and promises to show the


   162
         Id.


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   “[i]nterim results of this study suggest that FEBT is safe and well-tolerated in patients with

   chronic pain and BTP.”

           329.   Cephalon sponsored another CME activity written by Webster and M. Beth Dove

   titled “Optimizing Opioid Treatment for Breakthrough Pain” and offered on Medscape from

   September 28, 2007 through December 15, 2008. The CME activity teaches that non-opioid

   analgesics and combination opioids containing non-opioids such as aspirin and acetaminophen

   are less effective at treating BTP than pure opioid analgesics because of dose limitations on the

   non-opioid component. 163

           330.   Perry G. Fine authored a Cephalon-sponsored CME article titled “Opioid-Based

   Management of Persistent and Breakthrough Pain,” with Drs. Christine A. Miaskowski and

   Michael J. Brennan. Cephalon paid to have this CME article published in a “Special Report”

   supplement of the journal Pain Medicine News in 2009. 164 The CME article targeted a wide

   variety of non-oncologist healthcare providers who treat patients with chronic pain with the

   objective of educating “health care professionals about a semi-structured approach to the opioid-

   based management of persistent and breakthrough pain,” including the use of fentanyl. The

   CME article purports to analyze the “combination of evidence- and case-based discussions” and

   ultimately concludes:

                   Chronic pain is a debilitating biopsychosocial condition prevalent in both
           cancer and noncancer pain populations. . . . Opioids have an established role in
           pain related to cancer and other advanced medical illnesses, as well as an
           increasing contribution to the long-term treatment of carefully selected and

   163
       Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
   http://www.medscape.org/viewarticle/563417_6 (last visited February 20, 2018).
   164
      Perry G. Fine, et al., Opioid-Based Management of Persistent and Breakthrough Pain,
   Special Report (2009), https://www.yumpu.com/en/document/ view/11409251/opioid-based-
   management-of-persistent-and-breakthrough-pain/9.


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               monitored patients with certain [chronic noncancer pain] conditions. All
               individuals with chronic, moderate to severe pain associated with functional
               impairment should be considered for a trial or opioid therapy, although not all
               of them will be selected. 165

               331.   Along with Purdue, Cephalon sponsored APF’s guide, which warned against the

   purported under-prescribing of opioids, taught that addiction is rare and suggested that opioids

   have “no ceiling dose” and are therefore, the most appropriate treatment for severe pain.

               332.   A summary of the February 12-16, 2008 AAPM annual meeting reinforced the

   message, promoted both by the AAPM and the APS, that “the undertreatment of pain is

   unjustified.” It continues:

               Pain management is a fundamental human right in all patients not only with
               acute postoperative pain but also in patients suffering from chronic pain.
               Treating the underlying cause of pain does not usually treat all of the ongoing
               pain. Minimal pathology with maximum dysfunction remains the enigma of
               chronic pain. Chronic pain is only recently being explored as a complex
               condition that requires individual treatment and a multidisciplinary approach. It is
               considered to be a disease entity. 166

               333.   Cephalon was one of several opioid manufacturers who collectively paid 14 of the

   21 panel members who drafted the 2009 APS-AAPM opioid treatment guidelines. 167

               334.   In the March 2007 article titled “Impact of Breakthrough Pain on Quality of Life

   in Patients with Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment with Oral

   Transmucosal Fentanyl Citrate,” 168 published in the nationally circulated journal Pain Medicine,

   165
         Id.
   166
     Mohamed A. Elkersh & Zahid H. Bajwa, Highlights From the American Academy of Pain
   Medicine 24th Annual Meeting, 2(1) Advances in Pain Management 50-52 (2008).
   167
         See Chou, Clinical Guidelines, supra n.59.
   168
      Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
   Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
   Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).


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   physicians paid by Cephalon (including Webster) described the results of a Cephalon-sponsored

   study seeking to expand the definition of BTP to the chronic, non-cancer setting. The authors

   stated that the “OTFC has been shown to relieve BTP more rapidly than conventional oral,

   normal-release, or ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a

   qualitative evaluation of the effect of BTP on the [quality of life] of noncancer pain patients.”169

   The number-one-diagnosed cause of chronic pain in the patients studied was back pain (44%),

   followed by musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and

   recommends fentanyl for non-cancer BTP patients:

                      In summary, BTP appears to be a clinically important condition in patients
               with chronic noncancer pain and is associated with an adverse impact on QoL.
               This qualitative study on the negative impact of BTP and the potential benefits of
               BTP-specific therapy suggests several domains that may be helpful in developing
               BTP-specific, QoL assessment tools. 170

               335.   Cephalon also sponsored, through an educational grant, the regularly published

   journal Advances in Pain Management. In a single 2008 issue of the journal, there are numerous

   articles from Portenoy, Dr. Steven Passik (“Passik”), Dr. Kenneth L. Kirsh (“Kirsh”) and

   Webster, all advancing the safety and efficacy of opioids. In an article titled “Screening and

   Stratification Methods to Minimize Opioid Abuse in Cancer Patients,” Webster expresses disdain

   for the prior 20 years of opioid phobia.

               336.   In another article from the same issue, “Appropriate Prescribing of Opioids and

   Associated Risk Minimization,” Passik and Kirsh state: “[c]hronic pain, currently experienced by

   approximately 75 million Americans, is becoming one of the biggest public health problems in

   the US.” They assert that addiction is rare, that “[m]ost pain specialists have prescribed opioids

   169
         Id.
   170
         Id.


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   for long periods of time with success demonstrated by an improvement in function” and that

   then-recent work had shown “that opioids do have efficacy for subsets of patients who can

   remain on them long term and have very little risk of addiction.” 171

               337.   In November 2010, Fine and others published an article presenting the results of

   another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl Buccal

   Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain:

   An 18-Month Study.” 172 In that article, Fine explained that the 18-month “open-label” study

   “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP in a

   large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for persistent

   [sic] noncancer pain.” The article acknowledges that: (a) “[t]here has been a steady increase in

   the use of opioids for the management of chronic noncancer pain over the past two decades”;

   (b) the “widespread acceptance” had led to the publishing of practice guidelines “to provide

   evidence- and consensus-based recommendations for the optimal use of opioids in the

   management of chronic pain”; and (c) those guidelines lacked “data assessing the long-term

   benefits and harms of opioid therapy for chronic pain.” 173

               338.   They conclude: “[T]he safety and tolerability profile of [Fentora] in this study was

   generally typical of a potent opioid.         The [adverse events] observed were, in most cases,




   171
      Steven D. Passik & Kenneth L. Kirsh, Appropriate Prescribing of Opioids and Associated
   Risk Minimization, 2(1) Advances in Pain Management 9-16 (2008).
   172
      Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
   Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
   Study, 40(5) J. Pain & Symptom Management 747-60 (Nov. 2010).
   173
         Id.


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   predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

   events was “small.” 174

               339.   From 2000 forward, Cephalon has paid doctors nationwide millions of dollars for

   programs relating to its opioids, many of whom were not oncologists and did not treat cancer

   pain. These doctors included Portenoy, Webster, Fine, Passik, Kirsh, Landy and others.

               340.   Cephalon’s payments to doctors have resulted in studies that support its sales but,

   on closer examination, are biased or irreparably flawed. For instance, and upon information and

   belief, the governmental whistleblower investigation into Actiq revealed that two studies touted

   by Cephalon had tested fewer than 28 patients and had no control group whatsoever. 175 A 2012

   article evaluating the then-current status of transmucosal fentanyl tablet formulations for the

   treatment of BTP in cancer patients noted that clinical trials to date used varying criteria, that

   “the approaches taken . . . [did] not uniformly reflect clinical practice” and that “the studies ha[d]

   been sponsored by the manufacturer and so ha[d] potential for bias.” 176

                      5.     Insys

               341.   Insys markets, sells, and distributes the following pharmaceutical drug in the

   County:

               Subsys          Fentanyl sublingual spray; semi-synthetic opioid agonist,
               (fentanyl)      approved in 2012.




   174
         Id.
   175
         Carreyrou, Cephalon Used Improper Tactics, supra n.148.
   176
      Eric Prommer & Brandy Fleck, Fentanyl Transmucosal Tablets: Current Status in the
   Management of Cancer-related Breakthrough Pain, 2012(6) Patient Preference and Adherence
   465-75 (June 25, 2012).


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           342.   Subsys is indicated “for the management of breakthrough pain in cancer patients

   18 years of age and older who are already receiving and are tolerant to opioid therapy for their

   underlying persistent cancer pain.” 177 The indication also specifies that “SUBSYS is intended to

   be used only in the care of cancer patients and only by oncologists and pain specialists who are

   knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.” In addition,

   the indication provides that “[p]atients must remain on around-the-clock opioids when taking

   SUBSYS.” Subsys is contraindicated for, among other ailments, the “[m]anagement of acute or

   postoperative pain including headache/migraine and dental pain.” It is available in 100 mcg,

   200 mcg, 400 mcg, 600 mcg and 800 mcg dosage strengths.

           343.   Insys’ revenue is derived almost entirely from Subsys. According to its Form

   10-K for 2015, Insys reported revenues of $331 million. Of that total, $329.5 million was

   derived from sales of Subsys.

           344.   According to Dr. Andrew Kolodny, executive director of Physicians for

   Responsible Opioid Prescribing and chief medical officer of the Phoenix House Foundation,

   fentanyl products are “‘the most potent and dangerous opioids on the market.’” 178

           345.   The dangers associated with Subsys are reflected by its extremely limited and

   specific indication, as it is approved solely for BTP in cancer patients already receiving opioids

   for persistent cancer-related pain.


   177
       The indication provides that “[p]atients considered opioid tolerant are those who are taking
   around-the-clock medicine consisting of at least 60 mg of oral morphine daily, at least 25 mcg of
   transdermal fentanyl/hour, at least 30 mg of oral oxycodone daily, at least 8 mg of oral
   hydromorphone daily or an equianalgesic dose of another opioid daily for a week or longer.”
   178
      Dina Gusovsky, The Pain Killer: A Drug Company Putting Profits Above Patients, CNBC
   (Nov. 5, 2015, 10:13 AM), http://www.cnbc.com/2015/11/04/the-deadly-drug-appeal-of-insys-
   pharmaceuticals.html.


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           346.    Despite Subsys’ limited indication and the potent danger associated with fentanyl,

   Insys falsely and misleadingly marketed Subsys to doctors as an effective treatment for back

   pain, neck pain and other off-label pain conditions. 179 Moreover, as of June 2012, Insys defined

   BTP in cancer patients to include mild pain: a “flare of mild-to-severe pain in patients with

   otherwise stable persistent pain,” based on a misleading citation to a paper written by

   Portenoy. 180 Insys trained and instructed its sales representatives to use the false definition of

   breakthrough pain and specifically to use a core visual aid, including the improper definition,

   whenever they detailed Subsys to a healthcare provider or provider’s office.

           347.    According to a 2014 article in The New York Times, only 1% of prescriptions for

   Subsys were written by oncologists. Approximately half the prescriptions were written by pain

   specialists, with others written by other specialists including dentists and podiatrists. 181

                           a.      The Indictment of Insys Executives and Arrest of Its
                                   Founder

           348.    On December 8, 2016, several former Insys executives were arrested and indicted

   for conspiring to bribe practitioners in numerous states, many of whom operated pain clinics, in


   179
      In the Matter of Insys Therapeutics, Inc., Notice of Unlawful Trade Practices and Proposed
   Resolution (July 10, 2015), https://www.documentcloud.org/ documents/2195731-insysdoj.html.
   180
       Portenoy’s paper, “Breakthrough Pain: Definition, Prevalence and Characteristics,” which
   was featured in the 1990 issue of Pain, actually defined breakthrough pain as “a transitory
   increase in pain to greater than moderate intensity (that is, to an intensity of ‘severe’ or
   ‘excruciating’) . . . on a baseline pain of moderate intensity or less.” Russell K. Portenoy & Neil
   A. Hagen, Breakthrough Pain: Definition, Prevalence and Characteristics, 41(3) Pain 273-81
   (July 1990).
   181
       Katie Thomas, Doubts Raised About Off-Label Use of Subsys, a Strong Painkiller, N.Y.
   Times (May 13, 2014), https://www.nytimes.com/2014/05/14/ business/doubts-raised-about-off-
   label-use-of-subsys-a-strong-painkiller.html?action=
   click&contentCollection=Business%20Day&region=Footer&module=MoreInSection&pgtype=
   Blogs&_r=2.


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   order to induce them to prescribe Subsys. In exchange for bribes and kickbacks, the practitioners

   wrote large numbers of prescriptions for patients, most of whom were not diagnosed with

   cancer. 182

           349.   The indictment alleged that the former executives conspired to mislead and

   defraud health insurance providers, who were reluctant to approve payment for Subsys when it

   was prescribed for patients without cancer. In response, the former executives established a

   “reimbursement unit” at Insys, which was dedicated to assisting physicians by obtaining prior

   authorization for prescribing Subsys directly from insurers and pharmacy benefit managers.

   Insys’ reimbursement unit employees were told to inform agents of insurers and pharmacy

   benefit managers that they were calling “from” or that they were “with” the doctor’s office, or

   that they were calling “on behalf of” the doctor.

           350.   The executive defendants in the indictment are Insys’ former CEO and president,

   former vice president of sales, former national director of sales, former vice president of

   managed markets and several former regional sales directors.        On October 26, 2017, the

   billionaire founder, CEO, and chairman of Insys, John Kapoor, who owns approximately 70% of

   the company, was also charged with fraud and racketeering and was accused of offering bribes to




   182
       Press Release, U.S. Attorney’s Office for the District of Massachusetts, Pharmaceutical
   Executives Charged in Racketeering Scheme (Dec. 8, 2016), https://www.justice.gov/usao-
   ma/pr/pharmaceutical-executives-charged-racketeering-scheme (hereinafter “Insys Indictment
   Press Release”); United States v. Babich, et al., No. 1:16-cr-10343-ADB, Dkt. No. 1 (D. Mass.
   Dec. 6, 2016), https://www.justice.gov/usao-ma/press-release/file/916681/download (hereinafter
   “Insys Indictment”).


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   doctors to write large numbers of prescriptions for Subsys. Most of the patients who received

   the medication did not have cancer. 183

               351.   The charges against all seven executives include alleged violations of the federal

   Anti-Kickback Law, the federal Racketeer Influenced and Corrupt Organizations (“RICO”)

   statute and conspiracy to commit wire and mail fraud, as well as allegations of bribery and

   defrauding insurers. If found guilty, the defendants face possible sentences of up to 20 years for

   conspiracy to commit RICO and conspiracy to commit mail and wire fraud, as well as a fine of

   $250,000 or twice the amount of the pecuniary gain or loss. For the charge of conspiracy to

   violate the Anti-Kickback Law, the defendants face a sentence of up to five years in prison and a

   $25,000 fine.

               352.   The indictment details a coordinated, centralized scheme by Insys to illegally

   drive profits. The company defrauded insurers from a call center at corporate headquarters

   where Insys employees, acting at the direction of Insys’ former CEO and vice president of

   managed markets, disguised their identity and the location of their employer and lied about

   patient diagnoses, the type of pain being treated and the patient’s course of treatment with other

   medication.

               353.   Harold Shaw, special agent in charge of the FBI Boston field division, said in a

   statement, “As alleged, these executives created a corporate culture at Insys that utilized

   deception and bribery as an acceptable business practice, deceiving patients, and conspiring with

   doctors and insurers.” 184

   183
       Michela Tindera, Opioid Billionaire Arrested on Racketeering Charges, Forbes (October 26,
   2017) (https://www.forbes.com/sites/michelatindera/2017/10/26/opioid-billionaire-arrested-on-
   racketeering-charges/#1af3f9076a00) (hereinafter “Tindera, Opioid Billionaire Arrested”).
   184
         Id.

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                           b.     Insys Targeted Non-Cancer Treating Physicians and
                                  Funded False Publications and Presentations

            354.    As set forth in the above-referenced indictment, Insys targeted and bribed

   practitioners in a number of ways. Insys bribed Subsys prescribers through strategic hires and by

   employing sales representatives and other employees at practitioners’ behest, with the

   expectation that such hires would provide inroads with key practitioners. Insys also bribed

   practitioners through a sham speakers’ bureau that was purportedly intended to increase brand

   awareness using peer-to-peer educational lunches and dinners.

            355.    Specifically, in June 2012, former executives began using in-person meetings,

   telephone calls and texts to inform Insys sales representatives that the key to sales was using the

   speakers’ bureau to pay practitioners to prescribe Subsys.         As one of the company’s vice

   presidents for sales texted one of his sales representatives about potential physicians for the

   speakers’ bureau: “[t]hey do not need to be good speakers, they need to write a lot of [Subsys

   prescriptions].”    The former Insys executives actively recruited physicians known to have

   questionable prescribing habits for these speakers’ bureaus. 185

            356.    The speakers’ bureaus were often just social gatherings at high-priced restaurants

   involving neither education nor presentations.       Frequently, they involved repeat attendees,

   including physicians not licensed to prescribe Subsys. Many of the speakers’ bureaus had no

   attendees; sales representatives were instructed to falsely list names of attendees and their

   signatures on Insys’ sign-in sheets.

            357.    Insys made thousands of payments to physicians nationwide, including to

   physicians in the County, for participating on these speakers’ bureaus and for other services.


   185
         Insys Indictment Press Release, supra n.182.


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             358.     Moreover, the executives are charged with targeting practitioners who prescribed

   Subsys not only for cancer pain, but for all pain.

             359.     As set forth in the indictment, at one national speakers’ bureau in or about 2014,

   Insys’ then-vice president of sales stated:

                     “These [doctors] will tell you all the time, well, I’ve only got like eight
             patients with cancer. Or, I only have, like, twelve patients that are on a rapid-
             onset opioids [sic]. Doc, I’m not talking about any of those patients. I don’t want
             any of those patients. That’s, that’s small potatoes. That’s nothing. That’s not
             what I’m here doing. I’m here selling [unintelligible] for the breakthrough pain.
             If I can successfully sell you the [unintelligible] for the breakthrough pain, do you
             have a thousand people in your practice, a thousand patients, twelve of them are
             currently on a rapid-onset opioids [sic]. That leaves me with at least five
             hundred patients that can go on this drug.” 186

             360.     Moreover, when agents of insurers or pharmacy benefit managers asked if a

   patient was being treated for BTP in cancer patients, Insys’ reimbursement unit employees were

   instructed to answer using a written script, sometimes called “the spiel”: “‘The physician is

   aware that the medication is intended for the management of breakthrough pain in cancer

   patients. The physician is treating the patient for their pain (or breakthrough pain, whichever is

   applicable).’” 187

             361.     Insys’ former executives also tracked and internally circulated the number of

   planned and completed speakers’ bureau events for each speaker, as well as the number of

   Subsys prescriptions each speaker wrote, the percentage of such prescriptions compared to those

   written for Subsys’ competitor drugs, the total amount of honoraria paid to each speaker and, for

   a period of time, an explicit calculation of the ratio of return on investment for each speaker.

   When a speaker did not write an appropriate number of Subsys prescriptions, as determined by

   186
         Insys Indictment, supra n.182, at 15.
   187
         Id. at 44.


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   Insys, the number of future events for which that speaker would be paid would be reduced unless

   and until he or she wrote more Subsys prescriptions.

               362.   In a press release issued when the indictment was announced, the Massachusetts

   U.S. Attorney, Carmen M. Ortiz, stated: “‘I hope that today’s charges send a clear message that

   we will continue to attack the opioid epidemic from all angles, whether it is corporate greed or

   street level dealing.’” 188

               363.   In the same press release, the FBI Special Agent in Charge of the Boston Field

   Division, Harold H. Shaw, linked the allegations to the national opioid epidemic:

                       “As alleged, top executives of Insys Therapeutics, Inc. paid kickbacks
               and committed fraud to sell a highly potent and addictive opioid that can lead to
               abuse and life threatening respiratory depression . . . . In doing so, they
               contributed to the growing opioid epidemic and placed profit before patient
               safety. These indictments reflect the steadfast commitment of the FBI and our
               law enforcement partners to confront the opioid epidemic impacting our
               communities, while bringing to justice those who seek to profit from fraud or
               other criminal acts.” 189

               364.   The Special Agent in Charge at the Defense Criminal Investigative Service in the

   Northeast Field Office, Craig Rupert, commented specifically on the effect the criminal activities

   had on members of the military: “‘Causing the unnecessary use of opioids by current and retired

   U.S. military service members shows disregard for their health and disrespect for their service to

   our country . . . .’” 190




   188
         Insys Indictment Press Release, supra n.182.
   189
         Id.
   190
         Id.


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                 6.      Mallinckrodt

          365.   Mallinckrodt markets, sells, and distributes pharmaceutical drugs in the County.

   Mallinckrodt is the largest U.S. supplier of opioid pain medications and among the top ten

   generic pharmaceutical manufacturers in the United States, based on prescriptions.

          366.   Among the drugs it distributes are the following:

          Exalgo             Opioid agonist indicated for opioid-tolerant patients for
          (hydromorphone     management of pain severe enough to require daily, around-
          hydrochloride      the-clock, long-term opioid treatment and for which
          extended           alternative treatment options (e.g., non-opioid analgesics) are
          release)           inadequate. The FDA approved the 8, 12, and 16 mg tablets of
                             Exalgo in March 2010 and 32 mg tablet in August 2012.
          Roxicodone         Brand-name instant-release form of oxycodone hydrochloride.
          (oxycodone         Indicated for the management of pain severe enough to
          hydrochloride)     require an opioid analgesic and for which alternative
                             treatments are inadequate. Acquired from Xanodyne
                             Pharmaceuticals in 2012. Strengths range up to 30 mg per pill.
                             Nicknames include Roxies, blues, and stars.
          Xartemis XR        The FDA approved Xartemis XR in March 2014 for the
          (oxycodone         management of acute pain severe enough to require opioid
          hydrochloride      treatment and in patients for whom alternative treatment
          and                options are ineffective, not tolerated or would otherwise be
          acetaminophen)     inadequate. It was the first extended-release oral combination
                             of oxycodone and acetaminophen.
          Methadose          Branded generic product. Opioid agonist indicated for
          (methadone         treatment of opioid addiction.
          hydrochloride)
          Morphine           Generic product.
          sulfate extended
          release
          Fentanyl           Generic product.
          extended release
          Fentanyl citrate   Generic product.
          Oxycodone and      Generic product.
          acetaminophen
          Hydrocodone        Generic product.
          bitartrate and
          acetaminophen
          Hydromorphone      Generic product.
          hydrochloride



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           Hydromorphone        Generic product.
           hydrochloride
           extended release
           Naltrexone           Generic product.
           hydrochloride
           Oxymorphone          Generic product.
           hydrochloride
           Methadone            Generic product.
           hydrochloride
           Oxycodone            Generic product.
           hydrochloride

           367.     Mallinckrodt purchased Roxicodone from Xanodyne Pharmaceuticals in 2012. 191

           368.     Mallinckrodt debuted Xartemis (MNK-795) at the September 4-7, 2013

   PAINWeek in Las Vegas.

                           a.     Mallinckrodt Funded False Publications and
                                  Presentations

           369.     Like several of the other Manufacturer Defendants, Mallinckrodt provided

   substantial funding to purportedly neutral organizations, which disseminated false messaging

   about opioids.

           370.     For example, until at least February 2009, Mallinckrodt provided an educational

   grant to Pain-Topics.org, a now-defunct website that touted itself as “a noncommercial resource

   for healthcare professionals, providing open access to clinical news, information, research, and

   education for a better understanding of evidence-based pain-management practices.” 192




   191
      Mallinckrodt Announces Agreement with Xanodyne to Purchase Roxicodone, Bus. Wire
   (Aug. 23, 2012), http://www.businesswire.com/news/ home/20120823005209/en/Mallinckrodt-
   Announces-Agreement-Xanodyne-Purchase-Roxicodone%C2%AE.
   192
       Pain                  Treatment                Topics,                      Pain-Topics.org,
   https://web.archive.org/web/20070104235709/http://www.pain-topics.org:80/        (last   visited
   February 20, 2018).


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               371.   Among other content, the website included a handout titled “Oxycodone Safety

   Handout for Patients,” which advised practitioners that: “Patients’ fears of opioid addiction

   should be dispelled.” 193        The handout included several false and misleading statements

   concerning the risk of addiction associated with prescription opioids:

               Will you become dependent on or addicted to oxycodone?

                     After a while, oxycodone causes physical dependence. That is, if you
                      suddenly stop the medication you may experience uncomfortable
                      withdrawal symptoms, such as diarrhea, body aches, weakness,
                      restlessness, anxiety, loss of appetite, and other ill feelings. These may
                      take several days to develop.

                     This is not the same as addiction, a disease involving craving for the drug,
                      loss of control over taking it or compulsive use, and using it despite harm.
                      Addiction to oxycodone in persons without a recent history of alcohol or
                      drug problems is rare. 194

               372.   Additionally, the FAQ section of Pain-Topics.org contained the following false

   and misleading information downplaying the dangers of prescription opioid use:

                       Pseudoaddiction – has been used to describe aberrant patient behaviors
               that may occur when pain is undertreated (AAPM 2001). Although this diagnosis
               is not supported by rigorous investigation, it has been widely observed that
               patients with unrelieved pain may become very focused on obtaining opioid
               medications, and may be erroneously perceived as “drug seeking.”
               Pseudoaddiction can be distinguished from true addiction in that the behaviors
               resolve when the pain is effectively treated. Along with this, two related
               phenomena have been described in the literature (Alford et al. 2006):

                      Therapeutic dependence – sometimes patients exhibit what is considered
               drug-seeking because they fear the reemergence of pain and/or withdrawal
               symptoms from lack of adequate medication; their ongoing quest for more
               analgesics is in the hopes of insuring a tolerable level of comfort.



   193
       Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handout for Patients, Pain-Topics.Org
   (June 2007), http://paincommunity.org/blog/wp-content/uploads/ Oxycodone/Handout.pdf.
   194
         Id.


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                              Pseudo-opioid-resistance – other patients, with adequate pain
                      control, may continue to report pain or exaggerate its presence, as if their
                      opioid analgesics are not working, to prevent reductions in their currently
                      effective doses of medication.

                         Patient anxieties about receiving inadequate pain control can be profound,
               resulting in demanding or aggressive behaviors that are misunderstood by
               healthcare practitioners and ultimately detract from the provision of adequate pain
               relief. 195

               373.   Another document available on the website, “Commonsense Oxycodone

   Prescribing & Safety,” falsely suggests that generic oxycodone is less prone to abuse and

   diversion than branded oxycodone: “Anecdotally, it has been observed that generic versions of

   popularly abused opioids usually are less appealing; persons buying drugs for illicit purposes

   prefer brand names because they are more recognizable and the generics have a lower value ‘on

   the street,’ which also makes them less alluring for drug dealers.” 196

               374.   In November 2016, Mallinckrodt paid Dr. Scott Gottlieb (“Gottlieb”), the new

   commissioner of the FDA, $22,500 for a speech in London, shortly after the U.S. presidential

   election. 197      Gottlieb has also received money from the Healthcare Distribution Alliance

   (“HDA”), an industry-funded organization that pushes the agenda of large pharmaceutical

   wholesalers, and he has often criticized efforts aimed at regulating the pharmaceutical opioid

   market. 198

   195
       FAQs, Pain-Topics.org, https://web.archive.org/web/20070709031530/ http://www.pain-
   topics.org:80/faqs/index1.php#tolerance.
   196
       Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handout for Patients, Pain-Topics.Org
   (June 2007), http://paincommunity.org/blog/wp-content/uploads/OxycodoneHandout.pdf.
   197
      Lee Fang, Donald Trump’s Pick to Oversee Big Pharma Is Addicted to Opioid-Industry
   Cash, Intercept (Apr. 4, 2017, 2:15 PM), https://theintercept.com/ 2017/04/04/scott-gottlieb-
   opioid/.
   198
         Id.


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               375.   Mallinckrodt also made thousands of payments to physicians nationwide,

   including to physicians in the County.

               376.   Exalgo, Roxicodone and Xartemis XR have been widely prescribed in the

   County.

                            b.     The DEA Investigates Suspicious Orders

               377.   In 2008, the DEA and federal prosecutors launched an investigation into

   Mallinckrodt, charging that the company ignored red flags and supplied – and failed to report –

   suspicious orders for its generic oxycodone between 2008 and 2012. 199 The U.S. Attorney’s

   office in Detroit, handled the case.        The investigation uncovered that from 2008 to 2012,

   Mallinckrodt sent, for example, 500 million tablets of oxycodone into a single state.200

   According to the internal government documents obtained by The Washington Post,

   Mallinckrodt’s failure to report could have resulted in “nearly 44,000 federal violations and

   exposed it to $2.3 billion in fines.” 201

               378.   Despite learning from the DEA that generic opioids seized in a Tennessee drug

   operation were traceable to one of its distributors, Sunrise Wholesale (“Sunrise”), Mallinckrodt

   in the following six weeks sent 2.1 million tablets of oxycodone to Sunrise. In turn, Sunrise sent

   at least 92,400 oxycodone tablets to a single doctor over an 11-month period, who, in one day,

   prescribed 1,000 to a single patient. 202

   199
       Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers
   accountable, Wash. Post (Apr. 2, 2017), https://www.washingtonpost.com/graphics/
   investigations/dea-mallinckrodt/?utm_ term=.7ce8c975dd86.
   200
         Id.
   201
         Id.
   202
         Id.

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               379.   According to documents obtained by the Washington Post, investigators also

   found “scores of alleged violations” at Mallinckrodt’s plant in Hobart, New York.         Those

   violations included the failure to keep accurate records, to document transfers of drugs and to

   secure narcotics. 203

               380.   During the DEA’s investigation, Mallinckrodt sponsored the HDA (known as the

   Healthcare Distribution Management Association until 2016), an industry-funded organization

   that represents pharmaceutical distributors. 204 The HDA initiated the Ensuring Patient Access

   and Effective Drug Enforcement Act of 2016 (enacted April 19, 2016), which requires the DEA

   to give notice of violations and an opportunity to comply, to pharmacies and distributors, before

   withdrawing licenses.         This Act substantially lessened the DEA’s ability to regulate

   manufacturers and wholesalers. 205

               381.   In May 2014, Mallinckrodt posted a video titled “Red Flags: Pharmacists Anti-

   Abuse Video.” The video is a thinly veiled attempt to divert responsibility for the opioid

   epidemic away from manufacturers and wholesalers, and toward individual pharmacists. The

   video was sponsored by the Anti-Diversion Industry Working Group, which is composed of,

   among others, McKesson, Mallinckrodt, AmerisourceBergen, and Qualitest—all of whom are

   conveniently missing from the list of those responsible. 206

   203
         Id.
   204
       Sponsors: HDA’s Annual Circle Sponsors, Healthcare Distribution                     Alliance,
   https://www.healthcaredistribution.org/hda-sponsors (last visited February 20, 2018).
   205
      Chris McGreal, Opioid Epidemic: Ex-DEA Official Says Congress is Protecting Drug
   Makers, Guardian (Oct. 31, 2016, 9:26 EDT), https://www.theguardian.com/us-
   news/2016/oct/31/opioid-epidemic-dea-official-congress-big-pharma.
   206
       Mallinckrodt Pharmaceuticals, Red Flags: Pharmacists Anti-Abuse Video, YouTube (May
   27, 2014), https://www.youtube.com/watch?v=fdv0B210bEk&t=1s.

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           382.   In April 2017, Mallinckrodt plc reached an agreement with the DEA and the U.S.

   Attorneys for the Eastern District of Florida and Northern District of New York to pay $35

   million to resolve a probe of its distribution of its opioid medications.207 Mallinckrodt finalized

   the settlement on July 11, 2017, agreeing to pay $35 million while admitting no wrongdoing. 208

           E.     Each Manufacturer Defendant Violated New Jersey State Laws
                  Pertaining to the Manufacture, Distribution, and Sale of Prescription
                  Drugs.

           383.   The Manufacturer Defendants violated New Jersey state laws pertaining to the

   manufacture, distribution, and sale of opioids by failing to, inter alia,

                  (a)     design and operate a system to identify suspicious orders of controlled

   substances and to notify the DCU of any suspicious orders. N.J.A.C. § 13:45H-2.4(b);

                  (b)     maintain complete and accurate the records and inventories and file

   reports regarding the same with the proper regulatory and enforcement body. N.J.A.C. § 13:45H-

   5.9 – 5.13;

                  (c)     establish and maintain records of all transactions regarding the receipt,

   distribution or other disposition of all prescription drugs, N.J.A.C. § 24:6B-27;

                  (d)     establish and maintain procedures for reporting counterfeit or suspected

   counterfeit prescription drugs, or counterfeiting or suspected counterfeiting activities to the

   department, N.J.A.C. § 24:6B-27;


   207
      Linda A. Johnson, Mallinckrodt to Pay $35M in Deal to End Feds’ Opioid Probe, U.S. News
   & World Report (Apr. 3, 2017, 6:47 PM), https://www.usnews.com/news/business/articles/2017-
   04-03/mallinckrodt-to-pay-35m-in-deal-to-end-feds-opioid-probe.
   208
       Press Release, U.S. Department of Justice, Mallinckrodt Agrees to Pay Record $35 Million
   Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for
   Recordkeeping Violations (July 11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-agrees-
   pay-record-35-million-settlement-failure-report-suspicious-orders.


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                  (e)     establish and maintain a system for mandatory reporting to the department

   of significant shortages or losses of prescription drugs when diversion of prescription drugs is

   known or suspected, N.J.A.C. § 24:6B-27; and

                  (f)     “establish, maintain and adhere to written policies and procedures for the

   receipt, security, storage, inventory, transport, shipping and distribution of prescription drugs,

   including policies and procedures for: identifying, recording and reporting losses or thefts;

   correcting all errors and inaccuracies in inventories; and implementing and maintaining a

   continuous quality improvement system,” N.J.S.A. § 24:6B-28 (a) and (b).

          384.    It is foreseeable to each Defendant that failing to adhere to the statutory

   requirements pertaining to the manufacture, sale, and distribution of prescription opioids listed

   above would cause harm to the County.

          F.      The Distributor Defendants Failed to Track and Report Suspicious
                  Sales as Required by New Jersey Law.

          385.    Manufacturers rely upon distributors to distribute their drugs. The distributors

   serve as middlemen, sending billions of doses of opioid pain pills to pharmacists, hospitals,

   nursing homes and pain clinics. According to the CDC, the increased distribution of opioids

   directly correlates to increased overdose death rates.

          386.    On October 23, 2017, CBS aired an episode of 60 Minutes featuring former DEA

   agent Joe Rannazzisi, who blamed the Distributor Defendants for knowingly fueling the opioid

   epidemic by violating the CSA requirement to report suspicious orders:

          RANNAZZISI: This is an industry that’s out of control. What they wanna do, is
          do what they wanna do, and not worry about what the law is. And if they don’t
          follow the law in drug supply, people die. That’s just it. People die.

                                                *       *     *



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          This is an industry that allowed millions and millions of drugs to go into bad
          pharmacies and doctors’ offices, that distributed them out to people who had no
          legitimate need for those drugs.

          [INTERVIEWER]: Who are these distributors?

          RANNAZZISI: The three largest distributors are Cardinal Health, McKesson,
          and AmerisourceBergen. They control probably 85 or 90 percent of the drugs
          going downstream.

          [INTERVIEWER]: You know the implication of what you’re saying, that these
          big companies knew that they were pumping drugs into American communities
          that were killing people.

          RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what they
          did.

          387.    Jim Geldhof, a 40-year veteran of the DEA who ran investigations in the Detroit

   field office corroborated Rannazzinsi’s account, saying that the wholesalers are “absolutely”

   responsible for the opioids epidemic:

          [INTERVIEWER]: These companies are a big reason for this epidemic?

          GELDHOF: Yeah, absolutely they are. And I can tell you with 100 percent
          accuracy that we were in there on multiple occasions trying to get them to change
          their behavior. And they just flat out ignored us.

          388.    Indeed, according to Rannazzisi, the Manufacturer Defendants succeeded in

   lobbying Congress to strip the DEA of its most potent tool for fighting against diversion and

   abuse. In 2013, a bill was introduced in the House that “was promoted as a way to ensure that

   patients had access to the pain medication they needed.” What it “really did,” however, “was

   strip the [DEA] of its ability to immediately freeze suspicious shipments of prescription narcotics

   to keep drugs off U.S. streets.” A 2015 Justice Department memo confirmed that the bill “‘could

   actually result in increased diversion, abuse, and public health and safety consequences.’”

          389.    During the two years the legislation was considered and amended, Defendants and

   others in the industry spent $102 million lobbying Congress on the bill and other legislation,


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   “claiming the DEA was out of control [and] making it harder for patients to get needed

   medication.” The APA co-signed a letter in support of the legislation. The APA receives

   funding from numerous industry participants, including defendants Endo, Johnson & Johnson,

   Mallinckrodt, Purdue, and Cephalon. Metadata associated with the letter co-signed by the APA

   shows that it was created by Kristen L. Freitas, vice president for federal government affairs at

   the Healthcare Distributors Alliance – the trade group that represents defendants McKesson, and

   AmerisourceBergen. Fritas is also a registered lobbyist who lobbied in support of the bill.

                  1.     McKesson

          390.    McKesson is a wholesale pharmaceutical distributor of controlled and

   uncontrolled prescription medications, including opioids. It is the largest drug distributor, and

   the fifth largest company, in the United States. It distributes pharmaceuticals through a network

   of distribution centers across the country. McKesson ranked fifth on the 2017 Fortune 500 list,

   with over $192 billion in revenues.

          391.    McKesson is a distributor of opioids in the County and supplies various

   pharmacies in the County with an increasing amount of prescription opioid pills.

          392.    McKesson distribution centers are required to operate in accordance with laws

   and regulations governing the sale and distribution of Schedule II narcotics, such as opioids,

   within the State of New Jersey.

          393.    New Jersey law requires McKesson to “design and operate a system to disclose

   suspicious orders of controlled substances” as well as to “inform the Drug Control Unit of

   suspicious orders when discovered by [McKesson].” N.J.A.C. 13:45H-2.4.

          394.    McKesson failed to design and operate a system to disclose suspicious orders of

   controlled substances and/or failed to notify the DCU of suspicious orders.


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          395.    In or about 2007, the DEA accused McKesson of failing to report suspicious

   orders and launched an investigation. In 2008, McKesson entered into a settlement agreement

   with the DOJ and a memorandum of agreement, agreeing to pay a $13.25 million fine for failure

   to report suspicious orders of pharmaceutical drugs and promising to set up a monitoring system.

          396.    As a result, McKesson developed a Controlled Substance Monitoring Program

   (“CSMP”) but nevertheless failed to design and implement an effective system to detect and

   report “suspicious orders” for controlled substances distributed to its independent and small

   chain pharmacy customers – i.e., orders that are unusual in their frequency, size or other patterns.

   McKesson continued to fail to detect and disclose suspicious orders of controlled substances. It

   failed to conduct adequate due diligence of its customers, failed to keep complete and accurate

   records in the CSMP files maintained for many of its customers and bypassed suspicious order

   reporting procedures set forth in the CSMP.

          397.    In 2013, the DEA again began investigating reports that McKesson was failing to

   maintain proper controls to prevent the diversion of opioids and accused McKesson of failing to

   design and use an effective system to detect “suspicious orders” from pharmacies for powerful

   painkillers such as oxycodone, as required by the Controlled Substances Act.

          398.    On January 17, 2017, in one of the most severe sanctions ever agreed to by a

   distributor, McKesson agreed to pay a record $150 million in fines and suspend sales of

   controlled substances from distribution centers in four states (Colorado, Ohio, Michigan and

   Florida) to settle allegations that the company violated federal law. According to the DOJ,

   McKesson continued to fail to report suspicious orders between 2008 and 2012 and did not fully

   implement or follow the monitoring program.             As part of the agreement, McKesson

   acknowledged that:


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           at various times during the Covered Time Period, it did not identify or report to
           DEA certain orders placed by certain pharmacies, which should have been
           detected by McKesson as suspicious, in a manner fully consistent with the
           requirements set forth in the 2008 MOA.

           399.   It is foreseeable to McKesson that failing to design and operate a system to

   disclose suspicious orders of controlled substances and/or failing to notify the DCU of suspicious

   orders would cause harm to the County.

                  2.     AmerisourceBergen

           400.   AmerisourceBergen is a wholesale distributor of pharmaceuticals, including

   controlled substances and non-controlled prescription medications.

           401.   AmerisourceBergen is a distributor of opioids in the United States. It handles the

   distribution of approximately 20% of all pharmaceuticals sold and distributed in the U.S. through

   a network of 26 pharmaceutical distribution centers. 209 It ranked 11th on the Fortune 500 list in

   2017, with over $146 billion in annual revenue.

           402.   AmerisourceBergen is a distributor of opioids in the County and supplies various

   pharmacies in Camden County with an increasing amount of prescription opioid pills.

           403.   AmerisourceBergen distribution centers are required to operate in accordance

   with laws and regulations governing the sale and distribution of Schedule II narcotics, such as

   opioids, within the State of New Jersey.

           404.   New Jersey law requires AmerisourceBergen to “design and operate a system to

   disclose suspicious orders of controlled substances” as well as to “inform the Drug Control Unit

   of suspicious orders when discovered by [AmerisourceBergen].” N.J.A.C. 13:45H-2.4.



   209
       AmerisourceBergen,       Wikipedia,        https://en.wikipedia.org/wiki/AmerisourceBergen
   (hereinafter “AmerisourceBergen”) (last visited February 20, 2018).


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            405.   AmerisourceBergen failed to design and operate a system to disclose suspicious

   orders of controlled substances and/or failed to notify the DCU of suspicious orders.

            406.   In 2012, West Virginia sued AmerisourceBergen and other wholesalers, for

   numerous causes of action, including violations of the CSA, consumer credit and protection, and

   antitrust laws and the creation of a public nuisance. Unsealed court records from that case

   demonstrate that AmerisourceBergen, McKesson and others, together shipped 423 million pain

   pills to West Virginia between 2007 and 2012. 210        AmerisourceBergen itself shipped 80.3

   million hydrocodone pills and 38.4 oxycodone pills during that time period. 211 Moreover, public

   documents also demonstrate that that the average dose of each tablet distributed grew

   substantially during that time period. In 2016, AmerisourceBergen agreed to settle the West

   Virginia lawsuit by paying $16 million to the state, with the funds set aside to fund drug

   treatment programs in order to respond to the opioid addiction crisis.

            407.   It is foreseeable to AmerisourceBergen that failing to design and operate a

   system to disclose suspicious orders of controlled substances and/or failing to notify the DCU of

   suspicious orders would cause harm to the County.

                   3.     Cardinal Health

            408.   Cardinal Health describes itself as a global integrated healthcare services and

   products company. It generated $121.5 billion in total revenue during fiscal year 2016 (ended

   June 30, 2016). It is ranked 15th by revenue on the 2017 Fortune 500 list of top United States

   companies.

   210
      Eric Eyre, Drug Firms Poured 780M Painkillers into WV Amid Rise of Overdoses,
   Charleston   Gazette-Mail    (Dec.    17,   2016),      http://www.wvgazettemail.com/news-
   health/20161217/drug-firms-poured-780m-painkillers-into-wv-amid-rise-of-overdoses.
   211
         AmerisourceBergen, supra n.209.


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          409.    Cardinal Health distributes branded and generic pharmaceutical, special

   pharmaceutical, over-the-counter and consumer products in the United States. Of Cardinal

   Health’s $121.5 billion in revenue during fiscal year 2016, $109.1 billion was derived from the

   pharmaceutical operating segment.

          410.    Cardinal Health is a significant distributor of opioids in the United States.

   Cardinal Health’s largest customer is CVS Health (“CVS”), which accounted for 25% of

   Cardinal Health’s fiscal year 2016 revenue. According to its website, CVS operates numerous

   pharmacies in the County.

          411.    Cardinal is a distributor of opioids in the County and supplies various pharmacies

   in Camden County an increasing amount of prescription opioid pills.

          412.    Cardinal distribution centers are required to operate in accordance with laws and

   regulations governing the sale and distribution of Schedule II narcotics, such as opioids, within

   the State of New Jersey.

          413.    New Jersey law requires Cardinal to “design and operate a system to disclose

   suspicious orders of controlled substances” as well as to “inform the Drug Control Unit of

   suspicious orders when discovered by [Cardinal].” N.J.A.C. § 13:45H-2.4.

          414.    Cardinal failed to design and operate a system to disclose suspicious orders of

   controlled substances and/or failed to notify the DCU of suspicious orders.

          415.    On December 23, 2016, Cardinal Health agreed to pay the United States $44

   million to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida

   and New York by failing to report suspicious orders of controlled substances, including

   oxycodone, to the DEA.




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               416.   In the settlement agreement, Cardinal Health admitted, accepted and

   acknowledged that it had violated the CSA between January 1, 2009 and May 14, 2012 by failing

   to:

               •      “timely identify suspicious orders of controlled substances and inform the DEA of
                      those orders, as required by 21 C.F.R. §1301.74(b)”;

               •      “maintain effective controls against diversion of particular controlled substances
                      into other than legitimate medical, scientific, and industrial channels, as required
                      by 21 C.F.R. §1301.74, including the failure to make records and reports required
                      by the CSA or DEA’s regulations for which a penalty may be imposed under 21
                      U.S.C. §842(a)(5)”; and

               •      “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
                      ‘Form 222’ order forms and their electronic equivalent for Schedule II controlled
                      substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part 1305.”

               417.   The settlement agreement was announced by the U.S. Attorney for the District of

   Maryland, Rod J. Rosenstein (“Rosenstein”), and the DEA Special Agent in Charge –

   Washington Field Division, Karl C. Colder (“Colder”). 212

               418.   In the press release announcing the settlement agreement, Rosenstein stated:

                      “Pharmaceutical suppliers violate the law when they fill unusually large or
               frequent orders for controlled substances without notifying the DEA . . . . Abuse
               of pharmaceutical drugs is one of the top federal law enforcement priorities.
               Cases such as this one, as well as our $8 million settlement with CVS in February
               2016, reflect the federal commitment to prevent the diversion of pharmaceutical
               drugs for illegal purposes.” 213

               419.   In the press release, Colder clarified that the settlement specifically concerned

   oxycodone:


   212
       Press Release, U.S. Attorney’s Office for the District of Maryland, Cardinal Health Agrees to
   $44 Million Settlement for Alleged Violations of Controlled Substances Act (Dec. 23, 2016),
   https://www.justice.gov/usao-md/pr/cardinal-health-agrees-44-million-settlement-alleged-
   violations-controlled-substances-act.
   213
         Id.


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                          “DEA is responsible for ensuring that all controlled substance transactions
               take place within DEA’s regulatory closed system. All legitimate handlers of
               controlled substances must maintain strict accounting for all distributions and
               Cardinal failed to adhere to this policy . . . . Oxycodone is a very addictive drug
               and failure to report suspicious orders of oxycodone is a serious matter. The civil
               penalty levied against Cardinal should send a strong message that all handlers of
               controlled substances must perform due diligence to ensure the public safety
               . . . .” 214

               420.   It is foreseeable to Cardinal Health that failing to design and operate a system to

   disclose suspicious orders of controlled substances and/or failing to notify the DCU of suspicious

   orders would cause harm to the County.

               G.     The Pharmacy Defendants Failed to Track and Report Suspicious
                      Sales as Required by New Jersey Law.

               421.   New Jersey law imposes duties and requirements on the conduct of the

   Pharmacy Defendants. These requirements establish a standard of care for pharmacy conduct.

               422.   New Jersey law requires pharmacists to review each controlled substance

   prescription and, prior to dispensing medication, make a professional determination that the

   prescription is effective and valid. See N.J.A.C. 13:45H-7.4, see also N.J.A.C. 13:45H-7.8.

               423.   What is more, N.J.A.C. 13:45H-7.4 states, “[t]he             responsibility for the

   proper prescribing and dispensing of controlled substances is upon the prescribing

   practitioner, but a corresponding responsibility rests with the pharmacist who fills the

   prescription.”

               424.   Therefore, pharmacists are required to ensure that prescriptions for controlled

   substances are valid, and that they are issued for a legitimate medical purpose by an

   individual practitioner acting in the usual course of his professional practice.



   214
         Id.


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          425.    Under New Jersey law, pharmacy registrants are required to “provide effective

   controls and procedures to guard against theft and diversion of controlled substances” N.J.A.C.

   13:45H-2.1, and maintain and file complete and accurate inventory records with the appropriate

   state and federal regulators. See N.J.A.C. 13:45H-5.9 – 5.13.

          426.    In addition, pharmacists “shall inform the Drug Control Unit of suspicious

   orders when discovered by the registrant. Suspicious orders include orders of unusual size,

   orders deviating substantially from a normal pattern, and orders of unusual frequency.” N.J.A.C.

   13:45H-2.4.

          427.    On information and belief, the Pharmacy Defendants failed to provide

   effective controls and procedures to guard against diversion of prescription opioids,

   failed to maintain complete and accurate inventory records, and failed to report

   suspicious orders.

           428. On information and belief, the Pharmacy Defendants regularly filled opioid

    prescriptions that would have been deemed questionable or suspicious by a reasonably-

    prudent pharmacy.

          429.    On information and belief, the Pharmacy Defendants have not adequately

   trained or supervised their employees at the point of sale to investigate or report suspicious

   or invalid prescriptions, or protect against corruption or theft by employees or others.

          430.    On information and belief, the Pharmacy Defendants utilize monetary

   compensation programs for certain employees that are based, in part, on the number of

   prescriptions filled and dispensed. This type of compensation creates economic disincentives

   within the companies to change their practices. For example, there have been reports of chain




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   store supervisory personnel directing pharmacists to fill prescriptions regardless of the red

   flags presented.

          431.    The Pharmacy Defendants have violated a voluntarily-undertaken duty to the

   public which they have assumed by their own words and actions. In news reports and other

   public documents, it has been reported that the Pharmacy Defendants, through their words or

   actions, have assured the public that issues affecting public health and safety are the highest

   priority for them.

          432.    For example, in 2015, CVS publicly stated that, “the abuse of controlled

   substance pain medication is a nationwide epidemic that is exacting a devastating toll upon

   individuals, families and communities. Pharmacists have a legal obligation under state and

   federal law to determine whether a controlled substance was issued for a legitimate purpose

   and to decline to fill prescriptions they have reason to believe were issued for a non-legitimate

   purpose.”

          433.    In failing to take adequate measures to prevent filling of invalid or suspicious

   prescriptions, the Pharmacy Defendants have breached their duties under the “reasonable

   care” standard, professional duties under the relevant standards of professional practice, and

   requirements established by the laws of the State of New Jersey.

          434.    It is foreseeable to the Pharmacy Defendants that filling invalid or suspicious

   prescriptions for opioids would cause harm, including overdoses and deaths, to the County’s

   citizens who may use the wrongfully-dispensed opioids.

          435.    It is also foreseeable to the Pharmacy Defendants that the County would be

   forced to bear substantial expenses because of the Pharmacy Defendants’ acts. At all

   relevant times, the Pharmacy Defendants acted, knowing full well that the County, in its role


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   of providing protection and care for its citizens, would provide or pay for additional medical

   services, emergency services, law enforcement, and other necessary services and that the

   County would be harmed by the loss of substantial economic productivity that contributes to

   the health and well-being of the County.

          436.    At all relevant times, the Pharmacy Defendants have engaged in improper

   dispensing practices, and continue to do so, despite knowing full well they could take

   measures to substantially eliminate their complicity in opioid diversion.

          437.    The Pharmacy Defendants were on notice of their ongoing negligence or

   intentional misconduct towards the County in part because of their history of being

   penalized for violating their duties and legal requirements in other jurisdictions.

   V.     TOLLING OF THE STATUE OF LIMITATIONS

          A.      Continuing Wrong Doctrine

          438.    Plaintiff contends it continues to suffer harm from the continual unlawful actions

   by the Defendants.

          439.    Because Defendants owed a continuing duty to Plaintiff not to commit the

   wrongful acts alleged in this Complaint, and committed a continual, cumulative pattern of

   tortious conduct, the continued tortious and unlawful conduct by the Defendants are continuing

   violations state law causing a distinct injury instead of continual ill effects from an original

   violation.

          440.    The effects of Defendants’ violative acts are cumulative. The damages have not

   occurred all at once but have continued to occur after each violation and have increased as time

   progresses. The tort is not completed nor have all the damages been incurred until the




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   wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has not ceased. The

   public nuisance remains unabated.

          B.         Discovery Rule Tolling

          441.       The County did not discover, and could not have discovered through the exercise

   of reasonable diligence and intelligence Defendants’ role in the deceptive marketing of chronic

   opioid therapy or the resulting harm caused by Defendants’ false and deceptive statements about

   the risks and benefits of long-term opioid use within the time period of any applicable statutes of

   limitation.

          442.       Defendants took steps to avoid detection of and to fraudulently conceal their

   deceptive marketing and unlawful, unfair, and deceptive conduct.             Among other things,

   Defendants disguised their own role in the deceptive marketing of chronic opioid therapy by

   funding and working through third parties and hiding behind the assumed credibility of these

   individuals and organizations. Defendants also never disclosed their role in shaping, editing, and

   approving the content of information and materials disseminated by these third parties. Finally,

   Defendants manipulated the scientific literature and distorted the meaning and import of studies.

   The lack of support for Defendants’ deceptive messages was not apparent to medical

   professionals who relied upon them in making treatment decisions, nor could it have been

   detected by Plaintiffs.

          443.       Plaintiffs did not know of the existence or scope of the Defendants’ deception and

   could not have acquired such knowledge earlier through the exercise of reasonable diligence.

   For these reasons, all applicable statutes of limitation have been tolled by operation of the

   discovery rule.




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           C.      Fraudulent Concealment Tolling

           444.    All applicable statutes of limitation have also been tolled by Defendants’ knowing

   and active fraudulent concealment and denial of the facts alleged herein throughout the time

   period relevant to this action.

           D.      Estoppel

           445.    Defendants are equitably estopped from relying upon a statute of limitations

   defense, to the extent any such defense even applies to Plaintiff’s claims, because they undertook

   efforts to purposefully conceal their unlawful conduct and fraudulently assure the public,

   including the State, the Plaintiff, and Plaintiff’s Community, that they were undertaking efforts

   to comply with their obligations under the state controlled substances laws, all with the goal of

   protecting their registered manufacturer or distributor status in the State and to continue

   generating profits. Notwithstanding the allegations set forth above, the Defendants affirmatively

   assured the public, including the County.

           446.    Based on the foregoing, Defendants are estopped from relying on any statutes of

   limitations in defense of this action.

   VI.     CLAIMS

                                               COUNT I

   NEW JERSEY RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                (“NEW JERSEY RICO”), N.J.S.A. 2C:41-2, ET SEQ.

                                (Against the Manufacturer Defendants)

           447.    The County incorporates by reference each preceding paragraph as though fully

   set forth herein.

           448.    Plaintiff brings this Count on behalf of itself against the Manufacturer

   Defendants.


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          449.    At all relevant times, the Marketing Defendants were “persons” within the

   meaning of N.J.S.A. 2C:41-1(b), because they are entities capable of holding, and do hold, “a

   legal or beneficial interest in property.”

          450.    The New Jersey RICO statute makes it unlawful for any person employed by or

   associated with any enterprise engaged in or activities of which affect trade or commerce to

   conduct or participate, directly or indirectly, in the conduct of the enterprise’s affairs through a

   pattern of racketeering activity or collection of unlawful debt. N.J.S.A. 2C:41-2.

          451.    It is also “unlawful for any person who has received any income derived, directly

   or indirectly, from a pattern of racketeering activity . . . to use or invest, directly or indirectly,

   any part of the income, or the proceeds of the income, in acquisition of any interest in, or the

   establishment or operation of any enterprise which is engaged in or the activities of which affect

   trade or commerce.” N.J.S.A. 2C:41-2(a).

          452.    Furthermore, it is unlawful for “any person to conspire to violate” the provisions

   of N.J.S.A. 2C:41-2(a) and/or (c). N.J.S.A. 2C:41-2(d).

          453.    As alleged above, at all relevant times, the Manufacturer Defendants, together

   with their agents, expanded the market for prescription opioids through a fraudulent and

   deceptive marketing campaign that over-emphasized the under-treatment of pain and deceptively

   marketed opioids by: (i) downplaying the risk of addiction; (ii) exaggerating their safety and

   effectiveness for the treatment of chronic long-term pain; (iii) representing them as abuse

   resistant or deterrent; or (iv) promoting them as safe and effective for other types of pain for

   which the drugs were not approved. In particular, the Manufacturer Defendants, along with

   other entities and individuals, were employed by or associated with, and conducted or

   participated in the affairs of, the New Jersey RICO enterprise (the “Opioid Marketing Fraud


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   Enterprise”), whose purpose was to deceive opioid prescribers and the public into believing that

   opioids were safe and effective for the treatment of long-term chronic pain, and presented

   minimal risk of addiction. In doing so, they sought to maximize revenues from the design,

   manufacture, distribution and sale of opioids which, in fact, were highly addictive and often

   ineffective and dangerous when used for long term, chronic and other types of pain. As a direct

   and proximate result of their fraudulent scheme and common course of conduct, defendants were

   able to extract revenues of billions of dollars. As explained in detail below, the Manufacturer

   Defendants’ years-long misconduct violated 1 N.J.S.A. 2C:41-2 (c) and (d).

                      THE OPIOID MARKETING FRAUD ENTERPRISE

          454.   At all relevant times, the Manufacturer Defendants, along with other individuals

   and entities, including unknown third parties involved in the marketing and sale of opioids,

   operated an “enterprise” within the meaning of N.J.S.A. 2C:41-1(c) because they are a group of

   individuals associated in fact, even though they are not a collective legal entity. The Opioid

   Marketing Fraud Enterprise: (a) had an existence separate and distinct from each of its

   component entities; (b) was separate and distinct from the pattern of racketeering in which the

   Manufacturer Defendants engaged; and (c) was an ongoing organization consisting of legal

   entities, including, but not limited to, the Manufacturer Defendants, employees and agents of the

   FSMB, APF, AAPM, APS and APA, as well as other entities and individuals, including

   physicians.

          455.   Within the Opioid Marketing Fraud Enterprise, there was a common

   communication network by which members exchanged information on a regular basis through

   the use of wires and mail.      The Opioid Marketing Fraud Enterprise used this common

   communication network for the purpose of deceptively marketing and selling opioids to the


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   general public. When their products were contested by other parties, the enterprise members

   took action to hide the scheme to continue its existence.

          456.    The participants in the Opioid Marketing Fraud Enterprise were systematically

   linked to each other through corporate ties, contractual relationships, financial ties and

   continuing coordination of activities. Through the enterprise, the Manufacturer Defendants

   functioned as a continuing unit with the purpose of furthering the illegal scheme and their

   common purposes of increasing their revenues and market share, and minimizing losses. Each

   member of the Opioid Marketing Fraud enterprise shared in the bounty generated by the

   enterprise by sharing the benefit derived from increased sales of opioids and other revenue

   generated by the scheme to defraud prescribers and consumers in the County.

          457.    The Opioid Marketing Fraud Enterprise engaged in, indeed, continues to engage

   in the deceptive marketing of opioids by overstating the benefits and greatly understating the

   serious risks of using opioids for chronic long-term pain.

          458.    The enterprise has engaged in such activity for the purpose of maximizing the sale

   and profits of opioids.

          459.    To fulfill this purpose, the enterprise has advocated for and caused the over-

   prescription of opioids by marketing, promoting, advertising and selling opioids in the County.

   Their receipt of monies from such activities has affected trade and commerce. The enterprise’s

   past and ongoing practices thus constitute a pattern of racketeering activity under 2C:41-2.

          460.    The Opioid Marketing Fraud Enterprise functioned by marketing and selling

   opioids to states, counties, other municipalities, doctors, healthcare organizations and the

   consuming public. Many of these opioid products are legitimate, including opioids used short-

   term for acute surgical and end-stage cancer pain. However, the Manufacturer Defendants as co-


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   conspirators, through their illegal enterprise, engaged in a pattern of racketeering activity, which

   involves a fraudulent scheme to increase revenue for the Manufacturer Defendants and the other

   entities and individuals associated-in-fact with the enterprise’s activities through the deceptive

   marketing and sale of opioids.

          461.    The Manufacturer Defendants participated in the operation and management of

   the Opioid Marketing Fraud Enterprise by directing its affairs, as described herein. While the

   Manufacturer Defendants participated in, and are members of the enterprise, they have a separate

   existence from the enterprise, including distinct legal statuses, different offices and roles, bank

   accounts, officers, directors, employees, individual personhood, reporting requirements and

   financial statements.

          462.    As detailed above, each of the Manufacturer Defendants relentlessly promoted

   opioids as being safe and effective for the treatment of long-term chronic pain and, often in

   contravention of the drug’s own label, as having little to no risk of addiction. The Manufacturer

   Defendants’ success in maximizing sales was due to the tight collaboration among the

   Manufacturer Defendants through and in collaboration with the pain foundations – a formidable

   partnership that marketed to hundreds of thousands of prescribers across the country, including

   prescribers in the County. The relationship was strengthened, in part, by individuals including

   physicians that held different leadership roles at different times across the various entities

   participating in the enterprise over the years.

          463.    On numerous occasions, the Manufacturer Defendants funded the pain

   foundations’ marketing efforts. The Manufacturer Defendants specifically chose to partner with

   the pain foundations and individual physicians to publish and otherwise disseminate misleading




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   pro-opioid material, knowing the public and prescribers would be more receptive to statements

   made by what they perceived to be scholarly, neutral, third party sources.

             464.   The members of the Opioid Marketing Fraud Enterprise worked together to

   further the enterprise, by and among the following manner and means:

                    (a)    jointly planning and executing a deceptive marketing campaign that

   minimized the risks and exaggerated the benefits of opioid treatment of chronic, long-term pain;

                    (b)    concealing the addictive qualities of the opioids from prescribers and the

   public;

                    (c)    misleading the public about the addictive quality and safety and efficacy

   of opioids;

                    (d)    otherwise misrepresenting or concealing the highly dangerous nature of

   opioids from prescribers and the public;

                    (e)    illegally marketing, selling and/or distributing opioids; and

                    (f)    profiting from the sale of such products for uses for which they are

   unapproved, ineffective, or substantially increased known risks for abuse and addiction.

             465.   To achieve their common goals, the Manufacturer Defendants suppressed and/or

   ignored warnings from third parties, whistleblowers and governmental entities about the

   addictive and often ineffective nature of opioids, including supporting and executing “education”

   efforts intended to circumvent and downplay warnings with the goal of increasing opioid

   acceptance, use, and sales.

             466.   The foregoing allegations support that the Manufacturer Defendants were part of

   an association of entities that shared a common purpose, had relationships across the various

   members of the enterprise and collaborated to further the goals of the enterprise for a continuous


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   period of time. The Manufacturer Defendants knowingly and intentionally engaged in deceptive

   marketing practices, and incentivized pain foundations, marketing firms and physicians to do so

   as well.

                         PATTERN OF RACKETEERING ACTIVITIES

          467.    To carry out and attempt to carry out the scheme to defraud, the Individual and

   Manufacturer Defendants, each of whom is a person associated in fact with the enterprise, did

   knowingly conduct and participate, directly and indirectly, in the conduct of the affairs of the

   enterprise through a pattern of racketeering activity within the meaning of N.J.S.A. Section

   2C:41-2 and which employed the use of the mail and wire facilities, in violation of 18 U.S.C.

   §§1341 (mail fraud) and 1343 (wire fraud), and included a conspiracy.

          468.    Specifically, the Manufacturer Defendants have committed, conspired to commit

   and/or aided and abetted in the commission of, or caused the commission of, at least two

   predicate acts of racketeering activity (specifically, violations of 18 U.S.C. §§1341 and 1343)

   within ten years of each other. The multiple acts of racketeering activity which the Manufacturer

   Defendants committed or aided and abetted in the commission of, or caused to commit, were

   related to each other, and also posed a threat of continued racketeering activity. They therefore

   constitute a “pattern of racketeering activity.” The racketeering activity was made possible by

   the Manufacturer Defendants’ regular use of the facilities, services, distribution channels and

   employees of the enterprise. The Manufacturer Defendants participated in the scheme to defraud

   by using, or causing the use of, mail, telephone and the Internet to transmit mailings and wires in

   interstate or foreign commerce and by engaging in a conspiracy.

          469.    In devising and executing the illegal scheme, the Manufacturer Defendants

   devised and knowingly carried out a material scheme and/or artifice to defraud regulators,


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   prescribers and the public to obtain money from the County by means of materially false or

   fraudulent pretenses, representations, promises or omissions of material facts. For the purpose of

   executing the illegal scheme, the Manufacturer Defendants committed, or caused the commission

   of, these racketeering acts intentionally and knowingly with the specific intent to advance the

   illegal scheme.

          470.       The predicate acts of racketeering committed by, or cause to be committed by, the

   Manufacturer Defendants include, but are not limited to:

                     (a)    Mail Fraud: The Manufacturer Defendants violated 18 U.S.C. §1341 by

   sending and receiving, and by causing to be sent and/or received, materials via U.S. Mail or

   commercial interstate carriers for the purpose of executing the unlawful scheme to deceptively

   market, and sell the opioids by means of false pretenses, misrepresentations, promises and

   omissions;

                     (b)    Wire Fraud: The Manufacturer Defendants violated 18 U.S.C. §1343 by

   transmitting and/or receiving, and by causing to be transmitted and/or received, materials by wire

   for the purpose of executing the unlawful scheme to defraud and obtain money on false

   pretenses, misrepresentations, promises and omissions; and

                     (c)    Conspiracy to violate the provisions of 2C:41-1, et seq.

          471.       The Manufacturer Defendants’ use of the mails and wires (or causing the issue

   thereof) include, but are not limited to, the transmission, delivery and shipment of deceptive

   marketing materials by the Manufacturer Defendants and other members of the Opioid

   Marketing Fraud Enterprise.        These materials would not have been delivered but for the

   Manufacturer Defendants’ illegal scheme, including, but not limited to:




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                   (a)   the FSMB’s publication of opioid prescribing guidelines entitled

   “Responsible Opioid Prescribing,” by Fishman;

                   (b)   the FSMB’s publication of “Revised and Expanded 2nd Edition [of]

   Responsible Opioid Prescribing[:] A Guide for Florida Clinicians”;

                   (c)   the APF’s publication of Exit Wounds;

                   (d)   the AAPM’s “consensus statement” and educational programs featuring

   Fine;

                   (e)   the APA’s publication and dissemination of “Prescription Pain

   Medication: Preserving Patient Access While Curbing Abuse”;

                   (f)   false or misleading communications to the public and to regulators;

                   (g)   sales and marketing materials, including slide decks, presentation

   materials, purported guidelines, advertising, web sites, product packaging, brochures, labeling

   and other writings which misrepresented, falsely promoted and concealed the true nature of

   opioids;

                   (h)   documents intended to facilitate the manufacture and sale of opioids,

   including bills of lading, invoices, shipping records, reports and correspondence;

                   (i)   documents to process and receive payment for opioids, including invoices

   and receipts;

                   (j)   payments to the foundations and physicians that deceptively marketed the

   Manufacturer Defendants’ opioids;

                   (k)   deposits of proceeds; and

                   (l)   other documents and things, including electronic communications.




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          472.       The Manufacturer Defendants also used, or caused the use of, the Internet and

   other electronic facilities to carry out the scheme and conceal the ongoing fraudulent activities.

   Specifically, the Manufacturer Defendants made misrepresentations about opioids on their

   websites, YouTube and through online ads, all of which intended to mislead prescribers and the

   public about the safety, efficacy and about the seriousness of the addiction risk associated with

   opioids.

          473.       The Manufacturer Defendants also communicated, or caused communications, by

   U.S. Mail, by interstate facsimile and by interstate electronic mail with various other affiliates,

   regional offices, divisions, distributors and other third party entities in furtherance of the scheme.

   The mail and wire transmissions described herein were made in furtherance of the Manufacturer

   Defendants’ scheme and common course of conduct to deceive prescribers and consumers and

   lure consumers into purchasing opioids by greatly overstating the effectiveness of opioids and by

   claiming that the risk of abuse and addiction was actually insignificant. . The Manufacturer

   Defendants utilized mail and wire transmissions, or caused the use thereof, to create an extensive

   campaign that advertised the exact opposite message: that opioids were effective and rarely if

   ever addictive.

          474.       Many of the precise dates of the fraudulent uses of the U.S. Mail and interstate

   wire facilities are concealed from The County, and details as to the predicate acts is exclusively

   within the possession, custody or control of the Manufacturer Defendants. As such, it cannot be

   alleged without access to the Manufacturer Defendants’ books and records. However, The

   County has described the types of predicate acts of mail and/or wire fraud that occurred. The

   secretive nature of the enterprise’s activities made its marketing tactics even more deceptive and

   harmful.


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          475.     The foregoing allegations support that the Manufacturer Defendants engaged in a

   pattern of racketeering activity by repeatedly engaging in wire and mail fraud, and a conspiracy,

   to deceptively market their products through the use of both print and electronic outlets.

          476.     The Manufacturer Defendants’ pattern of racketeering activity has adversely

   impacted this State’s trade or commerce, as well as the general health and welfare of the State

   and its inhabitants. Their conduct annually drains and diverts millions from the public coffers

   and, as a consequence, harms the general health and welfare of the States’ inhabitants, among

   other things.

                                   CONSPIRACY ALLEGATIONS

          477.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

   fully set forth herein, and further alleges as follows.

          478.     The Manufacturer Defendants have not undertaken the practices described herein

   in isolation, but as part of a common scheme and conspiracy. In violation of N.J.S.A. 2C:41-2(d)

   the Manufacturer Defendants conspired to violate N.J.S.A. 2C:41-2(c), as described herein.

          479.     The Manufacturer Defendants conspired to incentivize and encourage various

   other persons, firms and corporations, including third party entities and individuals not named as

   defendants in this Complaint, to carry out offenses and other acts in furtherance of the

   conspiracy. The Manufacturer Defendants conspired to increase or maintain revenues, increase

   market share and/or minimize losses for the Manufacturer Defendants and their other

   collaborators throughout the illegal scheme and common course of conduct. In order to achieve

   this goal, the Manufacturer Defendants engaged in the aforementioned predicate acts on

   numerous occasions. The Manufacturer Defendants, with knowledge and intent, agreed to the

   overall objectives of the conspiracy and participated in the common course of conduct to commit


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   acts of fraud and indecency in defectively marketing and/or selling opioids through the use of

   mail and wire fraud.

          480.    For the conspiracy to succeed, each of the Manufacturer Defendants had to agree

   to deceptively market and/or sell opioids.          Indeed, the unanimity of the Manufacturer

   Defendants’ marketing tactics gave their misleading statements credence to prescribers and

   consumers.

          481.    The Manufacturer Defendants knew that by partnering with the pain foundations

   and individual physicians who carried a more neutral public image, they would be able to

   attribute more scientific credibility to their products, thereby increasing their sales and profits.

          482.    The foregoing illustrates the Manufacturer Defendants’ liability under N.J.S.A.

   Section 2C:41-2(d) to engage in their pattern of racketeering conspired to achieve their common

   goal of maximizing opioid sales.

                                       RESULTING DAMAGES

          483.    As described herein, the Manufacturer Defendants engaged in a pattern of related

   and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

   activities, each conducted with the common purpose of obtaining significant monies and

   revenues from consumers, based on their misrepresentations and omissions. The predicate acts

   also had the same or similar results, participants, victims and methods of commission. The

   predicate acts were related and not isolated events. The predicate acts all had the purpose of

   generating significant revenue and profits for the Manufacturer Defendants, at the expense of the

   County and its residents. The predicate acts were committed or caused to be committed by the

   Manufacturer Defendants through their participation in the enterprise and in furtherance of their




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   fraudulent scheme, and were interrelated in that they involved obtaining the County’s and its

   residents’ funds.

          484.    The County and its residents, along with scores of other counties and

   municipalities, relied upon representations and omissions that were made or caused by the

   Manufacturer Defendants. The County’s residents purchased opioids whose use has now caused

   an epidemic of addiction to opioids (both prescription and heroin).

          485.    The County’s injuries, and those of its residents, were proximately caused by the

   Manufacturer Defendants’ racketeering activity.          The County was directly injured by the

   Manufacturer Defendants’ conduct because they caused the over-prescription of opioids and thus

   the over-purchase and over-consumption of opioids (both prescription and in the form of heroin).

          486.    By reason of, and as a result of the conduct of the Manufacturer Defendants, and

   in particular, their pattern of racketeering activity, the County and its residents have been injured

   financially in multiple ways, including, but not limited to, suffering increased expenditures for

   emergency services, law enforcement, public works, lost economic opportunity, lost

   productivity, increased expenditures for overtime, additional county employees, and mental

   health treatment for those employees, and lost tax revenue.

          487.    The Manufacturer Defendants’ violations of N.J.S.A. 2C:41-2(c) and (d) have

   directly and proximately caused injuries and damages to the County and its residents, and the

   County is entitled to bring this action for three times its actual damages, as well as

   injunctive/equitable relief, costs and reasonable attorneys’ fees pursuant to N.J.S.A. 2C:41-4(a)

   and (c).




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                                                  COUNT II

   NEW JERSEY RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                (“NEW JERSEY RICO”), N.J.S.A. 2C:41-2 (C) – (D))

                         (Against Manufacturer and Distributor Defendants)

          488.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

   fully set forth herein, and further alleges as follows.

          489.    Plaintiff brings this Count on behalf of itself against the           Manufacturer

   Defendants and the Distributor Defendants (collectively, for purposes of this Count, the “RICO

   Diversion Defendants”).

          490.    The RICO Diversion Defendants conducted and continue to conduct their

   business through legitimate and illegitimate means in the form of an association-in-fact

   enterprise and/or a legal entity enterprise.

          491.    At all relevant times, the RICO Diversion Defendants were “persons” within the

   meaning of N.J.S.A. § 2C:41-1(b), because they are entities capable of holding, and do hold, “a

   legal or beneficial interest in property.”

          492.    In addition, IMS Health was a “person” within the meaning of N.J.S.A. § 2C:41-

   1(b), because it is an entity capable of holding, and does hold, “a legal or beneficial interest in

   property.”

          493.    The RICO Diversion Defendants’ illegal scheme was hatched by an association-

   in-fact enterprise between the Individual Defendants, the Manufacturer Defendants, and the

   Distributor Defendants. Each of the RICO Diversion Defendants were associated with, and

   conducted or participated in, the affairs of the RICO enterprise (defined below and referred to

   collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful



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   sales of opioids, deceiving the public and state regulators into believing that the RICO Diversion

   Defendants were faithfully fulfilling their statutory obligations.

            494.    The RICO Diversion Defendants’ scheme allowed them to make billions in

   unlawful sales of opioids with the purpose of ensuring unlawfully increasing revenues, profits,

   and market share.

            495.    As a direct result of the RICO Diversion Defendants’ fraudulent scheme, course

   of conduct, and pattern of racketeering activity, entities like the Plaintiff experienced tens of

   millions of dollars of injuries caused by the reasonably foreseeable consequences of the opioid

   epidemic.

            496.    As explained in detail below, the RICO Diversion Defendants’ misconduct

   violated N.J.S.A. 2C:41-2(c) and Plaintiff is entitled to treble damages for its injuries under

   N.J.S. A. 2C:41-4-(a)(8) and (c).

            497.    Alternatively, the RICO Diversion Defendants were members of a legal entity

   enterprise within the meaning of N.J.S.A. 2C:41-1(c), through which the RICO Diversion

   Defendants conducted their pattern of racketeering activity in this jurisdiction. Specifically, the

   Healthcare Distribution Alliance (the “HDA”) 215 is a distinct legal entity that satisfies the

   definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

   the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

   qualifies as an “enterprise” within the definition set out in N.J.S.A. 2C:41-1(c) because it is a

   corporation and a legal entity.



    215
       History, Healthcare Distribution Alliance, https://www.healthcaredistribution.org/about/hda-history (last
    accessed on February 20, 2018).




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           498.    On information and belief, each of the RICO Diversion Defendants is a member,

   participant, and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion

   Enterprise and to engage in the pattern of racketeering activity that gives rise to the Count.

           499.    Each of the RICO Diversion Defendants is a legal entity separate and distinct

   from the HDA. And, the HDA serves the interests of distributors and manufacturers beyond the

   RICO Diversion Defendants. Therefore, the HDA exists separately from the Opioid Diversion

   Enterprise, and each of the RICO Diversion Defendants exists separately from the HDA.

   Therefore, the HDA may serve as a RICO enterprise.

           500.    The legal and association-in-fact enterprises alleged in the previous and

   subsequent paragraphs were each used by the RICO Diversion Defendants to conduct the Opioid

   Diversion Enterprise by engaging in a pattern of racketeering activity. Therefore, the legal and

   association- in-fact enterprises alleged in the previous and subsequent paragraphs are pleaded in

   the alternative and are collectively referred to as the “Opioid Diversion Enterprise.”

                             THE OPIOID DIVERSION ENTERPRISE

           501.    At all relevant times, the RICO Diversion Defendants operated as an association-

   in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

   disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

   opioids and diversion of their drugs into the illicit market. The RICO Diversion Defendants

   conducted their pattern of racketeering activity in this jurisdiction through this enterprise.

           502.    The Opioid Diversion Enterprise has been conducting business uninterrupted

   since its genesis.

           503.    At all relevant times, the Opioid Diversion Enterprise: (a) had an existence

   separate and distinct from each RICO Distribution Defendant; (b) was separate and distinct from


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   the pattern of racketeering in which the RICO Diversion Defendants engaged; (c) was an

   ongoing and continuing organization consisting of legal entities, including each of the RICO

   Diversion Defendants; (d) characterized by interpersonal relationships among the RICO

   Diversion Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose; and (f)

   functioned as a continuing unit.

          504.    Each member of the Opioid Diversion Enterprise participated in the conduct of

   the enterprise, including patterns of racketeering activity, and shared in the growth of profits

   generated as a result of the Opioid Diversion Enterprise’s disregard for its duty to prevent

   diversion of their drugs into the illicit market

          505.    The Opioid Diversion Enterprise functioned by selling prescription opioids. While

   there are some legitimate uses and/or needs for prescription opioids, the RICO Diversion

   Defendants, through their illegal enterprise, engaged in a pattern of racketeering activity, that

   involves a fraudulent scheme to increase revenue by violating state law requiring the

   maintenance of effective controls against diversion of prescription opioids, and the identification,

   investigation, and reporting of suspicious orders of prescription opioids destined for the illicit

   drug market. The goal of the RICO Distribution Defendants’ scheme was to increase profits from

   opioid sales. The RICO Diversion Defendants refused to identify, investigate and/or report

   suspicious orders of their prescription opioids being diverted into the illicit drug market.

          506.    Within the Opioid Diversion Enterprise, there were interpersonal relationships

   and common communication by which the RICO Diversion Defendants shared information on a

   regular basis. These interpersonal relationships also formed the organization of the Opioid

   Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and




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   communication network for the purpose of conducting the enterprise through a pattern of

   racketeering activity.

           507.   Each of the RICO Diversion Defendants had a systematic link to each other

   through joint participation in lobbying groups, trade industry organizations, contractual

   relationships and continuing coordination of activities. The RICO Diversion Defendants

   participated in the operation and management of the Opioid Diversion Enterprise by directing its

   affairs, as described herein. While the RICO Diversion Defendants participated in, and are

   members of, the enterprise, they each have a separate existence from the enterprise, including

   distinct legal statuses, different offices and roles, bank accounts, officers, directors, employees,

   individual personhood, reporting requirements, and financial statements.

           508.   The RICO Diversion Defendants exerted substantial control over the Opioid

   Diversion Enterprise by their membership in the Pain Care Forum, the HDA, and through their

   contractual relationships.

           509.   The Pain Care Forum (“PCF”) is a coalition of drugmakers, trade groups and

   dozens of non-profit organizations supported by industry funding. The PCF shaped public policy

   regarding the use of prescription opioids for more than a decade.

           510.   The Center for Public Integrity and The Associated Press obtained “internal

   documents shed[ding] new light on how drugmakers and their allies shaped the national response

   to the ongoing wave of prescription opioid abuse.” 216 Specifically, PCF members spent over




   216
       Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
   Center     for     Public      Integrity    (September     19,      2017,   12:01     a.m.),
   https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo- chamber-shaped-policy-
   amid-drug-epidemic (emphasis added).


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   $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

   including opioid-related measures. 217

               511.   Not surprisingly, each of the RICO Diversion Defendants who stood to profit

   from lobbying in favor of prescription opioid use is a member of and/or participant in the

   PCF. 218 In 2012, membership and participating organizations included the HDA (of which all

   RICO Diversion Defendants are members), Endo, Purdue, Johnson & Johnson (the parent

   company for Janssen Pharmaceuticals), and Teva (the parent company of Cephalon). 219 The

   Manufacturer Defendants worked together through the PCF to advance the interests of the

   enterprise.

               512.   But, the Manufacturer Defendants were not alone. The Distributor Defendants

   actively participated, and continue to participate in the PCF, at a minimum, through their trade

   organization, the HDA. 220 The Distributor Defendants participated directly in the PCF as well.

               513.   The 2012 Meeting Schedule for the PCF is particularly revealing on the subject of

   the Defendants’ interpersonal relationships. The meeting schedule indicates that meetings were


   217
         Id.
   218
       PAIN CARE FORUM, 2012 Meetings Schedule, Pain Care Forum (December 2011),
   https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-
   Schedule-amp.pdf.
   219
      Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the PCF
   sometime after 2012.

   220
       Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
   Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,
   Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation,
   and the President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee,
   Healthcare     Distribution     Alliance     (accessed    on      September  14,     2017),
   https://www.healthcaredistribution.org/about/executive-committee.


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   held in the D.C. office of Powers, Pyles, Sutter & Verville, on a monthly basis, unless otherwise

   noted. Local members were “encouraged to attend in person” at the monthly meetings. And, the

   meeting schedule indicates that the quarterly and year-end meetings included a “Guest

   Speaker.” 221

               514.   The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

   Defendants participated in meetings on a monthly basis, either directly or through their trade

   organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

   national response to the ongoing prescription opioid epidemic, including the concerted lobbying

   efforts that the PCF undertook on behalf of its members. 222

               515.   Second, the HDA led to the formation of interpersonal relationships and an

   organization between the RICO Diversion Defendants. Although the entire HDA membership

   directory is private, the HDA website confirms that each of the Distributor Defendants and the

   Manufacturer Defendants named in the Complaint, including, Endo, Purdue, Mallinckrodt and

   Cephalon were members of the HDA. And, the HDA and each of the Distributor Defendants,

   eagerly sought the active membership and participation of the Manufacturer Defendants by

   advocating that one of the benefits of membership included the ability to develop direct

   relationships between Manufacturers and Distributors at high executive levels. In fact, the HDA

   touted the benefits of membership to the Manufacturer Defendants, advocating that membership

   included the ability to, among other things, “network one on one with manufacturer executives at

   HDA’s members-only Business and Leadership Conference,” “networking with HDA wholesale

   distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

   221
         Pain Care Forum, 2012 Meetings Schedule.
   222
         Id.


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   “participate on HDA committees, task forces and working groups with peers and trading

   partners,” and “make connections.” 223 Clearly, the HDA and the Distributor Defendants believed

   that membership in the HDA was an opportunity to create interpersonal and ongoing

   organizational relationships between the Manufacturers and Defendants.

               516.   The application for manufacturer membership in the HDA further indicates the

   level of connection that existed between the RICO Diversion Defendants. 224 The manufacturer

   membership application must be signed by a “senior company executive,” and it requests that the

   manufacturer applicant identify a key contact and any additional contacts from within its

   company. The HDA application also requests that the manufacturer identify its current

   distribution information and its most recent year end net sales through any HDA distributors,

   including but not limited to, Defendants AmerisourceBergen, Cardinal Health, and McKesson. 225

               517.   After becoming HDA members, the Distributors and Manufacturers were eligible

   to participate on councils, committees, task forces and working groups, including:

                      (a)   Industry Relations Council: “This council, composed of distributor and

   manufacturer members, provides leadership on pharmaceutical distribution and supply chain

   issues.”

                      (b)   Business Technology Committee: “This committee provides guidance to

   HDA and its members through the development of collaborative e-commerce business solutions.
   223
      Manufacturer Membership Benefits, Healthcare Distribution Alliance,
   https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
   benefits.ashx?la=en, (last accessed on February 20, 2018).
   224
      Manufacturer Membership Application, Healthcare Distribution Alliance,
   https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
   application.ashx?la=en, (last accessed on February 20, 2018).

   225
         Id.


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   The committee’s major areas of focus within pharmaceutical distribution include information

   systems,   operational     integration   and   the   impact   of e-commerce.” Participants in this

   committee include distributors and manufacturer members.

                 (c)        Health, Beauty and Wellness Committee: “This committee conducts

   research, as well as creates and exchanges industry knowledge to help shape the future of the

   distribution for health, beauty and wellness/consumer products in the healthcare supply chain.”

   Participation in this committee includes distributors and manufacturer members.

                 (d)        Logistics Operation Committee: “This committee initiates projects

   designed to help members enhance the productivity, efficiency and customer satisfaction within

   the healthcare supply chain. Its major areas of focus include process automation, information

   systems, operational integration, resource management and quality improvement.” Participation

   in this committee includes distributors and manufacturer members.

                 (e)        Manufacturer Government Affairs Advisory Committee: “This committee

   provides a forum for briefing HDA’s manufacturer members on federal and state legislative and

   regulatory activity affecting the pharmaceutical distribution channel. Topics discussed include

   such issues as prescription drug traceability, distributor licensing, FDA and DEA regulation of

   distribution, importation and Medicaid/Medicare reimbursement.” Participation in this

   committee includes manufacturer members.

                 (f)        Bar Code Task Force: Participation includes Distributor, Manufacturer

   and Service Provider Members.

                 (g)        eCommerce Task Force: Participation includes Distributor, Manufacturer

   and Service Provider Members.




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                  (h)     ASN Working Group: Participation includes Distributor, Manufacturer

   and Service Provider Members.

                  (i)     Contracts and Chargebacks Working Group: “This working group

   explores how the contract administration process can be streamlined through process

   improvements or technical efficiencies. It also creates and exchanges industry knowledge of

   interest to contract and chargeback professionals.”      Participation includes Distributor and

   Manufacturer Members. 226

           518.   The councils, committees, task forces and working groups provided the

   Manufacturer and Distributor Defendants with the opportunity to work closely together in

   shaping their common goals and forming the enterprise’s organization.

           519.   The HDA also offers a multitude of conferences, including annual business and

   leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

   the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

   leaders and influential managers . . . to hold strategic business discussions on the most pressing

   industry issues.”    The conferences also gave the Manufacturer and Distributor Defendants

   “unmatched opportunities to network with [their] peers and trading partners at all levels of the

   healthcare distribution industry.” 227 The HDA and its conferences were significant opportunities

   for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And, it




   226
            Councils     and       Committees,       Healthcare        Distribution     Alliance,
   https://www.hda.org/about/councils-and-committees, (last accessed on February 20, 2018).
   227
         2017 Business and Leadership Conference, Healthcare Distribution Alliance,
   https://www.healthcaredistribution.org/events/2017-business-and-leadership-conference, (last
   accessed on February 20, 2018).


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   is clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

   these events.

          520.     Third, the RICO Diversion Defendants           maintained their interpersonal

   relationships by working together and exchanging information and driving the unlawful sales of

   their opioids through their contractual relationships, including chargebacks and vault security

   programs.

          521.     The Manufacturer Defendants engaged in an industry-wide practice of paying

   rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids. As

   reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the

   HDA, there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates

   and/or chargebacks on their prescription opioid sales. On information and belief, these contracts

   were negotiated at the highest levels, demonstrating ongoing relationships between the

   Manufacturer and Distributor Defendants. In return for the rebates and chargebacks, the

   Distributor Defendants provided the Manufacturer Defendants with detailed information

   regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

   notices, and invoices. The Manufacturer Defendants used this information to gather high-level

   data regarding overall distribution and direct the Distributor Defendants on how to most

   effectively sell the prescription opioids.

          522.     The contractual relationships among the RICO Diversion Defendants also include

   vault security programs. The RICO Diversion Defendants are required to maintain certain

   security protocols and storage facilities for the manufacture and distribution of their opiates.

   Plaintiff is informed and believes that manufacturers negotiated agreements whereby the

   Manufacturers installed security vaults for Distributors in exchange for agreements to maintain


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   minimum sales performance thresholds. Plaintiff is informed and believes that these agreements

   were used by the RICO Diversion Defendants as a tool to violate their reporting and diversion

   duties in order to reach the sales requirements.

               523.   Taken together, the interaction and length of the relationships between and among

   the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

   between two groups in a tightly knit industry.

               524.   Indeed, the Manufacturer and Distributor Defendants were not two separate

   groups operating in isolation or two groups forced to work together in a closed system. The

   RICO Diversion Defendants operated together as a united entity, working together on multiple

   fronts, to engage in the unlawful sale of prescription opioids. The HDA and the PCF are but two

   examples of the overlapping relationships, and concerted joint efforts to accomplish common

   goals and demonstrates that the leaders of each of the RICO Diversion Defendants was in

   communication and cooperation.

               525.   According to articles published by the Center for Public Integrity and The

   Associated Press, the PCF -- whose members include the Manufacturers and the Distributors’

   trade association has been lobbying on behalf of the Manufacturers and Distributors for “more

   than a decade.” 228

               526.   And, from 2006 to 2016 the Distributors and Manufacturers worked together

   through the Pain Care Forum to spend over $740 million lobbying in the nation’s capital and in
                                                                         229
   all 50 statehouses on issues including opioid-related measures.             Similarly, the HDA has



   228
         Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic
   229
         Id.


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   continued its work on behalf of Distributors and Manufacturers, without interruption, since at

   least 2000.

          527.    As described above, the RICO Diversion Defendants began working together as

   early as 2006 through the PCF and/or the HDA to promote the common purpose of their

   enterprise. Plaintiff is informed and believes that the RICO Diversion Defendants worked

   together as an ongoing and continuous organization throughout the existence of their enterprise.

          528.    The RICO Diversion Defendants exerted control over, conducted and/or

   participated in the Opioid Diversion Enterprise by fraudulently failing to comply with their

   Federal and State obligations to identify, investigate and report suspicious orders of opioids in

   order to prevent diversion of those highly addictive substances into the illicit market, to halt such

   unlawful sales and, in doing so, to drive unlawful profits, as follows:

          529.    Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligations to maintain effective controls against diversion

   of their prescription opioids.

          530.    Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligations to design and operate a system to disclose to the

   registrant suspicious orders of their prescription opioids.

          531.    Defendants disseminated false and misleading statements to the public claiming

   that they were complying with their obligation to notify the DCU of any suspicious orders or

   diversion of their prescription opioids.

          532.    Defendants sought to influence local, state and federal governments through joint

   lobbying efforts as part of the PCF. The RICO Diversion Defendants were all members of their

   PCF either directly or indirectly through the HDA.


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            533.   The RICO Diversion Defendants exercised control and influence over the

   distribution industry by participating and maintaining membership in the HDA.

            534.   The RICO Diversion Defendants engaged in an industry-wide practice of paying

   rebates and chargebacks to incentivize unlawful opioid prescription sales. The Manufacturer

   Defendants used the chargeback program to acquire detailed, high-level data regarding sales of

   the opioids they manufactured.

            535.   The Manufacturer Defendants used this high-level information to direct the

   Distributor Defendants’ sales efforts to regions where prescription opioids were selling in larger

   volumes.

            536.   The Distributor Defendants developed “know your customer” questionnaires and

   files.

            537.   On information and belief, the “know your customer” questionnaires informed the

   RICO Diversion Defendants of the number of pills that the pharmacies sold, how many non-

   controlled substances are sold compared to controlled substances, whether the pharmacy buys

   from other distributors, the types of medical providers in the area, including pain clinics, general

   practitioners, hospice facilities, cancer treatment facilities, among others, and these

   questionnaires put the recipients on notice of suspicious orders.

            538.   The RICO Diversion Defendants refused to identify, investigate and report

   suspicious orders to the DCU when they became aware of the same despite their actual

   knowledge of drug diversion rings.

            539.   Defendants’ scheme had a decision-making structure that was driven by the

   Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

   Defendants worked together to control the State’s response to the manufacture and distribution


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   of prescription opioids through a systematic refusal to maintain effective controls against

   diversion, and identify suspicious orders and report them to the DCU.

          540.    Indeed, the RICO Diversion Defendants actively took steps to increase suspicious

   orders in the following ways:

                  (a)      The Distributor Defendants assisted the enterprise and the Manufacturer

   Defendants in their lobbying efforts through the PCF;

                  (b)      The   Distributor   Defendants   provided    sales   information    to   the

   Manufacturer Defendants regarding their prescription opioids, including reports of all opioids

   prescriptions filled by the Distributor Defendants;

                  (c)      The Manufacturer Defendants used a chargeback program to ensure

   delivery of the Distributor Defendants’ sales information;

                  (d)      The Manufacturer Defendants used sales information showing how

   individual doctors across the nation were prescribing opioids.

                  (e)      The Distributor Defendants accepted rebates and chargebacks for orders of

   prescription opioids;

                  (f)      The Manufacturer Defendants used the Distributor Defendants’ sales

   information and the data to instruct the Distributor Defendants to focus their distribution efforts

   to specific areas where the purchase of prescription opioids was most frequent;

                  (g)      The RICO Diversion Defendants identified suspicious orders of

   prescription opioids and then continued filling those unlawful orders, without reporting them,

   knowing that they were suspicious and/or being diverted into the illicit drug market; and

                  (h)      The RICO Diversion Defendants withheld information regarding

   suspicious orders and illicit diversion from the DCU.


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          541.    The scheme devised and implemented by the RICO Diversion Defendants

   amounted to a common course of conduct characterized by a refusal to maintain effective

   controls against diversion, and all designed and operated to ensure the continued unlawful sale of

   controlled substances.

                            PATTERN OF RACKETEERING ACTIVITY

          542.    The RICO Diversion Defendants conducted and participated in the conduct of the

   Opioid Diversion Enterprise through a pattern of racketeering activity as defined in N.J.S.A.

   2C:41-1(a), including mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343), and

   violations of New Jersey Controlled Substances Act, N.J.S.A. 24:21–1 et seq..

          543.    The RICO Diversion Defendants carried out, or attempted to carry out, a scheme

   to defraud state regulators, and the American public by knowingly conducting or participating in

   the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

   the meaning of N.J.S.A. 2C:41-1(a) that employed the use of mail and wire facilities, in violation

   of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

          544.    The RICO Diversion Defendants committed, conspired to commit, and/or aided

   and abetted in the commission of, or caused the commission of, at least two predicate acts of

   racketeering activity (specifically, violations of 18 U.S.C. §§ 1341 and 1343) within ten years

   of each other. The multiple acts of racketeering activity that the RICO Diversion Defendants

   committed, or aided and abetted in the commission of, or caused the commission of, were related

   to each other, posed a threat of continued racketeering activity, and therefore constitute a

   “pattern of racketeering activity.” The racketeering activity was made possible by the RICO

   Diversion Defendants’ regular use of the facilities, services, distribution channels, and

   employees of the Opioids Diversion Enterprise. The RICO Diversion Defendants participated


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   in the scheme to defraud by using mail, telephone and the Internet to transmit mailings and wires

   in interstate or foreign commerce.

          545.    The RICO Diversion Defendants used, directed the use of, and/or caused to be

   used, thousands of interstate mail and wire communications in service of their scheme through

   virtually uniform misrepresentations, concealments and material omissions regarding their

   compliance with their mandatory reporting requirements and the actions necessary to carry out

   their unlawful goal of selling prescription opioids without reporting suspicious orders or the

   diversion of opioids into the illicit market.

          546.    In devising and executing the illegal scheme, the RICO Diversion Defendants

   devised and knowingly carried out a material scheme and/or artifice to defraud by means of

   materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

   For the purpose of executing the illegal scheme, the RICO Diversion Defendants committed, or

   caused to be committed, these racketeering acts, which number in the thousands, intentionally

   and knowingly with the specific intent to advance the illegal scheme.

          547.    The predicate acts of racketeering committed by, or caused to be committed by,

   the RICO Diversion Defendants (18 U.S.C. § 1961(1)) include, but are not limited to:

                  (a)     Mail Fraud: The RICO Diversion Defendants violated 18 U.S.C. § 1341

   by sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or

   commercial interstate carriers for the purpose of executing the unlawful scheme to design,

   manufacture, market, and sell the prescription opioids by means of false pretenses,

   misrepresentations, promises, and omissions.

                  (b)     Wire Fraud: The RICO Diversion Defendants violated 18 U.S.C. § 1343

   by transmitting and/or receiving, or by causing to be transmitted and/or received, materials by


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   wire for the purpose of executing the unlawful scheme to design, manufacture, market, and sell

   the prescription opioids by means of false pretenses, misrepresentations, promises, and

   omissions.

          548.    The RICO Diversion Defendants’ use of, or causing the use of, the mail and wires

   includes, but is not limited to, the transmission, delivery, or shipment of the following by the

   Manufacturers, Distributors, or third parties that were foreseeably caused to be sent as a result of

   the RICO Diversion Defendants’ illegal scheme, including but not limited to:

                  (a)     The prescription opioids themselves;

                  (b)     Documents and communications that facilitated the manufacture, purchase

   and unlawful sale of prescription opioids;

                  (c)     Defendants’ registrations to sell, manufacturer, and/or distribute

   prescription opioids within the State of New Jersey;

                  (d)     Documents intended to facilitate the manufacture, distribution, and sale of

   Defendants’ prescription opioids, including bills of lading, invoices, shipping records, reports

   and correspondence;

                  (e)     Documents for processing and receiving payment for prescription opioids;

                  (f)     Payments between the Distributors and the Manufacturers;

                  (g)     Rebates and chargebacks from Manufacturers to the Distributors;

                  (h)     Payments to Defendants’ lobbyists through the PCF;

                  (i)     Payments to Defendants’ trade organizations, like the HDA, for

   memberships and/or sponsorships;

                  (j)     Deposits of proceeds from Defendants’ manufacture and distribution of

   prescription opioids; and


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                   (k)    Other documents and things, including electronic communications.

           549.    On information and belief, the RICO Diversion Defendants (and/or their agents),

   for the purpose of executing the illegal scheme, sent and/or received (or caused to be

   sent and/or received) by mail or by private or interstate carrier, shipments of prescription opioids

   and related documents by mail or by private carrier affecting interstate commerce, including the

   following:

                   (a)    Purdue manufactures multiple forms of prescription opioids, including but

   not limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and

   Targiniq ER. Purdue manufactured and shipped these prescription opioids to the Distributor

   Defendants in this jurisdiction.    The Distributor Defendants shipped Purdue’s prescription

   opioids throughout this jurisdiction.

                   (b)    Cephalon manufactures multiple forms of prescription opioids, including

   but not limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription

   opioids to the Distributor Defendants in this jurisdiction. The Distributor Defendants shipped

   Cephalon’s prescription opioids throughout this jurisdiction.

                   (c)    Janssen manufactures prescription opioids known as Duragesic. Janssen

   manufactured and shipped its prescription opioids to the Distributor Defendants in this

   jurisdiction. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

   jurisdiction.

                   (d)    Endo manufactures multiple forms of prescription opioids, including but

   not limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and

   shipped its prescription opioids to the Distributor Defendants in this jurisdiction. The Distributor

   Defendants shipped Janssen’s prescription opioids throughout this jurisdiction.


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                  (e)      Mallinckrodt manufactures multiple forms of prescription opioids,

   including but not limited to: Exalgo and Roxicodone. The Distributor Defendants shipped

   Mallinckrodt’s prescription opioids throughout this jurisdiction.

                  (f)      Insys manufactures Subsys (fentanyl).          The Distributor Defendants

   shipped Insys’ prescription opioids throughout this jurisdiction.

          550.    The RICO Diversion Defendants also used, or caused the use of, the internet and

   other electronic facilities to carry out their scheme and conceal their ongoing fraudulent

   activities. Specifically, the RICO Diversion Defendants made misrepresentations about their

   compliance with Federal and State laws requiring them to identify, investigate and report

   suspicious orders of prescription opioids and/or diversion of the same into the illicit market.

          551.    At the same time, the RICO Diversion Defendants misrepresented the superior

   safety features of their order monitoring programs, ability to detect suspicious orders,

   commitment to preventing diversion of prescription opioids and that they complied with all state

   and federal regulations regarding the identification and reporting of suspicious orders of

   prescription opioids.

          552.    Plaintiff is also informed and believes that the RICO Diversion Defendants

   utilized, or caused the utilization of, the internet and other electronic resources to exchange

   communications, to exchange information regarding prescription opioid sales, and to transmit

   payments and rebates/chargebacks.

          553.    The      RICO   Diversion    Defendants     also   communicated      by,   or   caused

   communication by, U.S. Mail, by interstate facsimile, and by interstate electronic mail and with

   various other affiliates, regional offices, regulators, distributors, and other third-party entities in

   furtherance of the scheme.


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          554.    The mail and wire transmissions described herein were made in furtherance of

   Defendants’ scheme and common course of conduct to deceive regulators and the public that

   Defendants were complying with their state and federal obligations to identify and report

   suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

   of doses of prescription opioids to divert into the illicit drug market.

          555.    Many of the precise details of the fraudulent uses of the U.S. mail and interstate

   wire facilities, and other predicate acts, have been deliberately hidden by, and is exclusively

   within the possession, custody or control of, the RICO Diversion Defendants. As such, it cannot

   be alleged without access to Defendants’ books and records. But, Plaintiff has described the

   types of, and in some instances, occasions on which the predicate acts of mail and/or wire fraud

   occurred. They include thousands of communications to perpetuate and maintain the scheme,

   including the things and documents described in the preceding paragraphs.

   The RICO Diversion Defendants did not undertake the practices described herein in isolation,

   but as part of a common scheme. Various other persons, firms, and corporations, including

   third-party entities and individuals not named as defendants in this Complaint, may have

   contributed to and/or participated in the scheme with the RICO Diversion Defendants in these

   offenses and have performed acts in furtherance of the scheme to increase revenues, increase

   market share, and /or minimize the losses for the RICO Diversion Defendants.

          556.    The RICO Diversion Defendants aided and abetted others in the violations of the

   above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§1341 and 1343

   offenses.

          557.    The RICO Diversion Defendants hid from the general public, and suppressed

   and/or ignored warnings from third parties, whistleblowers and governmental entities, about the


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   reality of the suspicious orders that the RICO Diversion Defendants were filling on a daily basis

   -- leading to the diversion of a tens of millions of doses of prescriptions opioids into the illicit

   market.

          558.    The RICO Diversion Defendants, with knowledge and intent, agreed to the

   overall objective of their fraudulent scheme and participated in the common course of conduct to

   commit acts of fraud and indecency in manufacturing and distributing prescription opioids.

          559.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants

   had to agree to implement similar tactics regarding marketing prescription opioids and refusing

   to report suspicious orders.

          560.    The RICO Diversion Defendants engaged in a pattern of related and continuous

   predicate acts for years. The predicate acts constituted a variety of unlawful activities, each

   conducted with the common purpose of obtaining significant monies and revenues from the sale

   of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

   results, participants, victims, and methods of commission. The predicate acts were related and

   not isolated events.

          561.    The predicate acts all had the purpose of generating significant revenue and

   profits for the RICO Diversion Defendants while Plaintiff was left with substantial injury to its

   business through the damage that the prescription opioid epidemic caused. The predicate acts

   were committed or caused to be committed by the RICO Diversion Defendants through their

   participation in the Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

          562.    The pattern of racketeering activity alleged herein and the Opioid Diversion

   Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

   enterprise.


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           563.   The pattern of racketeering activity alleged herein is continuing as of the date of

   this Complaint and, upon information and belief, will continue into the future unless enjoined by

   this Court.

           564.   Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

   issue here have been hidden, are exclusively within the possession, custody or control, of the

   RICO Diversion Defendants, and cannot be alleged without access to Defendants’ books and

   records. Indeed, an essential part of the successful operation of the Opioids Addiction and Opioid

   Diversion Enterprise alleged herein depended upon secrecy.

           565.   Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

           566.   The RICO Diversion Defendants calculated and intentionally crafted the Opioid

   Diversion Enterprise and their scheme to increase and maintain their increased profits, without

   regard to the effect such behavior would have on communities in this jurisdiction or the

   Plaintiff.

           567.   In designing and implementing the scheme, at all times the RICO Diversion

   Defendants were cognizant of the fact that those in the manufacturing and distribution chain

   rely on the integrity of the pharmaceutical companies and ostensibly neutral third parties to

   provide objective and reliable information regarding the RICO Diversion Defendants’ products

   and their manufacture and distribution of those products.




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              568.   The RICO Diversion Defendants were also aware that Plaintiff and the citizens

   of this jurisdiction rely on them to maintain a closed system and to protect against the non-

   medical diversion and use of their dangerously addictive opioid drugs.

              569.   By intentionally refusing to report and halt suspicious orders of their prescription

   opioids, the RICO Diversion Defendants engaged in a fraudulent scheme and unlawful course of

   conduct constituting a pattern of racketeering activity.

              570.   It was foreseeable to RICO Diversion Defendants that refusing to report and halt

   suspicious orders, as required by New Jersey law, would harm Plaintiff by allowing the flow of

   prescriptions opioids from appropriate medical channels into the illicit drug market.

              571.   The last racketeering incident occurred within ten years of the commission of a

   prior incident of racketeering.

              572.   The RICO Diversion Defendants conducted and participated in the conduct of the

   affairs of the RICO Diversion Enterprise through a pattern of racketeering activity as defined in

   N.J.S.A. 2C:41-1 et seq. by violating New Jersey Controlled Dangerous Substances Act

   (“NJCDSA”), N.J.S.A. 24:21–1 et seq.

              573.   Specifically, the NJCDSA makes it unlawful for a registered manufacturer or

   distributor to furnish false or fraudulent material information in, or omit any material information

   from, any application, report, or other document required to be kept or filed under the act, or any

   record required to be kept by the act. See N.J.S.A. 24:21–22.

              574.   Additionally, under the NJCDSA it is unlawful to refuse or fail to make, keep or

   furnish any record, notifications, order form, statement, invoice or information required under

   the act.




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          575.    Each of the RICO Diversion Defendants qualifies as a registrant under the

   NJCDSA. Their status as registrants under the NJCDSA requires that they maintain effective

   controls against diversion of controlled substances in schedule I or II, design and operate a

   system to disclose to the registrant suspicious orders of controlled substances, and inform the

   DCU of orders of unusual size when discovered by the registrant.

          576.    Pursuant to the NJCDSA and the New Jersey Administrative Code, the RICO

   Diversion Defendants were required to make reports and furnish records to the DCU of any

   suspicious orders identified through the design and operation of their system to disclose

   suspicious orders.

          577.    The RICO Diversion Defendants knowingly and intentionally furnished false or

   fraudulent information in their reports to the DCU about suspicious orders, and omitted material

   information from reports, records, and other documents required to be filed with the DCU.

   Specifically, on information and belief, the RICO Diversion Defendants were aware of

   suspicious orders of prescription opioids and their diversion into the illicit market, and failed to

   report this information to the DCU in their mandatory reports.

          578.    Distributors knew they had a duty to maintain effective controls against diversion,

   design and operate a system to disclose suspicious orders, and to report suspicious orders to the

   DEA. On information and belief, the Manufacturer Defendants were aware of the diversion of

   the prescription opioids and a corresponding duty to report suspicious orders.

          579.    The pattern of racketeering activity alleged herein is continuing as of the date of

   this Complaint and, upon information and belief, will continue into the future unless enjoined by

   this Court.




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           580.    Many of the precise dates of Defendants’ criminal actions at issue herein were

   hidden, are exclusively within the possession, custody or control, of the Defendants, and cannot

   be alleged without access to Defendants’ books and records. Indeed, an essential part of the

   successful operation of the Opioid Diversion Enterprise depended upon the secrecy of the

   participants in that enterprise.

           581.    Each instance of racketeering activity alleged herein was related, had similar

   purposes, involved the same or similar participants and methods of commission, and had similar

   results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

   Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

   profits from unlawful sales of opioids, without regard to the effect such behavior would have on

   this jurisdiction, its citizens or the Plaintiff. The Defendants were aware that Plaintiff and the

   citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

   and distribution to protect against the non-medical diversion and use of their dangerously

   addictive opioid drugs.

           582.    By intentionally refusing to report and halt suspicious orders of their prescription

   opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

   a pattern of racketeering activity.

           583.    It was foreseeable to Defendants that refusing to report and halt suspicious orders,

   as required by New Jersey Law, would harm Plaintiff by allowing the flow of prescriptions

   opioids from appropriate medical channels into the illicit drug market.

           584.    The last racketeering incident occurred within ten years of the commission of a

   prior incident of racketeering.




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          585.     The RICO Diversion Defendants’ pattern of racketeering activity has adversely

   impacted this State’s trade or commerce, as well as the general health and welfare of the State

   and its inhabitants. Their conduct annually drains and diverts millions from the public coffers,

   and as a consequence harms the general health and welfare of the States’ inhabitants, among

   other things.

                                   CONSPIRACY ALLEGATIONS

          586.     Plaintiff realleges and incorporates by reference all paragraphs as though fully set

   forth herein.

          587.     The Manufacturer Defendants and Distributor Defendants have not undertaken

   the practices described herein in isolation, but as part of a common scheme and conspiracy. In

   violation of N.J.S.A. 2C:41-2(d) the Manufacturer Defendants conspired to violate N.J.S.A.

   2C:41-2(c), as described herein.

          588.     The Manufacturer Defendants and Distributor Defendants conspired to incentivize

   and encourage various other persons, firms and corporations, including third party entities and

   individuals not named as defendants in this Complaint, to carry out offenses and other acts in

   furtherance of the conspiracy.      The Manufacturer Defendants and Distributor Defendants

   conspired to increase or maintain revenues, increase market share and/or minimize losses for the

   Manufacturer Defendants and Distributor Defendants and their other collaborators throughout

   the illegal scheme and common course of conduct.             In order to achieve this goal, the

   Manufacturer Defendants and Distributor Defendants engaged in the aforementioned predicate

   acts on numerous occasions. The Manufacturer Defendants and Distributor Defendants, with

   knowledge and intent, agreed to the overall objectives of the conspiracy and participated in the




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   common course of conduct to commit acts of fraud and indecency in defectively marketing

   and/or selling opioids through the use of mail and wire fraud.

          589.    Each of the Manufacturer Defendants and Distributor Defendants agreed to

   conduct or participate in the conduct of the affairs of the enterprise, and agreed to the

   commission of at least two predicate acts. They also engaged in a RICO conspiracy based on

   their agreement to the scheme to deceptively market and/or sell and/or distribute opioids, or

   based on their adoption of the goal of furthering or facilitating the scheme.

          590.    The Manufacturer Defendants and Distributor Defendants knew and intended that

   state regulators, prescribers and consumers in the County, would rely on the collective material

   misrepresentations and omissions made by them and the other enterprise members about opioids.

   The Manufacturer Defendants and Distributor Defendants knew and intended that consumers,

   including those in the County, would incur costs as a result.

          591.    The foregoing illustrates the Manufacturing Defendants’ and Distributor

   Defendants’ liability under N.J.S.A. 2C:41-2(d) to engage in their pattern of racketeering

   conspired to achieve their common goal of maximizing opioid sales.

                                      RESULTING DAMAGES

          592.    The RICO Diversion Defendants’ violations of law and their pattern of

   racketeering activity directly and proximately caused Plaintiff injury in its business and property

   because Plaintiff paid for costs associated with the opioid epidemic, as described above in

   language expressly incorporated herein by reference.

          593.    Plaintiff’s injuries, and those of her citizens, were proximately caused by

   Defendants’ racketeering activities. But for the RICO Diversion Defendants’ conduct, Plaintiff

   would not have paid for the health services, social services and first responders’ services and


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   other expenditures required to deal with the impact of the epidemic on the County and her

   citizens.

           594.    Plaintiff’s injuries were directly caused by the RICO Diversion Defendants’

   racketeering activities.

           595.    Plaintiff was most directly harmed and there is no other Plaintiff better suited to

   seek a remedy for the economic harms at issue here.

           596.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

   actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

   attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                               COUNT III

                                          PUBLIC NUISANCE

           597.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           598.    A public nuisance is an unreasonable interference with a right common to the

   general public, such as a condition dangerous to health, offensive to community moral standards,

   or unlawfully obstructing the public in the free use of public property.

           599.    The County and its residents have a right to be free from conduct that endangers

   their health and safety. The health and safety of the residents of the County are matters of

   substantial public interest and of legitimate concern to the County.

   Yet Defendants, individually and collectively, have engaged in conduct which endangers or

   injures the health and safety of the residents of the County by their promotion, marketing,

   distribution, and overall efforts to increase the use and sales of opioids (including use and sales




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   within the County) and by their failure to monitor, report and prevent such abuses and/or

   injurious distribution and prescriptions.

          600.    Defendants, each individually and collectively, have created a condition that is

   injurious to the health and safety of the County and its residents and interferes with the

   comfortable enjoyment of life and property of entire communities and/or neighborhoods..

   Through their production, promotion, and marketing of opioids for use by residents of the

   County and by their failure to monitor, report and prevent over-prescription, improper

   prescriptions, and diversion, the Defendants have created or assisted in creating the opioid

   epidemic within the County.

          601.    The epidemic, with its associated increase in deaths, injuries, crime and

   homelessness, has severely disrupted public peace and order and endangered public health and

   safety. Defendants’ conduct is ongoing and continues to produce permanent and long-lasting

   damage.

          602.    The health and safety of the residents of the County, including those who use,

   have used, or will use opioids, as well as those affected by users of opioids, are matters of

   substantial public interest and of legitimate concern to the County's citizens and its residents.

   Defendants’ conduct has impacted and continues to impact a substantial number of people within

   the County and is likely to continue causing significant harm to patients with chronic pain who

   are being prescribed and take opioids, their families, and their communities.

          603.    But for Defendants’ actions, there is no doubt that opioid use and ultimately its

   misuse and abuse would not be as widespread as it is today, and the massive epidemic of opioid

   abuse that currently exists would have been averted.




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          604.       Logic, common sense, justice, policy, and precedent indicate Defendants’ unfair

   and deceptive conduct has caused the damage and harm complained of herein. Defendants knew

   or reasonably should have known that their statements regarding the risks and benefits of opioids

   were false and misleading, and that their false and misleading statements and failures to monitor

   and curb and prevent abuse were causing harm. Thus, the public nuisance caused by Defendants

   to the County was reasonably foreseeable, including the financial and economic losses incurred

   by the County.

          605.       Defendants’ actions were, at the very least, a substantial factor in opioids

   becoming widely available and widely used, in deceiving healthcare professionals and patients

   about the risks and benefits of opioids for the treatment of chronic pain, and in the public health

   crisis that followed.

          606.       Defendants knew or should have known that their promotion of opioids was false

   and misleading and that their deceptive marketing scheme and other unlawful, unfair, and

   fraudulent actions would create or assist in the creation of a public nuisance.

          607.       Defendants’ conduct in creating and maintaining the public nuisance were neither

   fully regulated nor required by any federal or New Jersey law, and in fact were contrary to public

   policy and guidance from the FDA and CDC.

          608.       The public nuisance alleged herein can be abated and further recurrence of such

   harm and inconvenience can be abated.

          609.       The County has been, and continues to be, directly and proximately injured by

   Defendants’ actions in creating a public nuisance.

          610.       Plaintiff suffered special injuries distinguishable from those suffered by the

   general public.


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           611.    Defendants’ conduct was accompanied by wanton and willful disregard of

   persons who foreseeably might be harmed by their acts and omissions.

                                               COUNT IV

                                            NEGLIGENCE

           612.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           613.    Each Defendant owed a duty of care to the County and her residents, including

   but not limited to taking reasonable steps to prevent the misuse, abuse, and over-prescription of

   opioids.

           614.    In violation of this duty, Defendants failed to take reasonable steps to prevent,

   monitor, and/or report the misuse, abuse, and over-prescription of opioids in the County by

   misrepresenting the risks and benefits associated with opioids.

           615.    As alleged above, Defendants falsely claimed that the risk of opioid addiction was

   low, falsely instructed doctors and patients that prescribing more opioids was appropriate when

   patients presented symptoms of addiction, falsely claimed that risk-mitigation strategies could

   safely address concerns about addiction, falsely claimed that doctors and patients could increase

   opioid usage indefinitely without added risk, deceptively marketed that purported abuse-

   deterrent technology could curb misuse and addiction, falsely claimed that long-term opioid use

   could actually restore function and improve a patient's quality of life, and failure to monitor and

   report opioid use and potential for misuse as required by law.

           616.    Each of these misrepresentations made by Defendants violated the duty of care to

   the County and her residents.




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           617.    As a direct and proximate cause of Defendants' unreasonable and negligent

   conduct, the County and her residents have suffered and will continue to suffer harm, and are

   entitled to damages in an amount determined at trial.

                                               COUNT V

                                        CIVIL CONSPIRACY

           618.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

           619.    The Distributor Defendants continuously supplied prescription opioids to the

   Pharmacy Defendants despite having actual or constructive knowledge that said pharmacies

   were habitually breaching their common law duties and violating New Jersey law.

           620.    Without the Distributor Defendants’ supply of prescription opioids, the

   Pharmacy Defendants would not be able to fill and dispense the increasing number of

   prescription opioids throughout the County.

           621.    The Pharmacy Defendants continuously paid the Distributor Defendants to

   supply large quantities of prescription opioids in order to satisfy the demand for the drugs.

           622.    Neither side would have succeeded in profiting so significantly from the

   opioid epidemic without the concerted conduct of the other party.

           623.    As a result of the concerted action between the Distributor Defendants and

   the Pharmacy Defendants, the County and her citizens have suffered damage.

                                               COUNT VI

                                        CIVIL CONSPIRACY

           624.    Plaintiff repeats, reasserts, and incorporates the allegations contained above as if

   fully set forth herein.

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          625.    The Manufacturer Defendants continuously supplied prescription opioids to

   the Distributor Defendants despite having actual or constructive knowledge that the

   Distributor Defendants were habitually breaching their common law duties and violating

   New Jersey law.

          626.    Without the Manufacture Defendants’ supply of prescription opioids, the

   Distributor Defendants would not be able to fill and dispense the increasing number of

   prescription opioids throughout the County.

          627.    The Distributor Defendants continuously paid the Manufacturer Defendants

   to supply large quantities of prescription opioids in order to satisfy the demand for the drugs.

          628.    Neither side would have succeeded in profiting so significantly from the

   opioid epidemic without the concerted conduct of the other party.

          629.    As a result of the concerted action between the Manufacturer Defendants and

   the Distributor Defendants, the County and her citizens have suffered damage.

                                      PRAYER FOR RELIEF

          WHEREFORE, the County respectfully requests the Court order the following relief:

                  (a)    An Order that the conduct alleged herein constitutes a public nuisance

   under New Jersey law;

                  (b)    An Order that Defendants abate the public nuisance that they caused under

   New Jersey law;

                  (c)    An Order that Defendants are negligent under New Jersey law;

                  (d)    An Order that Defendants’ conduct constitutes violations of the New

   Jersey Racketeer Influenced and Corrupt Organizations Act (“New Jersey RICO”), N.J.S.A.

   2C:41-1, et seq.;

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                  (e)     An Order that Defendants must divest themselves of any interest, direct or

   indirect in any enterprise;

                  (f)     An Order restricting the future activities or investments of any person,

   including but not limited to, prohibiting any person from engaging in the same type of endeavor

   as the enterprise found to be in violation of N.J.S. 2C:41-2;

                  (g)     An Order dissolving or reorganizing the Marketing Fraud Enterprise;

                  (h)     An Order dissolving or reorganizing the Diversion Enterprise;

                  (i)     An Order that the conduct alleged herein constitutes a civil conspiracy

   under New Jersey law;

                  (j)     An Order that Plaintiff is entitled to treble damages pursuant to New

   Jersey RICO;

                  (k)     An Order that Plaintiff is entitled to recover all measure of damages

   permissible under the statutes identified herein, under common law and pursuant to the Court’s

   equitable powers;

                  (l)     An Order that judgment be entered against Defendants in favor of

   Plaintiff;

                  (m)     An Order that Plaintiff is entitled to attorney’s fees and costs pursuant to

   any applicable provision of law, including but not limited to under the New Jersey RICO;

                  (n)     An Order awarding punitive damages and any equitable relief including

   but not limited to disgorgement of all profits directly or indirectly traceable to the manufacturing,

   sale or distribution of Opioids; and

                  (o)     An Order awarding any other and further relief deemed just and proper,

   including pre-judgment and post-judgment interest on the above amounts.


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               (p)

                                 DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury, pursuant to N.J. Ct. R. 4:35-1.

                                                   /s/ James E. Cecchi

                                                   James E. Cecchi
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   AmerisourceBergen



   CAMDEN COUNTY, NEW JERSEY,

                       Plaintiff,

         v.

   PURDUE PHARMA L.P., DR. RICHARD
   SACKLER, ESTATE OF MORTIMER
   SACKLER, ESTATE OF RAYMOND                     SUPERIOR COURT OF NEW JERSEY
   SACKLER, ABBOTT LABORATORIES,                  LAW DIVISION: CAMDEN COUNTY
   CEPHALON, INC., TEVA                           DOCKET NO. CAM-L-695-18
   PHARMACEUTICAL INDUSTRIES INC.,
   ENDO INTERNATIONAL PLC, JANSSEN                CIVIL ACTION
   PHARMACEUTICALS, INC., INSYS
   THERAPEUTICS, INC., MALLINCKRODT               STIPULATION FOR EXTENSION OF
   PLC, ABC CORPORATIONS 1-100                    TIME FOR DISTRIBUTOR
   ENGAGED IN THE MANUFACTURING OF                DEFENDANTS TO MOVE, ANSWER,
   OPIOIDS, AMERISOURCEBERGEN,                    OR OTHERWISE RESPOND TO THE
   MCKESSON, CARDINAL HEALTH, ABC                 AMENDED COMPLAINT
   CORPORATIONS 1-100 ENGAGED IN THE
   DISTRIBUTION OF OPIOIDS, CVS
   HEALTH CORPORATION, WALGREENS
   BOOTS ALLIANCE, INC., COSTCO
   WHOLESALE CORPORATION, RITE AID
   CORPORATION, AND ABC
   CORPORATIONS 1-100,

                       Defendants.




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           Plaintiff Camden County, New Jersey, together with the Distributor Defendants1

   (collectively, the “Stipulating Parties”) hereby stipulate and agree, and jointly ask this Court to

   approve such stipulation and agreement, as follows:

           1.      On or about April 17, 2018, Plaintiff Camden County, New Jersey commenced

   this action by filing a Complaint in this Court. The Complaint names as defendants, among

   others, the Distributor Defendants.

           2.      The Stipulating Parties consent and agree that Distributor Defendants shall accept

   service of the Complaint on June 21, 2018 in lieu of formal service in exchange for an extension

   of sixty (60) days of the deadline for Distributor Defendants to move, answer, or otherwise

   respond to the Complaint, until September 24, 2018.

           3.      Accordingly, the Stipulating Parties respectfully request that the Court enter an

   Order evidencing this agreed upon extension.


   Dated: June 22, 2018


   /s/ Michael A. Innes                                   /s/ Shannon E. McClure
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   1
       The Distributor Defendants include AmerisourceBergen Drug Corporation, improperly pled as
   AmerisourceBergen; McKesson Corporation, improperly plead as McKesson; and Cardinal Health, Inc., improperly
   pled as Cardinal Health.


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                                                  Drug Corporation, improperly pled as
   * Pro Hac Vice to be requested                 AmerisourceBergen

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                                                  swinkelman@cov.com

                                                  * denotes national counsel who will seek pro
                                                  hac vice admission

                                                  Counsel for Defendant McKesson Corporation,
                                                  improperly pled as McKesson


                                                  /s/ Eric A. Inglis
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                                                  Florham Park, NJ 07932
                                                  T: (973) 540-7347


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       CAM-L-000695-18 06/22/2018 1:15:55 PM Pg 4 of 7 Trans ID: LCV20181098385
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                                            F: (973) 540-7300
                                            EAI@spsk.com

                                            Counsel for Defendant Cardinal Health, Inc.,
                                            improperly pled as Cardinal Health




                                         -4-
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   Telephone: +1 215 851 8100
   Facsimile: +1 215 851 1420

   Attorneys for Defendant AmerisourceBergen Drug Corporation, improperly pled as
   AmerisourceBergen



   CAMDEN COUNTY, NEW JERSEY,

                       Plaintiff,

         v.

   PURDUE PHARMA L.P., DR. RICHARD
   SACKLER, ESTATE OF MORTIMER
   SACKLER, ESTATE OF RAYMOND                     SUPERIOR COURT OF NEW JERSEY
   SACKLER, ABBOTT LABORATORIES,                  LAW DIVISION: CAMDEN COUNTY
   CEPHALON, INC., TEVA                           DOCKET NO. CAM-L-695-18
   PHARMACEUTICAL INDUSTRIES INC.,
   ENDO INTERNATIONAL PLC, JANSSEN                CIVIL ACTION
   PHARMACEUTICALS, INC., INSYS
   THERAPEUTICS, INC., MALLINCKRODT               [PROPOSED] ORDER EXTENDING
   PLC, ABC CORPORATIONS 1-100                    TIME FOR DISTRIBUTOR
   ENGAGED IN THE MANUFACTURING OF                DEFENDANTS TO MOVE, ANSWER,
   OPIOIDS, AMERISOURCEBERGEN,                    OR OTHERWISE RESPOND TO THE
   MCKESSON, CARDINAL HEALTH, ABC                 AMENDED COMPLAINT
   CORPORATIONS 1-100 ENGAGED IN THE
   DISTRIBUTION OF OPIOIDS, CVS
   HEALTH CORPORATION, WALGREENS
   BOOTS ALLIANCE, INC., COSTCO
   WHOLESALE CORPORATION, RITE AID
   CORPORATION, AND ABC
   CORPORATIONS 1-100,

                       Defendants.


         Based upon the Stipulation between Plaintiff Camden County, New Jersey and the




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   Distributor Defendants,2 it is hereby ORDERED that the deadline for Distributor Defendants to

   move, answer, or otherwise respond to the Complaint is extended by sixty (60) days, until

   September 24, 2018.



   Dated this _____ day of ____________________, 2018.




                                                                                                        J.S.C.




   2
       The Distributor Defendants include AmerisourceBergen Drug Corporation, improperly pled as
   AmerisourceBergen; McKesson Corporation, improperly plead as McKesson; and Cardinal Health, Inc., improperly
   pled as Cardinal Health.


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                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and correct copy of the forgoing Stipulation for

   Extension of Time for Distributor Defendants to Move, Answer, or Otherwise Respond to the

   Amended Complaint was electronically filed with the Clerk of Court using the New Jersey E-

   Filing Portal, which will electronically serve a copy on all counsel of record, this 22nd day of

   June, 2018.

                                                    REED SMITH LLP

                                                    /s/ Shannon E. McClure
                                                    Shannon E. McClure (NJ I.D. No. 004002005)
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                                                    SMcClure@ReedSmith.com

                                                    Counsel for Defendant AmerisourceBergen
                                                    Drug Corporation, improperly pled as
                                                    AmerisourceBergen
       CAM-L-000695-18 06/26/2018 2:50:36 PM Pg 1 of 2 Trans ID: LCV20181118760
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       CAM-L-000695-18 06/26/2018 2:50:36 PM Pg 2 of 2 Trans ID: LCV20181118760
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       CAM-L-000695-18 06/27/2018 9:18:33 AM Pg 1 of 2 Trans ID: LCV20181122697
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       CAM-L-000695-18 06/27/2018 9:18:33 AM Pg 2 of 2 Trans ID: LCV20181122697
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                   CAM L 000695-18 07/07/2018 4:58:48 AM Pg 1 of 1 Trans ID: LCV20181182302
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         CAMDEN COUNTY
         SUPERIOR COURT
         HALL OF JUSTICE
         CAMDEN             NJ 08103
                                                DISMISSAL NOTICE

         TELEPHONE - (856) 379-2200,STEPHEN GLADDEN        TEAM 202
         COURT HOURS: 8:30 AM - 4:30 PM

                             DATE: JULY 06, 2018
                               RE: CAMDEN COUNTY    VS PURDUE PHARMA, L.P.
                           DOCKET: CAM L -000695 18
                           PARTY:   ABBOTT LABORATORIES     AMERISOURCEBERGEN    CARDINAL HEALTH
CEPHAL
                                    COSTCO WHOLESALE COR CVS HEALTH CORPORATI ENDO INTERNATIONAL P
INSYS TH
                                    JANSSEN PHARMACEUTIC   MALLINCKRODT PLC      MCKESSON
PURDUE
                                    RITE AID CORPORATION M SACKLER              R SACKLER

                PLEASE TAKE NOTICE THAT ON SEPTEMBER 04, 2018 (60 DAYS FROM DATE OF
         THIS NOTICE), THE COURT WILL DISMISS THE ABOVE PARTY OR PARTIES FOR LACK OF
         PROSECUTION WITHOUT PREJUDICE, PURSUANT TO RULE 1:13-7 OR RULE 4:43-2 UNLESS ACTION
         REQUIRED UNDER THE ABOVE RULES IS TAKEN.


       HON MICHAEL J. KASSEL                                               ATT: DONALD A. ECKLUND
     _________________________________                                     CARELLA BYRNE CECCHI
OLSTEIN B
           JUDGE                                                           5 BECKER FARM RD
                                                                           ROSELAND         NJ
07068-1738
                CAM L 000695-18 07/07/2018 4:58:48 AM Pg 1 of 1 Trans ID: LCV20181182302
    Case
     -   1:18-cv-11983-JHR-AMD Document 1-1 Filed 07/23/18 Page 387 of 396 PageID: 413

      CAMDEN COUNTY
      SUPERIOR COURT
      HALL OF JUSTICE
      CAMDEN             NJ 08103
                                             DISMISSAL NOTICE

      TELEPHONE - (856) 379-2200,STEPHEN GLADDEN        TEAM 202
      COURT HOURS: 8:30 AM - 4:30 PM

                          DATE: JULY 06, 2018
                            RE: CAMDEN COUNTY    VS PURDUE PHARMA, L.P.
                        DOCKET: CAM L -000695 18
                        PARTY:   R SACKLER             TEVA PHARMACEUTICAL   WALGREENS BOOTS ALLI




             PLEASE TAKE NOTICE THAT ON SEPTEMBER 04, 2018 (60 DAYS FROM DATE OF
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      PROSECUTION WITHOUT PREJUDICE, PURSUANT TO RULE 1:13-7 OR RULE 4:43-2 UNLESS ACTION
      REQUIRED UNDER THE ABOVE RULES IS TAKEN.


       HON MICHAEL J. KASSEL                                            ATT: DONALD A. ECKLUND
     _________________________________                                  CARELLA BYRNE CECCHI
OLSTEIN B
           JUDGE                                                        5 BECKER FARM RD
                                                                        ROSELAND         NJ
07068-1738
       CAM-L-000695-18 07/11/2018 2:22:03 PM Pg 1 of 1 Trans ID: LCV20181204211
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       CAM-L-000695-18 07/11/2018 2:23:45 PM Pg 1 of 1 Trans ID: LCV20181204486
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       CAM-L-000695-18 07/11/2018 2:25:16 PM Pg 1 of 1 Trans ID: LCV20181204510
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       CAM-L-000695-18 07/11/2018 2:26:13 PM Pg 1 of 1 Trans ID: LCV20181204528
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       CAM-L-000695-18 07/11/2018 2:27:21 PM Pg 1 of 1 Trans ID: LCV20181204545
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       CAM-L-000695-18 07/11/2018 2:28:28 PM Pg 1 of 1 Trans ID: LCV20181204561
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       CAM-L-000695-18 07/11/2018 2:29:28 PM Pg 1 of 1 Trans ID: LCV20181204577
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       CAM-L-000695-18 07/11/2018 2:30:52 PM Pg 1 of 1 Trans ID: LCV20181204587
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       CAM-L-000695-18 07/11/2018 2:33:37 PM Pg 1 of 1 Trans ID: LCV20181204602
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